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CASE CAPTION:       United States v. Penn et al
CASE NO.:           1:20-cr-00152-PAB
EXHIBIT LIST OF:    Defendants


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                    Email, "Where the birds went" ,
A-001
                    2/11/2015, AGSTAT-09369900




                    Attachment, "Bird weights and
A-002               production costs in the U.S. poultry
                    industry", AGSTAT-09369901



                    Email, broiler comments week ended
A-003               10-10-14, 10/13/2014, AGSTAT-
                    09427531




                    Attachment, Agri Stats Data, AGSTAT-
A-004
                    09427535




                    Attachment, Agri Stats Data, AGSTAT-
A-005
                    09427536




                    Attachment, Agri Stats Data, AGSTAT-
A-006
                    09427537
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                    Attachment, Agri Stats Data, AGSTAT-
A-007
                    09427538




                    Attachment, Agri Stats Data, AGSTAT-
A-008
                    09427539




                    Attachment, Agri Stats Data, AGSTAT-
A-009
                    09427540




                    Attachment, Agri Stats Data, AGSTAT-
A-010
                    09427541




                    Email, broiler market update 10-20-14,
A-011
                    10/20/2014, AGSTAT-09427553




                    Attachment, Agri Stats Data, AGSTAT-
A-012
                    09427557




                    Attachment, Agri Stats Data, AGSTAT-
A-013
                    09427558
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                    Attachment, Agri Stats Data, AGSTAT-
A-014
                    09427559




                    Attachment, Agri Stats Data, AGSTAT-
A-015
                    09427560




                    Attachment, Agri Stats Data, AGSTAT-
A-016
                    09427561




                    Attachment, Agri Stats Data, AGSTAT-
A-017
                    09427562




                    Attachment, Agri Stats Data, AGSTAT-
A-018
                    09427563




                    Email, broiler market update week
A-019               ended 8-1-14, 08/04/2014, AGSTAT-
                    09427871




                    Attachment, Agri Stats Data, AGSTAT-
A-020
                    09427875
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                    Attachment, Agri Stats Data, AGSTAT-
A-021
                    09427876




                    Attachment, Agri Stats Data, AGSTAT-
A-022
                    09427877




                    Attachment, Agri Stats Data, AGSTAT-
A-023
                    09427878




                    Attachment, Agri Stats Data, AGSTAT-
A-024
                    09427879




                    Attachment, Agri Stats Data, AGSTAT-
A-025
                    09427880




                    Attachment, Agri Stats Data, AGSTAT-
A-026
                    09427881




                    Email, broiler market update week
A-027               ended 7-4-14, 07/07/2014, AGSTAT-
                    09427948
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                    Attachment, Agri Stats Data, AGSTAT-
A-028
                    09427952




                    Attachment, Agri Stats Data, AGSTAT-
A-029
                    09427953




                    Attachment, Agri Stats Data, AGSTAT-
A-030
                    09427954




                    Attachment, Agri Stats Data, AGSTAT-
A-031
                    09427955




                    Attachment, Agri Stats Data, AGSTAT-
A-032
                    09427956




                    Attachment, Agri Stats Data, AGSTAT-
A-033
                    09427957




                    Attachment, Agri Stats Data, AGSTAT-
A-034
                    09427958
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                    Email, broiler market update week
A-035               ended 9-26-14, 09/29/2014, AGSTAT-
                    09428153




                    Attachment, Agri Stats Data, AGSTAT-
A-036
                    09428157




                    Attachment, Agri Stats Data, AGSTAT-
A-037
                    09428158




                    Attachment, Agri Stats Data, AGSTAT-
A-038
                    09428159




                    Attachment, Agri Stats Data, AGSTAT-
A-039
                    09428160




                    Attachment, Agri Stats Data, AGSTAT-
A-040
                    09428161




                    Attachment, Agri Stats Data, AGSTAT-
A-041
                    09428162
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                    Attachment, Agri Stats Data, AGSTAT-
A-042
                    09428163




                    Email, broiler market update 9-2-14,
A-043
                    09/02/2014, AGSTAT-09461894




                    Attachment, Agri Stats Data, AGSTAT-
A-044
                    09461898




                    Attachment, Agri Stats Data, AGSTAT-
A-045
                    09461899




                    Attachment, Agri Stats Data, AGSTAT-
A-046
                    09461900




                    Attachment, Agri Stats Data, AGSTAT-
A-047
                    09461901




                    Attachment, Agri Stats Data, AGSTAT-
A-048
                    09461902
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                    Attachment, Agri Stats Data, AGSTAT-
A-049
                    09461903




                    Attachment, Agri Stats Data, AGSTAT-
A-050
                    09461904




                    Email, NPFDA News and Member
A-051               spotlight, 08/01/2013,
                    AMICK0000281606




                    Attachment, PowerPoint News Deck,
A-052
                    AMICK0000281607




                    Attachment, Member Questionnaire,
A-053
                    AMICK0000281616




                    AT&T Toll Records, ATT-ATR001-
A-054
                    00000001




                    AT&T Toll Records, ATT-ATR004-
A-055
                    00009912
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                    AT&T Toll Records, ATT-ATR004-
A-056
                    00021818




                    AT&T Toll Records, ATT-ATR004-
A-057
                    00023946




                    AT&T Toll Record, ATT-ATR005-
A-058
                    00000016




                    AT&T Toll Records, ATT-ATR005-
A-059
                    00000137




                    AT&T Toll Records, ATT-ATR005-
A-060
                    00000233




                    AT&T Toll Record, ATT-ATR005-
A-061
                    00000235




                    AT&T Toll Records, ATT-ATR005-
A-062
                    00001211
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                     AT&T Toll Records, ATT-ATR006-
A-063
                     00000001




                     AT&T Toll Records, ATT-ATR006-
A-064
                     00009096




                     AT&T Toll Records, ATT-ATR006-
A-065
                     00009098




                     AT&T Toll Records, ATT-ATR006-
A-066
                     00009251




                     AT&T Toll Records, ATT-ATR006-
A-067
                     00012255




                     AT&T Toll Records, ATT-ATR007-
A-068
                     00000121




                     AT&T Toll Records, ATT-ATR009-
A-069
                     00000034
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                     AT&T Toll Records, ATT-ATR009-
A-070
                     00005053




                     AT&T Toll Records, ATT-ATR009-
A-071
                     00005054




                     AT&T Toll Records, ATT-ATR009-
A-072
                     00005211




                     AT&T Toll Records, ATT-ATR009-
A-073
                     00005260




                     AT&T Toll Records, ATT-ATR009-
A-074
                     00005270




                     AT&T Toll Records, ATT-ATR009-
A-075
                     00006663




                     AT&T Toll Records, ATT-ATR009-
A-076
                     00009848
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                     AT&T Toll Records, ATT-ATR009-
A-077
                     00010439




                     AT&T Toll Records, ATT-ATR010-
A-078
                     00000047




                     AT&T Toll Records, ATT-ATR010-
A-079
                     00000149




                     AT&T Toll Records, ATT-ATR010-
A-080
                     00000257




                     AT&T Toll Records, ATT-ATR010-
A-081
                     00000359




                     AT&T Toll Records, ATT-ATR011-
A-082
                     00004761




                     AT&T Toll Records, ATT-ATR011-
A-083
                     00013555
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                     AT&T Toll Records, ATT-ATR011-
A-084
                     00014637




                     AT&T Records Interpretation, ATT-
A-085
                     ATR012-00000007




                     AT&T Toll Records, ATT-ATR012-
A-086
                     00028622




                     AT&T Toll Records, ATT-ATR012-
A-087
                     00028682




                     AT&T Toll Records, ATT-ATR012-
A-088
                     00029553




                     AT&T Toll Records, ATT-ATR012-
A-089
                     00042208




                     AT&T Toll Records, ATT-ATR012-
A-090
                     00057503
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                     AT&T Toll Records, ATT-ATR012-
A-091
                     00059214




                     AT&T Toll Records, ATT-ATR013-
A-092
                     00003196




                     AT&T Toll Records, ATT-ATR013-
A-093
                     00007713




A-094                Blake HR Documents, BLAKE_0001




A-095                Flight Data, BLAKE_0006




                     T-Mobile Toll Records, BLAKE-
A-096
                     TMOBILE-0006-native




                     Email, September Bone-in promotion,
A-097                07/06/2017, CASEDOJ-AT-
                     0000001433
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                     Email regarding cost models,
A-098                11/30/2012, CASEDOJ-AT-
                     0000012306




                     Attachment, '-FOB Summary-round
A-099
                     3.xls, CASEDOJ-AT-0000012307




                     Attachment, Cost Model, CASEDOJ-
A-100
                     AT-0000012308




                     Email, KFC updated pricing,
A-101                10/12/2012, CASEDOJ-AT-
                     0000012450




                     Attachment, Cost Model, CASEDOJ-
A-102
                     AT-0000012451




                     Email, "FW: 2014 UFPC SBRA
A-103                Exhibits", 01/02/2014, CASEDOJ-AT-
                     0000049872




                     Attachment, Email Signature,
A-104
                     CASEDOJ-AT-0000049873
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                     Attachment, Email Signature,
A-105
                     CASEDOJ-AT-0000049874




                     Attachment, Cost Model, CASEDOJ-
A-106
                     AT-0000049875




                     Attachment, Mobile Record, CASEDOJ-
A-107
                     AT-0000049883




                     Attachment, Placeholder, CASEDOJ-
A-108
                     BR-0000034558




                     Email, Next KFC COB Agreement
A-109                Follow-up, 05/16/2017, CASEDOJ-BR-
                     0000037354




                     Email, Re: Irma, 09/08/2017,
A-110
                     CASEDOJ-JM-0000005761




                     Email, FW: $10 2 Can Dine Promotion
A-111                for August and September, 07/31/2019,
                     CASEDOJ-JM-0000007251
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                     Email, FW: KFC Pricing 2018-
A-112                2020.xls, 12/13/2017, CASEDOJ-JM-
                     0000049407




                     Attachment, KFC Pricing 2018-
A-113
                     2020.xls, CASEDOJ-JM-0000049409




                     Email, revised FOB sheet, 11/20/2013,
A-114
                     CASEDOJ-KP-0000016681




                     Attachment, KFC COVER SHEET
A-115                REVISED.xls, CASEDOJ-KP-
                     0000016682



                     Email, RE: Additional KFC COB
A-116                capacity, 10/16/2013, CASEDOJ-KP-
                     0000022233




                     Email, Re: no chicken, 04/30/2014,
A-117
                     CASEDOJ-KP-0000047458




                     Email, FW: Case, 04/29/2014,
A-118
                     CASEDOJ-KP-0000047748
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                     Email, McLane Milwaukee,
A-119                03/05/2014, CASEDOJ-KP-
                     0000053746



                     Email, "FW: KFC COB cost model.",
A-120                11/05/2013, CASEDOJ-KP-
                     0000101300




                     Attachment, Cost Model, CASEDOJ-
A-121
                     KP-0000101302




                     Hard Copy Letter Dated 8/19/2014,
A-122
                     CASEDOJ-RD-0000002896




                     Email, 2013 KFC WS books (4).xls,
A-123                11/28/2012, CASEDOJ-RD-
                     0000017798




                     Attachment, 2013 KFC WS books
A-124
                     (4).xls, CASEDOJ-RD-0000017799




                     Attachment, 2013 WS Chicken
A-125                dippers.xlsx, CASEDOJ-RD-
                     0000017800
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                     Email, KFC Pricing Period 11, 2014,
A-126                09/28/2014, CASEDOJ-RD-
                     0000017879




                     Attachment, Copy of 2014 KFC Period
A-127
                     11.xls, CASEDOJ-RD-0000017880




                     Email, FW: KFC bid, 11/12/2012,
A-128
                     CASEDOJ-RD-0000017964




                     Attachment, Copy of Xl0000157-FOB
A-129                Summary.xls, CASEDOJ-RD-
                     0000017965




                     Attachment, Cost Model, CASEDOJ-
A-130
                     RD-0000017966




                     Attachment, 2013 KFC WS books.xls,
A-131
                     CASEDOJ-RD-0000017967




                     Email, FW: 2014 FINAL BIDS,
A-132                11/18/2013, CASEDOJ-RD-
                     0000028724
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                     Attachment, KFC 2014 FINAL FOB
A-133                COVER SHEET.xls, CASEDOJ-RD-
                     0000028725




                     Attachment, 2014 8 piece final.xls,
A-134
                     CASEDOJ-RD-0000028726




                     Attachment, KFC FP 2014 FINAL.xls,
A-135
                     CASEDOJ-RD-0000028727




                     Email, Look over, 08/19/2014,
A-136
                     CASEDOJ-RD-0000032786




                     Attachment, Letter to Buyer, CASEDOJ-
A-137
                     RD-0000032787




                     Email, FW: KFC Round 2, 11/05/2013,
A-138
                     CASEDOJ-RD-0000053464




                     Attachment, Cost Model, CASEDOJ-
A-139
                     RD-0000053465
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                     Attachment, Bid, CASEDOJ-RD-
A-140
                     0000053466




                     Attachment, KFC RFI 2014 Rnd 2.xls,
A-141
                     CASEDOJ-RD-0000053467




                     Attachment, Copy of KFC FOB
A-142                Summary 2014 Rnd 2-Case Farms.xls,
                     CASEDOJ-RD-0000053468



                     Email, FW: 2014 KFC Cost Model.xls,
A-143                04/04/2014, CASEDOJ-RD-
                     0000053489




                     Attachment, Cost Model, CASEDOJ-
A-144
                     RD-0000053490




                     Email, Fwd: Accepted: Case Farms -
A-145                Negotiation Call, 11/28/2012,
                     CASEDOJ-RD-0000056396




                     Attachment, Placeholder, CASEDOJ-
A-146
                     RD-0000056397
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                     Email, RE: 2014 R2 Cost Model KFC
A-147                Case Farms.xlsx, 11/13/2014,
                     CASEDOJ-RD-0000057141




                     Email, "RE: Cost Plus", 10/04/2013,
A-148
                     CASEFOODS0000012869




                     Email, FW: KFC COB cost model.,
A-149
                     11/04/2013, CASEFOODS0000056013




                     Attachment, 21547200005526.xls,
A-150
                     CASEFOODS0000056014




                     Email, Fwd: Case, 04/29/2014,
A-151
                     CASEFOODS0000076932




                     Email, Update 8/22/14, 08/23/2014,
A-152
                     CASEFOODS0000081121




                     Email, Update 8/29/14, 09/01/2014,
A-153
                     CASEFOODS0000081132
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                     Email, Update 9/6/14, 09/06/2014,
A-154
                     CASEFOODS0000081135




                     Email, Update 8/22/14, 08/23/2014,
A-155
                     CASEFOODS0000084465




                     Email, Quick note..., 10/10/2012,
A-156
                     CASEFOODS0000090206




                     Email, 2014 UFPC SBRA Exhibits,
A-157
                     12/11/2013, CASEFOODS0000136404




                     Attachment, Cost Model,
A-158
                     CASEFOODS0000136405




                     Email, Weekly update, 10/06/2013,
A-159
                     CASEFOODS0000142847




                     Attachment, 21547000002712.xls,
A-160
                     CASEFOODS0000142848
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                     Email, FW: 2012 UFPC SBRA
A-161                Exhibits, 12/16/2011,
                     CASEFOODS0000180931




                     Attachment, Supplier Contract,
A-162
                     CASEFOODS0000180933




                     Weekly Update Spreadsheet,
A-163
                     CASEFOODS0000216679




                     Email, Claxton Poultry grain based
A-164                model for 2015, 08/13/2014,
                     CFA_0007069




                     Attachment, Cost Model,
A-165
                     CFA_0007070




                     Email, RE: Grain model pricing strike
A-166
                     points, 08/13/2014, CFA_0007511




                     Email, Project Estimate, 01/22/2014,
A-167
                     CFA_0007869
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                     Email, RE: Deck, 06/27/2014,
A-168
                     CFA_0008444




                     Powerpoint Presentation regarding
A-169
                     Protein Vision, CFA_0008445




                     Email, RE: USDA NAE versus NE3,
A-170
                     02/06/2014, CFA_0013103




                     Email, Blank Subject Line, 09/10/2014,
A-171
                     CFA_0014918




                     Attachment, Cost Model,
A-172
                     CFA_0014919




                     Email, FW: Claxton Poultry grain based
A-173                model for 2015, 08/13/2014,
                     CFA_0015094




                     Attachment, Cost Model,
A-174
                     CFA_0015095
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                     Email, spreadsheets and presentations,
A-175
                     06/05/2014, CFA_0016437




                     Attachment, Pricing Information
A-176
                     Spreadsheet, CFA_0016438




                     Attachment, Poultry Supplier Overview,
A-177
                     CFA_0016439




                     Powerpoint Presentation regarding
A-178
                     2013 poultry update, CFA_0016440




                     Attachment, Pricing Overview,
A-179
                     CFA_0016456




                     Meeting Invite, "Meeting on ABF
A-180
                     chicken", CFA_0017836




                     Meeting Invite, "Tyson ABF visit",
A-181
                     CFA_0017841
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                     Meeting Invite, "Develop NAE Supplier
A-182                Communication Specifics",
                     CFA_0017844




                     Attachment, NAE Executive Summary,
A-183
                     CFA_0017845




A-184                Email, "Perdue pricing," CFA_0018072




A-185                Email, "Perdue pricing," CFA_0018094




                     Email, "RE: Chick-fil-A ABF
A-186
                     Announcement," CFA_0018132




                     Email, "Project Estimate,"
A-187
                     CFA_0018155




                     Email, "Pilgrim's Tentative Plant
A-188                Conversion Schedule and Cost
                     Estimate," CFA_0018168
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                     Email, "RE: ABF call with Tyson,"
A-189
                     CFA_0018179




                     Email, "RE: ABF call with Tyson,"
A-190
                     CFA_0018190




                     Email, "Fwd: CFA NAE.xlsx",
A-191
                     01/28/2014, CFA_0018197




                     Attachment, Tyson Chick-fil-A Plant
A-192
                     Breakdown, CFA_0018198




                     Attachment, Blank Page,
A-193
                     CFA_0018199




                     Email, "RE: Update", 05/30/2014,
A-194
                     CFA_0018203




                     Email, "!RE: conference call with
A-195                Tyson on Friday", 01/29/2014,
                     CFA_0018813
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                     Email, "Re: NAE Meeting in
A-196                Springdale", 05/20/2014,
                     CFA_0018828



                     Email, "Re: NAE Meeting in
A-197                Springdale", 05/19/2014,
                     CFA_0018836




                     Email, "Tyson ABF Numbers",
A-198
                     04/27/2014, CFA_0018849




                     Attachment, Production Spreadsheet,
A-199
                     CFA_0018850




                     Email, "RE: Wayne Farms CFA ABF
A-200
                     Response", 02/28/2014, CFA_0018860




                     Email, "Wayne Farms CFA ABF
A-201
                     Response", 02/28/2014, CFA_0018861




                     Attachment, Supplier Letter,
A-202
                     CFA_0018862
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                     Email, "stuff -- reply", 03/05/2014,
A-203
                     CFA_0018949




                     Email, "RE: Please provide input:
A-204                Clarify our position to suppliers for
                     RWA", 03/07/2014, CFA_0019158




                     Email, "RE: stuff -- reply", 03/10/2014,
A-205
                     CFA_0019162




                     Email, "FW: stuff -- reply", 03/06/2014,
A-206
                     CFA_0019170




                     Charter Call Records, CHARTER-
A-207
                     ATR001-00000004




                     Email, Re: Koch Request, 05/20/2014,
A-208
                     CHURCHS0003567




                     Email, Koch Foods Meeting,
A-209
                     09/03/2014, CHURCHS0005154
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                     Email, "RE: 2015 Chicken Volume",
A-210
                     09/10/2014, CHURCHS0005405




                     Email, RE: 2015 Chicken Volume,
A-211
                     09/04/2014, CHURCHS0005622




                     Email, "RE: Pilgrims deck",
A-212
                     05/27/2015, CHURCHS0010830




                     Attachment, Email, "Fwd: Industry
A-213
                     presentation", CHURCHS0010831




                     Attachment, company presentation,
A-214
                     CHURCHS0010832




                     Attachment, Mobile Record,
A-215
                     CHURCHS0010845




                     Email, 2014 Cost Model vs. 2015
A-216                Proposed Cost Model, 09/25/2014,
                     CHURCHS0011254
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                     Attachment, Pricing Comparison,
A-217
                     CHURCHS0011256




                     Email, FW: Church's 2015 Price Model,
A-218
                     09/24/2014, CHURCHS0011271




                     Attachment, Cost Model,
A-219
                     CHURCHS0011273




                     Email, BIC 2014 vs. 2015, 09/18/2014,
A-220
                     CHURCHS0011293




                     Attachment, Cost Model,
A-221
                     CHURCHS0011294




                     Attachment, Cost Model,
A-222
                     CHURCHS0011295




                     Attachment, Price Comparison,
A-223
                     CHURCHS0011296
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                     Email, RE: 2015 Chicken Volume,
A-224
                     09/10/2014, CHURCHS0011362




                     Attachment, Supply Forecast,
A-225
                     CHURCHS0011365




                     Email, RE: Poultry Industry,
A-226
                     07/03/2014, CHURCHS0011645




                     Email, Koch 2015 Contract,
A-227
                     01/22/2015, CHURCHS0012170




                     Email, Koch Business, 12/10/2014,
A-228
                     CHURCHS0012525




                     Email, FW: 2015 Added Capacity,
A-229
                     12/05/2014, CHURCHS0012563




                     Email, Koch Cheat Sheet, 12/01/2014,
A-230
                     CHURCHS0012604
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                     Email, RE: 2015 Poultry Negotiations,
A-231
                     11/16/2014, CHURCHS0012649




                     Email, FW: Extra 8 Pice and Dark-
A-232
                     Koch, 11/14/2014, CHURCHS0012664




                     Email, Re: Tyson Wild Ass Idea,
A-233
                     11/12/2014, CHURCHS0012684




                     Email, Additional Volume from Koch,
A-234
                     11/12/2014, CHURCHS0012702




                     Email, FW: Soybean meal study,
A-235
                     10/23/2014, CHURCHS0012792




                     Email, Corn Basis and Freight Analysis,
A-236
                     10/23/2014, CHURCHS0012793




                     Email, RE: 2015 Added Capacity-Koch,
A-237
                     10/17/2014, CHURCHS0012796
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                     Attachment, Volume Comparison
A-238
                     Spreadsheet, CHURCHS0012798




                     Email, FW: George's PO Popeye's 8
A-239
                     piece, 10/01/2015, CLA_0004871




                     Email, Fwd: Interesting article on
A-240                organic poultry production, 03/21/2014,
                     CLA_0007231




                     Attachment, News Article,
A-241
                     CLA_0007232




                     Email, CFA pricing comparison Filets,
A-242
                     08/25/2014, CLA_0007574




                     Email, FW: 2014 pricing agreement,
A-243
                     03/19/2015, CLA_0013418




                     Attachment, Chicken Supply
A-244
                     Agreement, CLA_0013419
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                     Email, Popeyes bone in RFP,
A-245
                     09/29/2015, CLA_0059003




                     Attachment, 2016 Bone in RFP.xls,
A-246
                     CLA_0059004




                     Email, RE: 2017 first half of year
A-247
                     Claxton, 08/02/2016, CLA_0059511




                     Email, Claxton's cost plus pricing,
A-248
                     09/26/2014, CLA_0065655




                     Attachment, KFC Cost 9-26-14.xlsx,
A-249
                     CLA_0065656




                     Email, Claxton's period 12 pricing,
A-250
                     10/24/2014, CLA_0065674




                     Attachment, KFC Cost 10-24-14.xlsx,
A-251
                     CLA_0065675
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                     Email, Claxton's cost plus pricing,
A-252
                     12/20/2011, CLA_0069174




                     Attachment, KFC Cost 12 19 11
A-253
                     updated.xlsx, CLA_0069175




                     Email, COB Follow Up, 09/23/2014,
A-254
                     CLA_0069243




                     Email, Re: Orange Label COB
A-255
                     Materials, 10/07/2014, CLA_0069248




                     Email, RE: Meeting Minutes,
A-256
                     11/09/2014, CLA_0072792




                     Attachment, Board Meeting Minutes,
A-257
                     CLA_0072794




A-258                UFPC Cost Model, CLA_0074361
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Exhibit   Witness               Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only


                     Email, Great to see you, 02/21/2014,
A-259
                     CLA_0074542




                     Email, Fwd: Great to see you,
A-260
                     02/21/2014, CLA_0074543




                     Email, Fwd: Nuggets, 04/25/2013,
A-261
                     CLA_0074707




                     Email, Re: Popeye's 8 piece bid 2017
A-262                Claxton proposed changes, 11/06/2016,
                     CLA_0075364



                     Email, RE: Jan - Feb Pricing for
A-263                confirmation, 12/23/2016,
                     CLA_0075448



                     Email, RE: Jan - Feb Pricing for
A-264                confirmation, 01/03/2017,
                     CLA_0075460




                     Email, FW: POPEYES 2018 bone-in
A-265
                     RFP, 08/16/2017, CLA_0076034
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                     Email, RE: 2018 Claxton SBRA
A-266                Exhibits.pdf, 08/17/2017,
                     CLA_0076035




                     Email, Popeye’s 2018 Bone in RFP
A-267
                     Claxton, 09/05/2017, CLA_0076096




                     Attachment, Cost Model,
A-268
                     CLA_0076097




A-269                Attachment, Bid, CLA_0076099




A-270                Attachment, Bid, CLA_0076100




                     Attachment, Email, "Emailing -
A-271                Popeyes 707 and 708 by customer 08-
                     27-17 to 09-02-17.pdf", CLA_0076101




                     Attachment, Cost Summary,
A-272
                     CLA_0076102
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Exhibit   Witness               Brief Description              Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, FW: February-April Bonafide
A-273                Boneless Wings Market Test Starting
                     01-31-18, 01/16/2018, CLA_0076403




                     Attachment, Price Summary,
A-274
                     CLA_0076405




                     Attachment, PDS Claxton.xls,
A-275
                     CLA_0076406




                     Attachment, Boneless Wings Market
A-276                Test Detailed Rollup 011618.xlsx,
                     CLA_0076407




                     Email, FW: Claxton's period 10 pricing,
A-277
                     09/05/2012, CLA_0077993




                     Attachment, Cost Model,
A-278
                     CLA_0077994




                     Email, [UFPC :: Yum Poultry Event
A-279                2012] Attachment 2-Fresh COB Cost
                     Model, 09/27/2012, CLA_0077997
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                     Email, FW: KFC Bid, 11/28/2012,
A-280
                     CLA_0078000




                     Attachment, Attachment _1-FOB
A-281
                     Summary.xlsx, CLA_0078001




                     Email, Volume for next year,
A-282
                     12/07/2012, CLA_0078002




                     Email, FW: Claxton percentages,
A-283
                     02/21/2013, CLA_0078008




                     Attachment, Claxton percentages.xls,
A-284
                     CLA_0078009




                     Email, FW: SBRA 2013 Addendum
A-285
                     KFC, 08/13/2013, CLA_0078019




                     Attachment, Supplier Agreement,
A-286
                     CLA_0078020
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                     Email, FW: UFPC Round 1 Feedback,
A-287
                     11/01/2013, CLA_0078049




                     Attachment, Supplier Feedback,
A-288
                     CLA_0078050




                     Email, FW: Negotiation Calls,
A-289
                     11/01/2013, CLA_0078055




                     Email, RE: Negotiation Calls,
A-290
                     11/01/2013, CLA_0078056




                     Email, FW: 2014 Popeyes Strip RFP,
A-291
                     11/04/2013, CLA_0078065




                     Attachment, Freight Template_Popeyes
A-292                Supplier Pricing_01-08.xls,
                     CLA_0078066




                     Attachment, Nondisclosure Agreement,
A-293
                     CLA_0078067
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                     Email, Meeting Follow-Up,
A-294
                     08/07/2014, CLA_0078160




                     Email, KFC cost model 2015,
A-295
                     08/18/2014, CLA_0078169




                     Attachment, Cost Model,
A-296
                     CLA_0078170




                     Email, COB Negotiations/Corn & Meal
A-297
                     Hedging, 09/09/2014, CLA_0078181




                     Email, RE: COB Negotiations,
A-298
                     09/09/2014, CLA_0078182




                     Attachment, Cost Model,
A-299
                     CLA_0078184




                     Email, Re: COB Negotiations/Corn &
A-300                Meal Hedging, 09/09/2014,
                     CLA_0078192
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                     Email, P11 Pricing, 09/26/2014,
A-301
                     CLA_0078266




                     Email, RE: P11 Pricing, 09/26/2014,
A-302
                     CLA_0078267




                     Email, RE: New weights and billing,
A-303
                     11/14/2014, CLA_0078364




                     Email, FYI Popeye's pricing,
A-304
                     05/27/2015, CLA_0078631




                     Email, KFC Pricing, 09/04/2015,
A-305
                     CLA_0078783




                     Email, Claxton's Cost Plus Pricing
A-306                Period 13 2016, 11/15/2016,
                     CLA_0078935




                     Attachment, Cost Model,
A-307
                     CLA_0078936
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                     Email, Re: SBR tomorrow, 06/09/2014,
A-308
                     CLA_0081193




                     Email, Copy: Claxton Poultry Farms
A-309
                     Meeting, 08/28/2014, CLA_0081206




                     Email, RE: Popeyes cost 2016-09.xlsx,
A-310
                     08/31/2016, CLA_0081755




                     Email, RE: SCA Follow-up,
A-311
                     09/08/2016, CLA_0081779




                     Email, RE: Popeyes cost 2017-5.xlsx,
A-312
                     04/27/2017, CLA_0082303




                     Email, Re: Bird Breed Question,
A-313
                     06/23/2017, CLA_0082387




                     Email, Emailing - Popeyes 707 and 708
A-314                by customer 08-27-17 to 09-02-17.pdf,
                     09/05/2017, CLA_0082529
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                     Attachment, Price Summary,
A-315
                     CLA_0082530




                     Email, FW: Scan from Claxton Poultry,
A-316
                     10/12/2017, CLA_0082647




A-317                Attachment, Invoice, CLA_0082649




A-318                Digital Device Records, CLA_0085059




                     Email, FW: George's PO, 09/09/2016,
A-319
                     CLA_0089183




                     Attachment, Outside Purchases
A-320
                     Summary, CLA_0089184




                     Email, FW: Purchase Order George's
A-321                KFC 8 piece order picking up tonight,
                     11/07/2016, CLA_0090253
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                     Attachment, Outside Purchases
A-322
                     Summary, CLA_0090254




                     Email, RE: Departure time for PO 4293-
A-323
                     1, 3/1/2017, CLA_0092672




                     Email, Carollton, Ga rate-$900.00,
A-324
                     04/11/2017, CLA_0093633




                     Email, Pilgrims po for KFC 8 piece
A-325                Carrollton, GA, 08/16/2017,
                     CLA_0096465




                     Email, FW: Claxton PO Needed -
A-326
                     Ellijay, 08/17/2017, CLA_0096504



                     Email, FW: Popeye's for Ellijay Po
                     4509095809 ships Thursday at 1:00 pm
A-327
                     for a 6:00 pm delivery, 09/06/2017,
                     CLA_0097337



                     Email, CDI Jacksonville Popeye's mild
A-328                strips that pilgrims delivered on 9/14.,
                     09/15/2017, CLA_0097638
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                     Attachment, Email, "Pilgrims po for
A-329
                     Popeyes strips", CLA_0097639




                     Attachment, Purchase Order,
A-330
                     CLA_0097640




                     Attachment, Email Signature,
A-331
                     CLA_0097641




A-332                Digital Device Records, CLA_0103902




                     Email, RE: Jan - Feb Pricing for
A-333                confirmation CFA pricing 2017,
                     12/23/2016, CLA_0110118



                     Email, FW: Jan - Feb Pricing for
A-334                confirmation CFA pricing 2017,
                     12/23/2016, CLA_0110128



                     Email, Claxton's Cost Plus Pricing
A-335                Period 8 2017, 07/07/2017,
                     CLA_0120197
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                     Attachment, Cost Model,
A-336
                     CLA_0120198




                     Email, RE: Claxton, 11/13/2017,
A-337
                     CLA_0123792




                     Email, RE: Mar-Jac, 11/18/2017,
A-338
                     CLA_0123954



                     Email, Popeye's 2018 model corrected
                     chick cost, grower pay and labor also a
A-339
                     .01 reduction, 12/28/2017,
                     CLA_0124874




A-340                Attachment, Bid, CLA_0124875




A-341                Digital Device Records, CLA_0128850




                     Email, FW:, 10/31/2013,
A-342
                     CLA_0132716
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                     Email, CFA ABF Meeting, 04/08/2014,
A-343
                     CLA_0132737




                     Email, UFPC Meeting, 08/05/2014,
A-344
                     CLA_0132743




                     Email, New weights and billing,
A-345
                     11/12/2014, CLA_0132891




                     Email, RE: New weights and billing,
A-346
                     11/12/2014, CLA_0132894




                     Email, Re: New weights and billing,
A-347
                     11/13/2014, CLA_0132895




                     Email, Fwd: September bone in
A-348
                     promotion, 03/26/2015, CLA_0133081




                     Email, FW: Please don't share except
A-349
                     Mikell, 09/14/2015, CLA_0133286
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                     Email, Claxton - Next KFC COB
A-350                Agreement Discussion, 01/19/2017,
                     CLA_0133440




                     Email, here you go, 02/27/2017,
A-351
                     CLA_0133441




                     Email, RE: here you go, 02/27/2017,
A-352
                     CLA_0133442




                     Email, GAP, 03/23/2017,
A-353
                     CLA_0133459




                     Attachment, Email, "FW: Gap9",
A-354
                     CLA_0133460




                     Attachment, Screenshare,
A-355
                     CLA_0133461




                     Attachment, Email Signature,
A-356
                     CLA_0133462
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                     Attachment, Email, "FW: Gap8",
A-357
                     CLA_0133463




                     Attachment, Screenshare,
A-358
                     CLA_0133464




A-359                Attachment, Signature, CLA_0133465




                     Attachment, Email, "FW: Gap7",
A-360
                     CLA_0133466




                     Attachment, Screenshare,
A-361
                     CLA_0133467




A-362                Attachment, Signature, CLA_0133468




                     Attachment, Email, "FW: Gap6",
A-363
                     CLA_0133469
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                     Attachment, Screenshare,
A-364
                     CLA_0133470




A-365                Attachment, Signature, CLA_0133471




                     Attachment, Email, "FW: Gap5",
A-366
                     CLA_0133472




                     Attachment, Screenshare,
A-367
                     CLA_0133473




A-368                Attachment, Signature, CLA_0133474




                     Attachment, Email, "FW: Gap4",
A-369
                     CLA_0133475




                     Attachment, Screenshare,
A-370
                     CLA_0133476
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A-371                Attachment, Signature, CLA_0133477




                     Attachment, Email, "FW: Gap3",
A-372
                     CLA_0133478




                     Attachment, Screenshare,
A-373
                     CLA_0133479




A-374                Attachment, Signature, CLA_0133480




                     Attachment, Email, "FW: Gap 2",
A-375
                     CLA_0133481




                     Attachment, Screenshare,
A-376
                     CLA_0133482




A-377                Attachment, Signature, CLA_0133483
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                     Attachment, Email, "FW:",
A-378
                     CLA_0133484




                     Attachment, Screenshare,
A-379
                     CLA_0133485




A-380                Attachment, Signature, CLA_0133486




A-381                Digital Device Records, CLA_0149623




A-382                Digital Device Records, CLA_0149779




A-383                Attachment, Image, CLA_0149780




A-384                Attachment, Image, CLA_0149781
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A-387                Attachment, Image, CLA_0149784




A-388                Attachment, Image, CLA_0149785




A-389                Attachment, Image, CLA_0149786




A-390                Attachment, Image, CLA_0149787




A-391                Attachment, Image, CLA_0149788
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A-393                Attachment, Image, CLA_0149790




A-394                Attachment, Image, CLA_0149791




A-395                Attachment, Image, CLA_0149792




                     Attachment, Contact File,
A-396
                     CLA_0149793




                     Attachment, Contact File,
A-397
                     CLA_0149794




                     Attachment, Contact File,
A-398
                     CLA_0149795
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A-400                Attachment, Image, CLA_0149797




A-401                Attachment, Image, CLA_0149798




A-402                Attachment, Image, CLA_0149799




A-403                Attachment, Image, CLA_0149800




A-404                Attachment, Image, CLA_0149801




A-405                Attachment, Image, CLA_0149802
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A-407                Attachment, Image, CLA_0149804




A-408                Attachment, Image, CLA_0149805




A-409                Attachment, Image, CLA_0149806




A-410                Attachment, Image, CLA_0149807




A-411                Attachment, Image, CLA_0149808




A-412                Attachment, Image, CLA_0149809
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A-413                Attachment, Image, CLA_0149810




A-414                Attachment, Image, CLA_0149811




A-415                Attachment, Image, CLA_0149812




A-416                Attachment, Image, CLA_0149813




A-417                Attachment, Image, CLA_0149814




A-418                Attachment, Image, CLA_0149815




A-419                Attachment, Image, CLA_0149816
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A-421                Attachment, Image, CLA_0149831




A-422                Attachment, Image, CLA_0149832




A-423                Attachment, Image, CLA_0149833




A-424                Attachment, Image, CLA_0149834




A-425                Attachment, Image, CLA_0149835




A-426                Attachment, Image, CLA_0149836
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A-427                Attachment, Image, CLA_0149837




A-428                Attachment, Image, CLA_0149838




A-429                Attachment, Image, CLA_0149839




A-430                Attachment, Image, CLA_0149840




A-431                Attachment, Image, CLA_0149841




A-432                Attachment, Image, CLA_0149842




A-433                Attachment, Image, CLA_0149843
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A-434                Attachment, Image, CLA_0149844




A-435                Attachment, Image, CLA_0149845




A-436                Attachment, Image, CLA_0149846




A-437                Attachment, Image, CLA_0149847




A-438                Attachment, Image, CLA_0149848




A-439                Attachment, Image, CLA_0149849




A-440                Attachment, Image, CLA_0149850
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A-441                Attachment, Image, CLA_0149851




A-442                Attachment, Image, CLA_0149852




A-443                Attachment, Image, CLA_0149853




A-444                Attachment, Image, CLA_0149854




A-445                Attachment, Image, CLA_0149855




A-446                Attachment, Image, CLA_0149856




A-447                Attachment, Image, CLA_0149857
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A-448                Attachment, Image, CLA_0149858




A-449                Attachment, Image, CLA_0149859




A-450                Attachment, Image, CLA_0149860




A-451                Attachment, Image, CLA_0149861




A-452                Attachment, Image, CLA_0149862




A-453                Attachment, Image, CLA_0149863




A-454                Attachment, Image, CLA_0149864
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A-455                Attachment, Image, CLA_0149865




A-456                Attachment, Image, CLA_0149866




A-457                Attachment, Image, CLA_0149867




A-458                Attachment, Image, CLA_0149868




A-459                Attachment, Image, CLA_0149869




A-460                Attachment, Image, CLA_0149870




A-461                Attachment, Image, CLA_0149871
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A-462                Attachment, Image, CLA_0149872




A-463                Attachment, Image, CLA_0149873




A-464                Attachment, Image, CLA_0149874




A-465                Attachment, Image, CLA_0149875




A-466                Attachment, Image, CLA_0149876




A-467                Attachment, Image, CLA_0149877




A-468                Attachment, Image, CLA_0149878
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A-469                Attachment, Image, CLA_0149879




A-470                Attachment, Image, CLA_0149880




A-471                Attachment, Image, CLA_0149881




A-472                Attachment, Image, CLA_0149882




A-473                Attachment, Image, CLA_0149883




A-474                Attachment, Image, CLA_0149884




A-475                Attachment, Image, CLA_0149885
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A-476                Attachment, Image, CLA_0149886




A-477                Attachment, Image, CLA_0149887




A-478                Attachment, Image, CLA_0149888




A-479                Attachment, Image, CLA_0149889




A-480                Attachment, Image, CLA_0149890




A-481                Attachment, Image, CLA_0149891




A-482                Attachment, Image, CLA_0149892
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A-483                Attachment, Image, CLA_0149893




A-484                Attachment, Image, CLA_0149894




A-485                Attachment, Image, CLA_0149895




A-486                Attachment, Image, CLA_0149896




A-487                Attachment, Image, CLA_0149897




A-488                Attachment, Image, CLA_0149898




A-489                Attachment, Image, CLA_0149899
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A-490                Attachment, Image, CLA_0149900




A-491                Attachment, Image, CLA_0149901




A-492                Attachment, Image, CLA_0149902




A-493                Attachment, Image, CLA_0149903




A-494                Attachment, Image, CLA_0149904




A-495                Attachment, Image, CLA_0149905




A-496                Attachment, Image, CLA_0149906
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A-497                Attachment, Image, CLA_0149907




A-498                Attachment, Image, CLA_0149908




A-499                Attachment, Image, CLA_0149909




A-500                Attachment, Image, CLA_0149910




A-501                Attachment, Image, CLA_0149911




A-502                Attachment, Image, CLA_0149912




A-503                Attachment, Image, CLA_0149913
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A-504                Attachment, Image, CLA_0149914




A-505                Attachment, Image, CLA_0149915




A-506                Attachment, Image, CLA_0149916




A-507                Attachment, Image, CLA_0149917




A-508                Attachment, Image, CLA_0149918




A-509                Attachment, Image, CLA_0149919




A-510                Attachment, Image, CLA_0149920
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A-511                Attachment, Image, CLA_0149921




A-512                Attachment, Image, CLA_0150033




A-513                Attachment, Image, CLA_0150034




A-514                Attachment, Image, CLA_0150035




                     Attachment, Contact File,
A-515
                     CLA_0150036




                     Attachment, Contact File,
A-516
                     CLA_0150037




                     Attachment, Contact File,
A-517
                     CLA_0150038
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                     Attachment, Contact File,
A-518
                     CLA_0150039




                     Attachment, Contact File,
A-519
                     CLA_0150040




                     Attachment, Contact File,
A-520
                     CLA_0150041




                     Attachment, Contact File,
A-521
                     CLA_0150042




A-522                Attachment, Video, CLA_0150043




                     Attachment, Audio Message,
A-523
                     CLA_0150044




                     Attachment, Audio Message,
A-524
                     CLA_0150045
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                     Attachment, Quicktime File,
A-525
                     CLA_0150046




                     Attachment, Quicktime File,
A-526
                     CLA_0150047




                     Attachment, Quicktime File,
A-527
                     CLA_0150048




A-528                Digital Device Records, CLA_0151728




A-529                Digital Device Records, CLA_0151729




                     Email, FW: Chicken on the Bone
A-530                Update KFC, 02/17/2017,
                     CLA_0168565




A-531                Digital Device Records, CLA_0188663
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A-532                Digital Device Records, CLA_0188664




A-533                Digital Device Records, CLA_0190600




A-534                Digital Device Records, CLA_0190924




A-535                Digital Device Records, CLA_0190925




                     Email, Popeye's, 11/19/2012,
A-536
                     CLA_0190973




A-537                Digital Device Records, CLA_0191205




                     Email, "Fwd: Claxton's cost plus
A-538                pricing for August", 08/08/2012,
                     CLA_0191258
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                     Attachment, Cost Model,
A-539
                     CLA_0191259




                     Email, Claxton's pricing for next period,
A-540
                     08/31/2012, CLA_0191408




                     Attachment, Cost Model,
A-541
                     CLA_0191409



                     Email, Fwd: [UFPC :: Yum Poultry
                     Event 2012] 2013 Yum! Brands Poultry
A-542
                     RFP & CombineNet User Invitation,
                     09/26/2012, CLA_0191475



                     Email, Claxton's cost plus pricing,
A-543
                     09/28/2012, CLA_0191501




                     Attachment, Cost Model,
A-544
                     CLA_0191502




                     Email, COB Cost model Claxton
A-545                Poultry 2013, 10/09/2012,
                     CLA_0191549
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                     Attachment, Cost Model,
A-546
                     CLA_0191550




                     Email, FW: 2012 UFPC RFI
A-547                Questions.xlsx, 10/11/2012,
                     CLA_0191553




                     Attachment, 2012 UFPC RFI
A-548
                     Questions.xlsx, CLA_0191554




                     Email, "Claxton and CFA Meeting
A-549                10/24/12 Notes and Action Items",
                     10/25/2012, CLA_0191587




                     Email, KFC, 10/26/2012,
A-550
                     CLA_0191588




                     Attachment, Cost Model,
A-551
                     CLA_0191589




                     Email, Claxton's cost plus pricing,
A-552
                     10/29/2012, CLA_0191599
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                     Attachment, Cost Model,
A-553
                     CLA_0191600




                     Email, Popeyes, 10/30/2012,
A-554
                     CLA_0191654




                     Attachment, Cost Model,
A-555
                     CLA_0191655



                     Email, Claxton Nugget Presentation
                     (Notes, Additional Questions, and
A-556
                     Action Items), 11/02/2012,
                     CLA_0191671



                     Email, KFC Bid, 11/14/2012,
A-557
                     CLA_0191784




                     Attachment, Attachment _1-FOB
A-558
                     Summary.xlsx, CLA_0191785




                     Email, KFC Bid, 11/14/2012,
A-559
                     CLA_0191786
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                     Attachment, Cost Model,
A-560
                     CLA_0191787




                     Email, FW: Complaints/loads Popeye's,
A-561
                     11/14/2012, CLA_0191792




                     Email, FW: Claxton Labels Popeye's,
A-562
                     11/18/2012, CLA_0191805




A-563                Attachment, Label, CLA_0191806




                     Email, Popeye's, 11/19/2012,
A-564
                     CLA_0191812




A-565                Email, RE:, 11/20/2012, CLA_0191828




                     Email, Claxton's Period 13 pricing,
A-566
                     11/21/2012, CLA_0191829
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                     Attachment, Cost Model,
A-567
                     CLA_0191830




                     Email, RE: FRIDAY KFC ORDER
A-568                FOR GEORGES, 11/21/2012,
                     CLA_0191833



                     Email, RE: Popeye's 8 piece for
A-569                George's To Rancho Ship Friday,
                     11/23/2012, CLA_0191834




                     Email, FW: Scanner, 12/03/2012,
A-570
                     CLA_0191940




                     Attachment, Purchase Order,
A-571
                     CLA_0191941




                     Email, FW: Scan from Copier,
A-572
                     12/03/2012, CLA_0191947




                     Attachment, Purchase Order,
A-573
                     CLA_0191948
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                     Email, FW: KFC Bid, 12/03/2012,
A-574
                     CLA_0191955




                     Attachment, Cost Model,
A-575
                     CLA_0191956




                     Email, RE: KFC Bid, 12/03/2012,
A-576
                     CLA_0191959




                     Email, FW: KFC Bid, 12/03/2012,
A-577
                     CLA_0191961




                     Attachment, Cost Model,
A-578
                     CLA_0191962




                     Email, FW: KFC Bid, 12/03/2012,
A-579
                     CLA_0191963




                     Attachment, Attachment _1-FOB
A-580
                     Summary.xlsx, CLA_0191964
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                     Email, "FW: KFC Bid", 12/05/2012,
A-581
                     CLA_0191967




                     Attachment, Cost Model,
A-582
                     CLA_0191969




                     Email, RE: KFC 8 piece for Pilgrims,
A-583
                     12/11/2012, CLA_0191984




                     Email, RE: KFC, 12/11/2012,
A-584
                     CLA_0191986




                     Email, RE: Popeyes, 01/31/2013,
A-585
                     CLA_0192217




                     Email, Claxton's cost plus pricing for
A-586                next period, 02/19/2013,
                     CLA_0192252




                     Attachment, Cost Model,
A-587
                     CLA_0192253
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                     Email, FW: Claxton Data Sheet.xlsx,
A-588
                     03/08/2013, CLA_0192298




                     Attachment, Claxton Data Sheet.xlsx,
A-589
                     CLA_0192299




                     Email, RE: Claxton Data Sheet.xlsx,
A-590
                     03/12/2013, CLA_0192302




                     Email, Tender KPI, 03/28/2013,
A-591
                     CLA_0192383




                     Attachment, Tenders Charts
A-592
                     (Claxton).xlsx, CLA_0192384




                     Email, "FW: Popeyes volume",
A-593
                     04/18/2013, CLA_0192416




                     Attachment, Supplier Questionnaire,
A-594
                     CLA_0192417
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                     Email, RE: Popeyes, 08/29/2013,
A-595
                     CLA_0192783




                     Email, "UFPC Poultry Supplier
A-596                Invitation to Bid for 2014", 09/23/2013,
                     CLA_0192838




                     Attachment, Supplier Checklist,
A-597
                     CLA_0192839




                     Attachment, Blank Cost Model,
A-598
                     CLA_0192840




                     Attachment, Cost Model,
A-599
                     CLA_0192841




                     Attachment, Blank Cost Model,
A-600
                     CLA_0192842




                     Attachment, Blank Cost Model,
A-601
                     CLA_0192843
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                     Attachment, Blank RFI Template,
A-602
                     CLA_0192844




                     Email, RE: KFC cost plus attached,
A-603
                     10/01/2013, CLA_0192875




                     Email, KFC proposal attached,
A-604
                     10/04/2013, CLA_0192902




                     Attachment, Cost Model,
A-605
                     CLA_0192903




                     Email, KFC current cost model with
A-606                next year's estimated corn and soy
                     prices, 10/04/2013, CLA_0192904




                     Attachment, Cost Model,
A-607
                     CLA_0192905




                     Email, "RE: Additional KFC COB
A-608
                     capacity", 10/16/2013, CLA_0192931
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                     Email, RE: Popeyes November pricing,
A-609
                     10/30/2013, CLA_0192979




                     Email, UFPC Round 1 Feedback,
A-610
                     10/31/2013, CLA_0192987




                     Attachment, Supplier Feedback,
A-611
                     CLA_0192988




                     Email, Claxton FOB Rd 2 2014,
A-612
                     11/05/2013, CLA_0192999




                     Attachment, Cost Model,
A-613
                     CLA_0193000




                     Email, Claxton Poultry round 2,
A-614
                     11/05/2013, CLA_0193001




                     Attachment, FOB Summary 2014 Rnd 2-
A-615
                     Claxton.xls, CLA_0193003
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                     Attachment, RFI 2014 Rnd 2.xls,
A-616
                     CLA_0193004




                     Email, Claxton, 11/13/2013,
A-617
                     CLA_0193014




                     Attachment, PowerPoint Deck for
A-618
                     Yum!, CLA_0193015




                     Email, FW: 440173, 11/18/2013,
A-619
                     CLA_0193035




                     Email, "Claxton Poutry round 3 2014",
A-620
                     11/18/2013, CLA_0193036




                     Attachment, Cost Model,
A-621
                     CLA_0193037




                     Email, FW: UFPC Final Bid
A-622                Submissions, 11/18/2013,
                     CLA_0193038
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                     Attachment, FOB Summary FINAL -
A-623
                     Claxton.xls, CLA_0193039




                     Email, "Claxton Poultry updated COB",
A-624
                     11/19/2013, CLA_0193046




                     Attachment, Cost Model,
A-625
                     CLA_0193047




                     Email, FW: UFPC Final Bid
A-626                Submissions round 4, 11/19/2013,
                     CLA_0193048




                     Attachment, FOB Summary FINAL -
A-627
                     Claxton.xls, CLA_0193049




                     Email, "Re: KFC bites 2014",
A-628
                     11/25/2013, CLA_0193082




                     Email, Re: DOE Fuel price,
A-629
                     11/27/2013, CLA_0193089
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                     Email, Feed cost, 12/05/2013,
A-630
                     CLA_0193185




                     Email, FW: freight and Basis,
A-631
                     12/06/2013, CLA_0193192




                     Email, FW: Popeyes bone in chicken &
A-632                blended pricing for 2014, 12/10/2013,
                     CLA_0193209




                     Email, "2014 UFPC SBRA Exhibits",
A-633
                     12/11/2013, CLA_0193214




                     Attachment, Supplier Contract,
A-634
                     CLA_0193215




                     Email, FW: BOH Nuggets, 04/08/2014,
A-635
                     CLA_0193637




                     Email, raw tender data, 04/18/2014,
A-636
                     CLA_0193704
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                     Email, RE: Claxton ABF estimates,
A-637
                     04/23/2014, CLA_0193715




                     Email, RE: Grain outlook 2015,
A-638
                     04/24/2014, CLA_0193720




                     Email, Claxton Business Review,
A-639
                     06/09/2014, CLA_0193922




                     Attachment, Contact Item,
A-640
                     CLA_0193923




                     Email, New NAE Guidelines to be
A-641                added to your Poultry Quality Standards
                     Book, 07/15/2014, CLA_0194145




                     Attachment, Quality Standards,
A-642
                     CLA_0194146




                     Attachment, Specifications,
A-643
                     CLA_0194147
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                     Email, FW:, 07/25/2014,
A-644
                     CLA_0194201




                     Email, No Subject-7991.EML,
A-645
                     08/01/2014, CLA_0194231




                     Attachment, Cost Model,
A-646
                     CLA_0194232




                     Email, Emailing: CPF-CFA Grain
A-647                Based Model, 08/12/2014,
                     CLA_0194275




                     Attachment, Cost Model,
A-648
                     CLA_0194276




                     Email, Re: Claxton Poultry grain based
A-649                model for 2015, 08/13/2014,
                     CLA_0194283



                     Email, FW: Meeting Follow-Up
A-650                Claxton Poultry 2015, 08/19/2014,
                     CLA_0194289
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                     Attachment, Cost Model,
A-651
                     CLA_0194291




                     Email, No Subject-9009.EML,
A-652
                     08/27/2014, CLA_0194311




                     Attachment, CFA bird%.xlsx,
A-653
                     CLA_0194312




                     Email, "RE: COB Negotiations/Corn &
A-654                Meal Hedging", 09/10/2014,
                     CLA_0194376




                     Email, "FW: KFC QA Costs",
A-655
                     09/16/2014, CLA_0194427




                     Attachment, Summary of QA Costs,
A-656
                     CLA_0194428




                     Email, Re: Claxton Poultry 2015,
A-657
                     10/03/2014, CLA_0194560
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                     Email, FW: Claxton Poultry grain
A-658                based model 2015 First 6 months of
                     2015, 12/08/2014, CLA_0194842




                     Attachment, Cost Model,
A-659
                     CLA_0194843




                     Email, "RE: Popeyes May promotion",
A-660
                     03/16/2015, CLA_0195145




                     Email, FW:, 05/01/2015,
A-661
                     CLA_0195273




                     Email, RE: Popeyes cost 2015-7.xlsx,
A-662
                     07/01/2015, CLA_0195448




                     Email, "RE: September BIC
A-663                promotion", 07/24/2015,
                     CLA_0195528




                     Email, Please don't share except Mikell,
A-664
                     09/11/2015, CLA_0195899
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                     Email, Re: Please don't share except
A-665
                     Mikell, 09/11/2015, CLA_0195900




                     Email, FW: POPEYES 2018 bone-in
A-666
                     RFP, 08/21/2017, CLA_0198953




                     Email, RE: Please DocuSign the
A-667                Claxton SBRA Exhibits, 08/29/2017,
                     CLA_0198967




                     Email, "Fwd: Frozen COB",
A-668
                     03/23/2015, CLA_0200423




A-669                Digital Device Records, CLA_0221164




A-670                Digital Device Records, CLA_0221169




A-671                Digital Device Records, CLA_0221173
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A-672                Digital Device Records, CLA_0221179




A-673                Digital Device Records, CLA_0221180




A-674                Digital Device Records, CLA_0221209




A-675                Digital Device Records, CLA_0221210




A-676                Digital Device Records, CLA_0221211




A-677                Digital Device Records, CLA_0221237




A-678                Digital Device Records, CLA_0221238
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A-679                Digital Device Records, CLA_0221239




A-680                Digital Device Records, CLA_0221248




                     Email, Popeyes cost 2019-01,
A-681
                     01/03/2019, CLA_0221646




                     Attachment, Cost Model,
A-682
                     CLA_0221647




                     Email, Popeye's pricing Jan 2019 1/7 to
A-683                2/3 period 1, 01/03/2019,
                     CLA_0225288




                     Attachment, Popeye's pricing January
A-684
                     2019.xlsx, CLA_0225289




                     Email, Popeyes cost 2019-01.xlsx,
A-685
                     01/02/2019, CLA_0289535
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 99 of 1105

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                     Attachment, Cost Model,
A-686
                     CLA_0289536




                     Email, FW: George's PO Popeye's 8
A-687                piece, 10/01/2015,
                     CLAXTON_0008566



                     Email, FW: RSCS SCA Project for
A-688                COB chicken, 09/07/2016,
                     CLAXTON_0009670



                     Attachment, COB SCA Planner -
A-689                Supplier Questionnaire 8-26-16.xlsx,
                     CLAXTON_0009672




                     Email, ACC PRICING, 09/06/2012,
A-690
                     CLAXTON_0012041




                     Attachment, ACC FOR MIKEL
A-691
                     COMPARE.xlsx, CLAXTON_0012042




                     Email, Fwd: Antibiotic free broiler
A-692                production, 02/18/2014,
                     CLAXTON_0012731
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 100 of 1105

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                     Email, RE: ABF cost, 04/14/2014,
A-693
                     CLAXTON_0012984




                     Email, RE: 2015 Chicken, 10/14/2014,
A-694
                     CLAXTON_0014869




                     Email, FW: SBR Outline, 05/12/2014,
A-695
                     CLAXTON_0041717




                     Attachment, Supply Chain Business
A-696
                     Review, CLAXTON_0041718




                     Email, Blank Subject Line, 03/27/2014,
A-697
                     CLAXTON_0086733




                     Attachment, Purchase Order,
A-698
                     CLAXTON_0086734




                     Email, Blank Subject Line, 04/16/2014,
A-699
                     CLAXTON_0086836
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                     Attachment, Purchase Order,
A-700
                     CLAXTON_0086837




                     Email, Blank Subject Line, 01/29/2015,
A-701
                     CLAXTON_0089702




                     Attachment, Cost Model,
A-702
                     CLAXTON_0089703




                     Email, Blank Subject Line, 01/29/2015,
A-703
                     CLAXTON_0089704




                     Attachment, Cost Model,
A-704
                     CLAXTON_0089705




                     Email, Blank Subject Line, 07/15/2015,
A-705
                     CLAXTON_0091433




                     Email, Blank Subject Line, 12/22/2014,
A-706
                     CLAXTON_0098789
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                     Email, Blank Subject Line, 04/29/2015,
A-707
                     CLAXTON_0106155




                     Attachment, Purchase Order,
A-708
                     CLAXTON_0106156




                     Email, Blank Subject Line, 12/22/2014,
A-709
                     CLAXTON_0173792




                     UFPC Cost Model,
A-710
                     CLAXTON_0178561




                     UFPC Cost Model,
A-711
                     CLAXTON_0178583




                     Digital Device Records,
A-712
                     CLAXTON_0181697




                     Digital Device Records,
A-713
                     CLAXTON_0181698
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                     Digital Device Records,
A-714
                     CLAXTON_0181699




                     Digital Device Records,
A-715
                     CLAXTON_0181700




                     Digital Device Records,
A-716
                     CLAXTON_0181702




                     Digital Device Records,
A-717
                     CLAXTON_0181703




                     Digital Device Records,
A-718
                     CLAXTON_0181704




                     Digital Device Records,
A-719
                     CLAXTON_0181706




                     Digital Device Records,
A-720
                     CLAXTON_0181718
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                     Digital Device Records,
A-721
                     CLAXTON_0181719




                     Digital Device Records,
A-722
                     CLAXTON_0181720




                     Digital Device Records,
A-723
                     CLAXTON_0181721




                     Digital Device Records,
A-724
                     CLAXTON_0181722




                     Digital Device Records,
A-725
                     CLAXTON_0181723




                     Digital Device Records,
A-726
                     CLAXTON_0181724




                     Email, "FW: Claxton", 06/12/2020,
A-727
                     CLAXTON-ATR001-00000001
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                     Digital Device Records, CLAXTON-
A-728
                     ATR001-00000013




                     Attachment, Text Message Report,
A-729
                     CLAXTON-ATR001-00000014




                     Digital Device Records, CLAXTON-
A-730
                     ATR001-00000028




                     Comcast Call Records, COMCAST-
A-731
                     ATR001-00000005




                     Comcast Call Records, COMCAST-
A-732
                     ATR001-00000006




                     Comcast Call Records, COMCAST-
A-733
                     ATR001-00000007




                     Comcast Call Records, COMCAST-
A-734
                     ATR001-00000008
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                     Comcast Call Records, COMCAST-
A-735
                     ATR001-00000009




                     Comcast Call Records, COMCAST-
A-736
                     ATR001-00000010




                     Comcast Call Records, COMCAST-
A-737
                     ATR001-00000011




                     Comcast Call Records, COMCAST-
A-738
                     ATR001-00000012




                     Comcast Call Records, COMCAST-
A-739
                     ATR001-00000013




                     Comcast Subpoena Response,
A-740
                     COMCAST-ATR002-00000001




                     C Spire Records Interpretation,
A-741
                     CSPIRE0000000018
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                     C Spire Records Interpretation, CSPIRE-
A-742
                     ATR001-00000009




                     C Spire Call Records, CSPIRE-
A-743
                     ATR001-00000012




                     C Spire Call Records, CSPIRE-
A-744
                     ATR001-00000013




                     C Spire Call Records, CSPIRE-
A-745
                     ATR001-00000014




                     C Spire Call Records, CSPIRE-
A-746
                     ATR001-00000015




                     C Spire Certification, CSPIRE-ATR001-
A-747
                     00000016




                     C Spire Certification, CSPIRE-ATR001-
A-748
                     00000017
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                     C Spire Call Records, CSPIRE-
A-749
                     ATR002-00000005




                     C Spire Call Records, CSPIRE-
A-750
                     ATR002-00000006




                     C Spire Call Records, CSPIRE-
A-751
                     ATR002-00000007




                     C Spire Call Records, CSPIRE-
A-752
                     ATR002-00000008




                     DATA-DEFS-001, _1
A-753
                     PILGRIMS_SD_00043-57 Egg Sets.sas




                     DATA-DEFS-001, _2
A-754                PILGRIMS_SD_00434-449 Chicks
                     Placed.sas




                     DATA-DEFS-001,
A-755
                     _2005_readin.sas7bdat
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                     DATA-DEFS-001,
A-756
                     _2006_readin.sas7bdat




                     DATA-DEFS-001,
A-757
                     _2007_fiscal_week01.sas7bdat




                     DATA-DEFS-001,
A-758
                     _2007_fiscal_week02.sas7bdat




                     DATA-DEFS-001,
A-759
                     _2007_fiscal_week03.sas7bdat




                     DATA-DEFS-001,
A-760
                     _2007_fiscal_week04.sas7bdat




                     DATA-DEFS-001,
A-761
                     _2007_fiscal_week05.sas7bdat




                     DATA-DEFS-001,
A-762
                     _2007_fiscal_week06.sas7bdat
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                     DATA-DEFS-001,
A-763
                     _2007_fiscal_week07.sas7bdat




                     DATA-DEFS-001,
A-764
                     _2007_fiscal_week08.sas7bdat




                     DATA-DEFS-001,
A-765
                     _2007_fiscal_week09.sas7bdat




                     DATA-DEFS-001,
A-766
                     _2007_fiscal_week10.sas7bdat




                     DATA-DEFS-001,
A-767
                     _2007_fiscal_week11.sas7bdat




                     DATA-DEFS-001,
A-768
                     _2007_fiscal_week12.sas7bdat




                     DATA-DEFS-001,
A-769
                     _2007_fiscal_week13.sas7bdat
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                     DATA-DEFS-001,
A-770
                     _2007_fiscal_week14.sas7bdat




                     DATA-DEFS-001,
A-771
                     _2007_fiscal_week15.sas7bdat




                     DATA-DEFS-001,
A-772
                     _2007_fiscal_week16.sas7bdat




                     DATA-DEFS-001,
A-773
                     _2007_fiscal_week17.sas7bdat




                     DATA-DEFS-001,
A-774
                     _2007_fiscal_week18.sas7bdat




                     DATA-DEFS-001,
A-775
                     _2007_fiscal_week19.sas7bdat




                     DATA-DEFS-001,
A-776
                     _2007_fiscal_week20.sas7bdat
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                     DATA-DEFS-001,
A-777
                     _2007_fiscal_week21.sas7bdat




                     DATA-DEFS-001,
A-778
                     _2007_fiscal_week22.sas7bdat




                     DATA-DEFS-001,
A-779
                     _2007_fiscal_week23.sas7bdat




                     DATA-DEFS-001,
A-780
                     _2007_fiscal_week24.sas7bdat




                     DATA-DEFS-001,
A-781
                     _2007_fiscal_week25.sas7bdat




                     DATA-DEFS-001,
A-782
                     _2007_fiscal_week26.sas7bdat




                     DATA-DEFS-001,
A-783
                     _2007_fiscal_week27.sas7bdat
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                     DATA-DEFS-001,
A-784
                     _2007_fiscal_week28.sas7bdat




                     DATA-DEFS-001,
A-785
                     _2007_fiscal_week29.sas7bdat




                     DATA-DEFS-001,
A-786
                     _2007_fiscal_week30.sas7bdat




                     DATA-DEFS-001,
A-787
                     _2007_fiscal_week31.sas7bdat




                     DATA-DEFS-001,
A-788
                     _2007_fiscal_week32.sas7bdat




                     DATA-DEFS-001,
A-789
                     _2007_fiscal_week33.sas7bdat




                     DATA-DEFS-001,
A-790
                     _2007_fiscal_week34.sas7bdat
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                     DATA-DEFS-001,
A-791
                     _2007_fiscal_week35.sas7bdat




                     DATA-DEFS-001,
A-792
                     _2007_fiscal_week36.sas7bdat




                     DATA-DEFS-001,
A-793
                     _2007_fiscal_week37.sas7bdat




                     DATA-DEFS-001,
A-794
                     _2007_fiscal_week38.sas7bdat




                     DATA-DEFS-001,
A-795
                     _2007_fiscal_week39.sas7bdat




                     DATA-DEFS-001,
A-796
                     _2007_fiscal_week40.sas7bdat




                     DATA-DEFS-001,
A-797
                     _2007_fiscal_week41.sas7bdat
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                     DATA-DEFS-001,
A-798
                     _2007_fiscal_week42.sas7bdat




                     DATA-DEFS-001,
A-799
                     _2007_fiscal_week43.sas7bdat




                     DATA-DEFS-001,
A-800
                     _2007_fiscal_week44.sas7bdat




                     DATA-DEFS-001,
A-801
                     _2007_fiscal_week45.sas7bdat




                     DATA-DEFS-001,
A-802
                     _2007_fiscal_week46.sas7bdat




                     DATA-DEFS-001,
A-803
                     _2007_fiscal_week47.sas7bdat




                     DATA-DEFS-001,
A-804
                     _2007_fiscal_week48.sas7bdat
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                     DATA-DEFS-001,
A-805
                     _2007_fiscal_week49.sas7bdat




                     DATA-DEFS-001,
A-806
                     _2007_fiscal_week50.sas7bdat




                     DATA-DEFS-001,
A-807
                     _2007_fiscal_week51.sas7bdat




                     DATA-DEFS-001,
A-808
                     _2007_fiscal_week52.sas7bdat




                     DATA-DEFS-001, _3
A-809
                     PILGRIMS_SD_00113 Export Eggs.sas




                     DATA-DEFS-001, _4
A-810
                     PILGRIMS_SD_01326 Pullets.sas




                     DATA-DEFS-001, _5
A-811                PILGRIMS_SD_01078-1092 01171
                     Agri Stats.sas
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                     DATA-DEFS-001, _6 Pilgrims Live
A-812
                     Production Data Build WEEKLY.sas




A-813                DATA-DEFS-001, _HEADER.sas




                     DATA-DEFS-001, _ReadMe File List
A-814
                     Amick.txt




                     [Withdrawn]
A-815




                     DATA-DEFS-001, _ReadMe File List
A-816
                     Fieldale.txt




                     DATA-DEFS-001, _ReadMe File List
A-817
                     Mar-Jac.txt




                     DATA-DEFS-001, _ReadMe File List
A-818
                     Peco.txt
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                     DATA-DEFS-001, _ReadMe File List
A-819
                     Perdue.txt




                     DATA-DEFS-001, _ReadMe File List
A-820
                     Pilgrims.txt




                     [Withdrawn]
A-821




                     [Withdrawn]
A-822




                     [Withdrawn]
A-823




                     [Withdrawn]
A-824




                     [Withdrawn]
A-825
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                     [Withdrawn]
A-826




                     [Withdrawn]
A-827




A-828                [Withdrawn]




A-829                [Withdrawn]




A-830                [Withdrawn]




A-831                [Withdrawn]




A-832                [Withdrawn]
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A-833                [Withdrawn]




A-834                [Withdrawn]




A-835                [Withdrawn]




A-836                [Withdrawn]




A-837                [Withdrawn]




A-838                [Withdrawn]




                     DATA-DEFS-001, ~$20.10.XX -
A-839                Foster Farms Updated Sales Data Build
                     Memo.docx
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                     DATA-DEFS-001, ~$20.10.XX-
A-840                Fieldale Farms Sales Data Build
                     Summary.docx



                     DATA-DEFS-001, ~$20.11.06 - Wayne
A-841                Farms Updated Sales Data Build
                     Summary.docx




                     DATA-DEFS-001, 07.06 PPC
A-842
                     Structured Data Prod Letter.pdf




                     DATA-DEFS-001, 07.21 Response to
A-843
                     Class Plaintiffs Data Questions.pdf




                     DATA-DEFS-001, 07.21 Response to
A-844
                     Class Plaintiffs Data Questions.pdf




                     DATA-DEFS-001, 07.21 Response to
A-845
                     DAP Data Questions.pdf




                     DATA-DEFS-001, 07.28 Response to
A-846
                     Class Plaintiffs Data Questions.pdf
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                     DATA-DEFS-001, 07.29 Pilgrim's
A-847
                     Production Letter.pdf




                     DATA-DEFS-001, 07.29 Pilgrim's
A-848
                     Production Letter.pdf




                     DATA-DEFS-001, 1 -
A-849                Tyson_TDWSales_Oct2005_Oct2015.s
                     as




                     DATA-DEFS-001, 1 AMICK Data
A-850
                     Read In.sas




                     DATA-DEFS-001, 1 Broilers Data
A-851
                     Readin.sas




                     DATA-DEFS-001, 1 FOSTER Read In
A-852
                     2006 - 2017 Broilers.sas




                     DATA-DEFS-001, 1 MARJAC 2004-
A-853
                     2017 Data Read-In.sas
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                     DATA-DEFS-001, 1 PECO 2004-2017
A-854
                     Data Read In.sas




                     [Withdrawn]
A-855




                     DATA-DEFS-001, 1. Sanderson Total
A-856
                     Live Production Data Build.sas




                     DATA-DEFS-001, 1.31 PPC Response
A-857
                     to DAP 11.19 Ltr.pdf




                     DATA-DEFS-001, 1.31 PPC Response
A-858
                     to Ltr from S. Scarlett.pdf




                     DATA-DEFS-001, 1.31 PPC Response
A-859
                     to Ltr from S. Scarlett.pdf




                     DATA-DEFS-001, 1.KochPrd Data
A-860
                     Build-Broilers.sas
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                     DATA-DEFS-001, 1.MTech Historical
A-861
                     Data Build.sas




                     DATA-DEFS-001,
A-862                1_Claxton_ProductionNov03Oct19_wk
                     .sas



                     DATA-DEFS-001,
A-863                1_Georges_EggsSetsJun06Sep17_wk.s
                     as




                     DATA-DEFS-001,
A-864
                     1_Perdue_BrlrFcltJan06Sep19_wk.sas




A-865                DATA-DEFS-001, 1_PulletsPlaced.sas




                     DATA-DEFS-001,
A-866
                     1_TotalLiveProduction_wk.sas




                     DATA-DEFS-001, 11.20.19 Response
A-867
                     to Letter from S. Scarlett.pdf
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                     DATA-DEFS-001, 1a - Read In MTA-
A-868
                     PL0001191548 (Broiler Growout).sas




                     DATA-DEFS-001, 1a.KochPrd Data
A-869
                     Build-Broilers by Facility.sas




                     DATA-DEFS-001, 1b - Read In MTA-
A-870                PLs0001191633 (Breeder Pullet
                     Flocks).sas




                     DATA-DEFS-001, 1c - Read In MTA-
A-871
                     PL0001191634 (Breeder Data).sas




                     DATA-DEFS-001, 1d - Read In MTA-
A-872                PL0001191636 (Breeder Lay
                     Flocks).sas



                     DATA-DEFS-001, 1e - Read In MTA-
A-873                PL0001265839 (Breeder Lay
                     Flocks).sas



                     DATA-DEFS-001, 1f - Read In MTA-
A-874                PL0001265840 (Breeder Pullet
                     Flocks).sas
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                     DATA-DEFS-001, 1g - Read In MTA-
A-875
                     PL0001265845 (Broiler Growout).sas




                     DATA-DEFS-001, 2 -
A-876
                     MountaireProdJan04Dec19_wk.sas




                     DATA-DEFS-001, 2 -
A-877                Tyson_SAPSales_Nov2015_Dec2019.s
                     as



                     DATA-DEFS-001, 2
A-878                AMICK_ProductionJan04Dec19_wk
                     Build.sas




                     DATA-DEFS-001, 2 Eggs Data
A-879
                     Readin.sas




                     DATA-DEFS-001, 2 FOSTER Read In
A-880
                     2006 - 2017 Kelso Broilers.sas




                     DATA-DEFS-001, 2 MARJAC 2018-
A-881
                     2019 Data Read-In.sas
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                     DATA-DEFS-001, 2 PECO 2018-2019
A-882
                     Data Read In.sas




A-883                [Withdrawn]




                     DATA-DEFS-001, 2. Sanderson Total
A-884                Live Production Data Build 2018 and
                     2019.sas




                     DATA-DEFS-001, 2.14.20 PPC
A-885
                     Response to Ltr. from S. Scarlett.pdf




                     DATA-DEFS-001, 2.19.20 PPC
A-886
                     Response to DAP Letter.pdf




                     DATA-DEFS-001, 2.KochPrd Data
A-887
                     Build-Breeders.sas




                     DATA-DEFS-001, 2.MTech Historical
A-888
                     Dothan Data Build.sas
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                     DATA-DEFS-001,
A-889
                     2_BreedersPlaced.sas




                     DATA-DEFS-001,
A-890                2_Claxton_BrlrFcltNov03Oct19_wk.sa
                     s



                     DATA-DEFS-001,
A-891                2_Georges_EggsSetsSep17Aug19_wk.s
                     as



                     DATA-DEFS-001,
A-892                2_Perdue_ProductionJan04Oct19_wk.s
                     as




                     DATA-DEFS-001,
A-893
                     2_TotalByFacilityProduction_wk.sas




                     DATA-DEFS-001, 2017.11.08 - Wayne
A-894                Farms Letter re Structured Data and
                     Plaintiffs' RFPs.pdf




                     DATA-DEFS-001, 2018.03.15 - WF
A-895
                     Letter re Production WF006.pdf
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A-896                [Withdrawn]




A-897                [Withdrawn]




A-898                [Withdrawn]




A-899                [Withdrawn]




A-900                [Withdrawn]




                     [Withdrawn]
A-901




                     DATA-DEFS-001, 2019.04.15 - Initial
A-902                Pilgrim’s Pride Data Questions and
                     Responses.pdf
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A-903                [Withdrawn]




A-904                [Withdrawn]




A-905                [Withdrawn]




A-906                [Withdrawn]




                     [Withdrawn]
A-907




A-908                [Withdrawn]




A-909                [Withdrawn]
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                     [Withdrawn]
A-910




A-911                [Withdrawn]




A-912                [Withdrawn]




                     [Withdrawn]
A-913




A-914                [Withdrawn]




A-915                [Withdrawn]




                     [Withdrawn]
A-916
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                     [Withdrawn]
A-917




A-918                [Withdrawn]




                     DATA-DEFS-001, 2019.07.16 -
A-919                Pilgrim’s Pride Production Data
                     Questions.pdf



                     DATA-DEFS-001, 2019.07.16 -
                     Pilgrim’s Pride Rebate, MDF, and
A-920
                     Adjustment Data Questions and
                     Responses.pdf




A-921                [Withdrawn]




                     [Withdrawn]
A-922




A-923                [Withdrawn]
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A-924                [Withdrawn]




A-925                [Withdrawn]




A-926                [Withdrawn]




A-927                [Withdrawn]




                     [Withdrawn]
A-928




                     [Withdrawn]
A-929




                     [Withdrawn]
A-930
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A-931                [Withdrawn]




A-932                [Withdrawn]




A-933                [Withdrawn]




A-934                [Withdrawn]




A-935                [Withdrawn]




                     [Withdrawn]
A-936




A-937                [Withdrawn]
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A-938                [Withdrawn]




A-939                [Withdrawn]




A-940                [Withdrawn]




A-941                [Withdrawn]




A-942                [Withdrawn]




A-943                [Withdrawn]




                     DATA-DEFS-001, 2019.11.25 Letter to
A-944
                     Bobby Pouya.pdf
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                     DATA-DEFS-001, 2019.12.06 Letter to
A-945
                     A. Corbett.pdf




A-946                [Withdrawn]




A-947                [Withdrawn]




                     DATA-DEFS-001, 2019-09-16 S.
A-948                Pepper Letter to B. Clark and S.
                     Gant.pdf



                     DATA-DEFS-001, 2019-11-26 Letter
A-949                to B. Pouya and K. Smith re Structured
                     Data.pdf



                     DATA-DEFS-001, 2019-12-11 Letter
A-950                to B. Pouya and K. Smith re Perdue
                     Structured Data.pdf



                     DATA-DEFS-001, 2019-12-20 Koch's
A-951                Response ltr. to CIIPP's Data
                     Clarification Questions.pdf
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                     DATA-DEFS-001, 2019-12-23 Letter
A-952                to B. Pouya and K. Smith re Structured
                     Data.pdf



                     DATA-DEFS-001, 2020 1 8 Flath
A-953                Letter to Alioto - Peco Data
                     Clarification Questions.pdf



                     DATA-DEFS-001, 2020 3 9 Flath
A-954                Letter to Alioto and Scarlett - Peco Data
                     Clarification Questions.pdf



                     DATA-DEFS-001, 2020 3 9 Flath
A-955                Letter to Alioto and Scarlett - Peco Data
                     Clarification Questions.pdf




                     [Withdrawn]
A-956




                     DATA-DEFS-001, 2020.06.25 -
A-957                Medlock LTR to B. Pouya re Foster
                     Farms' Structured Sales Data.pdf




A-958                [Withdrawn]
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                     [Withdrawn]
A-959




A-960                [Withdrawn]




A-961                [Withdrawn]




A-962                [Withdrawn]




A-963                [Withdrawn]




A-964                [Withdrawn]




A-965                [Withdrawn]
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A-966                [Withdrawn]




                     DATA-DEFS-001, 2020.10.15 -
A-967                Fieldale Farms Structured Data
                     Questions.pdf



                     DATA-DEFS-001, 2020.10.15 -
A-968                Fieldale Farms Structured Data
                     Questions.pdf



                     DATA-DEFS-001, 2020.10.16 - Tyson
A-969                Foods Supplemental Sales Data
                     Questions.pdf




A-970                [Withdrawn]




A-971                [Withdrawn]




                     [Withdrawn]
A-972
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Exhibit   Witness              Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only



A-973                [Withdrawn]




A-974                [Withdrawn]




A-975                [Withdrawn]




                     DATA-DEFS-001, 2020.11.06 -
A-976                Fieldale Farms Sales Data Build
                     Summary.pdf




A-977                [Withdrawn]




A-978                [Withdrawn]




                     DATA-DEFS-001, 2020.11.06 - Gold'n
A-979                Plump Updated Sales Data Build
                     Summary.pdf
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A-980                [Withdrawn]




                     [Withdrawn]
A-981




                     DATA-DEFS-001, 2020.11.06 -
A-982                Keystone Sales Data Build
                     Summary.pdf




                     [Withdrawn]
A-983




A-984                [Withdrawn]




                     DATA-DEFS-001, 2020.11.06 -
A-985                Mountaire Updated Sales Data Build
                     Summary.pdf




A-986                [Withdrawn]
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                     [Withdrawn]
A-987




                     DATA-DEFS-001, 2020.11.06 -
A-988                Pilgrim’s Pride's Updated Sales Data
                     Build Summary.pdf




A-989                [Withdrawn]




A-990                [Withdrawn]




A-991                [Withdrawn]




                     DATA-DEFS-001, 2020.11.06 - Tyson
A-992
                     Sales Updated Data Build Summary.pdf




A-993                [Withdrawn]
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Exhibit   Witness               Brief Description                Stipulation   Offered   Admitted   Refused   Court Use Only

                     DATA-DEFS-001, 2020.5.20
A-994                Correspondence from L Flath re Peco
                     Structured Data.pdf



                     DATA-DEFS-001, 2020_1_24 S.
A-995                Pepper Letter to Plaintiffs on Structured
                     Data.pdf



                     DATA-DEFS-001, 2020_1_24 S.
A-996                Pepper Letter to Plaintiffs on Structured
                     Data.pdf



                     DATA-DEFS-001, 2020-02-07 Koch_s
A-997                Response ltr. to S. Scarlett Structured
                     Data Questions.PDF



                     DATA-DEFS-001, 2020-02-07 Letter
A-998                from J. Alioto to Julie Johnston-
                     Ahlen.pdf



                     DATA-DEFS-001, 2020-08-17 B.
A-999                Oppenheimer ltr to Plaintiffs re TF-
                     035.pdf



                     DATA-DEFS-001, 2020-09-08 B.
B-001                Oppenheimer ltr to Plaintiffs re TF-
                     036.pdf
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                     DATA-DEFS-001, 2020-10-16
B-002
                     Updated JDG Production.7z




                     DATA-DEFS-001, 2-19-20 Koch letter
B-003
                     to J. Alioto (004).pdf




                     DATA-DEFS-001, 3 - Build
B-004
                     PilgrimsMthlySalesSep03Dec19.sql




                     DATA-DEFS-001, 3 -
B-005
                     MntrBrlrFacltJan04Dec19_wk.sas




                     DATA-DEFS-001, 3 -
B-006
                     TysonSalesOct2005Jan2020.sas




                     DATA-DEFS-001, 3
B-007                AMICK_BrlrFcltJan07Dec19_wk
                     Build.sas




                     DATA-DEFS-001, 3 FOSTER Read In
B-008
                     2018 - 2019 Broilers.sas
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Exhibit   Witness               Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     DATA-DEFS-001, 3
B-009                MARJAC_ProductionJan04Dec19
                     Build.sas



                     DATA-DEFS-001, 3
B-010                PECO_ProductionMar03Dec19
                     Build.sas




                     DATA-DEFS-001, 3 Pullets Data
B-011
                     Readin.sas




B-012                [Withdrawn]




                     DATA-DEFS-001, 3. Attach 2018 and
B-013                2019 Sanderson Total Live Production
                     Data.sas




                     DATA-DEFS-001, 3.13 PPC Response
B-014
                     to Class Plaintiffs data questions.pdf




                     DATA-DEFS-001, 3.20.18 PPC Letter
B-015
                     to Ps re Structured Data.pdf
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                     DATA-DEFS-001, 3.22.18 PPC Letter
B-016
                     to Ps re Structured Data.pdf




                     DATA-DEFS-001, 3.Combine Total
B-017                MTech Historical Data and Total
                     MTech Historical Dothan Data.sas




                     DATA-DEFS-001, 3.KochPrd Data
B-018
                     Build-Eggs.sas




B-019                DATA-DEFS-001, 3_Broilers.sas




                     DATA-DEFS-001,
B-020                3_Georges_ProductionJul01Dec19_wk.
                     sas




                     DATA-DEFS-001, 4 - Build
B-021
                     PilgrimsMthlySalesSep03Dec19.sas




                     DATA-DEFS-001, 4 -
B-022                TysonSalesOct2005Jan2020_MONTHL
                     Y.sas
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                     DATA-DEFS-001, 4 Breeders Data
B-023
                     Readin.sas




                     DATA-DEFS-001, 4 FOSTER Read In
B-024
                     Hatchery.sas




                     DATA-DEFS-001, 4
B-025                MARJAC_BrlrFcltJan04Dec19_wk
                     Build.sas



                     DATA-DEFS-001, 4
B-026                PECO_BrlrFcltJan04Dec19_wk
                     Build.sas



                     DATA-DEFS-001, 4. Sanderson Broiler
B-027                by Facility Live Production Data
                     Build.sas




                     DATA-DEFS-001, 4.10.18 PPC Letter
B-028
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 4.13.18 PPC Letter
B-029
                     to Ps re Structured Data Production.pdf
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                     DATA-DEFS-001, 4.4.18 PPC Letter to
B-030
                     Ps re Structured Data.pdf




                     DATA-DEFS-001, 4.Combine Broilers,
B-031
                     Breeders, and Eggs Data.sas




B-032                DATA-DEFS-001, 4_EggsSets.sas




                     DATA-DEFS-001,
B-033                4_Georges_Facility_Production
                     Jul01Dec17_wk.sas




                     DATA-DEFS-001, 4a.MTech Import
B-034
                     MTech.sas




                     DATA-DEFS-001, 4b.MTech Import
B-035
                     MTech 2018.sas




                     DATA-DEFS-001, 4c.MTech Import
B-036
                     MTech WF021.sas
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                     DATA-DEFS-001, 4d.MTech Import
B-037
                     MTech WF022.sas




                     DATA-DEFS-001, 4e.MTech New
B-038
                     Combine.sas




                     DATA-DEFS-001, 5 -
B-039
                     KeystoneSalesMar03Dec19.sas




                     DATA-DEFS-001, 5 -
B-040                PilgrimsSalesSep03Dec19_MONTHLY
                     .sas




                     DATA-DEFS-001, 5 Fieldale
B-041
                     Production Data Set.sas




                     DATA-DEFS-001, 5 FOSTER Read In
B-042
                     Kelso Hatchery.sas




                     DATA-DEFS-001, 5. Sanderson Broiler
B-043                by Facility Live Production Data Build
                     2018 and 2019.sas
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                     DATA-DEFS-001, 5.11.18 PPC Letter
B-044
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.16.18 PPC Letter
B-045
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.25.18 PPC Letter
B-046
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.25.18 PPC Letter
B-047
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.7.18 PPC Letter to
B-048
                     Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.7.18 PPC Letter to
B-049
                     Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 5.MTech Current
B-050
                     Production Build.sas
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B-051                DATA-DEFS-001, 5_EggsHatched.sas




                     DATA-DEFS-001, 6 - Build
B-052
                     PilgrimsGNPSalesJan04May17.sas




                     DATA-DEFS-001, 6 -
B-053                KeystoneSalesMar03Dec19_MONTHL
                     Y.sas




                     DATA-DEFS-001, 6 FOSTER Read In
B-054
                     Pullets.sas




                     DATA-DEFS-001, 6. Attach 2018 and
B-055                2019 Sanderson Broiler by Facility Live
                     Production Data.sas




                     DATA-DEFS-001, 6.05.18 PPC Letter
B-056
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 6.05.18 PPC Letter
B-057
                     to Ps re Structured Data Production.pdf
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                     DATA-DEFS-001, 6.07.18 PPC Letter
B-058
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 6.14.18 PPC Letter
B-059
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 6.MTech Current
B-060
                     Broiler Build.sas




                     DATA-DEFS-001, 6_Commercial
B-061
                     Eggs.sas




                     DATA-DEFS-001, 7 -
B-062                PilgGNPSalesJan04May17_MONTHL
                     Y.sas




                     DATA-DEFS-001, 7 FOSTER Read In
B-063
                     Breeders.sas




                     DATA-DEFS-001, 7.16.18 PPC Letter
B-064
                     to Ps re Structured Data Production.pdf
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                     DATA-DEFS-001, 7.18.18 PPC Letter
B-065
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 7.18.18 PPC Letter
B-066
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 7.25.18 PPC Letter
B-067
                     to Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 7.27.20 Letter to B.
B-068
                     Pouya in response to 2.4.20 letter.pdf




                     DATA-DEFS-001, 7.27.20 Letter to M.
B-069
                     Amaro in response to 2.26.20 letter.pdf




                     DATA-DEFS-001, 7.6.18 PPC Letter to
B-070
                     Ps re Structured Data Production.pdf




                     DATA-DEFS-001, 7.6.18 PPC Letter to
B-071
                     Ps re Structured Data Production.pdf
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                     DATA-DEFS-001, 7.Combine Broiler
B-072
                     Data.sas




B-073                DATA-DEFS-001, 7_ChicksPlaced.sas




                     DATA-DEFS-001, 8
B-074                FOSTER_ProductionJan06Dec19
                     Build.sas



                     DATA-DEFS-001, 8.Combine Total
B-075                MTech Current and Total MTech
                     Historical Data.sas



                     DATA-DEFS-001,
B-076                8_Harrison_ProductionJan07Dec19_wk
                     .sas




                     DATA-DEFS-001, 9
B-077
                     FOSTER_FacilityJan06Dec19 Build.sas




                     [Withdrawn]
B-078
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                     DATA-DEFS-001,
B-079                9_Hsn_brlrprodbyfcltjan07dec19_wk.s
                     as




                     [Withdrawn]
B-080




                     [Withdrawn]
B-081




                     DATA-DEFS-001, Amick
B-082                Transactional Data Q&A Letter to
                     Alioto 4845-7616-1708 v.1.pdf



                     DATA-DEFS-001,
B-083                AMICK_BrlrFcltJan07Dec19_wk.sas7b
                     dat



                     DATA-DEFS-001,
B-084                AMICK_ProductionJan04Dec19_wk.sa
                     s7bdat




                     DATA-DEFS-001,
B-085
                     AmickSalesMar05Dec19.sas
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                     DATA-DEFS-001,
B-086
                     AmickSalesMar05Dec19.sas7bdat




                     DATA-DEFS-001,
B-087                AmickSalesMar05Dec19_MONTHLY.
                     sas



                     DATA-DEFS-001,
B-088                AmickSalesMar05Dec19_MONTHLY.
                     sas7bdat




                     DATA-DEFS-001,
B-089
                     association_code.sas7bdat




                     DATA-DEFS-001,
B-090
                     association_code_update.sas7bdat




                     DATA-DEFS-001, Bill-To Customers
B-091
                     Based on MTA-PL0001191638.xlsx




                     DATA-DEFS-001,
B-092
                     BimPELogMovements.csv
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                     DATA-DEFS-001, Broiler Files
B-093
                     Review.xlsx




B-094                [Withdrawn]




                     [Withdrawn]
B-095




                     DATA-DEFS-001, Broilers - 6-3-19
B-096
                     Ltr. Re. Foster Farms Data.pdf




B-097                [Withdrawn]




                     [Withdrawn]
B-098




                     DATA-DEFS-001, Broilers Anti Trust --
B-099
                     Status of Sales Data.msg
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                     DATA-DEFS-001, Brokerage Claims
B-100
                     ReadIn.sas




                     DATA-DEFS-001, Brokerage Claims
B-101
                     RECAP ReadIn.sas




                     DATA-DEFS-001,
B-102
                     brokerage_claims_readin.sas7bdat




                     DATA-DEFS-001,
B-103                brokerage_claims_recap_readin.sas7bd
                     at




                     DATA-DEFS-001, Business Category
B-104
                     and Channel Lookups.xlsx




B-105                [Withdrawn]




                     [Withdrawn]
B-106
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                     [Withdrawn]
B-107




                     DATA-DEFS-001,
B-108                Case_BrLrFclt_Jan04Dec19_wk
                     Build.sas



                     DATA-DEFS-001,
B-109                CASE_BrLrFclt_Jan04Dec19_wk.sas7
                     bdat



                     DATA-DEFS-001,
B-110                Case_ProductionJan04Dec19_wk
                     Build.sas



                     DATA-DEFS-001,
B-111                CASE_ProductionJan04Dec19_wk.sas7
                     bdat




                     DATA-DEFS-001,
B-112
                     CaseFarmsSalesNov2007Dec2019.sas




                     DATA-DEFS-001,
B-113                CaseFarmsSalesNov2007Dec2019.sas7
                     bdat
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                     DATA-DEFS-001,
B-114                CaseFarmsSalesNov2007Dec2019_M.s
                     as



                     DATA-DEFS-001,
B-115                CaseFarmsSalesNov2007Dec2019_M.s
                     as7bdat




                     DATA-DEFS-001, CK0000
B-116
                     Create_schemas.sql




B-117                DATA-DEFS-001, CK1020.bat




B-118                DATA-DEFS-001, CK1020_GO.bat




                     DATA-DEFS-001,
B-119
                     CK1020_Trans1_to_S3.sas




B-120                DATA-DEFS-001, CK1040.bat
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B-121                DATA-DEFS-001, CK1040_GO.bat




                     DATA-DEFS-001,
B-122
                     CK1040_Trans2_to_S3.sas




B-123                DATA-DEFS-001, CK1060.bat




B-124                DATA-DEFS-001, CK1060_GO.bat




                     DATA-DEFS-001,
B-125
                     CK1060_Trans3_to_S3.sas




                     DATA-DEFS-001, CK2010 CREATE
B-126
                     trans1.sql




                     DATA-DEFS-001, CK2020 CREATE
B-127
                     trans2.sql
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                     DATA-DEFS-001, CK2030 CREATE
B-128
                     trans3.sql




                     DATA-DEFS-001, Claxton Live
B-129
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001, Claxton Sales Nov
B-130
                     2007 Dec 2019 Data Dictionary.xlsx




                     DATA-DEFS-001,
B-131                CLAXTON_0189561_HIGHLY
                     CONFIDENTIAL.txt



                     DATA-DEFS-001,
B-132                CLAXTON_0189827_HIGHLY
                     CONFIDENTIAL.txt



                     DATA-DEFS-001,
B-133                CLAXTON_0190157_HIGHLY
                     CONFIDENTIAL.txt



                     DATA-DEFS-001,
B-134                CLAXTON_0190493_HIGHLY
                     CONFIDENTIAL.txt
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                     DATA-DEFS-001,
B-135                Claxton_BrlrFcltNov03Oct19_wk.sas7
                     bdat




                     DATA-DEFS-001,
B-136
                     Claxton_FY_Sales_2004_2007.sas




                     DATA-DEFS-001,
B-137                Claxton_FY_Sales_2004_2007.sas7bda
                     t




                     DATA-DEFS-001,
B-138
                     Claxton_FY_SalesNov07Dec19.sas




                     DATA-DEFS-001,
B-139                Claxton_FY_SalesNov07Dec19.sas7bd
                     at



                     DATA-DEFS-001,
B-140                Claxton_ProdNov03Oct19_wk.sas7bda
                     t



                     DATA-DEFS-001,
B-141                Claxton_ProductionNov03Oct19_wk
                     Lookup.xlsx
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Exhibit   Witness              Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only

                     DATA-DEFS-001,
B-142                ClaxtonSalesNov07Dec19_MONTHLY
                     .sas



                     DATA-DEFS-001,
B-143                ClaxtonSalesNov07Dec19_MONTHLY
                     .sas7bdat




                     DATA-DEFS-001, Combined Sales
B-144
                     Data Build with 2018 2019.sas




                     DATA-DEFS-001, Combined Sales
B-145
                     Data Build.sas




                     DATA-DEFS-001, Combined Sales
B-146
                     Data Dictionary.xlsx




                     DATA-DEFS-001,
B-147
                     combined_sales_data.sas7bdat




                     DATA-DEFS-001,
B-148
                     combined_sales_data_updated.sas7bdat
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B-149                DATA-DEFS-001, CONSFILEXX.pdf




                     DATA-DEFS-001, Copy of
B-150
                     Adage_Data_Dictionary.xlsx




                     [Withdrawn]
B-151




                     [Withdrawn]
B-152




                     DATA-DEFS-001, CORRECTED
B-153
                     Harrison 00208559 Broiler.xls




                     [Withdrawn]
B-154




                     [Withdrawn]
B-155
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B-156                DATA-DEFS-001, Datalog_1819.xlsx




                     DATA-DEFS-001,
B-157
                     Datalog_prod04_17.xlsx




B-158                DATA-DEFS-001, Datalog04_17.xlsx




                     [Withdrawn]
B-159




                     DATA-DEFS-001,
B-160
                     defendant_bird_size_lookup.sas7bdat




                     DATA-DEFS-001,
B-161
                     defendant_customer_lookup.sas7bdat




                     DATA-DEFS-001,
B-162
                     defendant_product_lookup.sas7bdat
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                     DATA-DEFS-001,
B-163
                     DefSalesStack_Monthly.sas




                     DATA-DEFS-001,
B-164
                     defsalesstack_monthly.sas7bdat




                     [Withdrawn]
B-165




                     [Withdrawn]
B-166




                     [Withdrawn]
B-167




B-168                [Withdrawn]




B-169                [Withdrawn]
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                     [Withdrawn]
B-170




                     DATA-DEFS-001, FF Updated Sales
B-171                Questions - Feedback -
                     JG.08.26.2019.docx




                     DATA-DEFS-001, FF-BC-
B-172
                     00631148.xlsx




                     DATA-DEFS-001, FF-BC-
B-173
                     00631191.xlsx




                     DATA-DEFS-001, FF-BC-
B-174
                     00631199.xlsx




                     DATA-DEFS-001, Fieldale - Letter to
B-175                DAPs and EUCPs re Structured Data
                     Questions (3-13-2020).pdf




                     DATA-DEFS-001, Fieldale Farms Sales
B-176
                     Jan2004 Dec2019 Data Dictionary.xlsx
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                     DATA-DEFS-001, Fieldale Live
B-177
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001,
B-178
                     fieldalebrlrfcltjan08dec17_wk.sas7bdat




                     DATA-DEFS-001,
B-179
                     fieldaleprodjan07dec17_wk.sas7bdat




                     DATA-DEFS-001,
B-180
                     FieldaleSalesJan04Dec19.sas




                     DATA-DEFS-001,
B-181
                     FieldaleSalesJan04Dec19.sas7bdat




                     DATA-DEFS-001,
B-182
                     FieldaleSalesJan04Dec19_Monthly.sas




                     DATA-DEFS-001,
B-183                FieldaleSalesJan04Dec19_Monthly.sas
                     7bdat
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B-184                DATA-DEFS-001, filelist.xlsx




                     DATA-DEFS-001, Foodsale Coleman
B-185
                     Data Build.sas




                     DATA-DEFS-001, Foodsale Coleman
B-186
                     Data Dictionary.xlsx




                     DATA-DEFS-001,
B-187
                     foodsale_coleman.sas7bdat




                     DATA-DEFS-001, Forge Data
B-188
                     Explanation - Instructions.xlsx




                     DATA-DEFS-001, Foster Farms Sales
B-189
                     Jan2007 Jun2020 Data Dictionary.xlsx




B-190                [Withdrawn]
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                     [Withdrawn]
B-191




                     DATA-DEFS-001, Foster Live
B-192
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001,
B-193                Foster_Broilers_Jan06Dec19_wk.sas7b
                     dat




                     DATA-DEFS-001,
B-194
                     Foster_ProdJan06toDec19_wk.sas7bdat




                     DATA-DEFS-001,
B-195
                     FosterFarmsSalesJan07Jun20.sas




                     DATA-DEFS-001,
B-196
                     FosterFarmsSalesJan07Jun20.sas7bdat




                     DATA-DEFS-001,
B-197                FosterFarmsSalesJan07Jun20_MONTH
                     LY.sas
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                     DATA-DEFS-001,
B-198                FosterTrxSalesJan07Jun20_MONTHL
                     Y.sas7bdat




                     DATA-DEFS-001, FW_ Broilers --
B-199
                     Data extracts for questions.msg




                     [Withdrawn]
B-200




                     DATA-DEFS-001, FW_ Broilers Anti
B-201
                     Trust -- Sales Data Update.msg




                     DATA-DEFS-001, FW_ Data
B-202
                     Questions from Edgeworth.msg




B-203                [Withdrawn]




                     [Withdrawn]
B-204
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                     DATA-DEFS-001, Fwd_ Review
B-205                Overall Sales Data for PPC Anti-Trust
                     Matter.msg




                     DATA-DEFS-001, FY to CY
B-206
                     Lookup.xlsx




                     DATA-DEFS-001,
B-207                GeorgeFoodsAdjSep2007Nov2017.sas7
                     bdat




                     DATA-DEFS-001,
B-208
                     GeorgeFoodsSalesSep2007Dec2019.sas




                     DATA-DEFS-001,
B-209                GeorgeFoodsSalesSep2007Dec2019.sas
                     7bdat



                     DATA-DEFS-001,
B-210                GeorgeFoodsSalesSep2007Dec2019_M
                     .sas



                     DATA-DEFS-001,
B-211                GeorgeFoodsSalesSep2007Dec2019_M
                     .sas7bdat
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B-212                [Withdrawn]




                     [Withdrawn]
B-213




B-214                [Withdrawn]




                     [Withdrawn]
B-215




                     DATA-DEFS-001,
B-216                Georges_ProductionJul01Dec19_wk.sa
                     s7bdat




                     DATA-DEFS-001, GNP Customer
B-217
                     Lookup.xlsx




                     DATA-DEFS-001, Gold'n Plump Sales
B-218
                     Jan2004 May2017 Data Dictionary.xlsx
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                     DATA-DEFS-001,
B-219                Grgs_BrlrProdbyFcltJul01Dec19_wk.sa
                     s7bdat




                     DATA-DEFS-001, Harrison 00176217
B-220
                     Highly Confidential 2015SALES.xlsx




                     DATA-DEFS-001, Harrison Export
B-221
                     Customers.xlsx




                     DATA-DEFS-001, Harrison Live
B-222
                     Production Data Dictionary.xlsx




B-223                [Withdrawn]




                     DATA-DEFS-001, Harrison Poultry
B-224                Sales Jan2004 Dec2019 Data
                     Dictionary.xlsx




B-225                [Withdrawn]
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                     DATA-DEFS-001,
B-226                Harrison_ProductionJan07Dec19_wk.s
                     as7bdat




                     DATA-DEFS-001,
B-227
                     HarrisonSalesJan04Dec19.sas




                     DATA-DEFS-001,
B-228
                     HarrisonSalesJan04Dec19.sas7bdat




                     DATA-DEFS-001,
B-229                HarrisonSalesJan04Dec19_MONTHLY
                     .sas7bdat



                     DATA-DEFS-001,
B-230                HarrisonTrxSalesJan04Dec19_MONTH
                     LY.sas




                     DATA-DEFS-001, Hatchery Files
B-231
                     Review.xlsx




                     [Withdrawn]
B-232
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                     DATA-DEFS-001,
B-233
                     HimEggRoomReceiving.csv




B-234                DATA-DEFS-001, HimHatchTrans.csv




                     [Withdrawn]
B-235




                     [Withdrawn]
B-236




                     [Withdrawn]
B-237




                     [Withdrawn]
B-238




                     DATA-DEFS-001,
B-239                HRF_BrlrProdbyFacltJan07Dec19_wk.
                     sas
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                     DATA-DEFS-001,
B-240                HRF_BrlrProdbyFcltJan07Dec19_wk.s
                     as7bdat




                     DATA-DEFS-001,
B-241
                     HRF_ProductionJan04Dec19_wk.sas




                     DATA-DEFS-001,
B-242                HRF_ProductionJan04Dec19_wk.sas7b
                     dat




                     DATA-DEFS-001,
B-243
                     HRFTrxSalesJan04Jan20.sas




                     DATA-DEFS-001,
B-244
                     HRFTrxSalesJan04Jan20.sas7bdat




                     DATA-DEFS-001,
B-245                HRFTrxSalesJan04Jan20_MONTHLY.
                     sas



                     DATA-DEFS-001,
B-246                HRFTrxSalesJan04Jan20_MONTHLY.
                     sas7bdat
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                     DATA-DEFS-001,
B-247                Hrsn_BrlrProdByFcltJan07Dec19_wk.s
                     as7bdat




B-248                [Withdrawn]




B-249                [Withdrawn]




                     DATA-DEFS-001, Keystone Sales
B-250
                     Jan2004 Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001,
B-251
                     KeystoneSalesMar03Dec19.sas7bdat




                     DATA-DEFS-001,
B-252                KeystoneSalesMar03Dec19_MONTHL
                     Y.sas7bdat




                     [Withdrawn]
B-253
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                     [Withdrawn]
B-254




                     [Withdrawn]
B-255




                     DATA-DEFS-001,
B-256
                     KOCH_SD_0000001576.csv




                     DATA-DEFS-001,
B-257
                     KOCH_SD_0000001691.csv




                     DATA-DEFS-001,
B-258
                     KOCH_SD_0000001693.csv




                     DATA-DEFS-001,
B-259
                     KOCH_SD_0000001699.csv




                     DATA-DEFS-001,
B-260
                     KochBrlrFcltJan04Dec19_wk.sas7bdat
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                     DATA-DEFS-001,
B-261
                     KochProdJan04Dec19_wk.sas7bdat




                     DATA-DEFS-001,
B-262
                     KochSalesDec03Dec19.sas




                     DATA-DEFS-001,
B-263
                     KochSalesDec03Dec19.sas7bdat




                     DATA-DEFS-001,
B-264                KochSalesDec03Dec19_MONTHLY.sa
                     s



                     DATA-DEFS-001,
B-265                KochSalesDec03Dec19_MONTHLY.sa
                     s7bdat



                     DATA-DEFS-001, Letter to Lori
B-266                Lustrin regarding DAP Structured Data
                     Questions.pdf




                     [Withdrawn]
B-267
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                     DATA-DEFS-001,
B-268                liveprod_brlrfcltjan04dec19_wk.sas7bd
                     at




                     DATA-DEFS-001, Lookup for Pilgrims
B-269
                     WeekEnding Assignment.xlsx




                     DATA-DEFS-001,
B-270
                     lookup_prod2004.xls




                     DATA-DEFS-001,
B-271
                     lookup_prod2005.xls




                     DATA-DEFS-001,
B-272
                     lookup_prod2006.xls




                     DATA-DEFS-001,
B-273
                     lookup_prod2007.xls




                     DATA-DEFS-001,
B-274
                     lookup_prod2008.xls
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                     DATA-DEFS-001,
B-275
                     lookup_prod2009.xls




                     DATA-DEFS-001,
B-276
                     lookup_prod2010.xls




                     DATA-DEFS-001,
B-277
                     lookup_prod2011.xls




                     DATA-DEFS-001,
B-278
                     lookup_prod2012.xls




                     DATA-DEFS-001,
B-279
                     lookup_prod2013.xls




                     DATA-DEFS-001,
B-280
                     lookup_prod2014.xls




                     DATA-DEFS-001,
B-281
                     lookup_prod2015.xls
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                     DATA-DEFS-001,
B-282
                     lookup_prod2016.xls




                     DATA-DEFS-001,
B-283
                     lookup_prod2017.xls




                     [Withdrawn]
B-284




B-285                [Withdrawn]




                     DATA-DEFS-001,
B-286                MARJAC_BrlrFcltJan04Dec19_wk.sas
                     7bdat



                     DATA-DEFS-001,
B-287                MARJAC_ProductionJan04Dec19_wk.
                     sas7bdat




                     [Withdrawn]
B-288
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                     [Withdrawn]
B-289




B-290                [Withdrawn]




B-291                [Withdrawn]




                     [Withdrawn]
B-292




B-293                [Withdrawn]




B-294                [Withdrawn]




                     DATA-DEFS-001, MJ-PROD-GROUP
B-295
                     Lookup.xlsx
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                     DATA-DEFS-001,
B-296                MntrBrlrFcltJan2004Dec2019_wk.sas7
                     bdat




                     DATA-DEFS-001, Month End Dates
B-297
                     2009 to 2017.xlsx




                     DATA-DEFS-001, Mountaire Live
B-298
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001, Mountaire Sales
B-299
                     Jan2004 Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001,
B-300                MountaireProdJan2004Dec2019_wk.sa
                     s7bdat




                     DATA-DEFS-001,
B-301
                     MountaireSalesDandAJan04Dec19.sas




                     DATA-DEFS-001,
B-302                MountaireSalesDandAJan04Dec19.sas7
                     bdat
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                     DATA-DEFS-001,
B-303                MountaireSalesJan04Dec19
                     Monthly.sas



                     DATA-DEFS-001,
B-304                MountaireSalesJan04Dec19_MONTHL
                     Y.sas7bdat




B-305                [Withdrawn]




B-306                [Withdrawn]




                     [Withdrawn]
B-307




B-308                [Withdrawn]




                     DATA-DEFS-001, N_Brokerage
B-309
                     Claims ReadIn.sas
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                     DATA-DEFS-001, N_Brokerage
B-310
                     Claims RECAP ReadIn.sas




                     DATA-DEFS-001,
B-311
                     n_brokerage_claims_readin.sas7bdat




                     DATA-DEFS-001,
B-312                n_brokerage_claims_recap_readin.sas7
                     bdat




                     DATA-DEFS-001, N_Non Brokerage
B-313
                     Claims ReadIn.sas




                     DATA-DEFS-001, N_Non Brokerage
B-314
                     Claims RECAP ReadIn.sas




                     DATA-DEFS-001,
B-315
                     n_non_brokerage_claims.sas7bdat




                     DATA-DEFS-001,
B-316                n_non_brokerage_recap_readin.sas7bda
                     t
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                     DATA-DEFS-001, N_Operator
B-317
                     Template Claims ReadIn.sas




                     DATA-DEFS-001,
B-318
                     n_operator_claims_readin.sas7bdat




                     DATA-DEFS-001, Non Brokerage
B-319
                     Claims ReadIn.sas




                     DATA-DEFS-001, Non Brokerage
B-320
                     Claims RECAP ReadIn.sas




                     DATA-DEFS-001,
B-321
                     non_brokerage_claims.sas7bdat




                     DATA-DEFS-001,
B-322
                     non_brokerage_recap_readin.sas7bdat




                     [Withdrawn]
B-323
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                     DATA-DEFS-001, OK Foods -
B-324                Response to Class Plaintiffs' Structured
                     Data Questions.pdf




                     [Withdrawn]
B-325




                     [Withdrawn]
B-326




                     DATA-DEFS-001,
B-327
                     OkFoods_BrlrSzeJan04Dec17_wk.sas




                     DATA-DEFS-001,
B-328                OKFoods_BrlrSzeJan04Dec17_wk.sas7
                     bdat



                     DATA-DEFS-001,
B-329                OkFoods_ProductionJan04Dec17_wk.s
                     as



                     DATA-DEFS-001,
B-330                OKFoods_ProductionJan04Dec17_wk.s
                     as7bdat
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                     DATA-DEFS-001,
B-331
                     OKFoodsSalesJan04Dec19.sas




                     DATA-DEFS-001,
B-332
                     OKFoodsSalesJan04Dec19.sas7bdat




                     DATA-DEFS-001,
B-333
                     OKFoodsSalesJan04Dec19_M.sas




                     DATA-DEFS-001,
B-334
                     OKFoodsSalesJan04Dec19_M.sas7bdat




                     DATA-DEFS-001, Operator Template
B-335
                     Claims ReadIn.sas




                     DATA-DEFS-001,
B-336                operator_template_claims_readin.sas7b
                     dat



                     DATA-DEFS-001,
B-337                OVERSALES_2005_FP12_Part
                     1_New.xlsx
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                     DATA-DEFS-001,
B-338
                     Oversales_2010WK03&04.xlsx




                     DATA-DEFS-001,
B-339
                     OverSales_2011_WK08.xlsx




                     DATA-DEFS-001,
B-340
                     OverSales_2011_WK14&15.xlsx




                     DATA-DEFS-001,
B-341
                     OverSales_2011_WK32&33.xlsx




                     DATA-DEFS-001,
B-342
                     Oversales_2012_WK8.xlsx




                     DATA-DEFS-001,
B-343
                     payer_pe1_010118_063018.sas7bdat




                     DATA-DEFS-001,
B-344
                     payer_pe1_010119_063019.sas7bdat
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                     DATA-DEFS-001,
B-345
                     payer_pe1_032612_092312.sas7bdat




                     DATA-DEFS-001,
B-346
                     payer_pe1_032717_092417.sas7bdat




                     DATA-DEFS-001,
B-347
                     payer_pe1_032811_092511.sas7bdat




                     DATA-DEFS-001,
B-348
                     payer_pe1_032816_092516.sas7bdat




                     DATA-DEFS-001,
B-349
                     payer_pe1_033015_092715.sas7bdat




                     DATA-DEFS-001,
B-350
                     payer_pe1_033114_092814.sas7bdat




                     DATA-DEFS-001,
B-351
                     payer_pe1_040113_092913.sas7bdat
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                     DATA-DEFS-001,
B-352
                     payer_pe1_070118_123118.sas7bdat




                     DATA-DEFS-001,
B-353
                     payer_pe1_070119_123119.sas7bdat




                     DATA-DEFS-001,
B-354
                     payer_pe1_092412_033113.sas7bdat




                     DATA-DEFS-001,
B-355
                     payer_pe1_092517_123117.sas7bdat




                     DATA-DEFS-001,
B-356
                     payer_pe1_092611_032512.sas7bdat




                     DATA-DEFS-001,
B-357
                     payer_pe1_092616_032617.sas7bdat




                     DATA-DEFS-001,
B-358
                     payer_pe1_092815_032716.sas7bdat
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                     DATA-DEFS-001,
B-359
                     payer_pe1_092914_032915.sas7bdat




                     DATA-DEFS-001,
B-360
                     payer_pe1_093013_033014.sas7bdat




                     DATA-DEFS-001,
B-361
                     payer_pr1_032910_092610.sas7bdat




                     DATA-DEFS-001,
B-362
                     payer_pr1_033009_092709.sas7bdat




                     DATA-DEFS-001,
B-363
                     payer_pr1_092710_032711.sas7bdat




                     DATA-DEFS-001,
B-364
                     payer_pr1_092809_032810.sas7bdat




                     DATA-DEFS-001, PC1 Claims Data
B-365
                     ReadIn 2018 2019.sas
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                     DATA-DEFS-001, PC1 Claims Data
B-366
                     ReadIn.sas




                     DATA-DEFS-001, PC1 Claims Data
B-367
                     Stacked 2018 2019.sas




                     DATA-DEFS-001, PC1 Claims Data
B-368
                     Stacked.sas




                     DATA-DEFS-001, PC1 Claims
B-369
                     Data.xlsx




                     DATA-DEFS-001, PC1 Claims
B-370                Supplementary Data ReadIn 2018
                     2019.sas




                     DATA-DEFS-001, PC1 Claims
B-371
                     Supplementary Data ReadIn.sas




                     DATA-DEFS-001, PC1 Data
B-372
                     Explanation - Instructions.xlsx
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B-373                DATA-DEFS-001, pc1_2014.sas7bdat




B-374                DATA-DEFS-001, pc1_2015.sas7bdat




B-375                DATA-DEFS-001, pc1_2016.sas7bdat




B-376                DATA-DEFS-001, pc1_2017.sas7bdat




B-377                DATA-DEFS-001, pc1_2018.sas7bdat




                     DATA-DEFS-001,
B-378
                     pc1_2018_update.sas7bdat




                     DATA-DEFS-001,
B-379
                     pc1_2019_update.sas7bdat
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                     DATA-DEFS-001,
B-380
                     pc1_2020_update.sas7bdat




                     DATA-DEFS-001,
B-381
                     pc1claimsdatajan18dec19.sas7bdat




                     DATA-DEFS-001,
B-382
                     pc1claimsdatajuly14dec18.sas7bdat




                     DATA-DEFS-001, PE1 Data Build
B-383
                     2018 2019.sas




                     DATA-DEFS-001, PE1 Data
B-384
                     Dictionary.xlsx




                     DATA-DEFS-001, PE1 Invoice Data
B-385
                     ReadIn 2018 2019.sas




                     DATA-DEFS-001, PE1 Invoice Data
B-386
                     ReadIn.sas
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                     DATA-DEFS-001, PE1 Invoice
B-387
                     Data.xlsx




                     DATA-DEFS-001, PE1 Payer and
B-388
                     Soldto Email ReadIn 2018 2019.sas




                     DATA-DEFS-001, PE1 Payer and
B-389
                     Soldto Email ReadIn.sas




                     DATA-DEFS-001,
B-390
                     pe1_010118_063018.sas7bdat




                     DATA-DEFS-001,
B-391
                     pe1_010119_063019.sas7bdat




                     DATA-DEFS-001,
B-392
                     pe1_032612_092312.sas7bdat




                     DATA-DEFS-001,
B-393
                     pe1_032717_092417.sas7bdat
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                     DATA-DEFS-001,
B-394
                     pe1_032811_092511.sas7bdat




                     DATA-DEFS-001,
B-395
                     pe1_032816_092516.sas7bdat




                     DATA-DEFS-001,
B-396
                     pe1_033015_092715.sas7bdat




                     DATA-DEFS-001,
B-397
                     pe1_033114_092814.sas7bdat




                     DATA-DEFS-001,
B-398
                     pe1_040113_092913.sas7bdat




                     DATA-DEFS-001,
B-399
                     pe1_070118_123118.sas7bdat




                     DATA-DEFS-001,
B-400
                     pe1_070119_123119.sas7bdat
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                     DATA-DEFS-001,
B-401
                     pe1_092412_033113.sas7bdat




                     DATA-DEFS-001,
B-402
                     pe1_092517_123117.sas7bdat




                     DATA-DEFS-001,
B-403
                     pe1_092611_032512.sas7bdat




                     DATA-DEFS-001,
B-404
                     pe1_092616_032617.sas7bdat




                     DATA-DEFS-001,
B-405
                     pe1_092815_032716.sas7bdat




                     DATA-DEFS-001,
B-406
                     pe1_092914_032915.sas7bdat




                     DATA-DEFS-001,
B-407
                     pe1_093013_033014.sas7bdat
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                     DATA-DEFS-001,
B-408
                     pe1_jan2018dec2019.sas7bdat




                     DATA-DEFS-001,
B-409
                     pe1_jan2018dec2019_header.sas7bdat




                     DATA-DEFS-001,
B-410
                     pe1_mar2011dec2017.sas7bdat




                     DATA-DEFS-001,
B-411
                     pe1_mar2011dec2017_header.sas7bdat




                     DATA-DEFS-001,
B-412                pe1tpmbrkpaytsfy12_fy18_broker.sas7b
                     dat



                     DATA-DEFS-001,
B-413                pe1tpmbrkpaytsfy12_fy18_customer.sa
                     s7bdat



                     DATA-DEFS-001,
B-414                pe1tpmbrkpaytsfy12_fy18_product.sas7
                     bdat
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                     DATA-DEFS-001,
B-415                pe1tpmbrkpaytsfy12_fy18_vendor.sas7
                     bdat




                     DATA-DEFS-001,
B-416
                     pe1tpmbrokerfy12_fy13.sas7bdat




                     DATA-DEFS-001,
B-417                pe1tpmbrokerfy12_fy13_broker.sas7bd
                     at



                     DATA-DEFS-001,
B-418                pe1tpmbrokerfy12_fy13_customer.sas7
                     bdat



                     DATA-DEFS-001,
B-419                pe1tpmbrokerfy12_fy13_product.sas7b
                     dat



                     DATA-DEFS-001,
B-420                pe1tpmbrokerfy12_fy13_vendor.sas7bd
                     at




                     DATA-DEFS-001,
B-421
                     pe1tpmbrokerfy14_fy15.sas7bdat
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                     DATA-DEFS-001,
B-422                pe1tpmbrokerfy14_fy15_broker.sas7bd
                     at



                     DATA-DEFS-001,
B-423                pe1tpmbrokerfy14_fy15_customer.sas7
                     bdat



                     DATA-DEFS-001,
B-424                pe1tpmbrokerfy14_fy15_product.sas7b
                     dat



                     DATA-DEFS-001,
B-425                pe1tpmbrokerfy14_fy15_vendor.sas7bd
                     at




                     DATA-DEFS-001,
B-426
                     pe1tpmbrokerfy16_fy18.sas7bdat




                     DATA-DEFS-001,
B-427                pe1tpmbrokerfy16_fy18_broker.sas7bd
                     at



                     DATA-DEFS-001,
B-428                pe1tpmbrokerfy16_fy18_customer.sas7
                     bdat
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                     DATA-DEFS-001,
B-429                pe1tpmbrokerfy16_fy18_product.sas7b
                     dat



                     DATA-DEFS-001,
B-430                pe1tpmbrokerfy16_fy18_vendor.sas7bd
                     at



                     DATA-DEFS-001,
B-431                pe1tpmbrokerpaymentsfy12_fy18.sas7b
                     dat




                     DATA-DEFS-001,
B-432
                     pe1tpmdeductions.sas7bdat




                     DATA-DEFS-001,
B-433
                     pe1tpmdeductions_customer.sas7bdat




                     DATA-DEFS-001,
B-434
                     pe1tpmdeductions_product.sas7bdat




                     DATA-DEFS-001,
B-435
                     pe1tpmdeductions_secondary.sas7bdat
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                     DATA-DEFS-001,
B-436
                     pe1tpmpaymentfy12_fy13.sas7bdat




                     DATA-DEFS-001,
B-437                pe1tpmpaymentfy12_fy13_assoc.sas7b
                     dat



                     DATA-DEFS-001,
B-438                pe1tpmpaymentfy12_fy13_customer.sa
                     s7bdat



                     DATA-DEFS-001,
B-439                pe1tpmpaymentfy12_fy13_product.sas7
                     bdat



                     DATA-DEFS-001,
B-440                pe1tpmpaymentfy12_fy13_secondary.s
                     as7bdat



                     DATA-DEFS-001,
B-441                pe1tpmpaymentfy12_fy13_vendor.sas7
                     bdat



                     DATA-DEFS-001,
B-442                pe1tpmpaymentfy12_fy18_secondary.s
                     as7bdat
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                     DATA-DEFS-001,
B-443
                     pe1tpmpaymentfy14_fy15.sas7bdat




                     DATA-DEFS-001,
B-444                pe1tpmpaymentfy14_fy15_assoc.sas7b
                     dat



                     DATA-DEFS-001,
B-445                pe1tpmpaymentfy14_fy15_customer.sa
                     s7bdat



                     DATA-DEFS-001,
B-446                pe1tpmpaymentfy14_fy15_product.sas7
                     bdat



                     DATA-DEFS-001,
B-447                pe1tpmpaymentfy14_fy15_secondary.s
                     as7bdat



                     DATA-DEFS-001,
B-448                pe1tpmpaymentfy14_fy15_vendor.sas7
                     bdat




                     DATA-DEFS-001,
B-449
                     pe1tpmpaymentfy16_fy18.sas7bdat
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                     DATA-DEFS-001,
B-450                pe1tpmpaymentfy16_fy18_assoc.sas7b
                     dat



                     DATA-DEFS-001,
B-451                pe1tpmpaymentfy16_fy18_customer.sa
                     s7bdat



                     DATA-DEFS-001,
B-452                pe1tpmpaymentfy16_fy18_product.sas7
                     bdat



                     DATA-DEFS-001,
B-453                pe1tpmpaymentfy16_fy18_secondary.s
                     as7bdat



                     DATA-DEFS-001,
B-454                pe1tpmpaymentfy16_fy18_vendor.sas7
                     bdat




                     DATA-DEFS-001,
B-455
                     pe1tpmpaymentsfy12_fy18.sas7bdat




                     DATA-DEFS-001,
B-456                pe1tpmpaymentsfy12_fy18_assoc.sas7b
                     dat
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                     DATA-DEFS-001,
B-457                pe1tpmpaymentsfy12_fy18_customer.s
                     as7bdat



                     DATA-DEFS-001,
B-458                pe1tpmpaymentsfy12_fy18_product.sas
                     7bdat



                     DATA-DEFS-001,
B-459                pe1tpmpaymentsfy12_fy18_vendor.sas
                     7bdat




                     DATA-DEFS-001, Peco Live
B-460
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001, Peco Month Ending
B-461
                     Dates.pdf




                     DATA-DEFS-001, Peco Sales Jan2004
B-462
                     Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001, Peco Structured
B-463                Data (7.18.18) - HIGHLY
                     CONFIDENTIAL.PDF
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Exhibit   Witness              Brief Description         Stipulation   Offered   Admitted   Refused   Court Use Only



B-464                [Withdrawn]




B-465                [Withdrawn]




                     DATA-DEFS-001,
B-466                PECO_BrlrFcltJan04Dec19_wk.sas7bd
                     at



                     DATA-DEFS-001,
B-467                PECO_Hatchery_Production_Apr03_M
                     ar17.xlsx



                     DATA-DEFS-001,
B-468                PECO_ProductionMar03Dec19_wk.sas
                     7bdat




                     DATA-DEFS-001,
B-469
                     PecoSalesJan04Dec19.sas




                     DATA-DEFS-001,
B-470
                     PecoSalesJan04Dec19.sas7bdat
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                     DATA-DEFS-001,
B-471
                     PecoSalesJan04Dec19_MONTHLY.sas




                     DATA-DEFS-001,
B-472                PecoSalesJan04Dec19_MONTHLY.sas
                     7bdat




                     DATA-DEFS-001, Perdue Live
B-473
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001, Perdue Sales
B-474
                     Apr2004 Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001,
B-475                Perdue_BrlrFcltJan06Sep19_wk.sas7bd
                     at



                     DATA-DEFS-001,
B-476                Perdue_ProductionJan04Oct19_wk.sas
                     7bdat




                     DATA-DEFS-001,
B-477
                     PERDUE0002450096.xlsx
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                     DATA-DEFS-001,
B-478
                     PerdueSalesApr04Dec19.sas




                     DATA-DEFS-001,
B-479
                     PerdueSalesApr04Dec19.sas7bdat




                     DATA-DEFS-001,
B-480                PerdueSalesApr04Dec19_MONTHLY.
                     sas



                     DATA-DEFS-001,
B-481                PerdueSalesApr04Dec19_MONTHLY.
                     sas7bdat




                     DATA-DEFS-001,
B-482
                     PIL0015_Load_Excel_Driver.sas




                     DATA-DEFS-001,
B-483
                     PIL0015_Load_Excel_Driver.xlsx




B-484                DATA-DEFS-001, PIL0020.bat
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                     DATA-DEFS-001,
B-485
                     PIL0020_Load_Excel_Files.sas




                     DATA-DEFS-001, PIL0020_M_101-
B-486
                     120.bat




                     DATA-DEFS-001, PIL0020_M_1-
B-487
                     20.bat




                     DATA-DEFS-001, PIL0020_M_121-
B-488
                     140.bat




                     DATA-DEFS-001, PIL0020_M_141-
B-489
                     160.bat




                     DATA-DEFS-001, PIL0020_M_161-
B-490
                     180.bat




                     DATA-DEFS-001, PIL0020_M_181-
B-491
                     201.bat
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                     DATA-DEFS-001, PIL0020_M_21-
B-492
                     40.bat




                     DATA-DEFS-001, PIL0020_M_41-
B-493
                     60.bat




                     DATA-DEFS-001, PIL0020_M_61-
B-494
                     80.bat




                     DATA-DEFS-001, PIL0020_M_81-
B-495
                     100.bat




                     DATA-DEFS-001, PIL0040 Excel
B-496
                     Build.sas




                     DATA-DEFS-001, PIL0040 Excel
B-497
                     Build.xlsx




B-498                DATA-DEFS-001, PIL0060_Load.sas
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B-499                DATA-DEFS-001, PIL0070_Load.sas




                     DATA-DEFS-001,
B-500                PilgGNPSalesJan04May17_MONTHL
                     Y.sas7bdat




                     DATA-DEFS-001, Pilgrims - 11.12.19
B-501
                     Response to Letter from S. Scarlett.pdf




                     DATA-DEFS-001, Pilgrims -
B-502                12.03.2019 Response to Letter from P.
                     Redmon.pdf




                     DATA-DEFS-001, Pilgrims Live
B-503
                     Production Data Dictionary.xlsx




                     DATA-DEFS-001, Pilgrim's Pride Sales
B-504
                     Sep2003 Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001, Pilgrims Product
B-505
                     Variable Lookup.xlsx
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                     DATA-DEFS-001, Pilgrim's Production
B-506
                     Data Responses.docx




                     DATA-DEFS-001, Pilgrims
B-507
                     Standardized Plant Lookup.xlsx




                     DATA-DEFS-001,
B-508
                     PILGRIMS_SD_00853.XLSX




                     DATA-DEFS-001,
B-509
                     PILGRIMS_SD_00854 Extension.xlsx




                     DATA-DEFS-001,
B-510
                     PILGRIMS_SD_00855.xlsx




                     DATA-DEFS-001,
B-511
                     PILGRIMS_SD_00856.xlsx




                     DATA-DEFS-001,
B-512
                     PILGRIMS_SD_00857.XLSX
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                     DATA-DEFS-001,
B-513
                     PILGRIMS_SD_00858.XLSX




                     DATA-DEFS-001,
B-514
                     PILGRIMS_SD_00859.xlsx




                     DATA-DEFS-001,
B-515
                     PILGRIMS_SD_00860.xlsx




                     DATA-DEFS-001,
B-516
                     PILGRIMS_SD_00861.XLSX




                     DATA-DEFS-001,
B-517
                     PILGRIMS_SD_00862.XLSX




                     DATA-DEFS-001,
B-518
                     PILGRIMS_SD_00863.XLSX




                     DATA-DEFS-001,
B-519
                     PILGRIMS_SD_00864.XLSX
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                     DATA-DEFS-001,
B-520
                     PILGRIMS_SD_00865.XLSX




                     DATA-DEFS-001,
B-521
                     PILGRIMS_SD_00866.XLSX




                     DATA-DEFS-001,
B-522
                     PILGRIMS_SD_00867.XLSX




                     DATA-DEFS-001,
B-523
                     PILGRIMS_SD_00868.XLSX




                     DATA-DEFS-001,
B-524
                     PILGRIMS_SD_00869.XLSX




                     DATA-DEFS-001,
B-525
                     PILGRIMS_SD_00870.XLSX




                     DATA-DEFS-001,
B-526
                     PILGRIMS_SD_00927_replace.csv
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                     DATA-DEFS-001,
B-527                PILGRIMS_SD_00927_replace_part1.x
                     lsx



                     DATA-DEFS-001,
B-528                PILGRIMS_SD_00927_replace_part2.x
                     lsx




                     DATA-DEFS-001,
B-529
                     PILGRIMS_SD_01007_replace.xlsx




                     DATA-DEFS-001,
B-530
                     PILGRIMS_SD_01010_replace.xlsx




                     DATA-DEFS-001,
B-531
                     PILGRIMS_SD_01050_replace.csv




                     DATA-DEFS-001,
B-532
                     PILGRIMS_SD_01050_replace.xlsx




                     DATA-DEFS-001,
B-533
                     PILGRIMS_SD_01065_replace.xlsx
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Exhibit   Witness             Brief Description       Stipulation   Offered   Admitted   Refused   Court Use Only


                     DATA-DEFS-001,
B-534
                     PILGRIMS_SD_01072_replace.xlsx




                     DATA-DEFS-001,
B-535
                     PILGRIMS_SD_01076_replace.xlsx




                     DATA-DEFS-001,
B-536
                     PILGRIMS_SD_01311.xlsx




                     DATA-DEFS-001,
B-537
                     PILGRIMS_SD_01312.csv




                     DATA-DEFS-001,
B-538
                     PILGRIMS_SD_01313.xlsx




                     DATA-DEFS-001,
B-539
                     PILGRIMS_SD_01314.csv




                     DATA-DEFS-001,
B-540
                     PILGRIMS_SD_01315.csv
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                     DATA-DEFS-001,
B-541
                     PILGRIMS_SD_01316.csv




                     DATA-DEFS-001,
B-542
                     PILGRIMS_SD_01317.csv




                     DATA-DEFS-001,
B-543
                     PILGRIMS_SD_01318.csv




                     DATA-DEFS-001,
B-544
                     PILGRIMS_SD_01319.csv




                     DATA-DEFS-001,
B-545
                     PILGRIMS_SD_01320.csv




                     DATA-DEFS-001,
B-546
                     PILGRIMS_SD_01325.XLSX




                     DATA-DEFS-001,
B-547
                     PILGRIMS_SD_01433.XLSX
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                     DATA-DEFS-001,
B-548
                     PILGRIMS_SD_01434.XLSX




                     DATA-DEFS-001,
B-549                pilgrims_trx_sales_dec11_jan18.sas7bd
                     at



                     DATA-DEFS-001,
B-550                Pilgrims_Trx_Sales_Jan18_Dec19.sas7
                     bdat



                     DATA-DEFS-001,
B-551                Pilgrims_Trx_Sales_Sep03_Dec11.sas7
                     bdat



                     DATA-DEFS-001,
B-552                PilgrimsBrlrProdbyFcltAug04Dec19.sa
                     s7bdat



                     DATA-DEFS-001,
B-553                PilgrimsGNPSalesJan04May17.sas7bda
                     t



                     DATA-DEFS-001,
B-554                PilgrimsMthlySalesSep03Dec19.sas7bd
                     at
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                     DATA-DEFS-001,
B-555
                     PilgrimsProdJan04Dec19_wk.sas7bdat




                     DATA-DEFS-001,
B-556                PilgrimsSalesSep03Dec19_MONTHLY
                     .sas7bdat




                     DATA-DEFS-001,
B-557
                     PmtsProcRecvTrans.csv




                     DATA-DEFS-001, PPC Anti-Trust
B-558
                     Questions_ #22.msg




                     DATA-DEFS-001, PR1 and PE1 Data
B-559
                     Build.sas




                     DATA-DEFS-001, PR1 Data
B-560
                     Dictionary.xlsx




                     DATA-DEFS-001, PR1 Invoice Data
B-561
                     ReadIn.sas
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                     DATA-DEFS-001, PR1 Invoice
B-562
                     Data.xlsx




                     DATA-DEFS-001, PR1 Payer and
B-563
                     Soldto Email ReadIn.sas




                     DATA-DEFS-001,
B-564
                     pr1_032910_092610.sas7bdat




                     DATA-DEFS-001,
B-565
                     pr1_033009_092709.sas7bdat




                     DATA-DEFS-001,
B-566
                     pr1_092710_032711.sas7bdat




                     DATA-DEFS-001,
B-567
                     pr1_092809_032810.sas7bdat




                     DATA-DEFS-001,
B-568
                     pr1_mar2009mar2011.sas7bdat
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                     DATA-DEFS-001,
B-569
                     pr1_mar2009mar2011_header.sas7bdat




                     DATA-DEFS-001,
B-570
                     pr1tpmbroker.sas7bdat




                     DATA-DEFS-001,
B-571
                     pr1tpmbroker_broker.sas7bdat




                     DATA-DEFS-001,
B-572
                     pr1tpmbroker_customer.sas7bdat




                     DATA-DEFS-001,
B-573
                     pr1tpmbroker_product.sas7bdat




                     DATA-DEFS-001,
B-574
                     pr1tpmbroker_vendor.sas7bdat




                     DATA-DEFS-001,
B-575
                     pr1tpmbrokerpayments.sas7bdat
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                     DATA-DEFS-001,
B-576
                     pr1tpmdeductions.sas7bdat




                     DATA-DEFS-001,
B-577
                     pr1tpmdeductions_customer.sas7bdat




                     DATA-DEFS-001,
B-578
                     pr1tpmdeductions_product.sas7bdat




                     DATA-DEFS-001,
B-579
                     pr1tpmdeductions_secondary.sas7bdat




                     DATA-DEFS-001,
B-580
                     pr1tpmpayment.sas7bdat




                     DATA-DEFS-001,
B-581
                     pr1tpmpayment_customer.sas7bdat




                     DATA-DEFS-001,
B-582
                     pr1tpmpayment_product.sas7bdat
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                     DATA-DEFS-001,
B-583
                     pr1tpmpayment_secondary.sas7bdat




                     DATA-DEFS-001,
B-584
                     pr1tpmpayment_vendor.sas7bdat




                     DATA-DEFS-001,
B-585
                     pr1tpmpayments.sas7bdat




                     DATA-DEFS-001,
B-586
                     product_category.sas7bdat




                     DATA-DEFS-001,
B-587
                     product_category_update.sas7bdat




                     DATA-DEFS-001,
B-588
                     product_group.sas7bdat




                     DATA-DEFS-001,
B-589
                     product_group_update.sas7bdat
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                     DATA-DEFS-001,
B-590
                     ProteinCostCenters.csv




B-591                DATA-DEFS-001, ProteinProducts.csv




                     [Withdrawn]
B-592




B-593                [Withdrawn]




                     DATA-DEFS-001, RE Ext-Broilers
B-594
                     Edgeworth Data Questions.msg




                     DATA-DEFS-001, RE Legal PPC Anti-
B-595                Trust Data work session - question
                     #21.msg




                     DATA-DEFS-001, RE Remaining PPC
B-596
                     Anti-Trust questions (#30-32).msg
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                     DATA-DEFS-001, RE Remaining PPC
B-597
                     Anti-Trust questions.msg




B-598                [Withdrawn]




B-599                [Withdrawn]




                     [Withdrawn]
B-600




                     [Withdrawn]
B-601




                     [Withdrawn]
B-602




B-603                [Withdrawn]
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                     [Withdrawn]
B-604




B-605                [Withdrawn]




                     [Withdrawn]
B-606




B-607                [Withdrawn]




                     DATA-DEFS-001, RE_ Broilers __
B-608
                     Tyson Data Questions.msg




                     DATA-DEFS-001, RE_ Broilers __
B-609
                     Tyson Data Questions.msg




                     DATA-DEFS-001, RE_ Broilers __
B-610
                     Tyson Production Data Questions.msg
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                     DATA-DEFS-001, RE_ Broilers __
B-611
                     Tyson Production Data Questions.msg




                     DATA-DEFS-001, RE_ Calculation
B-612
                     Descriptions.msg




                     [Withdrawn]
B-613




                     [Withdrawn]
B-614




                     [Withdrawn]
B-615




                     [Withdrawn]
B-616




                     [Withdrawn]
B-617
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B-618                [Withdrawn]




                     DATA-DEFS-001, RE_ Legal_ PPC
B-619
                     Anti-Trust Questions .msg




                     [Withdrawn]
B-620




B-621                [Withdrawn]




                     [Withdrawn]
B-622




                     [Withdrawn]
B-623




                     DATA-DEFS-001, ReadMe - Gold'n
B-624
                     Plump.txt
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                     DATA-DEFS-001, ReadMe - Keystone
B-625
                     Foods.txt




                     DATA-DEFS-001, ReadMe - Pilgrim's
B-626
                     Pride.txt




                     DATA-DEFS-001, ReadMe - Tyson
B-627
                     Foods.txt




                     DATA-DEFS-001, ReadMe File List
B-628
                     Claxton.txt




                     [Withdrawn]
B-629




                     [Withdrawn]
B-630




                     [Withdrawn]
B-631
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                     DATA-DEFS-001, ReadMe File List
B-632
                     Mountaire.txt




                     [Withdrawn]
B-633




                     [Withdrawn]
B-634




                     DATA-DEFS-001, ReadMe File List
B-635
                     Tyson.txt




B-636                [Withdrawn]




B-637                [Withdrawn]




B-638                [Withdrawn]
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B-639                [Withdrawn]




B-640                [Withdrawn]




B-641                [Withdrawn]




B-642                [Withdrawn]




B-643                [Withdrawn]




B-644                [Withdrawn]




B-645                [Withdrawn]
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B-646                [Withdrawn]




B-647                [Withdrawn]




B-648                [Withdrawn]




B-649                [Withdrawn]




B-650                [Withdrawn]




B-651                [Withdrawn]




B-652                [Withdrawn]
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B-653                [Withdrawn]




B-654                [Withdrawn]




B-655                [Withdrawn]




                     [Withdrawn]
B-656




                     [Withdrawn]
B-657




B-658                [Withdrawn]




B-659                [Withdrawn]
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                     [Withdrawn]
B-660




                     [Withdrawn]
B-661




                     [Withdrawn]
B-662




B-663                [Withdrawn]




                     DATA-DEFS-001, SDS Sales Data
B-664
                     Build.sas




                     DATA-DEFS-001, SDS Sales Data
B-665
                     Dictionary.xlsx




                     DATA-DEFS-001, SDS Sales Data
B-666
                     ReadIn.sas
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                     DATA-DEFS-001,
B-667
                     sds_fy2005_fy2009.sas7bdat




B-668                [Withdrawn]




                     DATA-DEFS-001, Ship-To Customers
B-669
                     Based on MTA-PL0001191640.xlsx




                     DATA-DEFS-001, Ship-To Location
B-670
                     Standardization.xlsx




                     [Withdrawn]
B-671




B-672                [Withdrawn]




B-673                [Withdrawn]
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B-674                [Withdrawn]




                     [Withdrawn]
B-675




B-676                [Withdrawn]




B-677                [Withdrawn]




                     [Withdrawn]
B-678




                     [Withdrawn]
B-679




                     [Withdrawn]
B-680
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B-681                [Withdrawn]




B-682                [Withdrawn]




B-683                [Withdrawn]




                     DATA-DEFS-001,
B-684
                     soldto_pe1_010118_063018.sas7bdat




                     DATA-DEFS-001,
B-685
                     soldto_pe1_010119_063019.sas7bdat




                     DATA-DEFS-001,
B-686
                     soldto_pe1_032612_092312.sas7bdat




                     DATA-DEFS-001,
B-687
                     soldto_pe1_032717_092417.sas7bdat
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                     DATA-DEFS-001,
B-688
                     soldto_pe1_032811_092511.sas7bdat




                     DATA-DEFS-001,
B-689
                     soldto_pe1_032816_092516.sas7bdat




                     DATA-DEFS-001,
B-690
                     soldto_pe1_033015_092715.sas7bdat




                     DATA-DEFS-001,
B-691
                     soldto_pe1_033114_092814.sas7bdat




                     DATA-DEFS-001,
B-692
                     soldto_pe1_040113_092913.sas7bdat




                     DATA-DEFS-001,
B-693
                     soldto_pe1_070118_123118.sas7bdat




                     DATA-DEFS-001,
B-694
                     soldto_pe1_070119_123119.sas7bdat
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                     DATA-DEFS-001,
B-695
                     soldto_pe1_092412_033113.sas7bdat




                     DATA-DEFS-001,
B-696
                     soldto_pe1_092517_123117.sas7bdat




                     DATA-DEFS-001,
B-697
                     soldto_pe1_092611_032512.sas7bdat




                     DATA-DEFS-001,
B-698
                     soldto_pe1_092616_032617.sas7bdat




                     DATA-DEFS-001,
B-699
                     soldto_pe1_092815_032716.sas7bdat




                     DATA-DEFS-001,
B-700
                     soldto_pe1_092914_032915.sas7bdat




                     DATA-DEFS-001,
B-701
                     soldto_pe1_093013_033014.sas7bdat
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                     DATA-DEFS-001,
B-702
                     soldto_pr1_032910_092610.sas7bdat




                     DATA-DEFS-001,
B-703
                     soldto_pr1_033009_092709.sas7bdat




                     DATA-DEFS-001,
B-704
                     soldto_pr1_092710_032711.sas7bdat




                     DATA-DEFS-001,
B-705
                     soldto_pr1_092809_032810.sas7bdat




                     DATA-DEFS-001, Structured Data
B-706
                     Letter to B. Pouya 1.31.20 .pdf




                     DATA-DEFS-001, Structured Data
B-707
                     Letter to B. Pouya 1.31.20 .pdf




B-708                [Withdrawn]
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B-709                [Withdrawn]




B-710                [Withdrawn]




B-711                [Withdrawn]




                     [Withdrawn]
B-712




                     [Withdrawn]
B-713




                     [Withdrawn]
B-714




B-715                [Withdrawn]
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B-716                DATA-DEFS-001, Thumbs.db




B-717                DATA-DEFS-001, Thumbs.db




B-718                DATA-DEFS-001, Thumbs.db




B-719                DATA-DEFS-001, Thumbs.db




B-720                DATA-DEFS-001, Thumbs.db




B-721                DATA-DEFS-001, Thumbs.db




B-722                DATA-DEFS-001, Thumbs.db
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B-723                DATA-DEFS-001, Thumbs.db




B-724                DATA-DEFS-001, Thumbs.db




B-725                DATA-DEFS-001, Thumbs.db




B-726                DATA-DEFS-001, Thumbs.db




B-727                DATA-DEFS-001, Thumbs.db




B-728                DATA-DEFS-001, Thumbs.db




B-729                DATA-DEFS-001, Thumbs.db
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B-730                DATA-DEFS-001, Thumbs.db




B-731                DATA-DEFS-001, Thumbs.db




B-732                DATA-DEFS-001, Thumbs.db




B-733                DATA-DEFS-001, Thumbs.db




B-734                DATA-DEFS-001, Thumbs.db




B-735                DATA-DEFS-001, Thumbs.db




B-736                DATA-DEFS-001, Thumbs.db
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B-737                DATA-DEFS-001, Thumbs.db




B-738                DATA-DEFS-001, Thumbs.db




B-739                DATA-DEFS-001, Thumbs.db




B-740                DATA-DEFS-001, Thumbs.db




B-741                DATA-DEFS-001, Thumbs.db




                     [Withdrawn]
B-742




                     DATA-DEFS-001,
B-743
                     totalliveproduction_wk.sas7bdat
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                     DATA-DEFS-001, TPM Data Field
B-744
                     Descriptions.xlsx




B-745                DATA-DEFS-001, TPM Read-In.sas




B-746                DATA-DEFS-001, TPM Stacked.sas




                     DATA-DEFS-001,
B-747
                     tpmbrokerpayments.sas7bdat




                     DATA-DEFS-001,
B-748
                     tpmpayments.sas7bdat




                     DATA-DEFS-001,
B-749                Tysn_BrlrProdbyFcltJan04Dec17_wk.s
                     as7bdat




                     DATA-DEFS-001, Tyson Live
B-750
                     Production Data Dictionary.xlsx
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                     DATA-DEFS-001, Tyson Sales
B-751
                     Oct2005 Jan2020 Data Dictionary.xlsx




                     DATA-DEFS-001, Tyson SAP Sales
B-752
                     Nov2015 Jan2020 Data Dictionary.xlsx




                     DATA-DEFS-001, Tyson TDW Sales
B-753
                     Oct2005 Oct2015 Data Dictionary.xlsx




                     DATA-DEFS-001,
B-754                Tyson_Brlrprodbyfclt_Jan04Dec17_wk
                     .sas




                     DATA-DEFS-001,
B-755
                     Tyson_ProductionJan04Dec17_wk.sas




                     DATA-DEFS-001,
B-756                Tyson_ProductionJan04Dec17_wk.sas7
                     bdat



                     DATA-DEFS-001,
B-757                Tyson_SAPSales_Nov2015_Jan2020.sa
                     s7bdat
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                     DATA-DEFS-001,
B-758                Tyson_TDWSales_Oct2005_Oct2015.s
                     as7bdat




                     DATA-DEFS-001,
B-759
                     TysonSalesOct2005Jan2020.sas7bdat




                     DATA-DEFS-001,
B-760                TysonSalesOct2005Jan2020_MONTHL
                     Y.sas7bdat




                     DATA-DEFS-001, USDA Annual
B-761
                     Broiler Production.csv




                     DATA-DEFS-001, USDA Annual
B-762                Corn, No. 2 yellow, U.S. - Chicago,
                     IL.xls



                     DATA-DEFS-001, USDA Annual
B-763                Soybean meal, high protein, U.S. -
                     Central IL.xls



                     DATA-DEFS-001, USDA Historical
B-764                monthly price spread data for beef,
                     pork, broilers.xls
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Exhibit   Witness              Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only


                     DATA-DEFS-001, Wayne Farms Sales
B-765
                     Jan2007 Dec2019 Data Dictionary.xlsx




                     DATA-DEFS-001, Wayne Live
B-766                Production Data Dictionary and
                     Log.xlsx




                     DATA-DEFS-001,
B-767
                     waynebrlrfcltjan04dec19_wk.sas7bdat




                     DATA-DEFS-001,
B-768
                     WayneProdJan04Dec19_wk.sas7bdat




                     DATA-DEFS-001,
B-769
                     WayneSalesJan07Dec19.sas




                     DATA-DEFS-001,
B-770
                     WayneSalesJan07Dec19.sas7bdat




                     DATA-DEFS-001,
B-771
                     WayneSalesJan07Dec19_Monthly.sas
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                     DATA-DEFS-001,
B-772                WayneSalesJan07Dec19_Monthly.sas7
                     bdat




                     [Withdrawn]
B-773




                     DATA-DEFS-001,
B-774
                     week_01_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-775
                     week_02_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-776
                     week_03_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-777
                     week_04_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-778
                     week_05_09_and_08_readin.sas7bdat
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                     DATA-DEFS-001,
B-779
                     week_06_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-780
                     week_07_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-781
                     week_08_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-782
                     week_09_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-783
                     week_10_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-784
                     week_11_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-785
                     week_12_09_and_08_readin.sas7bdat
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                     DATA-DEFS-001,
B-786
                     week_13_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-787
                     week_14_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-788
                     week_15_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-789
                     week_16_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-790
                     week_17_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-791
                     week_18_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-792
                     week_19_09_and_08_readin.sas7bdat
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                     DATA-DEFS-001,
B-793
                     week_20_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-794
                     week_21_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-795
                     week_22_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-796
                     week_23_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-797
                     week_24_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-798
                     week_25_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-799
                     week_26_09_and_08_readin.sas7bdat
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Exhibit   Witness             Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     DATA-DEFS-001,
B-800
                     week_27_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-801
                     week_28_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-802
                     week_29_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-803
                     week_30_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-804
                     week_31_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-805
                     week_32_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-806
                     week_33_09_and_08_readin.sas7bdat
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 259 of 1105

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                     DATA-DEFS-001,
B-807
                     week_34_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-808
                     week_35_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-809
                     week_36_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-810
                     week_37_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-811
                     week_38_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-812
                     week_39_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-813
                     week_40_09_and_08_readin.sas7bdat
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Exhibit   Witness             Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     DATA-DEFS-001,
B-814
                     week_41_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-815
                     week_42_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-816
                     week_43_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-817
                     week_44_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-818
                     week_45_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-819
                     week_46_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-820
                     week_47_09_and_08_readin.sas7bdat
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                     DATA-DEFS-001,
B-821
                     week_48_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-822
                     week_49_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-823
                     week_50_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-824
                     week_51_09_and_08_readin.sas7bdat




                     DATA-DEFS-001,
B-825
                     week_52_09_and_08_readin.sas7bdat




                     [Withdrawn]
B-826




B-827                DATA-DEFS-001, weeks_final.xlsx
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Exhibit   Witness              Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     DATA-DEFS-001, WF-
B-828                0001413472_BimPELogMovements.cs
                     v



                     DATA-DEFS-001, WF-
B-829                0001413472_HimEggRoomReceiving.c
                     sv




                     DATA-DEFS-001, WF-
B-830
                     0001413472_HimHatchTrans.csv




                     DATA-DEFS-001, WF-
B-831
                     0001413472_PmtsProcRecvTrans.csv




                     DATA-DEFS-001, WF-
B-832
                     0001413472_ProteinCostCenters.csv




                     DATA-DEFS-001, WF-
B-833                0001413472_ProteinFacilityHatcheries.
                     csv




                     DATA-DEFS-001, WF-
B-834
                     0001413472_ProteinProducts.csv
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B-835                [Withdrawn]




                     Email, "FW: RSCS", 08/19/2020, DOJ-
B-836
                     ATR012-00000016




                     Attachment, Placeholder Image, DOJ-
B-837
                     ATR012-00000020




                     Attachment, Supplier Contract, DOJ-
B-838
                     ATR012-00000021




                     Attachment, Supplier Contract, DOJ-
B-839
                     ATR012-00000030




                     Attachment, Metadata, DOJ-ATR012-
B-840
                     00000040




                     Attachment, Metadata, DOJ-ATR012-
B-841
                     00000041
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Exhibit   Witness               Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, Essential Travel Justification
B-842                Form Koppenhaver DFW.pdf,
                     08/11/2020, DOJ-ATR027-00000039




                     Email, LITTLE interview, 09/02/2020,
B-843
                     DOJ-ATR028-00000001




                     Email, LITTLE Interview, 09/08/2020,
B-844
                     DOJ-ATR028-00000002




                     Email, LITTLE interview, 09/17/2020,
B-845
                     DOJ-ATR028-00000003




                     Email, RE: McLane Food Svc,
B-846
                     09/02/2020, DOJ-ATR028-00000004




                     Windstream Call Records, FBI-DOJ003-
B-847
                     00000337



                     Email, "Committee Meeting and
                     Request for Your Feedback on Future
B-848
                     Marketing Seminars", 06/18/2013,
                     FIELDALE_1253960
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                     Attachment, Seminar Flier,
B-849
                     FIELDALE_1253962




                     Email, Fieldale / Pilgrims, 02/02/2015,
B-850
                     FIELDALE_1376409




                     Digital Device Records,
B-851
                     FIELDALE_1438322




                     Digital Device Records,
B-852
                     FIELDALE_1438323




                     Digital Device Records,
B-853
                     FIELDALE_1442877




                     Digital Device Records,
B-854
                     FIELDALE_1442878




                     Digital Device Records,
B-855
                     FIELDALE_1442879
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                     Digital Device Records,
B-856
                     FIELDALE_1442880




                     Digital Device Records, FIELDALE-
B-857
                     DOJ-0018255




                     Digital Device Records, FIELDALE-
B-858
                     DOJ-0018256




                     Fusion LLC Phone Records, FUSION-
B-859
                     DEFS-0000000001




                     Fusion LLC Phone Records, FUSION-
B-860
                     DEFS-0000000002




                     Fusion LLC Subpoena, FUSION-DEFS-
B-861
                     0000000003




                     Fusion LLC Phone Records Subpoena,
B-862
                     FUSION-DEFS-0000000004
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                     Fusion LLC Phone Records, FUSION-
B-863
                     DEFS-0000000008




                     Fusion LLC Phone Records, FUSION-
B-864
                     DEFS-0000000009




                     George's Inc Organizational Chart,
B-865
                     GEO_0000000057




                     Email, RE: KFC COB Presentation 08
B-866                19 14.pptx, 08/20/2014,
                     GEO_0000208648




                     Email, RE: signed RSCS agreement 11-
B-867
                     10-14, 11/10/2014, GEO_0000209558




                     Attachment, Hard Copy Supplier
B-868
                     Contract, GEO_0000209559




                     Attachment, Supplier Contract,
B-869
                     GEO_0000209563
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                     Email, RE: March 24, 2015 Shortages -
B-870                Edinburg, 3/25/2015,
                     GEO_0000267793




                     Email, FW: P11 Pricing & Case
B-871
                     Weight, 09/26/2014, GEO_0000299548




                     Attachment, Cost Model,
B-872
                     GEO_0000299550




                     Email, RE: COB Negotiations,
B-873
                     09/08/2014, GEO_0000306822




                     Email, KFC Margin Over Feed Model -
B-874                Period 11 2014.xlsx, 9/26/2014,
                     GEO_0000306891



                     Attachment, RSCS Feed Pricing
B-875                Spreadsheet, 9/26/2014,
                     GEO_0000306892




                     Email, FW: COB Negotiations,
B-876
                     09/16/2014, GEO_0000314938
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Exhibit   Witness               Brief Description           Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, FW: September bone in
B-877                promotion, 03/27/2015,
                     GEO_0000338128




                     Email, RE: Feedback Requested,
B-878
                     09/16/2014, GEO_0000338776




                     Email, RSCS SCA Project for COB
B-879                chicken, 08/26/2016,
                     GEO_0000338978



                     Attachment, COB SCA Planner -
B-880                Supplier Questionnaire 8-26-16.xlsx,
                     GEO_0000338980




                     PowerPoint Presentation to KFC,
B-881
                     GEO_0000410074




                     Email, UFPC Bid, 12/03/2012,
B-882
                     GEO_0000527915




                     Email, Bites, 12/03/2012,
B-883
                     GEO_0000527927
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B-884                Attachment, Bid, GEO_0000527928




                     Email, FW: Message from
B-885                KMBT_C353, 11/08/2012,
                     GEO_0000528203




                     Attachment, Handwritten Notes,
B-886
                     GEO_0000528204




                     Email, Louisville-Company Plane,
B-887
                     3/23/2015, GEO_0000591377




                     Email, FW: George's, 08/19/2013,
B-888
                     GEO_0000638163




                     Email, FW: SBRA Exhibit,
B-889
                     12/14/2012, GEO_0000648363




                     Attachment, Supplier Agreement,
B-890
                     GEO_0000648364
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                     Email, FW: 2012 UFPC SBRA
B-891                Exhibits, 12/16/2011,
                     GEO_0000648374




                     Attachment, Supplier Agreement,
B-892
                     GEO_0000648375



                     Email, FW: [UFPC :: Yum Poultry
                     Event 2012] 2013 Yum! Brands Poultry
B-893
                     RFP & CombineNet User Invitation,
                     09/26/2012, GEO_0000648384

                     Email, RE:
                     Negotiations.........................DRAFT
B-894                RESPONSE...please review and
                     comment, 07/16/2014,
                     GEO_0000714573


                     Email, KFC COB Presentation 08 19
B-895                14.pptx, 08/19/2014,
                     GEO_0000714757




                     Attachment, Powerpoint Presentation,
B-896
                     GEO_0000714758




                     Email, RE: COB Negotiations,
B-897
                     09/08/2014, GEO_0000714946
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                     Email, FW: Popeyes Pay Day special
B-898                March 26th, 02/06/2014,
                     GEO_0000715167




                     Email, FW: Meeting Follow-Up,
B-899
                     08/12/2014, GEO_0000716603




                     Email, KFC COB Presentation 08 19
B-900                14 (3).pptx, 08/19/2014,
                     GEO_0000716604




                     Attachment KFC PowerPoint
B-901
                     Presentation, GEO_0000716605




                     Email, KFC Cost Plus Cost Build Up
B-902                Recap Modified 08.07.14, 08/08/2014,
                     GEO_0000717614




                     Attachment, Cost Model,
B-903
                     GEO_0000717615




                     Email, RE: Talking Points for
B-904                beginning discussion w/select national
                     accounts, 6/5/2014, GEO_0000719605
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                     Email, Kent Kronauge Conversation,
B-905
                     07/11/2014, GEO_0000733822



                     Email, FW:
                     Negotiations.........................DRAFT
B-906                RESPONSE...please review and
                     comment, 07/17/2014,
                     GEO_0000733853

                     Email, RE:
                     Negotiations.........................DRAFT
B-907                RESPONSE...please review and
                     comment, 07/17/2014,
                     GEO_0000733855

                     Email, Re:
                     Negotiations.........................DRAFT
B-908                RESPONSE...please review and
                     comment, 07/17/2014,
                     GEO_0000733859



                     Email, SUMMARY PROPOSAL FOR
B-909
                     RSCS, 09/05/2014, GEO_0000734535




                     Attachment, Cost Model,
B-910
                     GEO_0000734536




                     Email, FW: COB Information,
B-911
                     05/12/2014, GEO_0000735473
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                     Email, FW: COB Information,
B-912
                     05/13/2014, GEO_0000735475




                     Email, FW: Negotiations, 07/10/2014,
B-913
                     GEO_0000737503




                     Email, Fwd: Feedback Requested,
B-914
                     09/16/2014, GEO_0000737515




                     Attachment, SBRA Addendum,
B-915
                     GEO_0000737516




                     Email, MEETING WITH RSCS IN
B-916                LOUISVILLE, 07/17/2014,
                     GEO_0000737587



                     Email, FW: KFC COB Presentation
B-917                08.12.14.pptx, 08/11/2014,
                     GEO_0000737745




                     Attachment, Powerpoint Presentation,
B-918
                     GEO_0000737746
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                     Attachment, KFC PowerPoint
B-919
                     Presentation, GEO_0000737762




                     Email, KFC Presentation, 08/11/2014,
B-920
                     GEO_0000737777




                     Attachment, KFC PowerPoint
B-921
                     Presentation, GEO_0000737778




                     Email, RE: COB Information,
B-922
                     05/12/2014, GEO_0000738846




                     Email, Talking Points for beginning
B-923                discussion w/select national accounts,
                     06/04/2014, GEO_0000738904




                     Email, Fwd: UFPC Round 1 Feedback,
B-924
                     11/01/2013, GEO_0000756785




                     Attachment, Mobile Record,
B-925
                     GEO_0000756786
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                     Attachment, Supplier Feedback,
B-926
                     GEO_0000756787




B-927                Supplier Contract, GEO_0000800167




                     Email, Re: SHORTAGES, 11/25/2012,
B-928
                     GEO_0000802079




                     Email, FW: April bone in
B-929                promotion...POPEYE, 03/23/2009,
                     GEO_0000807219




                     Email, RE: Albertson's LLC Bid,
B-930
                     09/27/2010, GEO_0000807230




                     Email, RE: KFC PROMOS/MOTHERS
B-931
                     DAY..., 03/25/2014, GEO_0000807350




                     Email, FW: Attachment _2-Fresh COB
B-932                Cost Model(1).xlsx, 10/10/2012,
                     GEO_0000808862
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                     Attachment, Cost Model,
B-933
                     GEO_0000808863




                     Email, FW: 2013 COST MODEL FOR
B-934                REVIEW, 11/14/2012,
                     GEO_0000817517




                     Attachment, Cost Model,
B-935
                     GEO_0000817518




                     Email, RE: Quick Update from
B-936                George's, 10/12/2012,
                     GEO_0000832905




                     Email, 2013 SBRA Agreement,
B-937
                     12/17/2012, GEO_0000832907




                     Attachment, Supplier Contract,
B-938
                     GEO_0000832908




                     Purchase Invoice George's Tyson,
B-939
                     3/7/2012, GEO_0000949743
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                     Email, FW: Updated Bid submission-
B-940                Round 3, 12/14/2012,
                     GEO_0001411447




                     Attachment, Attachment _1-FOB
B-941
                     Summary(1).xlsx, GEO_0001411448




                     Attachment, Cost Model,
B-942
                     GEO_0001411449




                     Email, FW: George's----kfc
B-943                presentation from ufpc 11-13-13,
                     11/13/2013, GEO_0001416906




                     Attachment, Yum! PowerPoint
B-944
                     Presentation, GEO_0001416907



                     Email, FW: [UFPC :: Yum Poultry
                     Event 2012] Round 2 of Yum! Brands
B-945
                     Poultry RFP process due 11/14 @ Noon
                     EST, 11/07/2012, GEO_0001421270


                     Email, FW: [UFPC :: Yum Poultry
                     Event 2012] Round 2 of Yum! Brands
B-946
                     Poultry RFP process due 11/14 @ Noon
                     EST, 11/07/2012, GEO_0001421272
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                     Digital Device Records,
B-947
                     GEO_0001424664




                     Email, RE: Revised Popeye's 2018
B-948                COB RFP-George's, 09/13/2017,
                     GEODOJ_0000750




                     Email, Re: POPEYES 2018 bone-in
B-949
                     RFP, 08/17/2017, GEODOJ_0000769




                     Email, Revised Popeye's 2018 COB
B-950                RFP-George's, 09/13/2017,
                     GEODOJ_0001713




                     Attachment, Cost Model,
B-951
                     GEODOJ_0001714




                     Email, Ric - KFC Grain Based
B-952                2018.xlsx, 03/06/2017,
                     GEODOJ_0003382




                     Attachment, Cost Model,
B-953
                     GEODOJ_0003383
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                     Email, Popeye's 2018 COB RFP-
B-954                George's, 09/05/2017,
                     GEODOJ_0005007




                     Attachment, Cost Model,
B-955
                     GEODOJ_0005008




                     Email, Chicken on the Bone Update,
B-956
                     02/17/2017, GEODOJ_0005069




B-957                Scan, GEODOJ_0005961




                     Attachment, Supplier Agreement,
B-958
                     GEODOJ_0005962




                     Email, 2018 SMS (Popeye's) Bone in
B-959                & Strip Contracts, 11/27/2017,
                     GEODOJ_0006870




                     Attachment, Supplier Agreement,
B-960
                     GEODOJ_0006871
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                     Attachment, Supplier Agreement,
B-961
                     GEODOJ_0006890




                     Email, Executed Pricing Addendum to
B-962                the SBRA for George's Inc.,
                     09/12/2017, GEODOJ_0018493




                     Attachment, Supplier Agreement,
B-963
                     GEODOJ_0018494




                     Email, ROUND 2 KFC BID, 9/23/2016,
B-964
                     GEODOJ_0070190




                     Email, Automatic reply: POPEYES
B-965                2018 bone-in RFP, 8/31/2017,
                     GEODOJ_0088037




                     Email, FW: signed RSCS agreement 11-
B-966
                     10-14, 11/10/2014, GEODOJ_0092174




                     Attachment, Supplier Agreement,
B-967
                     GEODOJ_0092175
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                     Attachment, Supplier Agreement,
B-968
                     GEODOJ_0092179




                     Email, FW: KFC 9 pc price,
B-969
                     12/05/2016, GEODOJ_0098525




                     Email, 2018 SMS Poultry Supply
B-970                Agreement, 10/23/2017,
                     GEODOJ_0118567




                     SMS Letter to Dean Bradley,
B-971
                     10/23/2017, GEODOJ_0118568




                     Email, Re: Updated COB Model -
B-972
                     2018+, 03/03/2017, GEODOJ_0119314




                     Email, Bojangles' 2015-2016 Bone-in
B-973                Chicken Program, 09/10/2014,
                     GEODOJ_0156909




                     Attachment, Buyer Letter,
B-974
                     GEODOJ_0156910
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                     Email, RE: POPEYES 2018 bone-in
B-975
                     RFP, 08/16/2017, GEODOJ_0163436




                     Email, RE: Popeye's 2018 COB RFP-
B-976                George's (Freight Update), 09/12/2017,
                     GEODOJ_0164399




                     Email, RE: POPEYES 2018 bone-in
B-977
                     RFP, 08/25/2017, GEODOJ_0165151




                     Email, RE: Popeye's 2018 COB RFP-
B-978                George's (Freight Update), 09/13/2017,
                     GEODOJ_0165510



                     Email, RE: Popeye's 2018 COB RFP-
B-979                George's (Freight Update), 09/13/2017,
                     GEODOJ_0166117



                     Email, RE: Popeye's 2018 COB RFP-
B-980                George's (Freight Update), 09/12/2017,
                     GEODOJ_0166158




B-981                Email, Cost Model, GEODOJ_0166164
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                                                                                                                            Page 284

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                     Email, RE: Popeye's 2018 COB RFP-
B-982                George's (Freight Update), 09/12/2017,
                     GEODOJ_0166815




B-983                Email, Cost Model, GEODOJ_0166817




                     Email, RE: 2018 SMS Poultry Supply
B-984                Agreement, 11/20/2017,
                     GEODOJ_0167016



                     Attachment, SMS Poultry Supply
B-985                Agreement, 11/20/2017,
                     GEODOJ_0167019




                     Email, FW: POPEYES 2018 bone-in
B-986
                     RFP, 08/16/2017, GEODOJ_0167950




                     Email, RE: 2018 SMS Poultry Supply
B-987                Agreement, 11/20/2017,
                     GEODOJ_0173246




                     Attachment, Cost Model,
B-988
                     GEODOJ_0173249
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                     Email, Re: Popeye's Strip RFP 2017,
B-989
                     11/02/2016, GEODOJ_0190461




                     Email, RE: POPEYES 2018 bone-in
B-990
                     RFP, 09/05/2017, GEODOJ_0196235




                     Email, FW: POPEYES 2018 bone-in
B-991
                     RFP, 08/17/2017, GEODOJ_0196240




                     Email, RE: POPEYES 2018 bone-in
B-992
                     RFP, 09/05/2017, GEODOJ_0196244




                     Attachment, Cost Model,
B-993
                     GEODOJ_0196248




                     Attachment, Cost Model,
B-994
                     GEODOJ_0196249




                     Email, RE: POPEYES 2018 bone-in
B-995
                     RFP, 09/05/2017, GEODOJ_0198068
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                     Attachment, Cost Model,
B-996
                     GEODOJ_0198071




                     Email, FW: POPEYES 2018 bone-in
B-997
                     RFP, 08/16/2017, GEODOJ_0198091




                     Email, RE: POPEYES 2018 bone-in
B-998
                     RFP, 09/01/2017, GEODOJ_0198417




                     Attachment, Cost Model,
B-999
                     GEODOJ_0198419




                     Attachment, Cost Model,
C-001
                     GEODOJ_0198420




                     Attachment, Cost Model,
C-002
                     GEODOJ_0198421




                     Email, RE: Sales Contracts - Signed,
C-003
                     05/04/2018, GEODOJ_0220168
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                     Attachment, Amended Supplier
C-004
                     Agreement, GEODOJ_0220170




C-005                Attachment, Bid, GEODOJ_0220172




                     Email, RE: 2018 Contract, 05/04/2018,
C-006
                     GEODOJ_0220173




                     Attachment, Supplier Agreement,
C-007
                     GEODOJ_0220174




                     Attachment, Supplier Agreement,
C-008
                     GEODOJ_0220176




                     Attachment, Supplier Agreement,
C-009
                     GEODOJ_0220195




                     Email, FW: Red Lobster Contract,
C-010
                     05/04/2018, GEODOJ_0220223
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                     Email, FW: George's Bid 2017,
C-011
                     05/04/2018, GEODOJ_0220224




C-012                Attachment, Bid, GEODOJ_0220226




                     Email, RE: Batterfried Tenders,
C-013
                     05/04/2018, GEODOJ_0220227




C-014                Attachment, Bid, GEODOJ_0220229




                     Attachment, Supplier Agreement,
C-015
                     GEODOJ_0220230




                     Email, RE: RSCS SCA Project for
C-016                COB chicken, 09/01/2016,
                     GEODOJ_0223850




                     Attachment, Supplier Questionnaire,
C-017
                     GEODOJ_0223853
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                     Email, SUMMARY PROPOSAL.xlsx,
C-018
                     09/04/2014, GEODOJ_0225748




                     Attachment, Cost Model,
C-019
                     GEODOJ_0225749




                     Email, Updated Bid submission-Round
C-020
                     3, 12/03/2012, GEODOJ_0225762




                     Attachment, Cost Model,
C-021
                     GEODOJ_0225763




                     Attachment, Cost Model,
C-022
                     GEODOJ_0225764




                     Email, COB COST PLUS MODEL,
C-023
                     11/14/2012, GEODOJ_0225766




                     Attachment, Cost Model,
C-024
                     GEODOJ_0225767
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                     Email, SBRA Exhibit, 12/14/2012,
C-025
                     GEODOJ_0225773




                     Email, FW: Message from
C-026                KMBT_C353, 11/08/2012,
                     GEODOJ_0225775




                     Attachment, Handwritten Notes on
C-027
                     Buyer Meeting, GEODOJ_0225776




                     Email, "Notes from RSCS Meeting",
C-028
                     11/25/2020, GEODOJ_0225967




                     Handwritten Notes from RSCS
C-029
                     Meeting, GEODOJ_0225968




                     Organizational Chart,
C-030
                     GEODOJ_0225974




C-031                Flight Schedule, GEODOJ_0225996
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                     Email, "FW: COB Supply Plan",
C-032
                     05/28/2014, GEODOJ_0258938




                     Email, Re: Talking Points for beginning
C-033                discussion w/select national accounts,
                     06/04/2014, GEODOJ_0259118




                     Email, Fwd: George's, 11/13/2013,
C-034
                     GEODOJ_0271083




                     Attachment, Mobile Record,
C-035
                     GEODOJ_0271084




                     Attachment, Yum! PowerPoint
C-036
                     Presentation, GEODOJ_0271085




                     Email, RE: Popeye's SMS Poultry
C-037                Summit save the date Nov 13-15,
                     9/7/2017, GEODOJ_0309045



                     Email, Copy of DIST NATIONAL
C-038                ACCOUNTS.xls, 10/2/2013,
                     GEODOJ_0318908
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                     Attachment, Ric Spreadsheet,
C-039
                     10/2/2013, GEODOJ_0318909




                     Email, Copy of DIST NATIONAL
C-040                ACCOUNTS.xls, 10/15/2013,
                     GEODOJ_0318985




                     Attachment, Ric spreadsheet,
C-041
                     10/15/2013, GEODOJ_0318986




                     Email, RE: KFC SBRA, 11/6/2014,
C-042
                     GEODOJ_0321356




                     Attachment, RSCS Margin Over Feed
C-043
                     Model, 11/6/2014, GEODOJ_0321357




                     Email, Copy of Copy of DIST
C-044                NATIONAL ACCOUNTS 2014.xls,
                     8/28/2014, GEODOJ_0324609




                     Attachment, Spreadsheet, 8/28/2014,
C-045
                     GEODOJ_0324610
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                                                                                                                            Page 293

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                     Email, FW: Popeye's Cost Plus Model
C-046                Proposed 11.11.14.xls, 11/12/2014,
                     GEODOJ_0325253




                     Attachment, Cost Model,
C-047
                     GEODOJ_0325255




                     Email, RE: PO for KFC from George's,
C-048
                     09/12/2017, GEODOJ_0327970




                     Scanner message regarding cost model,
C-049
                     GEODOJ_0349783




                     George's 2015 KFC contract.,
C-050
                     GEODOJ_0349784




                     Email, RE: Popeye's Cost Plus Period 1
C-051
                     2017, 12/28/2016, GEODOJ_0352151




                     Attachment, George's Margin Report,
C-052
                     12/22/2017, GEODOJ_0364592
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                     Email, "FW: COB Cost Model",
C-053
                     10/21/2015, GEODOJ_0446618




                     Email, "FW: COB Information",
C-054
                     05/13/2014, GEODOJ_0447772




                     Sales Edit Report, 9/9/2017,
C-055
                     GEODOJ_0491861




                     Email, "2012 DIST NATIONAL
C-056                ACCOUNTS.xls", 09/17/2012,
                     GEODOJ_0574208




                     Attachment cost information,
C-057
                     GEODOJ_0574209



                     Email, FW: Popeye's Proposed RFP By
                     DC 2014 - George's - Updated
C-058
                     10.30.2013.xlsx, 11/01/2013,
                     GEODOJ_0575200



                     Attachment, Cost Model,
C-059
                     GEODOJ_0575202
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                     Email, This is just a SMS Questionnaire
C-060
                     (2), 04/19/2013, GEODOJ_0575224




                     Attachment, Supplier Questionnaire,
C-061
                     GEODOJ_0575225




                     Email, Copy of Copy of DIST
C-062                NATIONAL ACCOUNTS 2014.xls,
                     09/23/2016, GEODOJ_0575276




                     Attachment, Period Pricing
C-063
                     Information, GEODOJ_0575277




                     Email, FW: Georges Negotiation Call,
C-064
                     11/27/2012, GEODOJ_0576298




                     Email, Outside purchases, 11/7/2012,
C-065
                     GEODOJ_0576305




                     Email, "Attachment _2-Fresh COB Cost
C-066                Model(1).xlsx", 10/10/2012,
                     GEODOJ_0579330
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                     Attachment, cost model,
C-067
                     GEODOJ_0579331




                     Email, RE: Sourcing Discussion,
C-068
                     09/19/2013, GEODOJ_0579999




                     Email, Re: KFC PACKAGING COST
C-069                AND MARINADE COST, 11/09/2012,
                     GEODOJ_0580871




C-070                Flight Schedule, GEODOJ_0587306




                     Sales Edit Report, 9/4/2017,
C-071
                     GEODOJ_0598544




                     Email, CALL WITH UFPC,
C-072
                     11/07/2012, GEODOJ_0600244




                     Collection of Scanned George’s
C-073
                     Documents, GEODOJ_0602000
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                     Email, RE: Email Chain, 11/18/2014,
C-074
                     GEODOJ_0606544




                     Email, RE: Message Follow Up,
C-075
                     9/1/2017, GEODOJ_0618658




                     Email, RE: KFC Cost Plus Period 9
C-076
                     2018, 8/3/2018, GEODOJ_0618759




                     Email, Copy of Copy of DIST
C-077                NATIONAL ACCOUNTS 2014.xls,
                     12/18/2014, GEODOJ_0651351




                     Attachment, Spreadsheet, 12/18/2014,
C-078
                     GEODOJ_0651352




                     Email, Copy of Copy of DIST
C-079                NATIONAL ACCOUNTS 2014.xls,
                     12/19/2014, GEODOJ_0653132




                     Attachment, Georges Spreadsheet,
C-080
                     12/19/2014, GEODOJ_0653133
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                     Email, RE: COB Meeting 2/13/17,
C-081
                     1/23/2017, GEODOJ_0672794




                     Email, RE: KFC COB, 02/23/2017,
C-082
                     GEODOJ_0672804




                     Email, RE: KFC Question, 02/16/2017,
C-083
                     GEODOJ_0672807




                     Attachment, Product Comparison,
C-084
                     GEODOJ_0672808




                     Email, PILGRIMS-DOJ-
C-085                0000174707100772505, 10/07/2020,
                     GJ-ATR002-00000185



                     Email, PILGRIMS-DOJ-
C-086                0000174707100772505, 10/07/2020,
                     GJ-ATR002-00000328



                     Email, PILGRIMS-DOJ-
C-087                0000174707100772505, 10/07/2020,
                     GJ-ATR002-00000346
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                     Supplier Contract, GJ-ATR002-
C-088
                     00000402




                     Email, PILGRIMS-DOJ-
C-089                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000419



                     Email, PILGRIMS-DOJ-
C-090                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000460



                     Email, PILGRIMS-DOJ-
C-091                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000492



                     Email, PILGRIMS-DOJ-
C-092                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000510




                     Supplier Contract, GJ-ATR002-
C-093
                     00000515




                     Email, PILGRIMS-DOJ-
C-094                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000533
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                     Email, PILGRIMS-DOJ-
C-095                0000174707100772505, 10/09/2020,
                     GJ-ATR002-00000543




                     Email, "RE: Alliance Poultry?",
C-096
                     12/05/2014, HRF_0000383872




                     Attachment, revised proposal,
C-097
                     HRF_0000383875




                     Email, "Golden Corral 2015
C-098                revision.doc", 12/05/2014,
                     HRF_0000383881




                     Attachment, revised proposal,
C-099
                     HRF_0000383882




                     Email, "GC for tomorrow", 10/14/2014,
C-100
                     HRF_0000384132




                     Attachment, revised proposal,
C-101
                     HRF_0000384133
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                     Email, FW: Action Required - Sysco's
                     Payment Terms Change for HOUSE OF
C-102
                     RAEFORD, 05/23/2016,
                     HRF_0000415871



                     Email, "RE: G.C. Wings", 05/02/2013,
C-103
                     HRF_0000496722




                     Email, "G.C. wings", 04/15/2013,
C-104
                     HRF_0000497938




                     Email, "Re: Wing Promotion",
C-105
                     05/13/2014, HRF_0000527774




                     Email, "RE: pete", 11/02/2012,
C-106
                     HRF_0000532888




                     Email, "RE: Ultimate Wings and
C-107                Appetizer Promotion", 09/03/2013,
                     HRF_0000536033




                     Digital Device Records,
C-108
                     HRF_0000562344
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                     Digital Device Records,
C-109
                     HRF_0000562345




                     Digital Device Records,
C-110
                     HRF_0000562346




                     Digital Device Records,
C-111
                     HRF_DOJ_00004104




                     Watt Poultry News Article,
C-112
                     KANTOLA_000001




                     PowerPoint from Agribusiness
C-113
                     Conference, KANTOLA_000003




C-114                News Article, KANTOLA_000034




                     Email, "Automatic reply: Popeye's
C-115                poultry summit at Beaux Eden", 2017-
                     08-30, KF000000006465
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                     Minutes from Board of Directors
C-116
                     Meeting, KFC-DOJ-BGJ-0000032




                     Email, "Updated Margin Slide",
C-117
                     10/08/2014, KFC-DOJ-BGJ-0000248




                     Attachment, KFC PowerPoint Deck,
C-118
                     KFC-DOJ-BGJ-0000249




                     Email, "2015 AOP and 2015 COGS -
C-119                Preliminary Outlook", 08/15/2014, KFC-
                     DOJ-BGJ-0000256




                     Attachment, KFC Business Strategy
C-120
                     Document, KFC-DOJ-BGJ-0000257




                     Attachment, KFC PowerPoint Concept
C-121
                     Deck, KFC-DOJ-BGJ-0000258




                     Attachment, Cost of Goods Forecast,
C-122
                     KFC-DOJ-BGJ-0000270
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                     Email, "FW: 2015 COGS Round #2
C-123                Detail", 01/09/2015, KFC-DOJ-BGJ-
                     0000347




                     Attachment, 2015 Cost of Goods
C-124
                     Spreadsheet, KFC-DOJ-BGJ-0000356




                     Attachment, Executive Summary of
C-125                Cost of Goods Analysis, KFC-DOJ-
                     BGJ-0000357




                     Email, "Re: KFC Poultry Update",
C-126
                     06/19/2014, KFC-DOJ-BGJ-0002530




                     Email, "RE: QA for Las Vegas NCAC -
C-127                RSCS response", 01/22/2015, KFC-
                     DOJ-BGJ-0002588



                     Email, "Re: Presentation to RSCS
                     Board Re: COB Supply Chain
C-128
                     Diagnostic", 07/20/2014, KFC-DOJ-
                     BGJ-0003050



                     Attachment, Graphic, KFC-DOJ-BGJ-
C-129
                     0003056
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                     Email, RE: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-130
                     MEAT CO, 04/28/2016,
                     KOCH_0000111632



                     Email, RE: Pollo Tropical, 11/13/2015,
C-131
                     KOCH_0000175720




                     Email, RE: Sample to Sysco NO,
C-132
                     03/20/2015, KOCH_0000499680




                     Email, Costco Oct thru Dec Price
C-133                Quotes, 09/12/2013,
                     KOCH_0001119773




                     Attachment, Quote Sheet,
C-134
                     KOCH_0001119774




                     Email, FW: PPC, 11/10/2011,
C-135
                     KOCH_0001120208




                     Email, Sysco payment terms,
C-136
                     12/29/2017, KOCH_0001123815
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                     Email, FW: Exhibit A, 09/02/2016,
C-137
                     KOCH_0001123816




                     Attachment, Cost Model,
C-138
                     KOCH_0001123818



                     Email, FW: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-139
                     MEAT CO, 08/03/2016,
                     KOCH_0001131772



                     Attachment, Supplier Payment Terms
C-140
                     Change Form, KOCH_0001131774




                     Email, Blank Subject Line, 04/30/2011,
C-141
                     KOCH_0001133235




                     Email, Re:, 05/01/2016,
C-142
                     KOCH_0001174605



                     Email, RE: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-143
                     MEAT CO, 04/27/2016,
                     KOCH_0001176263
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                     Email, FW: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-144
                     MEAT CO, 04/27/2016,
                     KOCH_0001176265



                     Attachment, Supplier Payment Terms
C-145
                     Change Form, KOCH_0001176267




                     Email, RE: Fresh Protein Project,
C-146
                     07/11/2016, KOCH_0001183355




                     Email, FW: [UNWANTED EMAIL]
C-147                Best and Final Offer (BAFO),
                     11/19/2014, KOCH_0001189396




                     Email, FW: Attached Image,
C-148
                     10/20/2015, KOCH_0001192305




                     Attachment, Hard Copy Cost Model,
C-149
                     KOCH_0001192306




                     Email, RE: Pollo Tropical, 10/16/2015,
C-150
                     KOCH_0001193088
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                     Email, RE:, 07/28/2014,
C-151
                     KOCH_0001228942



                     Email, RE: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-152
                     MEAT CO, 04/28/2016,
                     KOCH_0001257085



                     Email, FW: meeting, 10/17/2014,
C-153
                     KOCH_0001288572




                     Email, FW: Koch, 08/26/2016,
C-154
                     KOCH_0001364890




                     Attachment, Hard Copy Cost Model,
C-155
                     KOCH_0001364892




                     Email, RE: Portion boneless,
C-156
                     09/02/2016, KOCH_0001704257




                     Email, RE: Koch, 11/06/2012,
C-157
                     KOCH_0001929974
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                     Email, FW: UFPC Round 1 Feedback,
C-158
                     11/01/2013, KOCH_0002032597




                     Attachment, Supplier Feedback,
C-159
                     KOCH_0002032598




                     Email, FW: Exhibit A, 09/01/2016,
C-160
                     KOCH_0002033595




                     Attachment, Purchase Agreement,
C-161
                     KOCH_0002033596




                     Email, Church's Cost Plus January
C-162                2014.xlsx, 12/13/2013,
                     KOCH_0002056401




                     Attachment, Cost Model,
C-163
                     KOCH_0002056402




                     Email, FW: 2013 ufpc monthly cost
C-164                model rfp.xlsx, 10/09/2012,
                     KOCH_0002060710
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                     Attachment, Cost Model,
C-165
                     KOCH_0002060711




                     Email, Church's FYI, 12/24/2013,
C-166
                     KOCH_0002062821




                     Email, 2014 ufpc monthly cost model-
C-167                p3.xlsx, 02/13/2014,
                     KOCH_0002063414




                     Attachment, Cost Model,
C-168
                     KOCH_0002063415




                     Email, RE: Price Changes, 01/21/2013,
C-169
                     KOCH_0002091642




                     Email, RE: Exhibit A, 09/01/2016,
C-170
                     KOCH_0002092343




                     Attachment, Purchase Agreement,
C-171
                     KOCH_0002092344
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                     Email, RE: Exhibit A, 09/02/2016,
C-172
                     KOCH_0002092347




                     Attachment, Purchase Agreement,
C-173
                     KOCH_0002092349




                     Email, FW: Exhibit A, 09/02/2016,
C-174
                     KOCH_0002092352




                     Attachment, Purchase Agreement,
C-175
                     KOCH_0002092354




                     Email, FW: ROIC - Supply Chain
C-176                Finance - JP Morgan - Contact,
                     04/29/2016, KOCH_0002193746




                     Attachment, Powerpoint Presentation,
C-177
                     KOCH_0002193747




                     Email, FW: ROIC - Supply Chain
C-178                Finance - JP Morgan - Contact,
                     04/29/2016, KOCH_0002222803
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                     Attachment, Powerpoint Presentation,
C-179
                     KOCH_0002222804




                     Email, FW: ROIC - Supply Chain
C-180                Finance - JP Morgan - Contact,
                     04/29/2016, KOCH_0002258543




                     Attachment, Powerpoint Presentation,
C-181
                     KOCH_0002258544




                     Email, RE: KFC billing weights,
C-182
                     01/09/2014, KOCH_0002259507




                     Email, Re: YUM bid, 10/10/2012,
C-183
                     KOCH_0002515216




                     Email, Church's FYI, 12/24/2013,
C-184
                     KOCH_0002515670



                     Email, Action Required - Sysco's
                     Payment Terms Change for KOCH
C-185
                     MEAT CO, 04/27/2016,
                     KOCH_0002681477
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                     Attachment, Supplier Payment Terms
C-186
                     Change Form, KOCH_0002681478




                     Email, FW: ROIC - Supply Chain
C-187                Finance - JP Morgan - Contact,
                     04/29/2016, KOCH_0002681479




                     Attachment, Powerpoint Presentation,
C-188
                     KOCH_0002681480



                     Email, FW: Action Required - Sysco's
                     Payment Terms Change for KOCH
C-189
                     MEAT CO, 08/03/2016,
                     KOCH_0002681488



                     Attachment, Supplier Payment Terms
C-190
                     Change Form, KOCH_0002681490




                     Digital Device Records,
C-191
                     KOCH_0002724489




                     Digital Device Records,
C-192
                     KOCH_0002724490
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                     Digital Device Records,
C-193
                     KOCH_0002759318




                     Email, RE: P5 Corn and Soybean Meal
C-194                Order, 04/11/2013, KOCHFOODS-
                     0000005857



                     Email, FW: KFC Specification Changes
C-195                to COB, 07/15/2013, KOCHFOODS-
                     0000005867



                     Email, FW: KFC Specification Changes
C-196                to COB, 07/15/2013, KOCHFOODS-
                     0000005870



                     Email, Re: COB Negotiations/Corn &
C-197                Meal Hedging, 09/09/2014,
                     KOCHFOODS-0000005882



                     Email, RE: P1 Corn and Soybean Meal
C-198                Pricing, 12/11/2014, KOCHFOODS-
                     0000005890



                     Email, RE: New Corn and Soybean
C-199                Meal Orders, 01/04/2013,
                     KOCHFOODS-0000006140
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                     Email, RE: 2013 ufpc monthly cost
C-200                model-p8.xlsx, 07/08/2013,
                     KOCHFOODS-0000006163



                     Email, RE: Corn and Soybean Meal
C-201                Order, 01/02/2013, KOCHFOODS-
                     0000006213



                     Email, RE: 2013 ufpc monthly cost
C-202                model-p8.xlsx, 07/08/2013,
                     KOCHFOODS-0000006240



                     Email, RE: Fast Food Sales Weekly
C-203                Report.xls, 05/22/2013, KOCHFOODS-
                     0000006477



                     Email, Bob Lewis 75th Birthday,
C-204                10/04/2017, KOCHFOODS-
                     0000013300



                     Email, RE: 2018/2019 RFP Data,
C-205                09/26/2017, KOCHFOODS-
                     0000013551



                     Email, Executed Pricing Addendum to
                     the SBRA for Koch Foods Inc,
C-206
                     09/12/2017, KOCHFOODS-
                     0000014058
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                     Attachment, Supplier Contract,
C-207
                     KOCHFOODS-0000014059




                     Email, 2013 ufpc monthly cost model-
C-208                p6.xlsx, 05/09/2013, KOCHFOODS-
                     0000054109




                     Attachment, Cost Model,
C-209
                     KOCHFOODS-0000054110




                     Email, 2013 ufpc monthly cost model-
C-210                p5.xlsx, 04/11/2013, KOCHFOODS-
                     0000054115




                     Attachment, Cost Model,
C-211
                     KOCHFOODS-0000054116




                     Email, 2013 ufpc monthly cost model-
C-212                p6.xlsx, 05/14/2013, KOCHFOODS-
                     0000054117




                     Attachment, Cost Model,
C-213
                     KOCHFOODS-0000054118
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                     Email, 2013 ufpc monthly cost model-
C-214                p7.xlsx, 06/05/2013, KOCHFOODS-
                     0000054206




                     Attachment, Cost Model,
C-215
                     KOCHFOODS-0000054207




                     Email, RE: Corn & Soybean Orders,
C-216                07/02/2013, KOCHFOODS-
                     0000054256



                     Email, RE: Corn & Soybean Meal
C-217                Orders, 08/01/2013, KOCHFOODS-
                     0000054265



                     Email, 2013 ufpc monthly cost model-
C-218                p9.xlsx, 08/01/2013, KOCHFOODS-
                     0000054267




                     Attachment, Cost Model,
C-219
                     KOCHFOODS-0000054268




                     Email, 2013 ufpc monthly cost model-
C-220                p9.xlsx, 08/05/2013, KOCHFOODS-
                     0000054269
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                     Attachment, Cost Model,
C-221
                     KOCHFOODS-0000054270




                     Email, 2013 ufpc monthly cost model-
C-222                p11.xlsx, 09/26/2013, KOCHFOODS-
                     0000054287




                     Attachment, Cost Model,
C-223
                     KOCHFOODS-0000054288




                     Email, 2013 ufpc monthly cost model-
C-224                p12.xlsx, 10/24/2013, KOCHFOODS-
                     0000054353




                     Attachment, Cost Model,
C-225
                     KOCHFOODS-0000054354




                     Email, 2012 KFC RFP Addendum,
C-226                09/04/2014, KOCHFOODS-
                     0000054467




                     Attachment, Supplier Offer,
C-227
                     KOCHFOODS-0000054468
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                     Email, Church's Cost Plus 2015
C-228                rfp.xlsx, 09/18/2014, KOCHFOODS-
                     0000054487




                     Attachment, Cost Model,
C-229
                     KOCHFOODS-0000054488




                     Email, Re: AES Livestock Update 10-
C-230                14, 10/04/2014, KOCHFOODS-
                     0000054496



                     Email, FW: AES Livestock Update 10-
C-231                14, 10/04/2014, KOCHFOODS-
                     0000054497



                     Attachment, PowerPoint Deck on
C-232                Protein Fundamentals, KOCHFOODS-
                     0000054498



                     Email, 2013 ufpc monthly cost model
C-233                rfp.xlsx, 10/05/2012, KOCHFOODS-
                     0000054973




                     Attachment, Cost Model,
C-234
                     KOCHFOODS-0000054974
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                     Email, 2013 ufpc monthly cost model
C-235                rfp - final.xlsx, 11/14/2012,
                     KOCHFOODS-0000055004




                     Attachment, Cost Model,
C-236
                     KOCHFOODS-0000055005




                     Email, cost plus, 03/14/2013,
C-237
                     KOCHFOODS-0000055206




                     Attachment, Cost Model,
C-238
                     KOCHFOODS-0000055207




                     Email, Church's Cost Plus January
C-239                2014.xlsx, 12/16/2013, KOCHFOODS-
                     0000055256




                     Attachment, Cost Model,
C-240
                     KOCHFOODS-0000055257




                     Email, Church's FYI, 12/24/2013,
C-241
                     KOCHFOODS-0000055258
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                     Email, RE: Corn and Soybean Meal
C-242                Orders, 06/05/2013, KOCHFOODS-
                     0000055259



                     Email, 2013 ufpc monthly cost model
C-243                rfp - final.xlsx, 11/12/2012,
                     KOCHFOODS-0000055307




                     Attachment, Cost Model,
C-244
                     KOCHFOODS-0000055308




                     Email, 2014 ufpc monthly cost model-
C-245                p3.xlsx, 02/17/2014, KOCHFOODS-
                     0000055319




                     Attachment, Cost Model,
C-246
                     KOCHFOODS-0000055320




                     Email, 2013 ufpc monthly cost model
C-247                rfp - final.xlsx, 11/30/2012,
                     KOCHFOODS-0000055330




                     Attachment, Cost Model,
C-248
                     KOCHFOODS-0000055331
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                     Email, 2013 ufpc monthly cost model-
C-249                p10.xlsx, 08/30/2013, KOCHFOODS-
                     0000055347




                     Attachment, Cost Model,
C-250
                     KOCHFOODS-0000055348




                     Email, RE: ppc, 07/14/2014,
C-251
                     KOCHFOODS-0000055368




                     Email, 2015 ufpc monthly cost model
C-252                rfp.xlsx, 07/29/2014, KOCHFOODS-
                     0000055700




                     Attachment, Cost Model,
C-253
                     KOCHFOODS-0000055701




                     Email, 2015 ufpc monthly cost model
C-254                rfp2.xlsx, 08/04/2014, KOCHFOODS-
                     0000055704




                     Attachment, Cost Model,
C-255
                     KOCHFOODS-0000055705
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                     Email, Church's Cost Plus 2015
C-256                rfp.xlsx, 09/18/2014, KOCHFOODS-
                     0000055710




                     Attachment, Cost Model,
C-257
                     KOCHFOODS-0000055711




                     Email, Golden Corral RFP, 09/03/2015,
C-258
                     KOCHFOODS-0000067019




                     Email, FW: Attached Image,
C-259                10/20/2015, KOCHFOODS-
                     0000067040




                     Attachment, Hardcopy Cost Model,
C-260
                     KOCHFOODS-0000067041




                     Email, FW: 2013 ufpc monthly cost
C-261                model rfp.xlsx, 10/05/2012,
                     KOCHFOODS-0000070721




                     Attachment, Cost Model,
C-262
                     KOCHFOODS-0000070722
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                     Email, RE: Golden Corral RFP,
C-263                09/03/2015, KOCHFOODS-
                     0000072110



                     Email, FW: 2018-2020 rscs monthly
C-264                cost model RFP.xlsx, 02/24/2017,
                     KOCHFOODS-0000087800




                     Attachment, Cost Model,
C-265
                     KOCHFOODS-0000087801




                     Email, Next KFC COB Agreement
C-266                Follow-up, 05/04/2017, KOCHFOODS-
                     0000088423




                     Email, RE: Smokey Bones, 10/27/2016,
C-267
                     KOCHFOODS-0000089566




                     Email, Re: Met With Donna,
C-268                06/12/2019, KOCHFOODS-
                     0000100084



                     Email, Re: 2013 ufpc monthly cost
C-269                model-p6.xlsx, 05/11/2013,
                     KOCHFOODS-0000130075
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                     Email, RE: KFC Specification Changes
C-270                to COB, 07/12/2013, KOCHFOODS-
                     0000132345



                     Email, RE: 2013 ufpc monthly cost
C-271                model-p8.xlsx, 07/08/2013,
                     KOCHFOODS-0000132506




                     Email, RE: YUM bid, 10/10/2012,
C-272
                     KOCHFOODS-0000134924




                     Attachment, Bid, KOCHFOODS-
C-273
                     0000134926




                     Email, RE: Chicken Question,
C-274                01/24/2013, KOCHFOODS-
                     0000135524



                     Email, Automatic reply: George's
C-275                Poultry, 8/19/2014, KOCHFOODS-
                     0000139058



                     Email, FW: Meeting Follow-Up,
C-276                08/13/2014, KOCHFOODS-
                     0000139105
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                     Email, RE: Meeting Follow-Up,
C-277                08/13/2014, KOCHFOODS-
                     0000139106




                     Email, COB Negotiations, 09/08/2014,
C-278
                     KOCHFOODS-0000139593



                     Email, KFC COB Pricing Provisions -
                     September 2014 - Addendum,
C-279
                     09/15/2014, KOCHFOODS-
                     0000139608



                     Attachment, Supplier Agreement
C-280                Addendum, KOCHFOODS-
                     0000139609



                     Email, RE: KFC COB Pricing
                     Provisions - September 2014 -
C-281
                     Addendum, 09/16/2014, KOCHFOODS-
                     0000139619



                     Email, 2015 Koch Foods SBRA
C-282                Exhibits Revised, 10/02/2014,
                     KOCHFOODS-0000140668




                     Attachment, Supplier Agreement,
C-283
                     KOCHFOODS-0000140669
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                     Email, 2015 Koch Foods SBRA
C-284                Exhibit 2 Rev, 10/31/2014,
                     KOCHFOODS-0000141294




                     Attachment, Supplier Agreement,
C-285
                     KOCHFOODS-0000141295




                     Email, Church's Supply Agreement-
C-286                2015, 01/30/2015, KOCHFOODS-
                     0000142701




                     Attachment, Supplier Agreement,
C-287
                     KOCHFOODS-0000142702




                     Attachment, Supplier Agreement,
C-288
                     KOCHFOODS-0000142747




                     Email, Churchs/Koch Foods,
C-289                12/10/2014, KOCHFOODS-
                     0000143669




                     Attachment, Supplier Letter,
C-290
                     KOCHFOODS-0000143670
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                     Attachment, Powerpoint Presentation,
C-291
                     KOCHFOODS-0000143673




                     Email, Corn and Soybean Meal Orders,
C-292                05/08/2013, KOCHFOODS-
                     0000162173



                     Email, P5 Corn and Soybean Meal
C-293                Order, 04/09/2013, KOCHFOODS-
                     0000162176



                     Email, Corn and Soybean Meal Orders,
C-294                06/05/2013, KOCHFOODS-
                     0000162177



                     Email, Corn & Soybean Orders,
C-295                07/02/2013, KOCHFOODS-
                     0000162178



                     Email, Corn & Soybean Meal Orders,
C-296                08/01/2013, KOCHFOODS-
                     0000162181



                     Email, RE: Corn and Soybean Meal
C-297                Orders, 09/26/2013, KOCHFOODS-
                     0000162190
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                     Email, Corn and Soybean Meal Orders,
C-298                10/24/2013, KOCHFOODS-
                     0000162194



                     Email, Popeye's 2018 pricing calendar,
C-299                01/02/2018, KOCHFOODS-
                     0000170736




                     Attachment, Supplier Letter,
C-300
                     KOCHFOODS-0000170737




                     Email, RE: PE or KFC 8 Pc,
C-301                04/05/2013, KOCHFOODS-
                     0000178354



                     Email, RE: George's PO 3029,
C-302                04/23/2013, KOCHFOODS-
                     0000178902




                     Email, RE: PO 3038, 5/6/2013,
C-303
                     KOCHFOODS-0000179060




                     Email, RSCS SCA Project for COB
C-304                chicken, 08/26/2016, KOCHFOODS-
                     0000182589
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                     Attachment, COB SCA Planner -
C-305                Supplier Questionnaire 8-26-16.xlsx,
                     KOCHFOODS-0000182591




                     Email, COB Negotiations, 08/29/2014,
C-306
                     KOCHFOODS-0000183411




                     Email, RE: KFC Convention Dinner,
C-307                01/12/2015, KOCHFOODS-
                     0000183779



                     Email, [UNWANTED EMAIL] Re:
C-308                Church's frozen 8 pc, 12/23/2014,
                     KOCHFOODS-0000185470



                     Email, RE: UPDATE: Family Game
                     night and Big Southern Sample,
C-309
                     05/19/2014, KOCHFOODS-
                     0000189358



                     Attachment, KFC Family Dip'Ems and
C-310                3pc Meal Program Notification.xlsx,
                     KOCHFOODS-0000189360



                     Email, Update: Promotional Notice for
C-311                Family Game Night, 05/19/2014,
                     KOCHFOODS-0000189361
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                     Attachment, Promotion Notice,
C-312
                     KOCHFOODS-0000189362




                     Email, UFPC Round 1 Feedback,
C-313                10/31/2013, KOCHFOODS-
                     0000191107




                     Attachment, Supplier Feedback,
C-314
                     KOCHFOODS-0000191108




                     Email, RFI, 10/07/2013,
C-315
                     KOCHFOODS-0000191281




                     Attachment, Attachment _5 RFI.xls,
C-316
                     KOCHFOODS-0000191282




                     Email, Attachment _5 RFI.xls,
C-317                10/07/2013, KOCHFOODS-
                     0000191283




                     Attachment, Attachment _5 RFI.xls,
C-318
                     KOCHFOODS-0000191284
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                     Email, RE: Request and meeting,
C-319                05/13/2014, KOCHFOODS-
                     0000191535



                     Email, RE: Request and meeting,
C-320                05/13/2014, KOCHFOODS-
                     0000191537



                     Email, RE: VN# 7772 P.O.# 2237669,
C-321                05/09/2014, KOCHFOODS-
                     0000195053




                     Email, RE: Churchs 8 PC, 10/25/2015,
C-322
                     KOCHFOODS-0000196109




                     Email, RE: 8 PC, 10/25/2015,
C-323
                     KOCHFOODS-0000196118




                     Email, RE:, 11/24/2015, KOCHFOODS-
C-324
                     0000197004




                     Email, RE: P7 Pricing/Change In
C-325                Sourcing Fee, 07/29/2014,
                     KOCHFOODS-0000206508
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                     Email, RE: 2014 RFP, 11/19/2013,
C-326
                     KOCHFOODS-0000208063



                     Email, Fw: [UFPC :: Yum Poultry
                     Event 2012] Attachment 2-Fresh COB
C-327
                     Cost Model, 09/27/2012,
                     KOCHFOODS-0000214391

                     Email, FW: [UFPC :: Yum Poultry
                     Event 2012] 2013 Yum! Brands Poultry
C-328                RFP & CombineNet User Invitation,
                     10/04/2012, KOCHFOODS-
                     0000214399


                     Email, RE: 2013 ufpc monthly cost
C-329                model rfp.xlsx, 10/05/2012,
                     KOCHFOODS-0000214411



                     Email, RE: Emailing: Copy of
C-330                Xl0000303, 03/12/2013,
                     KOCHFOODS-0000214516



                     Email, RE: Emailing: Copy of
C-331                Xl0000303, 03/12/2013,
                     KOCHFOODS-0000214576



                     Email, Fwd: Koch data sheet.xlsx,
C-332                03/06/2013, KOCHFOODS-
                     0000215383
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Exhibit   Witness               Brief Description        Stipulation   Offered   Admitted   Refused   Court Use Only


                     Attachment, Koch data sheet.xlsx,
C-333
                     KOCHFOODS-0000215384




                     Attachment, Mobile Record,
C-334
                     KOCHFOODS-0000215385




                     Email, RE: Mexico - Longoria,
C-335                03/07/2013, KOCHFOODS-
                     0000215430



                     Email, FW: Koch data sheet.xlsx,
C-336                03/08/2013, KOCHFOODS-
                     0000215595




                     Attachment, Koch data sheet.xlsx,
C-337
                     KOCHFOODS-0000215596




                     Attachment, Mobile Record,
C-338
                     KOCHFOODS-0000215597




                     Email, F&B, 10/27/2014,
C-339
                     KOCHFOODS-0000216459
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Exhibit   Witness              Brief Description         Stipulation   Offered   Admitted   Refused   Court Use Only


                     Email, RE: F&B, 10/27/2014,
C-340
                     KOCHFOODS-0000216460




                     Email, RE: F&B, 10/27/2014,
C-341
                     KOCHFOODS-0000216461




                     Email, FW: 2013 ufpc monthly cost
C-342                model-p5.xlsx, 04/12/2013,
                     KOCHFOODS-0000217139




                     Attachment, Cost Model,
C-343
                     KOCHFOODS-0000217140




                     Email, FW: 2013 ufpc monthly cost
C-344                model-p7.xlsx, 06/06/2013,
                     KOCHFOODS-0000217155




                     Attachment, Cost Model,
C-345
                     KOCHFOODS-0000217156




                     Email, FW: 2013 ufpc monthly cost
C-346                model-p6.xlsx, 05/14/2013,
                     KOCHFOODS-0000217438
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 336 of 1105

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Exhibit   Witness               Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only


                     Attachment, Cost Model,
C-347
                     KOCHFOODS-0000217439




                     Email, Blank Subject Line, 04/25/2013,
C-348
                     KOCHFOODS-0000218425




                     Attachment, Product Specification,
C-349
                     KOCHFOODS-0000218426




                     Attachment, Product Specification,
C-350
                     KOCHFOODS-0000218428




                     Email, FW: 2013 ufpc monthly cost
C-351                model-p5.xlsx, 04/15/2013,
                     KOCHFOODS-0000218575




                     Attachment, Cost Model,
C-352
                     KOCHFOODS-0000218576




                     Email, RE: 2015 Added Capacity-Koch,
C-353                10/16/2014, KOCHFOODS-
                     0000223653
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Exhibit   Witness              Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, RE: Church's Dark Meat,
C-354                08/18/2014, KOCHFOODS-
                     0000227432



                     Email, FW: Church's Cost Plus August
C-355                2015.xlsx, 07/20/2015, KOCHFOODS-
                     0000227498




                     Attachment, Cost Model,
C-356
                     KOCHFOODS-0000227499



                     Email, Questions, Answers and
                     Abbreviated MOF Worksheets,
C-357
                     08/19/2014, KOCHFOODS-
                     0000227518



                     Attachment, Email, "Attached Image",
C-358
                     KOCHFOODS-0000227519




                     Attachment, Email, "RE: KFC Quality
C-359                Assurance Info Needed",
                     KOCHFOODS-0000227520




                     Attachment, Email, "Attached Image",
C-360
                     KOCHFOODS-0000227521
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Exhibit   Witness              Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     Attachment, Cost Model,
C-361
                     KOCHFOODS-0000227522




                     Email, Koch Foods Meeting,
C-362                08/26/2014, KOCHFOODS-
                     0000227951



                     Email, RE: KFC COB Pricing
                     Provisions - September 2014 -
C-363
                     Addendum, 09/15/2014, KOCHFOODS-
                     0000229449



                     Email, Re: COB Negotiations/Corn &
C-364                Meal Hedging, 09/09/2014,
                     KOCHFOODS-0000229484



                     Email, Fwd: Church's Cost Plus
C-365                October 2014.xlsx, 09/10/2014,
                     KOCHFOODS-0000229514




                     Attachment, Cost Model,
C-366
                     KOCHFOODS-0000229515




                     Attachment, Mobile Record,
C-367
                     KOCHFOODS-0000229516
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                     Email, Church's 2015 Pricing,
C-368                09/17/2014, KOCHFOODS-
                     0000229548



                     Email, Re: UPDATE Koch/Church's
                     Meeting Discussion Topics,
C-369
                     09/10/2014, KOCHFOODS-
                     0000229575


                     Email, CLARIFICATON UPDATE
                     Koch/Church's Meeting Discussion
C-370
                     Topics, 09/10/2014, KOCHFOODS-
                     0000229578


                     Email, Re: CLARIFICATON UPDATE
                     Koch/Church's Meeting Discussion
C-371
                     Topics, 09/10/2014, KOCHFOODS-
                     0000229581



                     Email, Re: COB Negotiations,
C-372                09/11/2014, KOCHFOODS-
                     0000229636



                     Email, RE: SBRA Pricing Provision
C-373                Addendum, 09/22/2014, KOCHFOODS-
                     0000229678



                     Email, RE: COB Negotiations,
C-374                09/05/2014, KOCHFOODS-
                     0000229710
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                     Email, FW: Church's Cost Plus
C-375                September 2014.xlsx, 08/28/2014,
                     KOCHFOODS-0000229839




                     Attachment, Cost Model,
C-376
                     KOCHFOODS-0000229840




                     Email, Church's 2015 BIC RFP,
C-377                09/26/2014, KOCHFOODS-
                     0000229899



                     Email, FW: Attached Image,
C-378                10/01/2014, KOCHFOODS-
                     0000230053




                     Attachment, cost quotes,
C-379
                     KOCHFOODS-0000230054



                     Email, RE: Questions, Answers and
                     Abbreviated MOF Worksheets,
C-380
                     10/01/2014, KOCHFOODS-
                     0000230059



                     Email, FW: Church's Cost Plus
C-381                November 2014.xlsx, 10/13/2014,
                     KOCHFOODS-0000230077
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                     Attachment, Cost Model,
C-382
                     KOCHFOODS-0000230078




                     Email, RE: Every Day Frozen COB,
C-383                10/14/2014, KOCHFOODS-
                     0000230109



                     Email, RE: 2015 Bone In Re-Cap,
C-384                10/14/2014, KOCHFOODS-
                     0000230131



                     Email, 2015 Added Capacity,
C-385                10/16/2014, KOCHFOODS-
                     0000230211



                     Email, RE: Church's 2015 Cost Model-
C-386                Koch, 10/31/2014, KOCHFOODS-
                     0000230522



                     Email, FW: Church's Cost Plus
C-387                February 2015.xlsx, 01/20/2015,
                     KOCHFOODS-0000230898




                     Attachment, Cost Model,
C-388
                     KOCHFOODS-0000230899
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                     Email, Re: RE:, 11/07/2014,
C-389
                     KOCHFOODS-0000230984




                     Email, RE: RE:, 11/07/2014,
C-390
                     KOCHFOODS-0000230986




                     Email, RE: Attached Image,
C-391                11/03/2014, KOCHFOODS-
                     0000231022



                     Email, RE: Attached Image,
C-392                11/03/2014, KOCHFOODS-
                     0000231027



                     Email, FW: Church's Cost Plus
C-393                December 2014.xlsx, 11/17/2014,
                     KOCHFOODS-0000231474




                     Attachment, Cost Model,
C-394
                     KOCHFOODS-0000231475



                     Email, RE: Koch Cost Model
                     Comparison 2015 Vs 2014.xlsx,
C-395
                     11/20/2014, KOCHFOODS-
                     0000231745
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                     Email, 2016 RFP, 09/03/2015,
C-396
                     KOCHFOODS-0000232764




                     Attachment, 2016 Golden Corral
C-397
                     RFP.xlsx, KOCHFOODS-0000232765




                     Email, RE: 2016 RFP, 09/03/2015,
C-398
                     KOCHFOODS-0000232766




                     Email, RE: Checking In, 09/29/2015,
C-399
                     KOCHFOODS-0000233140




                     Email, Fwd: Church's Cost Plus March
C-400                2015.xlsx, 02/03/2015, KOCHFOODS-
                     0000233210




                     Attachment, Cost Model,
C-401
                     KOCHFOODS-0000233211




                     Email, RE: Last Week's Volume,
C-402                02/02/2016, KOCHFOODS-
                     0000236054
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                     Email, RE: 2016 Bid, 10/13/2015,
C-403
                     KOCHFOODS-0000238755




                     Email, RE: Request and meeting,
C-404                05/12/2014, KOCHFOODS-
                     0000239074



                     Email, RE: Request and meeting,
C-405                05/12/2014, KOCHFOODS-
                     0000239079



                     Email, RE: COB Information,
C-406                05/13/2014, KOCHFOODS-
                     0000239101




                     Email, RE:, 11/09/2015, KOCHFOODS-
C-407
                     0000239984




                     Email, RE:, 11/11/2015, KOCHFOODS-
C-408
                     0000240309




                     Email, RE: RE:, 11/03/2015,
C-409
                     KOCHFOODS-0000240504
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                     Email, RE: RE:, 11/03/2015,
C-410
                     KOCHFOODS-0000240580




                     Email, RE: RE:, 11/04/2015,
C-411
                     KOCHFOODS-0000240590




                     Email, RE: RE:, 11/05/2015,
C-412
                     KOCHFOODS-0000240654




                     Email, RE: RE:, 11/05/2015,
C-413
                     KOCHFOODS-0000240660




                     Email, RE: Frozen/Fresh Chicken RFP,
C-414                11/13/2015, KOCHFOODS-
                     0000242285



                     Email, Golden Corral Frozen Chicken
C-415                RFP.xls, 11/20/2015, KOCHFOODS-
                     0000242598



                     Attachment, Golden Corral Frozen
C-416                Chicken RFP.xls, KOCHFOODS-
                     0000242599
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                     Email, FW: Church's Cost Plus January
C-417                2014.xlsx, 12/16/2013, KOCHFOODS-
                     0000246650




                     Attachment, Cost Model,
C-418
                     KOCHFOODS-0000246651




                     Email, Church's Chicken QA
C-419                Requirements 2014, 12/23/2013,
                     KOCHFOODS-0000246839



                     Email, "Church's Chicken QA
C-420                Requirements 2014", 12/23/2013,
                     KOCHFOODS-0000246840




                     Attachment, Church's letter,
C-421
                     KOCHFOODS-0000246841




                     Email, "Church's Chicken QA
C-422                Requirements 2014", 12/23/2013,
                     KOCHFOODS-0000246842




                     Attachment, Church's letter,
C-423
                     KOCHFOODS-0000246843
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                     Email, "Church's Chicken QA
C-424                Requirements 2014", 12/23/2013,
                     KOCHFOODS-0000246844




                     Attachment, Church's letter,
C-425
                     KOCHFOODS-0000246845




                     Email, "Church's Chicken QA
C-426                Requirments 2014", 12/23/2013,
                     KOCHFOODS-0000246846




                     Attachment, Church's letter,
C-427
                     KOCHFOODS-0000246847




                     Email, RE:, 12/23/2013, KOCHFOODS-
C-428
                     0000246923




                     Email, Fwd: Church's Cost Plus
C-429                February 2014.xlsx, 01/17/2014,
                     KOCHFOODS-0000248185




                     Attachment, Cost Model,
C-430
                     KOCHFOODS-0000248186
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                     Attachment, mobile record,
C-431
                     KOCHFOODS-0000248187




                     Email, FW: Church's Cost Plus March
C-432                2014.xlsx, 02/13/2014, KOCHFOODS-
                     0000248798




                     Attachment, Cost Model,
C-433
                     KOCHFOODS-0000248799




                     Email, Fwd: Church's Cost Plus April
C-434                2014.xlsx, 03/21/2014, KOCHFOODS-
                     0000249097




                     Attachment, Cost Model,
C-435
                     KOCHFOODS-0000249098




                     Attachment, mobile record,
C-436
                     KOCHFOODS-0000249099




                     Email, FW: Attached Image,
C-437                04/21/2014, KOCHFOODS-
                     0000249199
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                     Attachment, cost model, KOCHFOODS-
C-438
                     0000249200




                     Email, Request and meeting,
C-439                05/12/2014, KOCHFOODS-
                     0000249411



                     Email, RE: Request and meeting,
C-440                05/12/2014, KOCHFOODS-
                     0000249414



                     Email, RE: Request and meeting,
C-441                05/12/2014, KOCHFOODS-
                     0000249415



                     Email, FW: COB Information,
C-442                05/09/2014, KOCHFOODS-
                     0000249843




                     Attachment, COB Production.xlsx,
C-443
                     KOCHFOODS-0000249844




                     Email, FW: COB Information,
C-444                05/12/2014, KOCHFOODS-
                     0000249845
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                     Attachment, COB Production.xlsx,
C-445
                     KOCHFOODS-0000249846




                     Email, COB volumes by plant,
C-446                05/09/2014, KOCHFOODS-
                     0000249925



                     Email, FW: Church's Cost Plus June
C-447                2014.xlsx, 05/20/2014, KOCHFOODS-
                     0000250298




                     Attachment, Cost Model,
C-448
                     KOCHFOODS-0000250299




                     Email, Possible COB Solutions -- Koch
C-449                Foods, 05/22/2014, KOCHFOODS-
                     0000250506



                     Email, Meeting in Louisville,
C-450                07/07/2014, KOCHFOODS-
                     0000251117




                     Email, Negotiations, 07/10/2014,
C-451
                     KOCHFOODS-0000251229
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                     Email, FW: Church's Cost Plus August
C-452                2014.xlsx, 07/14/2014, KOCHFOODS-
                     0000251292




                     Attachment, Cost Model,
C-453
                     KOCHFOODS-0000251293




                     Email, RE: Agreed Adjustments,
C-454                06/23/2014, KOCHFOODS-
                     0000251390



                     Email, FW: Church's Cost Plus July
C-455                2014.xlsx, 06/17/2014, KOCHFOODS-
                     0000251478




                     Attachment, Cost Model,
C-456
                     KOCHFOODS-0000251479




                     Email, Re: Small Bird Plants,
C-457                07/21/2014, KOCHFOODS-
                     0000251757



                     Email, Spec Weight Change,
C-458                07/21/2014, KOCHFOODS-
                     0000251785
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                     Email, Possible COB Solutions -- Koch
C-459                Foods, 05/22/2014, KOCHFOODS-
                     0000252197



                     Email, FW: Attached Image,
C-460                03/28/2017, KOCHFOODS-
                     0000259093




                     Attachment, cost model, KOCHFOODS-
C-461
                     0000259094




                     Email, RE:, 10/04/2016, KOCHFOODS-
C-462
                     0000261839




                     Email, Re: Golden Corral, 10/05/2016,
C-463
                     KOCHFOODS-0000263071




                     Email, FW: Attached Image,
C-464                01/30/2017, KOCHFOODS-
                     0000267824




                     Attachment, Koch letter,
C-465
                     KOCHFOODS-0000267825
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                     Email, RE: Attached Image,
C-466                10/18/2016, KOCHFOODS-
                     0000416017



                     Email, RE: Attached Image,
C-467                10/18/2016, KOCHFOODS-
                     0000416022



                     Email, FW: Injected 8 Piece Code
C-468                21225 Price Adjustment, 06/25/2018,
                     KOCHFOODS-0000422055




                     Email, FW: payment terms, 09/06/2016,
C-469
                     KOCHFOODS-0000519342




                     Email, FW: Attached Image,
C-470                01/15/2018, KOCHFOODS-
                     0000522752




                     Attachment, fast food overview,
C-471
                     KOCHFOODS-0000522753




                     Email, Blank Subject Line, 04/28/2016,
C-472
                     KOCHFOODS-0000534050
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                     Email, FW: UPDATE Koch/Church's
                     Meeting Discussion Topics,
C-473
                     09/17/2014, KOCHFOODS-
                     0000534380



                     Email, RE: 2015 ufpc monthly cost
C-474                model rfp.xlsx, 07/29/2014,
                     KOCHFOODS-0000548121




                     Email, "Response", 11/05/2013,
C-475
                     KOCHFOODS-0000548818




                     Attachment, request for information,
C-476
                     KOCHFOODS-0000548819




                     Attachment, proposal information,
C-477
                     KOCHFOODS-0000548820




                     Attachment, feed calculations,
C-478
                     KOCHFOODS-0000548821




                     Attachment, cost models,
C-479
                     KOCHFOODS-0000548822
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                     Email, "Final", 11/18/2013,
C-480
                     KOCHFOODS-0000549046




                     Attachment, cost model, KOCHFOODS-
C-481
                     0000549047




                     Attachment, cost model, KOCHFOODS-
C-482
                     0000549048




                     Attachment, Koch Letter,
C-483
                     KOCHFOODS-0000549049




                     Attachment, proposal summary,
C-484
                     KOCHFOODS-0000549051




                     Email, RE: YUM bid, 10/10/2012,
C-485
                     KOCHFOODS-0000561597




                     Attachment, supply proposal,
C-486
                     KOCHFOODS-0000561599
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                     Email, fresh cost model, 10/10/2012,
C-487
                     KOCHFOODS-0000561602




                     Attachment, supply proposal,
C-488
                     KOCHFOODS-0000561603




                     Email, SBRA, 12/13/2012,
C-489
                     KOCHFOODS-0000562283




                     Attachment, supply contract,
C-490
                     KOCHFOODS-0000562284




                     Email, RE: Universal Fillet,
C-491                01/02/2013, KOCHFOODS-
                     0000562940




                     Email, "Fresh cost model", 11/12/2012,
C-492
                     KOCHFOODS-0000563144




                     Attachment, cost model, KOCHFOODS-
C-493
                     0000563145
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                     Email, 2013 RFP, 11/30/2012,
C-494
                     KOCHFOODS-0000563786




                     Attachment, cost model, KOCHFOODS-
C-495
                     0000563787




                     Attachment, proposal summary,
C-496
                     KOCHFOODS-0000563788



                     Email, "RSCS 2015 Further Processed
                     Poultry RFP Supplier Feedback R1",
C-497
                     11/04/2014, KOCHFOODS-
                     0000568950



                     Attachment, supplier feedback,
C-498
                     KOCHFOODS-0000568951




                     Email, 2018 popeyes rfp.xls,
C-499                09/05/2017, KOCHFOODS-
                     0000598390




                     Attachment, RFP information,
C-500
                     KOCHFOODS-0000598391
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                     Email, 2018 popeyes p.1.xls,
C-501                12/28/2017, KOCHFOODS-
                     0000598394




                     Attachment, cost analysis,
C-502
                     KOCHFOODS-0000598395




                     Email, RE: payment terms, 09/07/2016,
C-503
                     KOCHFOODS-0000637655




                     Attachment, purchase agreement,
C-504
                     KOCHFOODS-0000637658



                     Email, FW: [UFPC :: Yum Poultry
                     Event 2012] Round 2 of Yum! Brands
C-505                Poultry RFP process due 11/14 @ Noon
                     EST, 11/07/2012, KOCHFOODS-
                     0000652925


                     Email, FW: Payment Terms,
C-506                09/08/2016, KOCHFOODS-
                     0000652927




                     Attachment, payment terms,
C-507
                     KOCHFOODS-0000652928
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                     Email, FW: Payment Terms,
C-508                09/16/2016, KOCHFOODS-
                     0000652929




                     Attachment, payment terms,
C-509
                     KOCHFOODS-0000652930




                     Email, FW: 2013 ufpc monthly cost
C-510                model rfp - final.xlsx, 11/12/2012,
                     KOCHFOODS-0000652935




                     Attachment, cost model, KOCHFOODS-
C-511
                     0000652936




                     Email, RE: 2013 ufpc monthly cost
C-512                model rfp - final.xlsx, 11/12/2012,
                     KOCHFOODS-0000652937



                     Email, RE: 2013 ufpc monthly cost
C-513                model rfp - final.xlsx, 11/20/2012,
                     KOCHFOODS-0000652947



                     Email, FW: 2013 ufpc monthly cost
C-514                model rfp - final.xlsx, 11/30/2012,
                     KOCHFOODS-0000652949
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                     Attachment, cost model, KOCHFOODS-
C-515
                     0000652950




                     Email, RE: 2013 ufpc monthly cost
C-516                model rfp - final.xlsx, 11/30/2012,
                     KOCHFOODS-0000652951



                     Email, FW: KFC Specification Changes
C-517                to COB, 07/11/2013, KOCHFOODS-
                     0000652952



                     Email, RE: KFC availability,
C-518                07/29/2010, KOCHFOODS-
                     0000652954



                     Email, FW: UFPC Round 1 Feedback,
C-519                11/01/2013, KOCHFOODS-
                     0000652957




                     Attachment proposal summary,
C-520
                     KOCHFOODS-0000652958




                     Attachment, request for information,
C-521
                     KOCHFOODS-0000652959
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                     Email, RE: INFO: COB Supply update
                     from RSCS - Sunday, May 11,
C-522
                     05/12/2014, KOCHFOODS-
                     0000652962



                     Email, RE: COB volumes by plant,
C-523                05/12/2014, KOCHFOODS-
                     0000652964



                     Email, 2014 UFPC SBRA Exhibits,
C-524                12/11/2013, KOCHFOODS-
                     0000652966




                     Attachment, supply contract,
C-525
                     KOCHFOODS-0000652967




                     Email, RE: 2013 ufpc monthly cost
C-526                model-p7.xlsx, 06/05/2013,
                     KOCHFOODS-0000652974



                     Email, RE: Koch data sheet.xlsx,
C-527                03/05/2013, KOCHFOODS-
                     0000652975



                     Email, RE: Emailing: Copy of
C-528                Xl0000303, 03/08/2013,
                     KOCHFOODS-0000652976
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                     Attachment, plant analysis,
C-529
                     KOCHFOODS-0000652977




                     Email, Need info for a planning
C-530                meeting, 02/26/2013, KOCHFOODS-
                     0000652978



                     Email, Re: Need info for a planning
C-531                meeting, 02/27/2013, KOCHFOODS-
                     0000652979



                     Email, FW: Attached Image,
C-532                10/09/2012, KOCHFOODS-
                     0000652981




                     Email, Image, 10/09/2012,
C-533
                     KOCHFOODS-0000652982



                     Email, RE: INFO: COB Supply update
                     from RSCS - Thursday, May 8,
C-534
                     05/09/2014, KOCHFOODS-
                     0000652983


                     Email, Fwd: INFO: COB Supply update
                     from RSCS - Thursday, May 8,
C-535
                     05/09/2014, KOCHFOODS-
                     0000652985
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                     Email, FW: 2013 ufpc monthly cost
C-536                model-p8.xlsx, 07/03/2013,
                     KOCHFOODS-0000652987




                     Attachment, cost model, KOCHFOODS-
C-537
                     0000652988




                     Email, RE: 2013 ufpc monthly cost
C-538                model-p8.xlsx, 07/03/2013,
                     KOCHFOODS-0000652989



                     Email, 2013 ufpc monthly cost model-
C-539                p9 (3).xlsx, 08/05/2013, KOCHFOODS-
                     0000652990




                     Attachment, cost model, KOCHFOODS-
C-540
                     0000652991




                     Email, FW: 2013 ufpc monthly cost
C-541                model-p10.xlsx, 08/30/2013,
                     KOCHFOODS-0000652992




                     Attachment, cost model, KOCHFOODS-
C-542
                     0000652993
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                     Email, [UFPC :: Yum Poultry RFP
                     Event 2013-2014] Just under 2 hours to
C-543                go on UFPC Poultry Bid Round 1 in
                     CombineNet, 10/07/2013,
                     KOCHFOODS-0000652994



                     Email, RE: Koch Foods, 08/27/2015,
C-544
                     KOCHFOODS-0000652995




                     Email, Contract and Product
C-545                Information Forms, 11/25/2015,
                     KOCHFOODS-0000653000




                     Attachment, supply contract,
C-546
                     KOCHFOODS-0000653001




                     Attachment, product information form,
C-547
                     KOCHFOODS-0000653010




                     Digital Device Records,
C-548
                     LOVETTE_0000000001




                     Email, KFC, 12/11/2012, MAR-
C-549
                     JAC_0000249264
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                     Verizon Toll Records, MAR-
C-550
                     JAC_0000357256




                     Email, FW: KFC Model 2014
C-551                REVISED 11-4-2013, 11/04/2013,
                     MAR-JAC_0000532756




                     Attachment, Cost Model, MAR-
C-552
                     JAC_0000532757




                     Email, Message from
C-553                "RNP002673581CC5", 05/20/2016,
                     MAR-JAC_0000577388




                     Attachment, supply contract, MAR-
C-554
                     JAC_0000577389




                     Email, FW: kfc cost 8/25/14 2015
C-555                Revised, 08/25/2014, MAR-
                     JAC_0000596412




                     Attachment, Cost Model, MAR-
C-556
                     JAC_0000596413
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                     Email, RE: KFC, 12/11/2012, MAR-
C-557
                     JAC_0000605779




                     Digital Device Records, MAR-
C-558
                     JAC_0000749205




                     Email, RE: 2015 Model Revisions,
C-559
                     11/20/2014, MAR-JAC_0000766659




                     Attachment, Cost Model, MAR-
C-560
                     JAC_0000766660




                     Digital Device Records,
C-561
                     MATTHEWS_0000000001




                     McKinsey PDF, 07/10/2014, MCK-
C-562
                     YUM-0000001




                     June 24, 2014 McKinsey KFC
C-563                PowerPoint Presentation, MCK-YUM-
                     0000041
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                     McKinsey Powerpoint Presentation ,
C-564
                     MCK-YUM-0000042




                     McKinsey Powerpoint Presentation ,
C-565
                     MCK-YUM-0000043




                     McKinsey Excel Sheet, MCK-YUM-
C-566
                     0000044




                     Meeting Synopsis, MCK-YUM-
C-567
                     0000084




                     McKinsey PDF, 05/30/2014, MCK-
C-568
                     YUM-0000087




                     McKinsey PDF, 04/17/2014, MCK-
C-569
                     YUM-0000089




                     McKinsey PDF, 06/02/2014, MCK-
C-570
                     YUM-0000092
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                     McKinsey PDF, 06/14/2014, MCK-
C-571
                     YUM-0000094




                     McKinsey Powerpoint Presentation ,
C-572
                     MCK-YUM-0000165




                     June 18, 2014 McKinsey KFC
C-573                PowerPoint Presentation, MCK-YUM-
                     0000166




                     McKinsey Powerpoint Presentation ,
C-574
                     MCK-YUM-0000170




                     McKinsey PDF, 07/28/2014, MCK-
C-575
                     YUM-0000204




                     McKinsey PDF, 06/12/2014, MCK-
C-576
                     YUM-0000234




                     McKinsey Powerpoint Presentation ,
C-577
                     MCK-YUM-0000260
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                     Supplier Questionnaire, MCK-YUM-
C-578
                     0000261




                     McKinsey Powerpoint Presentation ,
C-579
                     MCK-YUM-0000264




                     McKinsey Powerpoint Presentation ,
C-580
                     MCK-YUM-0000265




                     McKinsey Excel Sheet, MCK-YUM-
C-581
                     0000266




                     McKinsey PDF, 07/31/2014, MCK-
C-582
                     YUM-0000267




                     McKinsey Powerpoint Presentation ,
C-583
                     MCK-YUM-0000284




                     McKinsey Powerpoint Presentation ,
C-584
                     MCK-YUM-0000337
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                     July 10, 2014 McKinsey KFC
C-585                PowerPoint Presentation, MCK-YUM-
                     0000448




                     McKinsey Excel Sheet, MCK-YUM-
C-586
                     0000449




                     July 10, 2014 McKinsey KFC
C-587                PowerPoint Presentation, MCK-YUM-
                     0000480




                     McKinsey Powerpoint Presentation ,
C-588
                     MCK-YUM-0000481




                     McKinsey Excel Sheet, MCK-YUM-
C-589
                     0000482




                     Speaker Notes from July 17, 2014
C-590                McKinsey KFC PowerPoint
                     Presentation, MCK-YUM-0000485




                     McKinsey Excel Sheet, MCK-YUM-
C-591
                     0000500
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                     McKinsey Powerpoint Presentation ,
C-592
                     MCK-YUM-0000502




                     McKinsey Powerpoint Presentation ,
C-593
                     MCK-YUM-0000538




                     July 10, 2014 McKinsey KFC
C-594                PowerPoint Presentation, MCK-YUM-
                     0000539



                     June 24, 2014 McKinsey KFC
C-595                PowerPoint Presentation, MCK-YUM-
                     0000579



                     June 24, 2014 McKinsey KFC
C-596                PowerPoint Presentation, MCK-YUM-
                     0000581




                     McKinsey Excel Sheet, MCK-YUM-
C-597
                     0000582




                     McKinsey PDF, 06/24/2014, MCK-
C-598
                     YUM-0000583
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                     McKinsey Powerpoint Presentation ,
C-599
                     MCK-YUM-0000622




                     McKinsey Excel Sheet, MCK-YUM-
C-600
                     0000623




                     McKinsey Powerpoint Presentation ,
C-601
                     MCK-YUM-0000627




                     McKinsey Powerpoint Presentation ,
C-602
                     MCK-YUM-0000629




                     McKinsey Powerpoint Presentation ,
C-603
                     MCK-YUM-0000630




                     May 16, 2014 McKinsey KFC
C-604                PowerPoint Presentation, MCK-YUM-
                     0000631



                     May 16, 2014 McKinsey KFC
C-605                PowerPoint Presentation, MCK-YUM-
                     0000658
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                     McKinsey Interview Questions for
C-606
                     Pilgrim's Pride, MCK-YUM-0000836




                     June 2014 PowerPoint Presentation to
C-607
                     KFC, MCK-YUM-0000840




                     May 16, 2014 McKinsey KFC
C-608                PowerPoint Presentation, MCK-YUM-
                     0000860



                     July 21, 2014 McKinsey KFC
C-609                PowerPoint Presentation, MCK-YUM-
                     0000873




                     Email, Terry Rogers, 06/10/2014, MCK-
C-610
                     YUM-0000963




                     Attachment, question list, MCK-YUM-
C-611
                     0000964




                     Email, Meet with Pilgrim's, 06/18/2014,
C-612
                     MCK-YUM-0000974
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                     Email, KFC / RSCS Board Meeting
C-613                Presentation, 07/21/2014, MCK-YUM-
                     0000982




                     McKinsey PDF, 07/21/2014, MCK-
C-614
                     YUM-0000983




                     Email, "Re: Questions for Pilgrim's",
C-615
                     06/27/2014, MCK-YUM-0001047




                     Attachment, question list, MCK-YUM-
C-616
                     0001050




                     Email, "Updated slides for Steve
C-617                Meeting", 07/01/2014, MCK-YUM-
                     0001082




                     Company presentation, MCK-YUM-
C-618
                     0001083




                     Email, "Shannon Johnson - Meeting
C-619                Deck", 07/02/2014, MCK-YUM-
                     0001084
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                     Company presentation, MCK-YUM-
C-620
                     0001085




                     Attachment, product analysis, MCK-
C-621
                     YUM-0001086




                     Email, "Fw: AW: Re: Multi-echelon IM
C-622                tool support", 07/02/2014, MCK-YUM-
                     0001089



                     Email, "Re: AW: Re: Multi-echelon IM
C-623                tool support", 07/02/2014, MCK-YUM-
                     0001117




                     Attachment, company presentation,
C-624
                     MCK-YUM-0001125




                     Draft McKinsey Presentation, MCK-
C-625
                     YUM-0001235




                     Email, "Re: Market analysis slide
C-626                updates", 06/23/2014, MCK-YUM-
                     0001292
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                     Attachment, company presentation,
C-627
                     MCK-YUM-0001293




                     Email, "Final versions of the Progress
C-628                Review 1 doc for RSCS / COB",
                     06/24/2014, MCK-YUM-0001294




                     Attachment, company presentation,
C-629
                     MCK-YUM-0001295




                     Attachment, company presentation,
C-630
                     MCK-YUM-0001334




                     Attachment, product analysis, MCK-
C-631
                     YUM-0001335




                     Email, "Re: Preread for June 24th
C-632                Meeting to Discuss COB Availability",
                     06/24/2014, MCK-YUM-0001341




                     Attachment, company presentation,
C-633
                     MCK-YUM-0001343
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                     Email, "Latest version of 7/10 progress
C-634                review", 07/09/2014, MCK-YUM-
                     0001476




                     Attachment, company presentation,
C-635
                     MCK-YUM-0001477




                     Attachment, product analysis, MCK-
C-636
                     YUM-0001478




                     Meeting invitation, "SHADOW:
C-637                Pilgrim's Pride Small Bird Discussion
                     with McKinsey", MCK-YUM-0001505




                     Email, "Board Presentation Plan.pptx",
C-638
                     07/18/2014, MCK-YUM-0001530




                     Attachment, company presentation,
C-639
                     MCK-YUM-0001531




                     Email, "Board Presentation Plan",
C-640
                     07/16/2014, MCK-YUM-0001532
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                     Attachment, company presentation,
C-641
                     MCK-YUM-0001533




                     Email, Final version of Board
C-642                Document and Speaker Notes,
                     07/18/2014, MCK-YUM-0001534




                     McKinsey PDF, 07/18/2014, MCK-
C-643
                     YUM-0001535




                     McKinsey PDF, 07/18/2014, MCK-
C-644
                     YUM-0001574




                     Email, "Re: Updated Board Document
C-645                and Speaker Schedule", 07/16/2014,
                     MCK-YUM-0001621




                     Draft McKinsey Presentation, MCK-
C-646
                     YUM-0001750




                     Email, "Speaker Notes for Board Doc",
C-647
                     07/17/2014, MCK-YUM-0001755
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                     Attachment, company presentation,
C-648
                     MCK-YUM-0001756




                     Email, Re: Questions for Pilgrim's,
C-649
                     06/27/2014, MCK-YUM-0001763




                     Email, Re: Questions for Pilgrim's,
C-650
                     06/27/2014, MCK-YUM-0001769




                     Attachment, meeting notes, MCK-
C-651
                     YUM-0001773




                     Email, Follow up analyses from kick-
C-652                off meeting, 06/13/2014, MCK-YUM-
                     0001778



                     Email, "Final Progress Review Updated
C-653                with Gordon and Blaine Edits",
                     07/24/2014, MCK-YUM-0001817




                     Attachment, company presentation,
C-654
                     MCK-YUM-0001818
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                     Email, "Re: Progress Review
C-655                Document", 06/23/2014, MCK-YUM-
                     0001917




                     Attachment, company presentation,
C-656
                     MCK-YUM-0001920




                     Email, Final version of today's
C-657                presentation and speaker notes,
                     07/21/2014, MCK-YUM-0001923



                     McKinsey Deck and Speaker Notes
C-658                presented to Yum! Board, MCK-YUM-
                     0001924



                     McKinsey Deck and Speaker Notes
C-659                presented to Yum! Board, MCK-YUM-
                     0001941



                     Email, Re: Final version of Board
C-660                Document and Speaker Notes,
                     07/21/2014, MCK-YUM-0001981



                     Email, "First Version of Progress
C-661                Review to Discuss on Today's Call",
                     07/22/2014, MCK-YUM-0002003
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                     Attachment, company presentation,
C-662
                     MCK-YUM-0002004




                     Email, "Final Progress Review",
C-663
                     07/22/2014, MCK-YUM-0002009




                     Attachment, company presentation,
C-664
                     MCK-YUM-0002010




                     Email, "Re: Response needed - Fw:
C-665                Poultry Project Progress Review #1",
                     06/19/2014, MCK-YUM-0002032



                     Email, Fw: RQ:367830 Poultry, chicken
                     and meat production, supply and cost
C-666
                     data for the US, 06/05/2014, MCK-
                     YUM-0002100



                     McKinsey Excel Sheet, MCK-YUM-
C-667
                     0002102




                     McKinsey Excel Sheet, MCK-YUM-
C-668
                     0002103
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                     McKinsey Excel Sheet, MCK-YUM-
C-669
                     0002104




                     McKinsey PDF, 06/05/2014, MCK-
C-670
                     YUM-0002105




                     McKinsey Powerpoint Presentation ,
C-671
                     MCK-YUM-0002165




                     McKinsey Excel Sheet, MCK-YUM-
C-672
                     0002166




                     McKinsey Excel Sheet, MCK-YUM-
C-673
                     0002167




                     McKinsey PDF, 06/05/2014, MCK-
C-674
                     YUM-0002168




                     McKinsey PDF, 06/05/2014, MCK-
C-675
                     YUM-0002177
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                     Email, Shortage vs. inventory.pptx,
C-676
                     07/09/2014, MCK-YUM-0002244




                     McKinsey Powerpoint Presentation ,
C-677
                     MCK-YUM-0002245




                     Email, "140616 Supply Chain Walk
C-678                Template v1.pptx", 06/09/2014, MCK-
                     YUM-0002250




                     Attachment, company presentation,
C-679
                     MCK-YUM-0002251




                     Attachment, image, MCK-YUM-
C-680
                     0002252




                     Email, "Fw: Follow up to yesterday's
C-681                call", 06/11/2014, MCK-YUM-
                     0002260




                     Email, "Yesterday's Notes",
C-682
                     06/11/2014, MCK-YUM-0002334
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                     Attachment, meeting notes, MCK-
C-683
                     YUM-0002335




                     Attachment, meeting notes, MCK-
C-684
                     YUM-0002337




                     Attachment, meeting notes, MCK-
C-685
                     YUM-0002338




                     Email, "Fw: KFC Staffing and Division
C-686                of Workstreams", 06/05/2014, MCK-
                     YUM-0002342




                     Attachment, company presentation,
C-687
                     MCK-YUM-0002343




                     Email, Fw: Poultry Contracts for Mck,
C-688
                     06/05/2014, MCK-YUM-0002344




                     McKinsey Excel Sheet, MCK-YUM-
C-689
                     0002345
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                     McKinsey PDF, 06/05/2014, MCK-
C-690
                     YUM-0002346




                     Attachment, mobile record, MCK-
C-691
                     YUM-0002355




                     McKinsey PDF, 06/05/2014, MCK-
C-692
                     YUM-0002356




                     Attachment, mobile record, MCK-
C-693
                     YUM-0002363




                     McKinsey PDF, 06/05/2014, MCK-
C-694
                     YUM-0002364




                     Attachment, mobile record, MCK-
C-695
                     YUM-0002371




                     McKinsey PDF, 06/05/2014, MCK-
C-696
                     YUM-0002372
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                     Attachment, mobile record, MCK-
C-697
                     YUM-0002381




                     McKinsey PDF, 06/05/2014, MCK-
C-698
                     YUM-0002382




                     Attachment, mobile record, MCK-
C-699
                     YUM-0002390




                     McKinsey PDF, 06/05/2014, MCK-
C-700
                     YUM-0002391




                     Attachment, mobile record, MCK-
C-701
                     YUM-0002399




                     McKinsey PDF, 06/05/2014, MCK-
C-702
                     YUM-0002400




                     Attachment, mobile record, MCK-
C-703
                     YUM-0002409
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                     McKinsey PDF, 06/05/2014, MCK-
C-704
                     YUM-0002410




                     Attachment, mobile record, MCK-
C-705
                     YUM-0002419




                     Email, Fw: A few updates, 06/05/2014,
C-706
                     MCK-YUM-0002426




                     McKinsey Powerpoint Presentation ,
C-707
                     MCK-YUM-0002430




                     McKinsey Powerpoint Presentation ,
C-708
                     MCK-YUM-0002431




                     McKinsey Excel Sheet, MCK-YUM-
C-709
                     0002432




                     McKinsey Powerpoint Presentation ,
C-710
                     MCK-YUM-0002433
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                     McKinsey PDF, 06/05/2014, MCK-
C-711
                     YUM-0002434




                     McKinsey Powerpoint Presentation ,
C-712
                     MCK-YUM-0002435




                     Email, How to Increase Supply
C-713                Capacity for COB.doc, 06/10/2014,
                     MCK-YUM-0002441




                     Attachment, strategy notes, MCK-YUM-
C-714
                     0002442




                     Email, Article re: breeder genetic issue,
C-715
                     07/10/2014, MCK-YUM-0002460




                     Email, Re: Congrats guys!, 07/22/2014,
C-716
                     MCK-YUM-0002478




                     Email, "Board Presentation Plan",
C-717
                     07/16/2014, MCK-YUM-0002486
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                     Attachment, presentation plan, MCK-
C-718
                     YUM-0002487




                     Email, KFC COB - End of week wrap
C-719
                     up, 06/12/2014, MCK-YUM-0002515




                     Email, Questions for Pilgrim's,
C-720
                     06/25/2014, MCK-YUM-0002536




                     Email, Fwd: selected pages.pptx,
C-721
                     06/23/2014, MCK-YUM-0002556




                     McKinsey Powerpoint Presentation ,
C-722
                     MCK-YUM-0002557




                     Email, Fw: Exec summary, 06/06/2014,
C-723
                     MCK-YUM-0002564




                     Email, Re: Do you have ~15 mins to
C-724                talk today?, 06/23/2014, MCK-YUM-
                     0002566
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                     Email, "Re: Response needed - Fw:
C-725                Poultry Project Progress Review #1",
                     06/19/2014, MCK-YUM-0002575



                     Email, Fwd: Fresh Chicken - Tyson
C-726                Issue/McLane, 06/25/2014, MCK-YUM-
                     0002579



                     Email, Re: Updated Board Document
C-727                and Speaker Schedule, 07/17/2014,
                     MCK-YUM-0002663



                     Email, "Today's Progress Review
C-728                Document", 07/10/2014, MCK-YUM-
                     0002693




                     Attachment, company presentation,
C-729
                     MCK-YUM-0002694




                     Attachment, blank page, MCK-YUM-
C-730
                     0002695




                     Attachment, data chart, MCK-YUM-
C-731
                     0002696
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                     Email, "Re: Slides for Steve Tomorrow
C-732                morning", 07/02/2014, MCK-YUM-
                     0002901




                     Attachment, company presentation,
C-733
                     MCK-YUM-0002903




                     Email, Fw: 4 lb Bell Curve.pptx,
C-734
                     06/24/2014, MCK-YUM-0003038




                     McKinsey Powerpoint Presentation ,
C-735
                     MCK-YUM-0003039




                     McKinsey Excel Sheet, MCK-YUM-
C-736
                     0003040




                     Email, Supplier Reaction to 2.8 Blue
C-737                Move 9-21-09.pptx, 06/20/2014, MCK-
                     YUM-0003041




                     McKinsey Powerpoint Presentation ,
C-738
                     MCK-YUM-0003042
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                     Email, "Re: Progress Review Slides",
C-739
                     06/20/2014, MCK-YUM-0003053




                     Attachment, company presentation,
C-740
                     MCK-YUM-0003055




                     Email, "Workstream questions
C-741                document - VERY preliminary",
                     06/25/2014, MCK-YUM-0003103




                     Attachment, question list, MCK-YUM-
C-742
                     0003104




                     Email, Fw: SOW, 06/05/2014, MCK-
C-743
                     YUM-0003183




                     Attachment, arrangement
C-744
                     memorandum, MCK-YUM-0003184




                     Email, "Re: Staffing opportunity at
C-745                KFC", 06/05/2014, MCK-YUM-
                     0003194
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                     Attachment, company presentation,
C-746
                     MCK-YUM-0003198




                     Email, 20140520 Interview planning
C-747                list v4.xlsx, 06/11/2014, MCK-YUM-
                     0003205




                     McKinsey Excel Sheet, MCK-YUM-
C-748
                     0003206




                     Email, email 2 of 2, 06/10/2014, MCK-
C-749
                     YUM-0003209




                     McKinsey PDF, 06/10/2014, MCK-
C-750
                     YUM-0003210




                     McKinsey Excel Sheet, MCK-YUM-
C-751
                     0003211



                     Email, "RJG annotations - 140612
                     RSCS COB Kickoff v3
C-752
                     20140611T1712+0530.pptx",
                     06/11/2014, MCK-YUM-0003214
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                     Attachment, company presentation,
C-753
                     MCK-YUM-0003215




                     Email, Re: Notes from Jim Olson,
C-754
                     06/10/2014, MCK-YUM-0003371




                     Attachment, strategy notes, MCK-YUM-
C-755
                     0003373




                     Email, Fwd: Today's Retail News- July
C-756                21, 2014, 07/21/2014, MCK-YUM-
                     0003424



                     Email, Re: Potential to increase supply
                     by qualifying additional small bird
C-757
                     plants?, 07/21/2014, MCK-YUM-
                     0003455



                     Email, Checking in, 07/20/2014, MCK-
C-758
                     YUM-0003461




                     Email, Re: Notes from the mtgs today,
C-759
                     06/04/2014, MCK-YUM-0003528
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                     Email, Re: Staffing Update,
C-760
                     06/04/2014, MCK-YUM-0003690




                     Email, "Executive Summary + SC Walk
C-761                Doc", 06/06/2014, MCK-YUM-
                     0003917




                     Attachment, company presentation,
C-762
                     MCK-YUM-0003918




                     Attachment, company presentation,
C-763
                     MCK-YUM-0003919




                     Attachment, image, MCK-YUM-
C-764
                     0003920



                     Email, Re: Curious... did we make
                     progress on the late July risk issue
C-765
                     today? Thx, 07/15/2014, MCK-YUM-
                     0003976


                     Email, Re: Curious... did we make
                     progress on the late July risk issue
C-766
                     today? Thx, 07/15/2014, MCK-YUM-
                     0003980
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                     Email, Rescheduled: KFC/RSCS Board
                     meeting (Jul 21 12:00 PM CDT in The
C-767                Trump Towers/401 N Wabash
                     Ave/Chicago IL 60611), 07/18/2014,
                     MCK-YUM-0004243



                     McKinsey PDF, 07/18/2014, MCK-
C-768
                     YUM-0004249




                     McKinsey Excel Sheet, MCK-YUM-
C-769
                     0004250




                     Email, Re: how did it go?, 06/20/2014,
C-770
                     MCK-YUM-0004306




                     Email, Pilgrim's Pride Small Bird
C-771                Discussion with McKinsey,
                     06/11/2014, MCK-YUM-0004360



                     Email, "Re: Progress Review
C-772                Document", 06/23/2014, MCK-YUM-
                     0004459



                     Email, "Re: Do u want me in Louisville
C-773                on Tuesday?", 06/02/2014, MCK-YUM-
                     0004589
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                     Email, "Updated full doc", 07/15/2014,
C-774
                     MCK-YUM-0004620




                     Attachment, company presentation,
C-775
                     MCK-YUM-0004621




                     Email, "Final versions of the Progress
C-776                Review 1 doc for RSCS / COB",
                     06/24/2014, MCK-YUM-0004630




                     Attachment, company presentation,
C-777
                     MCK-YUM-0004631




                     Attachment, company presentation,
C-778
                     MCK-YUM-0004670




                     Attachment, product analysis, MCK-
C-779
                     YUM-0004671




                     Email, Re: Presentation to RSCS
C-780                Board, 07/23/2014, MCK-YUM-
                     0004799
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                     McKinsey deck presented to Yum!
C-781
                     Board, MCK-YUM-0004801




                     Email, "Re: Fwd: Poultry Contracts for
C-782                Mck", 06/01/2014, MCK-YUM-
                     0004967




                     Attachment, cost analysis, MCK-YUM-
C-783
                     0004969




                     Email, "KFC Data request",
C-784
                     06/03/2014, MCK-YUM-0004981




                     Attachment, data request, MCK-YUM-
C-785
                     0004982




                     Email, "Re: Kickoff materials",
C-786
                     06/19/2014, MCK-YUM-0004990




                     Attachment, company presentation,
C-787
                     MCK-YUM-0004991
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                     Email, "Poultry Project Progress
C-788                Review #2 Presentation - 7/10/14",
                     07/10/2014, MCK-YUM-0005113




                     Attachment, company presentation,
C-789
                     MCK-YUM-0005114




                     Email, "140710 Progress Review
C-790                v10.pptx", 07/10/2014, MCK-YUM-
                     0005158




                     Attachment, company presentation,
C-791
                     MCK-YUM-0005159




                     Attachment, product analysis, MCK-
C-792
                     YUM-0005160




                     Email, "Question 2 and Question 3
C-793                slides", 07/14/2014, MCK-YUM-
                     0005185




                     Attachment, company presentation,
C-794
                     MCK-YUM-0005186
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                     Email, "20140603 Supply chain walk
C-795                kickoff v5.pptx", 06/06/2014, MCK-
                     YUM-0005241




                     Attachment, company presentation,
C-796
                     MCK-YUM-0005242




                     Attachment, image, MCK-YUM-
C-797
                     0005243




                     Email, "YUM007 - 16 slides - 8p ET",
C-798
                     07/18/2014, MCK-YUM-0005412




                     Attachment, company presentation,
C-799
                     MCK-YUM-0005413



                     Email, Request for Board Presentation -
                     Understanding of small WOG plant
C-800
                     landscape, 07/20/2014, MCK-YUM-
                     0005581



                     Email, "Matrix.pptx", 07/02/2014,
C-801
                     MCK-YUM-0005658
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                     Attachment, company presentation,
C-802
                     MCK-YUM-0005659



                     Email, "Fw: 140612 Executive
                     Summary for Kickoff v2 slides 3-4
C-803
                     20140610T1330-04.pptx", 06/10/2014,
                     MCK-YUM-0005672



                     Attachment, company presentation,
C-804
                     MCK-YUM-0005673




                     Email, "Document for tomorrow",
C-805
                     07/29/2014, MCK-YUM-0005813




                     Attachment, company presentation,
C-806
                     MCK-YUM-0005814



                     Email, "YUM007 - presentation request
                     (request id 1407-45774) Final
C-807
                     Document - 15 sec survey attached",
                     07/14/2014, MCK-YUM-0005882



                     Attachment, company presentation,
C-808
                     MCK-YUM-0005884
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                     Attachment, company presentation,
C-809
                     MCK-YUM-0005885




                     Attachment, company presentation,
C-810
                     MCK-YUM-0005886




                     Attachment, product analysis, MCK-
C-811
                     YUM-0005887




                     Attachment, blank page, MCK-YUM-
C-812
                     0005888




                     Attachment, company presentation,
C-813
                     MCK-YUM-0005889




                     Attachment, company presentation,
C-814
                     MCK-YUM-0005890




                     Attachment, blank page, MCK-YUM-
C-815
                     0005891
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                     Attachment, data chart, MCK-YUM-
C-816
                     0005892




                     Email, Fw: Presentation to RSCS Board
C-817                Re: COB Supply Chain Diagnostic,
                     07/18/2014, MCK-YUM-0006101




                     McKinsey PDF, 07/18/2014, MCK-
C-818
                     YUM-0006103




                     Email, "Re: Progress Review Slides",
C-819
                     06/20/2014, MCK-YUM-0006216




                     Attachment, company presentation,
C-820
                     MCK-YUM-0006218




                     Email, "140624 Progress Review.pptx",
C-821
                     06/19/2014, MCK-YUM-0006221




                     Attachment, company presentation,
C-822
                     MCK-YUM-0006222
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                     Email, "Structured contracts pages",
C-823
                     07/16/2014, MCK-YUM-0006295




                     Attachment, company presentation,
C-824
                     MCK-YUM-0006296




                     Email, Re: Supply Chain Walk
C-825                Attendees, 06/09/2014, MCK-YUM-
                     0006500




                     Email, "Slides for Meeting with Steve",
C-826
                     07/02/2014, MCK-YUM-0006523




                     Attachment, company presentation,
C-827
                     MCK-YUM-0006524




                     Email, "Fw: Poultry Contracts for
C-828                Mck", 07/01/2014, MCK-YUM-
                     0006715




                     Attachment, cost analysis, MCK-YUM-
C-829
                     0006717
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                     Attachment, supply contract, MCK-
C-830
                     YUM-0006718




                     Attachment, mobile record, MCK-
C-831
                     YUM-0006727




                     Attachment, supply contract, MCK-
C-832
                     YUM-0006728




                     Attachment, mobile record, MCK-
C-833
                     YUM-0006735




                     Attachment, supply contract, MCK-
C-834
                     YUM-0006736




                     Attachment, mobile record, MCK-
C-835
                     YUM-0006743




                     Attachment, supply contract, MCK-
C-836
                     YUM-0006744
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                     Attachment, mobile record, MCK-
C-837
                     YUM-0006753




                     Attachment, supply contract, MCK-
C-838
                     YUM-0006754




                     Attachment, mobile record, MCK-
C-839
                     YUM-0006762




                     Attachment, supply contract, MCK-
C-840
                     YUM-0006763




                     Attachment, mobile record, MCK-
C-841
                     YUM-0006771




                     Attachment, supply contract, MCK-
C-842
                     YUM-0006772




                     Attachment, mobile record, MCK-
C-843
                     YUM-0006781
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                     Attachment, supply contract, MCK-
C-844
                     YUM-0006782




                     Attachment, mobile record, MCK-
C-845
                     YUM-0006791




                     Email, "updated slides.pptx",
C-846
                     06/23/2014, MCK-YUM-0006833




                     Attachment, company presentation,
C-847
                     MCK-YUM-0006834




                     Email, RE: Presentation to RSCS Board
C-848                Re: COB Supply Chain Diagnostic,
                     07/18/2014, MCK-YUM-0007026



                     Email, "Fw: COB Strategy Presentation-
C-849                Commodity Jul 2014 (REVISED)",
                     07/15/2014, MCK-YUM-0007074




                     Attachment, company presentation,
C-850
                     MCK-YUM-0007075
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                     Email, RE: Presentation to RSCS Board
C-851                Re: COB Supply Chain Diagnostic,
                     07/21/2014, MCK-YUM-0007190



                     Email, RE: Presentation to RSCS Board
C-852                Re: COB Supply Chain Diagnostic,
                     07/18/2014, MCK-YUM-0007205



                     Email, Re: FW: Inventory Optimization
C-853                vs Simulation, 07/31/2014, MCK-YUM-
                     0007378




                     McKinsey PDF, 07/31/2014, MCK-
C-854
                     YUM-0007380




                     Email, "Market analysis slide updates",
C-855
                     06/23/2014, MCK-YUM-0007602




                     Attachment, company presentation,
C-856
                     MCK-YUM-0007603




                     Digital Device Records, MJPoultry-
C-857
                     0000000005
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                     Digital Device Records, MJPoultry-
C-858
                     0000000006




                     Digital Device Records, MJPoultry-
C-859
                     0000000007




                     Digital Device Records, MJPoultry-
C-860
                     0000000008




                     Email, 2015 Golden Corral Bid Mar
C-861                Jac GA Division, 09/30/2014,
                     MJPoultry-0000008030




                     Attachment, Bid, MJPoultry-
C-862
                     0000008032




                     Email, Re: BOL# 353729, 05/07/2014,
C-863
                     MJPoultry-0000015685




                     Email, FW: 2015 Golden Corral Bid
C-864                Mar Jac GA Division Revised # 1,
                     11/03/2014, MJPoultry-0000061204
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                     Attachment, Bid, MJPoultry-
C-865
                     0000061206




                     Email, FW: Golden Corral for 2015
C-866                Kelly Foods Revised #2, 11/03/2014,
                     MJPoultry-0000061209



                     Email, RE: COB Negotiations,
C-867                12/31/1900, MJPoultry-0000076370,
                     09/29/2014, MJPoultry-0000076370



                     Email, RE: 2015 KFC Period 1 on new
C-868                model., 12/15/2014, MJPoultry-
                     0000076378




                     Email, Re: Meeting Follow-Up,
C-869
                     08/14/2014, MJPoultry-0000077703




                     Email, RE: Meeting Follow-Up,
C-870
                     08/13/2014, MJPoultry-0000080278




                     Email, RE: COB Negotiations,
C-871
                     09/29/2014, MJPoultry-0000165866
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                     Email, RE: Meeting, 08/13/2014,
C-872
                     MJPoultry-0000165870




                     Email, Re:, 11/17/2014, MJPoultry-
C-873
                     0000169008




                     Email, Golden Corral 2015 Kelly
C-874                Foods, 10/20/2014, MJPoultry-
                     0000169073




                     Email, FW: KFC Period 3, 02/19/2013,
C-875
                     MJPoultry-0000175947




                     Email, RE: Meeting, 08/13/2014,
C-876
                     MJPoultry-0000183705




                     Email, RE: KFC Specification Changes
C-877                to COB, 07/12/2013, MJPoultry-
                     0000187789




                     Email, FW: RFI 2014 Rnd 2.xls,
C-878
                     11/06/2013, MJPoultry-0000187812
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                     Attachment, RFI 2014 Rnd 2.xls,
C-879
                     MJPoultry-0000187813




                     Email, Poultry Negotiation Meetings,
C-880
                     11/01/2013, MJPoultry-0000188717




                     Email, COB Negotiations, 09/04/2014,
C-881
                     MJPoultry-0000188737




                     Email, Copy KFC FOB Summary
C-882                FINAL - Mar-Jac 2014.xls, 11/18/2013,
                     MJPoultry-0000189079



                     Attachment, Copy KFC FOB Summary
C-883                FINAL - Mar-Jac 2014.xls, MJPoultry-
                     0000189080




                     Email, FW: KFC QA Costs,
C-884
                     09/15/2014, MJPoultry-0000191167




                     Attachment, quality assurance form,
C-885
                     MJPoultry-0000191168
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                     Email, FW: Message from
C-886                "RNP002673581CC5", 08/01/2014,
                     MJPoultry-0000196238




                     Attachment, Mar-Jac letter, MJPoultry-
C-887
                     0000196239




                     Email, confidential, 03/18/2013,
C-888
                     MJPoultry-0000198146




                     Email, Re: RSCS SCA Project for COB
C-889                chicken, 09/02/2016, MJPoultry-
                     0000203741



                     Email, FW: POPEYES 2018 bone-in
C-890                RFP, 09/26/2017, MJPoultry-
                     0000214804




                     Attachment, Cost Model, MJPoultry-
C-891
                     0000214806




                     Email, RE: POPEYES 2018 bone-in
C-892                RFP, 09/06/2017, MJPoultry-
                     0000215700
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                     Attachment, Cost Model, MJPoultry-
C-893
                     0000215702




                     Email, Flo Becker, 07/29/2014,
C-894
                     MJPoultry-0000242847




                     Email, RE: Hattiesburg Runsheet for
C-895                Friday, May 2,2014, 05/01/2014,
                     MJPoultry-0000301255



                     Email, Completed: Please DocuSign
C-896                the Mar-Jac SBRA Exhibits,
                     08/28/2017, MJPoultry-0000341087




                     Attachment, supply contract, MJPoultry-
C-897
                     0000341089




                     Email, Fwd: COB Spec Change
C-898                Summary, 09/05/2012, MJPoultry-
                     0000341765




                     Attachment, Cost Model, MJPoultry-
C-899
                     0000341767
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                     Attachment, mobile record, MJPoultry-
C-900
                     0000341768




                     Email, Emailing: Copy of 2015
C-901                GOLDEN CORRAL.xlsx, 11/25/2014,
                     MJPoultry-0000348000




                     Attachment, Copy of 2015 GOLDEN
C-902
                     CORRAL.xlsx, MJPoultry-0000348001




                     Email, Re: Emailing: Period 2 Cost
C-903                plus, 01/16/2015, MJPoultry-
                     0000363288



                     Email, Next KFC COB Agreement
C-904                Follow-up, 05/04/2017, MJPoultry-
                     0000379796



                     Email, FW: Message from
C-905                "RNP002673581CC5", 04/24/2015,
                     MJPoultry-0000458932




                     Attachment, supply contract, MJPoultry-
C-906
                     0000458933
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                                                                                                                             Page 416

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                     Email, FW: GC 2015 Shulers revised
C-907                #1, 12/30/2014, MJPoultry-
                     0000504644



                     Email, Completed: 2014 Golden Corral
C-908                Contract, 12/16/2013, MJPoultry-
                     0000526544




                     Attachment, supply contract, MJPoultry-
C-909
                     0000526545




                     Digital Device Records, MJPoultry-
C-910
                     0000545821




                     Digital Device Records, MJPoultry-
C-911
                     0000545822




                     Digital Device Records, MJPoultry-
C-912
                     0000545823



                     Email, Action Required - Sysco's
                     Payment Terms Change for
C-913
                     MOUNTAIRE FARMS INC,
                     04/27/2016, MTADOJ-0057046
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 417 of 1105

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                     Attachment, payment terms form,
C-914
                     MTADOJ-0057047




                     Digital Device Records, MTA-
C-915
                     PL0001191081




                     Digital Device Records, MTA-
C-916
                     PL0001191082




                     Digital Device Records, MTA-
C-917
                     PL0001191083




                     Digital Device Records, MTA-
C-918
                     PL0001191085




                     Digital Device Records, MTA-
C-919
                     PL0001191086




                     Digital Device Records, MTA-
C-920
                     PL0001259726
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                     Email, "OKF Proposal Follow Up",
C-921
                     10/12/2012, OKFoods_0000455894




                     Attachment, proposal summary,
C-922
                     OKFoods_0000455895




                     Attachment, cost model,
C-923
                     OKFoods_0000455897




                     Email, Tenders, 08/26/2016,
C-924
                     OKFoods_0000904753




                     Digital Device Records,
C-925
                     OKFoods_0001529782




                     Digital Device Records,
C-926
                     OKFoods_0001529783




                     Digital Device Records,
C-927
                     OKFoods_0001529784
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                     Digital Device Records,
C-928
                     OKFoods_0001529785




                     Digital Device Records,
C-929
                     OKFoods_0001529786




                     Digital Device Records,
C-930
                     OKFoods_0001529787




                     Digital Device Records,
C-931
                     OKFoods_0001529788




                     Digital Device Records,
C-932
                     OKFoods_0001529790




                     Digital Device Records,
C-933
                     OKFoods_0001529791




                     Digital Device Records,
C-934
                     OKFoods_0001529792
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                     Email, Foodservice Fresh Cornerstone
C-935                KFC 8pc Notes 9.9.14, 09/15/2014,
                     OKFoodsDOJ-00204694




                     Attachment, strategy notes,
C-936
                     OKFoodsDOJ-00204695




                     Email, "FW: KFC Exhibits 1 & 2",
C-937
                     09/04/2015, OKFoodsDOJ-00357778




                     Supplier Contract, OKFoodsDOJ-
C-938
                     00357779




                     Digital Device Records,
C-939
                     PECO0000558821




                     Digital Device Records,
C-940
                     PECO0000596065




                     Digital Device Records,
C-941
                     PECO0000608976
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                     Digital Device Records,
C-942
                     PECO0000757228




                     Email, "RE: CFA", 03/03/2014, PENN-
C-943
                     0000000001




                     Email, "RE: ABF", 02/13/2014, PENN-
C-944
                     0000000002




                     Email, "Sysco", 05/12/2016, PENN-
C-945
                     0000000003



                     Email, "FW: Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
C-946
                     PRIDE", 06/27/2016, PENN-
                     0000000004



                     Attachment, Supplier Payment Terms
C-947
                     Change Form, PENN-0000000006




                     Email, "Balance sheet", 01/05/2015,
C-948
                     PENN-0000000008
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Exhibit   Witness               Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only

                     Attachment, Business Volume
C-949                Comparison Spreadsheet, PENN-
                     0000000009




                     Email regarding sales leads,
C-950
                     11/26/2014, PENN-0000000010




                     Email, "FW: notice", 06/10/2014,
C-951
                     PENN-0000000011




                     Email, "KFC", 07/07/2014, PENN-
C-952
                     0000000012




                     Email, "RE: Pilgrim's Board of
C-953                Directors' Meeting - Presentation",
                     07/24/2014, PENN-0000000013



                     Attachment, Q2 2014 Pilgrim's Board
C-954                of Directors PowerPoint, PENN-
                     0000000014



                     Email, "RE: coming back after
C-955                dentist?", 08/15/2014, PENN-
                     0000000141
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Exhibit   Witness              Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     Email, "FW: Updated ALT List - top
C-956
                     10", 08/11/2014, PENN-0000000142




                     Attachment, Employee Candidates
C-957
                     Spreadsheet, PENN-0000000143




                     Email, "RE: Monday meetings",
C-958
                     08/15/2014, PENN-0000000144



                     Email, "RE: WHAT IS THE STATUS
                     OF THE BONELESS DARK MEAT
C-959
                     PROJECT IN NAC?", 08/15/2014,
                     PENN-0000000145



                     Email, "RE: vacation", 08/07/2014,
C-960
                     PENN-0000000147




                     Email, "RE: Dinner Wednesday 5:30
C-961                PM @ Mastro's", 08/21/2014, PENN-
                     0000000148




                     Email, "Are you available?",
C-962
                     07/14/2014, PENN-0000000150
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Exhibit   Witness               Brief Description               Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "FW: Small Bird Debone Sales
C-963                Manager", 08/08/2014, PENN-
                     0000000151



                     Attachment, Job Announcement for
C-964                Small Bird Debone Sales Manager,
                     PENN-0000000152



                     Email, "RE: Annoucement Drafts -
C-965                McGuire and Stiller", 09/09/2014,
                     PENN-0000000153



                     Email, "RE: Annoucement Drafts -
C-966                McGuire and Stiller", 09/10/2014,
                     PENN-0000000155



                     Email, "RE: Hold up on the KFC
C-967                signature on the contract.", 10/20/2014,
                     PENN-0000000159




                     Email, "Fwd: Hedging", 10/29/2014,
C-968
                     PENN-0000000160




                     Email, "RE: KFC", 11/20/2013, PENN-
C-969
                     0000000161
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                     Email, "Book1.xlsx", 11/19/2013,
C-970
                     PENN-0000000162




                     Attachment, Cost Analysis Spreadsheet,
C-971
                     PENN-0000000163




                     Email, "Book1.xlsx", 11/19/2013,
C-972
                     PENN-0000000164




                     Attachment, Cost Analysis Spreadsheet,
C-973
                     PENN-0000000165




                     Email, "KFC", 11/19/2013, PENN-
C-974
                     0000000166




                     Email, "Yum! Bid", 12/14/2012, PENN-
C-975
                     0000000167




                     Email, "Re: Super valu deli",
C-976
                     09/04/2012, PENN-0000000168
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                     Email, "RE: Customer Sales
C-977                Fluctuations", 10/18/2012, PENN-
                     0000000170




                     Email, "Update", 05/19/2017, PENN-
C-978
                     0000000171




                     Email, "Fwd: National Account Fresh
C-979                Accounts", 05/11/2017, PENN-
                     0000000172




                     Attachment, National Accounts Status
C-980
                     Tracker, PENN-0000000174




                     Attachment, Mobile Record, PENN-
C-981
                     0000000175




                     Attachment, List of Accounts, PENN-
C-982
                     0000000176




                     Attachment, Mobile Record, PENN-
C-983
                     0000000177
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                     Email, "Update", 09/22/2017, PENN-
C-984
                     0000000178




                     Email, "RE: Boneless Project",
C-985
                     01/28/2013, PENN-0000000179




                     Email, "KFC Program", 09/24/2012,
C-986
                     PENN-0000000181




                     Attachment, Product Quality Assurance
C-987
                     Checklist, PENN-0000000182




                     Attachment, Email, "FW: Draft
C-988
                     Boneless QAP", PENN-0000000197




                     Email, "Boneless Project Update",
C-989
                     09/14/2012, PENN-0000000198




                     Email, "Market Updates", 08/22/2012,
C-990
                     PENN-0000000199
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                     Attachment, PowerPoint Deck on
C-991                Commodity Overview, PENN-
                     0000000200




                     Email, "RE: Bites", 12/10/2012, PENN-
C-992
                     0000000201




                     Email, "RE: Issue", 03/16/2012, PENN-
C-993
                     0000000203




                     Email, "Re: Price Reduction Impact -
C-994
                     KFC", 11/30/2012, PENN-0000000204




                     Email regarding price reduction impact,
C-995
                     11/28/2012, PENN-0000000205




                     Email, "Price on bone in", 11/26/2012,
C-996
                     PENN-0000000207




                     Email, "RE: Bone in Model",
C-997
                     10/10/2012, PENN-0000000208
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                     Email, "Fwd: Pilgrim's Back Half
C-998                Pricing", 08/26/2014, PENN-
                     0000000212




                     Email, "2020 US KOMeeting JP.pptx",
C-999
                     01/08/2020, PENN-0000000215




                     Attachment, Email, "2020 US
D-001                KOMeeting JP.pptx", PENN-
                     0000000216




                     Attachment, PowerPoint Deck, PENN-
D-002
                     0000000217



                     Email, "FW: Pilgrim's Board of
                     Directors' Meeting - agenda &
D-003
                     presentation", 02/13/2020, PENN-
                     0000000267



                     Attachment, Email, "FW: Pilgrim's
D-004                Board of Directors' Meeting - agenda &
                     presentation", PENN-0000000268



                     Attachment, PowerPoint Deck for Q4
D-005                2019 Board Meeting, PENN-
                     0000000269
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                     Attachment, Meeting Agenda, PENN-
D-006
                     0000000416




                     Email, RE: NAE spec, 04/22/2014,
D-007
                     PER-000152793




                     Email, Fwd: NAE phone call,
D-008
                     04/25/2014, PERDUE0000035417




                     Email, FW: please respond by May to
D-009                our NAE spec, 04/21/2014,
                     PERDUE0001619817




                     Attachment, supplier specification
D-010
                     information, PERDUE0001619819




                     Digital Device Records,
D-011
                     PERDUE0001806291




                     Digital Device Records,
D-012
                     PERDUE0001806292
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                     Digital Device Records,
D-013
                     PERDUE0001806293




                     Digital Device Records,
D-014
                     PERDUE0001806294




                     Digital Device Records,
D-015
                     PERDUE0001806297




                     Digital Device Records,
D-016
                     PERDUE0001806298




                     Digital Device Records,
D-017
                     PERDUE0001806300




                     Digital Device Records,
D-018
                     PERDUE0001806301




                     Email, "Br Tn 1.2 oz dwn
D-019                2.22+.02;B/S Br FBFly 1.8;...",
                     03/01/2012, PILGRIMS-0000018473
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                     Attachment, Urner-Barry analysis,
D-020
                     PILGRIMS-0000018479




                     Email, Fwd: Updated Version of
D-021                Strategy Discussion, 06/22/2012,
                     PILGRIMS-0000019599




                     Attachment, Powerpoint Presentation,
D-022
                     PILGRIMS-0000019600




                     Attachment, mobile record, PILGRIMS-
D-023
                     0000019601




                     Email, Re: Georgia Wednesday Dock -
D-024                11-07-12 - GA, 11/07/2012,
                     PILGRIMS-0000021364



                     Email, "Chicken Supply and
D-025                Pricing/Availability" , 7/5/2013,
                     PILGRIMS-0000025870



                     Attachment, "Chicken Supply and
D-026                Pricing/Availability" , PILGRIMS-
                     0000025871
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                     Email, RE: Bashas' deli bid,
D-027
                     09/10/2013, PILGRIMS-0000027067




                     Email, 2014 Bid Pricing Formula 10-7-
D-028                13.xlsx, 10/07/2013, PILGRIMS-
                     0000027375




                     Attachment, Bid, PILGRIMS-
D-029
                     0000027376




                     Email, FW: March Pay Day,
D-030
                     02/03/2014, PILGRIMS-0000029533




                     Email, RE: Thank you! ... and 1
D-031                question, 06/23/2014, PILGRIMS-
                     0000031888



                     Email, RE: Thank you! ... and 1
D-032                question, 06/23/2014, PILGRIMS-
                     0000031889



                     Email, LVPL14-08 Poultry Reference
D-033                Tables - 08/11/2014, 08/11/2014,
                     PILGRIMS-0000033769
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                     Email, LVPL14-08 Poultry Reference
D-034                Tables - 08/11/2014, 08/11/2014,
                     PILGRIMS-0000033770




                     Attachment, reference tables,
D-035
                     PILGRIMS-0000033771




                     Email, FW: September BIC promotion,
D-036
                     07/24/2015, PILGRIMS-0000040359




                     Email, FW: September BIC promotion,
D-037
                     07/24/2015, PILGRIMS-0000040360




                     Email, Re: FW:, 02/15/2016,
D-038
                     PILGRIMS-0000043979




                     Email, Re: FW:, 02/15/2016,
D-039
                     PILGRIMS-0000043980




                     Digital Device Records, PILGRIMS-
D-040
                     0000049017
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                     "1404_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-041
                     RUN20140603-090757-499.PDF",
                     PILGRIMS-0000190542


                     "1405_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-042
                     RUN20140702-103546-187.PDF",
                     PILGRIMS-0000195456


                     "1406_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-043
                     RUN20140801-101557-226.PDF",
                     PILGRIMS-0000196567


                     "1407_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-044
                     RUN20140902-134556-587.PDF",
                     PILGRIMS-0000241655



                     Email, FFS Net Dock Return PD 1 WK
D-045                1 FY 14, 01/09/2013, PILGRIMS-
                     0001331695



                     Attachment, FFS Net Dock Return Pd 1
D-046                Wk 1 FY 14.xlsx, PILGRIMS-
                     0001331696



                     Email, FFS Net Dock Return Pd 1 Wk
D-047                2 FY 14.xlsx, 01/16/2013, PILGRIMS-
                     0002471498
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                     Attachment, FFS Net Dock Return Pd 1
D-048                Wk 2 FY 14.xlsx, PILGRIMS-
                     0002471499



                     Email, FFS Net Dock Return Pd 2 Wk
D-049                1 FY 14 (2).xlsx, 02/07/2013,
                     PILGRIMS-0002471581



                     Attachment, FFS Net Dock Return Pd 2
D-050                Wk 1 FY 14 (2).xlsx, PILGRIMS-
                     0002471582



                     Email, FFS Net Dock Return Pd 3 Wk
D-051                4 FY 14.xlsx, 04/05/2013, PILGRIMS-
                     0002471749



                     Attachment, FFS Net Dock Return Pd 3
D-052                Wk 4 FY 14.xlsx, PILGRIMS-
                     0002471750



                     Email, FW: FFS Net Dock Return
D-053                Reports Pd 6 Wk 1, 06/18/2013,
                     PILGRIMS-0002472450



                     Attachment, FFS Net Dock Return Pd 6
D-054                Wk 1 FY 14.xlsx, PILGRIMS-
                     0002472451
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                     Attachment, FFS Net Dock Return-
D-055                Trend File PD 6 CY 2013.xlsx,
                     PILGRIMS-0002472452



                     Email, FW: FFS Net Dock Return
D-056                Reports - P8 W1, 08/12/2014,
                     PILGRIMS-0002473254



                     Attachment, FFS Net Dock Return-
D-057                Trend File PD 8 CY 2014.xlsx,
                     PILGRIMS-0002473255



                     Attachment, FFS Net Dock Return P 8
D-058                Wk 1 FY 15.xlsx, PILGRIMS-
                     0002473256



                     Email, FFS Net Dock Return Pd 1 Wk
D-059                3 FY 14.xlsx, 01/23/2013, PILGRIMS-
                     0002481402



                     Attachment, FFS Net Dock Return Pd 1
D-060                Wk 3 FY 14.xlsx, PILGRIMS-
                     0002481403



                     Email, FFS Net Dock Return Files-PD
D-061                2 WK 2, 02/13/2013, PILGRIMS-
                     0002481850
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                     Attachment, FFS Net Dock Return-
D-062                Trend File PD 2 CY 2013.xlsx,
                     PILGRIMS-0002481851



                     Attachment, FFS Net Dock Return Pd 2
D-063                Wk 2 FY 14.xlsx, PILGRIMS-
                     0002481852



                     Email, Fwd: CR Net Dock Return -
D-064                February 2013 Wk 4, 02/27/2013,
                     PILGRIMS-0002482098




                     Attachment, CR Net Dock Return
D-065
                     Trends.xlsx, PILGRIMS-0002482100




                     Attachment, mobile record, PILGRIMS-
D-066
                     0002482101




                     Attachment, CR Net Dock Return -
D-067                February 2013 Wk 4.xlsx, PILGRIMS-
                     0002482102




                     Attachment, mobile record, PILGRIMS-
D-068
                     0002482103
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                     Email, FFS Net Dock Return Reports
D-069                PD 2 WK 5, 03/06/2013, PILGRIMS-
                     0002482252



                     Attachment, FFS Net Dock Return Pd 2
D-070                Wk 5 FY 14.xlsx, PILGRIMS-
                     0002482253



                     Attachment, FFS Net Dock Return-
D-071                Trend File PD 2 CY 2013.xlsx,
                     PILGRIMS-0002482254



                     Email, FFS Net Dock Return Reports-
D-072                Pd 3 Wk 1, 03/12/2013, PILGRIMS-
                     0002482359



                     Attachment, FFS Net Dock Return Pd 3
D-073                Wk 1 FY 14.xlsx, PILGRIMS-
                     0002482360



                     Attachment, FFS Net Dock Return Pd 3
D-074                Wk 1 FY 14[1].xlsx, PILGRIMS-
                     0002482361




                     Email, FFS Net Dock Return PD 5 WK
D-075
                     3, 05/21/2013, PILGRIMS-0002483798
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                     Attachment, FFS Net Dock Return Pd 5
D-076                Wk 3 FY 14.xlsx, PILGRIMS-
                     0002483799




                     Email, FFS Net Dock Return-Pd 5 Wk
D-077
                     4, 05/29/2013, PILGRIMS-0002483899




                     Attachment, FFS Net Dock Return Pd 5
D-078                Wk 4 FY 14.xlsx, PILGRIMS-
                     0002483900



                     Email, FFS Net Dock Return Reports-
D-079                Pd 5 Wk 5 FY 14 (Revised),
                     06/05/2013, PILGRIMS-0002484093



                     Attachment, FFS Net Dock Return Pd 5
D-080                Wk 5 FY 14.xlsx, PILGRIMS-
                     0002484094



                     Attachment, FFS Net Dock Return-
D-081                Trend File PD 5 CY 2013.xlsx,
                     PILGRIMS-0002484095



                     Email, FFS Net Dock Return Reports-
D-082                Revised for Front Half Total,
                     06/19/2013, PILGRIMS-0002484395
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                     Attachment, FFS Net Dock Return-
D-083                Trend File PD 6 CY 2013.xlsx,
                     PILGRIMS-0002484396



                     Attachment, FFS Net Dock Return Pd 6
D-084                Wk 2 FY 14.xlsx, PILGRIMS-
                     0002484397




                     Email, "Costco files for call",
D-085
                     3/11/2014, PILGRIMS-0002489981




                     Attachment, "Costco files for call",
D-086
                     PILGRIMS-0002489982




                     Attachment, "Costco files for call",
D-087
                     PILGRIMS-0002489983



                     Email, BB&TCM:
                     Agribusiness/Consumer Foods: Protein:
D-088
                     Poultry Market Review, 09/24/2014,
                     PILGRIMS-0002579794

                     Email, BB&TCM:
                     Agribusiness/Consumer Foods: Protein:
D-089                Chicken Should Rule the Roost Once
                     More in '15, 11/24/2014, PILGRIMS-
                     0002580782
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                     Email, FW: Current CFA Cutout,
D-090
                     09/18/2015, PILGRIMS-0002584001




                     Attachment, CFA Net Dock
D-091
                     091715.xlsx, PILGRIMS-0002584002




                     Email, Fwd: Commercial Net Dock &
D-092                Trend Report P4 Wk3 CY14,
                     04/23/2014, PILGRIMS-0002587311



                     Attachment, Commercial Net Dock
D-093                Return - PD4 WK3.xlsx, PILGRIMS-
                     0002587312




                     Attachment, mobile record, PILGRIMS-
D-094
                     0002587313




                     Attachment, Commercial Net Dock
D-095                Return - Trend File PD 4 CY2014.xlsx,
                     PILGRIMS-0002587314




                     Attachment, mobile record, PILGRIMS-
D-096
                     0002587315
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                     Email, FW: Bid Summary 2013,
D-097
                     09/27/2012, PILGRIMS-0002598939




                     Attachment, proposal summary,
D-098
                     PILGRIMS-0002598940




                     Email, [No Subject], 12/10/2012,
D-099
                     PILGRIMS-0002600010




                     Attachment, Bid, PILGRIMS-
D-100
                     0002600011




                     Email, Fwd: UFPC Poultry Supplier
D-101                Invitation to Bid for 2014, 09/23/2013,
                     PILGRIMS-0002604137




                     Attachment, Bid, PILGRIMS-
D-102
                     0002604138




                     Attachment, mobile record, PILGRIMS-
D-103
                     0002604139
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                     Attachment, Attachment #1 FOB
D-104                Summary for 2014 Poultry RFP.xls,
                     PILGRIMS-0002604140




                     Attachment, mobile record, PILGRIMS-
D-105
                     0002604141




                     Attachment, Cost Model, PILGRIMS-
D-106
                     0002604142




                     Attachment, mobile record, PILGRIMS-
D-107
                     0002604143




                     Attachment, Cost Model, PILGRIMS-
D-108
                     0002604144




                     Attachment, mobile record, PILGRIMS-
D-109
                     0002604145




                     Attachment, Attachment #4 Freight for
D-110                2014 Poultry RFP.xls, PILGRIMS-
                     0002604146
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                     Attachment, mobile record, PILGRIMS-
D-111
                     0002604147




                     Attachment, Attachment #5 RFI for
D-112                2014 Poultry RFP.xls, PILGRIMS-
                     0002604148




                     Attachment, mobile record, PILGRIMS-
D-113
                     0002604149




                     Email, FW: Feed model for 8 piece,
D-114
                     10/03/2013, PILGRIMS-0002604331




                     Attachment, Cost Model, PILGRIMS-
D-115
                     0002604333




                     Email, Ideas on bid, 11/01/2013,
D-116
                     PILGRIMS-0002604830




                     Attachment, Bid, PILGRIMS-
D-117
                     0002604831
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                     Attachment, Cost Model, PILGRIMS-
D-118
                     0002604832




                     Email, KFC Pricing, 11/15/2013,
D-119
                     PILGRIMS-0002605007




                     Attachment, Cost Model, PILGRIMS-
D-120
                     0002605008




                     Email, RE: Model, 11/15/2013,
D-121
                     PILGRIMS-0002605009




                     Attachment, Popeyes Adjustments 11-
D-122
                     15-13.xlsx, PILGRIMS-0002605010




                     Email, RE: KFC, 11/20/2013,
D-123
                     PILGRIMS-0002605058




                     Attachment, Jasons comparison.xlsx,
D-124
                     PILGRIMS-0002605059
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                     Email, Model, 11/20/2013, PILGRIMS-
D-125
                     0002605060




                     Attachment, Cost Model, PILGRIMS-
D-126
                     0002605061




                     Email, FW: Commercial Net Dock &
D-127                Trend Report P6 Wk1 CY14,
                     06/11/2014, PILGRIMS-0002607529



                     Attachment, Commercial Net Dock
D-128                Return - PD6 WK1.xlsx, PILGRIMS-
                     0002607530



                     Attachment, Commercial Net Dock
D-129                Return - Trend File PD 6 CY2014.xlsx,
                     PILGRIMS-0002607531



                     Email, FFS Net Dock Return Reports -
D-130                P6 W4, 07/01/2014, PILGRIMS-
                     0002608900



                     Attachment, FFS Net Dock Return-
D-131                Trend File PD 6 CY 2014.xlsx,
                     PILGRIMS-0002608901
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                     Attachment, FFS Net Dock Return P6
D-132                Wk4 FY15.xlsx, PILGRIMS-
                     0002608902




                     Email, Adjusted KFC Pricing Period 8,
D-133
                     07/25/2014, PILGRIMS-0002613689




                     Attachment, KFC Pricing Period 8.xlsx,
D-134
                     PILGRIMS-0002613690




                     Email, KFC Pricing Worksheet 14-07-
D-135                29.xlsx, 07/29/2014, PILGRIMS-
                     0002614672




                     Attachment, KFC Pricing Worksheet 14-
D-136
                     07-29.xlsx, PILGRIMS-0002614673




                     Email, Downgrade cost for KFC,
D-137
                     07/29/2014, PILGRIMS-0002614676




                     Attachment, KFC Pricing Worksheet 14-
D-138
                     07-29.xlsx, PILGRIMS-0002614677
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Exhibit   Witness              Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, KFC Pricing Worksheet 14-07-
D-139                29 (2).xlsx, 07/29/2014, PILGRIMS-
                     0002614680



                     Attachment, KFC Pricing Worksheet 14-
D-140                07-29 (2).xlsx, PILGRIMS-
                     0002614681



                     Email, FW: REVISED Commercial
                     Net Dock & Trend Report P8 Wk2
D-141
                     CY14, 08/13/2014, PILGRIMS-
                     0002616585



                     Attachment, Commercial Net Dock
D-142                Return - PD8 WK2.xlsx, PILGRIMS-
                     0002616587



                     Attachment, Commercial Net Dock
D-143                Return - Trend File PD 8 CY2014.xlsx,
                     PILGRIMS-0002616588




                     Email, KFC Pricing Worksheet,
D-144
                     08/13/2014, PILGRIMS-0002616595




                     Attachment, KFC Pricing Worksheet 14-
D-145
                     08-11.xlsx, PILGRIMS-0002616596
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                     Email, KFC Pricing Worksheet 14-08-
D-146                14.xlsx, 08/15/2014, PILGRIMS-
                     0002616625




                     Attachment, KFC Pricing Worksheet 14-
D-147
                     08-14.xlsx, PILGRIMS-0002616626




                     Email, KFC Version Pricing
D-148                Worksheet 14-08-16.xlsx, 08/16/2014,
                     PILGRIMS-0002616770



                     Attachment, KFC Version Pricing
D-149                Worksheet 14-08-16.xlsx, PILGRIMS-
                     0002616771



                     Email, KFC Version Pricing
D-150                Worksheet 14-08-18.xlsx, 08/18/2014,
                     PILGRIMS-0002616786



                     Attachment, KFC Version Pricing
D-151                Worksheet 14-08-18.xlsx, PILGRIMS-
                     0002616787




                     Email, [No Subject], 08/18/2014,
D-152
                     PILGRIMS-0002616901
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                     Attachment, Powerpoint Presentation,
D-153
                     PILGRIMS-0002616902




                     Attachment, Cost Model, PILGRIMS-
D-154
                     0002616913




                     Email, Margin over feed model
D-155                2015.xlsx, 08/18/2014, PILGRIMS-
                     0002616920




                     Attachment, Cost Model, PILGRIMS-
D-156
                     0002616921




                     Email, Model, 08/20/2014, PILGRIMS-
D-157
                     0002616954




                     Attachment, Cost Model, PILGRIMS-
D-158
                     0002616955




                     Email, redone, 08/20/2014, PILGRIMS-
D-159
                     0002616956
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                     Attachment, Cost Model, PILGRIMS-
D-160
                     0002616957




                     Email, for call at 8:00 am eastern,
D-161
                     08/20/2014, PILGRIMS-0002616958




                     Attachment, Cost Model, PILGRIMS-
D-162
                     0002616959




                     Attachment, Powerpoint Presentation,
D-163
                     PILGRIMS-0002616960




                     Email, [No Subject], 08/20/2014,
D-164
                     PILGRIMS-0002616968




                     Attachment, Cost Model, PILGRIMS-
D-165
                     0002616969




                     Email, FW: Attachments, 08/20/2014,
D-166
                     PILGRIMS-0002616970
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                     Attachment, Cost Model, PILGRIMS-
D-167
                     0002616971




                     Attachment, Powerpoint Presentation,
D-168
                     PILGRIMS-0002616972




                     Email, RE: Small Bird 2015-
D-169                Conagra.pptx, 08/25/2014, PILGRIMS-
                     0002617247




                     Attachment, Powerpoint Presentation,
D-170
                     PILGRIMS-0002617248




                     Email, FW: Commercial Net Dock &
D-171                Trend Report P9 Wk1 CY14,
                     09/11/2014, PILGRIMS-0002617800



                     Attachment, Commercial Net Dock
D-172                Return - PD9 WK1.xlsx, PILGRIMS-
                     0002617801



                     Attachment, Commercial Net Dock
D-173                Return - Trend File PD 9 CY2014.xlsx,
                     PILGRIMS-0002617802
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                     Email, Updated ConAgra 2015 Price
D-174                Model, 09/11/2014, PILGRIMS-
                     0002617803




                     Attachment, Cost Model, PILGRIMS-
D-175
                     0002617804




                     Email, Popeye's 2015 Pricing Model,
D-176
                     09/12/2014, PILGRIMS-0002617819




                     Attachment, Cost Model, PILGRIMS-
D-177
                     0002617820




                     Email, Fixed price models, 09/19/2014,
D-178
                     PILGRIMS-0002618412




                     Attachment, Cost Model, PILGRIMS-
D-179
                     0002618413




                     Attachment, Cost Model, PILGRIMS-
D-180
                     0002618414
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                     Attachment, Cost Model, PILGRIMS-
D-181
                     0002618415




                     Attachment, Cost Model, PILGRIMS-
D-182
                     0002618416




                     Email, FW: SBRA, 12/19/2011,
D-183
                     PILGRIMS-0002646779




                     Attachment, supply contract,
D-184
                     PILGRIMS-0002646780




                     Email, Info for bid, 10/09/2012,
D-185
                     PILGRIMS-0002667168




                     Attachment, Summary.xlsx, PILGRIMS-
D-186
                     0002667169




                     Email, Side by Side, 10/30/2012,
D-187
                     PILGRIMS-0002669726
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Exhibit   Witness              Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only


                     Attachment, Cost Model, PILGRIMS-
D-188
                     0002669727




                     Email, Review Documents,
D-189
                     11/02/2012, PILGRIMS-0002669918




                     Attachment, 2012 - 2013
D-190                comparison.xls, PILGRIMS-
                     0002669919




                     Attachment, Bid, PILGRIMS-
D-191
                     0002669920




                     Attachment, Cost Model, PILGRIMS-
D-192
                     0002669921




                     Email, Fwd: Price Reduction Impact -
D-193                KFC, 11/30/2012, PILGRIMS-
                     0002671675




                     Attachment, Price Reduction
D-194
                     Impact.xlsx, PILGRIMS-0002671676
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                     Email, RE: Bites/Popcorn, etc.,
D-195
                     11/30/2012, PILGRIMS-0002671677




                     Attachment, Bid, PILGRIMS-
D-196
                     0002671678




                     Email, [No Subject], 12/03/2012,
D-197
                     PILGRIMS-0002671733




                     Attachment, Cost Model, PILGRIMS-
D-198
                     0002671734




                     Email, Bites, 12/10/2012, PILGRIMS-
D-199
                     0002672137




                     Attachment, Bid, PILGRIMS-
D-200
                     0002672138




                     Email, Boneless Project, 01/28/2013,
D-201
                     PILGRIMS-0002675379
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                     Attachment, Cost Model, PILGRIMS-
D-202
                     0002675380




                     Email, KFC B/L Cost Model,
D-203
                     02/01/2013, PILGRIMS-0002675628




                     Attachment, Cost Model, PILGRIMS-
D-204
                     0002675629




                     Email, FW: Costco Agri Stat analysis,
D-205
                     02/22/2013, PILGRIMS-0002677111




                     Attachment, Cost Model, PILGRIMS-
D-206
                     0002677112




                     Attachment, Cost Model, PILGRIMS-
D-207
                     0002677113




                     Email, Final KFC Boneless
D-208                Model.xlsx, 03/05/2013, PILGRIMS-
                     0002677749
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                     Attachment, Cost Model, PILGRIMS-
D-209
                     0002677750




                     Email, GOLDEN CORRAL.xlsx,
D-210
                     04/12/2013, PILGRIMS-0002681014




                     Attachment, GOLDEN CORRAL.xlsx,
D-211
                     PILGRIMS-0002681015




                     Email, FW: Weekly Report - w/o
D-212                5/13/13, 05/17/2013, PILGRIMS-
                     0002684735




                     Attachment, weekly report, PILGRIMS-
D-213
                     0002684736



                     Email, Fwd: FW: (BT) Sanderson
                     Farms Earnings Q2 2013 Earnings Call
D-214
                     Teleconferen, 06/04/2013, PILGRIMS-
                     0002685877



                     Email, Boarman Report, 06/17/2013,
D-215
                     PILGRIMS-0002687004
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                     Email, BOARMAN'S REPORT W/E
D-216                06/08/13, 06/17/2013, PILGRIMS-
                     0002687005




                     Attachment, weekly report, PILGRIMS-
D-217
                     0002687006




                     Email, FW: Weekly report; w/o 6/3/13,
D-218
                     06/17/2013, PILGRIMS-0002687009




                     Attachment, weekly report, PILGRIMS-
D-219
                     0002687010




                     Email, FW: Andrew Hays' weekly
D-220                report, 06/17/2013, PILGRIMS-
                     0002687013




                     Attachment, weekly report, PILGRIMS-
D-221
                     0002687014




                     Email, FW: UFPC Poultry Supplier
D-222                Invitation to Bid for 2014, 09/24/2013,
                     PILGRIMS-0002696548
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                     Attachment, Bid, PILGRIMS-
D-223
                     0002696549




                     Attachment, Attachment #1 FOB
D-224                Summary for 2014 Poultry RFP.xls,
                     PILGRIMS-0002696550




                     Attachment, Cost Model, PILGRIMS-
D-225
                     0002696551




                     Attachment, Cost Model, PILGRIMS-
D-226
                     0002696552




                     Attachment, Attachment #4 Freight for
D-227                2014 Poultry RFP.xls, PILGRIMS-
                     0002696553



                     Attachment, Attachment #5 RFI for
D-228                2014 Poultry RFP.xls, PILGRIMS-
                     0002696554




                     Email, models, 10/07/2013,
D-229
                     PILGRIMS-0002697521
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                     Attachment, Cost Model, PILGRIMS-
D-230
                     0002697522




                     Attachment, Cost Model, PILGRIMS-
D-231
                     0002697523




                     Email, FW: Church's LOA with
D-232                Pilgrims Pride, 10/17/2013, PILGRIMS-
                     0002698301




                     Attachment, supply agreement,
D-233
                     PILGRIMS-0002698302




                     Email, YUM Sales - Week #44,
D-234
                     11/04/2013, PILGRIMS-0002701081




                     Attachment, YUM Sales vs BUDGET
D-235                (4th Quarter)-Total.xlsx, PILGRIMS-
                     0002701082




                     Email, KFC, 11/20/2013, PILGRIMS-
D-236
                     0002702243
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                     Attachment, Book1.xlsx, PILGRIMS-
D-237
                     0002702244




                     Email, FW: Wing neutral range,
D-238
                     02/20/2014, PILGRIMS-0002712089




                     Attachment, Cost Model, PILGRIMS-
D-239
                     0002712090




                     Email, FW: AS weekly YMOPS.xlsx,
D-240
                     02/24/2014, PILGRIMS-0002712599




                     Attachment, AS weekly YMOPS.xlsx,
D-241
                     PILGRIMS-0002712600




                     Email, FFS Net Dock Return Reports -
D-242                P5 W5 FY2015, 06/03/2014,
                     PILGRIMS-0002720834



                     Attachment, FFS Net Dock Return-
D-243                Trend File PD 5 CY 2014.xlsx,
                     PILGRIMS-0002720835
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                     Attachment, FFS Net Dock Return P5
D-244                Wk5 FY15.xlsx, PILGRIMS-
                     0002720836




                     Email, SBR June 2014 .pptx,
D-245
                     06/11/2014, PILGRIMS-0002721670




                     Attachment, company presentation,
D-246
                     PILGRIMS-0002721671




                     Email, FW: Draft for CFA Meeting,
D-247
                     06/13/2014, PILGRIMS-0002721836




                     Attachment, Powerpoint Presentation,
D-248
                     PILGRIMS-0002721837




                     Email, Fwd: Commercial Net Dock &
D-249                Trend Report P7 Wk4 CY14,
                     07/30/2014, PILGRIMS-0002728743



                     Attachment, Commercial Net Dock
D-250                Return - PD7 WK4.xlsx, PILGRIMS-
                     0002728745
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                     Attachment, mobile record, PILGRIMS-
D-251
                     0002728746




                     Attachment, Commercial Net Dock
D-252                Return - Trend File PD 7 CY2014.xlsx,
                     PILGRIMS-0002728747




                     Attachment, mobile record, PILGRIMS-
D-253
                     0002728748



                     Email, BB&TCM:
                     Agribusiness/Consumer Foods: Protein
D-254
                     Market Review & Near-Term Outlook,
                     08/25/2014, PILGRIMS-0002733216


                     Email, Fwd: BB&TCM:
                     Agribusiness/Consumer Foods: Protein
D-255
                     Market Review & Near-Term Outlook,
                     08/25/2014, PILGRIMS-0002733218



                     Attachment, logo, PILGRIMS-
D-256
                     0002733221




                     Attachment, logo, PILGRIMS-
D-257
                     0002733222
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                     Email, FW: Pricing, 09/05/2014,
D-258
                     PILGRIMS-0002734472



                     Email, FW: BB&TCM:
                     Agribusiness/Consumer Foods: Protein:
D-259
                     Poultry Market Review, 09/24/2014,
                     PILGRIMS-0002739025



                     Email, 2015 Strategic Initiatives.docx,
D-260
                     10/17/2014, PILGRIMS-0002740846




                     Attachment, strategic initiatives,
D-261
                     PILGRIMS-0002740847




                     Email, FFS Net Dock Return Reports -
D-262                P11, 12/05/2014, PILGRIMS-
                     0002744776



                     Attachment, FFS Net Dock Return-
D-263                Trend File PD 11 CY 2014.xlsx,
                     PILGRIMS-0002744777




                     Attachment, FFS Net Dock Return P11
D-264
                     FY 15.xlsx, PILGRIMS-0002744778
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                     Email, RE: CSR, 12/05/2014,
D-265
                     PILGRIMS-0002744791




                     Email, Updated Graph Data.xls,
D-266
                     12/10/2014, PILGRIMS-0002745030




                     Attachment, Updated Graph Data.xls,
D-267
                     PILGRIMS-0002745031



                     Email, BB&TCM:
                     Agribusiness/Consumer Foods: Protein
D-268
                     & Dairy Roundup, 04/13/2015,
                     PILGRIMS-0002756352



                     Email, Re: Think about it..,..,
D-269
                     05/09/2015, PILGRIMS-0002758557




                     Email, PPC Aging 4-28-16,
D-270
                     04/29/2016, PILGRIMS-0002816179




                     Attachment, PPC Aging 4-28-16.xlsx,
D-271
                     PILGRIMS-0002816181
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Exhibit   Witness               Brief Description           Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, Pilgrims Budget 2012 -
D-272                Board.pptx, 12/13/2011, PILGRIMS-
                     0002822147




                     Attachment, Powerpoint Presentation,
D-273
                     PILGRIMS-0002822148




                     Email, "Board Files", 7/22/2014,
D-274
                     PILGRIMS-0002844131




                     Attachment, "Quarterly File for
D-275                Presentation.xlsx", PILGRIMS-
                     0002844132




                     Attachment, "Quarter Review - 2Q2014
D-276
                     Master.pptx", PILGRIMS-0002844133




                     Attachment,
D-277                "Microsoft_Excel_Worksheet4.xlsx",
                     PILGRIMS-0002844243



                     Attachment,
D-278                "Microsoft_Excel_Worksheet1.xlsx",
                     PILGRIMS-0002844244
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 469 of 1105

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                     Attachment,
D-279                "Microsoft_Excel_Worksheet2.xlsx",
                     PILGRIMS-0002844245



                     Attachment,
D-280                "Microsoft_Excel_Worksheet3.xlsx",
                     PILGRIMS-0002844246




                     Email, FW: 3rd QTR BOD Slides,
D-281
                     10/20/2014, PILGRIMS-0002845991




                     Attachment, Powerpoint Presentation,
D-282
                     PILGRIMS-0002845992




                     Email, RE: KFC Question, 01/07/2011,
D-283
                     PILGRIMS-0002930343




                     Email, FW: KFC Question, 01/07/2011,
D-284
                     PILGRIMS-0002930345




                     Supplier Contract, PILGRIMS-
D-285
                     0002932018
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                     Email, Cost Model Bone in,
D-286
                     10/10/2012, PILGRIMS-0002932695




                     Attachment, Cost Model, PILGRIMS-
D-287
                     0002932696




                     Email, FW: ES12-10 Executive
D-288                Summary October 2012 - 10/16/2012,
                     10/19/2012, PILGRIMS-0002932721




                     Attachment, executive summary,
D-289
                     PILGRIMS-0002932723




                     Email, Bid Summary, 10/26/2012,
D-290
                     PILGRIMS-0002932765




                     Attachment, Bid, PILGRIMS-
D-291
                     0002932766




                     Attachment, meeting summary,
D-292
                     PILGRIMS-0002932767
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                     Email, comparison, 11/02/2012,
D-293
                     PILGRIMS-0002932782




                     Attachment, 2012 - 2013
D-294                comparison.xls, PILGRIMS-
                     0002932783




                     Attachment, Bid, PILGRIMS-
D-295
                     0002932784




                     Attachment, Cost Model, PILGRIMS-
D-296
                     0002932785




                     Email, Round 2, 11/06/2012,
D-297
                     PILGRIMS-0002932786




                     Attachment, Bid, PILGRIMS-
D-298
                     0002932787




                     Attachment, Pilgrim's letter, PILGRIMS-
D-299
                     0002932788
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                     Attachment, Cost Model, PILGRIMS-
D-300
                     0002932789




                     Email, Period 1, 12/17/2012,
D-301
                     PILGRIMS-0002932825




                     Attachment, Period 1.xls, PILGRIMS-
D-302
                     0002932826




                     Email, Re: Boneless cost, 02/02/2013,
D-303
                     PILGRIMS-0002932924




                     Email, FW: KFC Boneless Model (3)
D-304                (2).xlsx, 02/06/2013, PILGRIMS-
                     0002932927




                     Attachment, Cost Model, PILGRIMS-
D-305
                     0002932928




                     Email, Period 7, 06/06/2013,
D-306
                     PILGRIMS-0002933175
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 473 of 1105

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                     Attachment, Period 7.xls, PILGRIMS-
D-307
                     0002933176




                     Email, FW: Chicken Supply 2014.ppt,
D-308
                     06/25/2013, PILGRIMS-0002933184




                     Attachment, Powerpoint Presentation,
D-309
                     PILGRIMS-0002933185




                     Email, period 8, 07/03/2013,
D-310
                     PILGRIMS-0002933201




                     Attachment, Period 8.xls, PILGRIMS-
D-311
                     0002933202




                     Email, period 8, 07/05/2013,
D-312
                     PILGRIMS-0002933203




                     Attachment, Period 8.xls, PILGRIMS-
D-313
                     0002933204
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                     Email, FW: Tuesday, 08/09/2013,
D-314
                     PILGRIMS-0002933239




                     Attachment, Powerpoint Presentation,
D-315
                     PILGRIMS-0002933240




                     Email, RE: Feed model for 8 piece,
D-316
                     09/26/2013, PILGRIMS-0002933429




                     Attachment, Cost Model, PILGRIMS-
D-317
                     0002933430




                     Email, KFC 8PC Cost for bid 13-10-
D-318                07.xlsx, 10/07/2013, PILGRIMS-
                     0002933444




                     Attachment, Cost Model, PILGRIMS-
D-319
                     0002933445




                     Email, RE: Models, 11/04/2013,
D-320
                     PILGRIMS-0002933484
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                     Attachment, Cost Model, PILGRIMS-
D-321
                     0002933485




                     Attachment, Cost Model, PILGRIMS-
D-322
                     0002933486




                     Attachment, business card, PILGRIMS-
D-323
                     0002933487




                     Email, Summary and bone in model,
D-324
                     11/18/2013, PILGRIMS-0002933494




                     Attachment, Bid, PILGRIMS-
D-325
                     0002933495




                     Attachment, Cost Model, PILGRIMS-
D-326
                     0002933496




                     Email, Model, 11/19/2013, PILGRIMS-
D-327
                     0002933497
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                     Attachment, Cost Model, PILGRIMS-
D-328
                     0002933498




                     Email, Model for 2014, 11/20/2013,
D-329
                     PILGRIMS-0002933524




                     Attachment, Cost Model, PILGRIMS-
D-330
                     0002933525




                     Email, RE: COB Negotiations,
D-331
                     09/10/2014, PILGRIMS-0002933974




                     Attachment, Cost Model, PILGRIMS-
D-332
                     0002933975




                     Email, US Chicken Review
D-333                11.10.2014, 11/19/2014, PILGRIMS-
                     0002934125




                     Attachment, company presentation,
D-334
                     PILGRIMS-0002934126
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                     Email, Margin over feed model 2015
D-335                Meeting.xlsx, 11/25/2014, PILGRIMS-
                     0002934147




                     Attachment, Cost Model, PILGRIMS-
D-336
                     0002934148




                     Email, [No Subject], 12/03/2014,
D-337
                     PILGRIMS-0002934221




                     Email, [No Subject], 12/03/2014,
D-338
                     PILGRIMS-0002934222




                     Attachment, Powerpoint Presentation,
D-339
                     PILGRIMS-0002934223




                     Attachment,
D-340                Microsoft_Office_Excel_Worksheet1.xl
                     sx, PILGRIMS-0002934251




                     Supplier Contract, PILGRIMS-
D-341
                     0002934543
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                     Email, RE: Big bird return vs small
D-342                bird, 03/02/2016, PILGRIMS-
                     0002935602



                     Attachment, Operations Profit by
                     Business Unit by MOnth 2003 to
D-343
                     current date.xlsx, PILGRIMS-
                     0002935603



                     Email, RE: Customers, 08/29/2016,
D-344
                     PILGRIMS-0002935895




                     Attachment, Copy of Customer
D-345                Exposure.xlsx, PILGRIMS-
                     0002935896



                     Email, FW: Commercial Net Dock &
D-346                Trend Report P1 WK4 CY14,
                     02/02/2014, PILGRIMS-0002972980



                     Attachment, Commercial Net Dock
D-347                Return - PD1 WK4.xlsx, PILGRIMS-
                     0002972981



                     Attachment, Commercial Net Dock
D-348                Return - Trend File PD 1 CY2014.xlsx,
                     PILGRIMS-0002972982
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                     Attachment, image, PILGRIMS-
D-349
                     0002972983




                     Email, FW: Commercial Net Dock &
D-350                Trend Report P2 WK1 CY14,
                     02/08/2014, PILGRIMS-0002973077



                     Attachment, Commercial Net Dock
D-351                Return - PD2 WK1.xlsx, PILGRIMS-
                     0002973078



                     Attachment, Commercial Net Dock
D-352                Return - Trend File PD 2 CY2014.xlsx,
                     PILGRIMS-0002973079



                     Email, Archive export: Commercial
                     Net Dock & Trend Report P3 Wk4
D-353
                     CY14, 04/07/2014, PILGRIMS-
                     0002973456



                     Attachment, Commercial Net Dock
D-354                Return - PD3 WK4.xlsx, PILGRIMS-
                     0002973927



                     Attachment, Commercial Net Dock
D-355                Return - Trend File PD 3 CY2014.xlsx,
                     PILGRIMS-0002973928
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                     Email, Commercial Net Dock & Trend
D-356                Report P3 Wk4 CY14, 04/07/2014,
                     PILGRIMS-0002973929



                     Email, FW: Commercial Net Dock &
D-357                Trend Report P5 Wk5 CY14,
                     06/09/2014, PILGRIMS-0002974889



                     Attachment, Commercial Net Dock
D-358                Return - PD5 WK5.xlsx, PILGRIMS-
                     0002974890



                     Attachment, Commercial Net Dock
D-359                Return - Trend File PD 5 CY2014.xlsx,
                     PILGRIMS-0002974891



                     Email, RE: Kelly's ( Golden Corral
D-360                Business ), 07/07/2014, PILGRIMS-
                     0002978077



                     Email, FW: Commercial Net Dock &
D-361                Trend Report P8 Wk5 CY14,
                     09/05/2014, PILGRIMS-0002980418



                     Attachment, Commercial Net Dock
D-362                Return - PD8 WK5.xlsx, PILGRIMS-
                     0002980419
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                     Attachment, Commercial Net Dock
D-363                Return - Trend File PD 8 CY2014.xlsx,
                     PILGRIMS-0002980420




                     Email, PResentation for Tommorow,
D-364
                     10/31/2014, PILGRIMS-0002981584




                     Attachment, Powerpoint Presentation,
D-365
                     PILGRIMS-0002981585




                     Attachment, Cost Model, PILGRIMS-
D-366
                     0002981620




                     Email, RE: Looking for this slide,
D-367
                     03/25/2014, PILGRIMS-0002990553




                     Attachment, Powerpoint Presentation,
D-368
                     PILGRIMS-0002990555




                     Attachment, image, PILGRIMS-
D-369
                     0002990556
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                     Email, FW: BB&TCM:
                     Agribusiness/Consumer Foods:
D-370
                     Halcyon Days for Chicken Producers,
                     03/17/2014, PILGRIMS-0003035151



                     Attachment, logo, PILGRIMS-
D-371
                     0003035153




                     Attachment, logo, PILGRIMS-
D-372
                     0003035154




                     Email, "RE: Coneline Addition",
D-373
                     12/10/2015, PILGRIMS-0003058535




                     Attachment, "Copy of Enterprise
D-374                Debone Relocation.xlsx", 12/10/2015,
                     PILGRIMS-0003058537



                     Attachment, "PaybackAttachment
D-375                Mayfield Cone Line Addition.xlsx",
                     12/10/2015, PILGRIMS-0003058538



                     Attachment, "Cost Estimate -
D-376                CONELINE RELOCATION.xlsx",
                     PILGRIMS-0003058539
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 483 of 1105

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                     Email, FW: April Live PDF data,
D-377
                     05/30/2014, PILGRIMS-0003097809




                     Attachment, live product information,
D-378
                     PILGRIMS-0003097810




                     Attachment, live product information,
D-379
                     PILGRIMS-0003097964




                     Attachment, live product information,
D-380
                     PILGRIMS-0003098034




                     Attachment, live product information,
D-381
                     PILGRIMS-0003098071




                     Attachment, live product information,
D-382
                     PILGRIMS-0003098168




                     Attachment, live product information,
D-383
                     PILGRIMS-0003098220
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                     Email, FW: YUM Whole Bird Volume
D-384                Analysis, 06/23/2014, PILGRIMS-
                     0003103169



                     Attachment, YUM Whole Bird Volume
D-385                Analysis 14-04-23.xlsx, PILGRIMS-
                     0003103170



                     Email, RE: Additional Slides for
D-386                Popeyes Presentation, 07/24/2014,
                     PILGRIMS-0003111535




                     Attachment, Powerpoint Presentation,
D-387
                     PILGRIMS-0003111536




                     Attachment,
D-388                Microsoft_Office_Excel_Worksheet1.xl
                     sx, PILGRIMS-0003111564



                     Email, FW: MARKET UPDATE:
D-389                PROTEIN - 2008 REDUX?,
                     02/03/2011, PILGRIMS-0003395187



                     Email, "Fwd: Market Perception on
D-390                PPC Investor Day", 3/16/2014,
                     PILGRIMS-0003420982
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                     Attachment, "2014_March_Analyst
D-391                Views_Post PPC Investor Day.pdf",
                     PILGRIMS-0003420984




                     Attachment, "ATT00001.htm",
D-392
                     PILGRIMS-0003420985




                     Attachment, "2014_Investor Day_Slide
D-393                Presentation_MASTER.PDF",
                     PILGRIMS-0003420986




                     Attachment, "ATT00002.htm",
D-394
                     PILGRIMS-0003421052




                     Email, RE: GOLDEN CORRAL
D-395                MEETING NOTES, 10/25/2012,
                     PILGRIMS-0003455509




                     Email, Model, 11/15/2013, PILGRIMS-
D-396
                     0003457745




                     Attachment, Cost Model, PILGRIMS-
D-397
                     0003457746
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                     Email, RE: presentation, 07/14/2014,
D-398
                     PILGRIMS-0003458917




                     Attachment, Powerpoint Presentation,
D-399
                     PILGRIMS-0003458918




                     Attachment, Microsoft_Excel_97-
D-400                2003_Worksheet1.xls, PILGRIMS-
                     0003459046




                     Email, Presentation, 07/14/2014,
D-401
                     PILGRIMS-0003459047




                     Attachment, Powerpoint Presentation,
D-402
                     PILGRIMS-0003459048




                     Attachment, Microsoft_Excel_97-
D-403                2003_Worksheet1.xls, PILGRIMS-
                     0003459176




                     Email, RE: request, 07/29/2014,
D-404
                     PILGRIMS-0003459884
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                     Attachment, Powerpoint Presentation,
D-405
                     PILGRIMS-0003459885




                     Attachment,
D-406                Microsoft_Office_Excel_Worksheet1.xl
                     sx, PILGRIMS-0003459913




                     Email, KFC Pricing Worksheet,
D-407
                     08/13/2014, PILGRIMS-0003460131




                     Attachment, KFC Pricing Worksheet 14-
D-408
                     08-11.xlsx, PILGRIMS-0003460132




                     Email, KFC Pricing Worksheet,
D-409
                     08/14/2014, PILGRIMS-0003460137




                     Attachment, KFC Pricing Worksheet 14-
D-410
                     08-14.xlsx, PILGRIMS-0003460138




                     Powerpoint Presentation regarding
D-411                Austin Presentation, PILGRIMS-
                     0003460655
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                     Email, "Commercial Division -
D-412                Organization Chart -v1.xlsx",
                     4/13/2011, PILGRIMS-0003483584



                     Attachment, "Commercial Division -
D-413                Organization Chart -v1.xlsx",
                     PILGRIMS-0003483585




D-414                Cost Model, PILGRIMS-0003491652




                     Email, KFC 2012 Pricing (2).xlsx,
D-415
                     11/09/2011, PILGRIMS-0003491682




                     Attachment, KFC 2012 Pricing
D-416
                     Spreadsheet, PILGRIMS-0003491683




                     Attachment, blank page, PILGRIMS-
D-417
                     0003491684




                     Attachment, KFC 2012 Pricing (2).xlsx,
D-418
                     PILGRIMS-0003491685
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                     Email, Re: KBP Foods Acquiring 50+
D-419                KFC - Management Override,
                     11/12/2011, PILGRIMS-0003491872




                     Attachment, blank page, PILGRIMS-
D-420
                     0003491877




                     Email, FW: Church's proposed cost
D-421                (Pilgrims Pride), 12/09/2011,
                     PILGRIMS-0003492923




                     Attachment, Church's Pricing Update,
D-422
                     PILGRIMS-0003492926




                     Email, Church's Pricing Update 12-6-
D-423                11.xlsx, 12/16/2011, PILGRIMS-
                     0003493151




                     Attachment, Church's Pricing Update,
D-424
                     PILGRIMS-0003493152




                     Email, CR SYMOP History.xlsx,
D-425
                     10/10/2012, PILGRIMS-0003502014
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                     Attachment, CR SYMOP History.xlsx,
D-426
                     PILGRIMS-0003502015




                     Email, KFC Bid, 10/26/2012,
D-427
                     PILGRIMS-0003503054




                     Attachment, Bid Summary, PILGRIMS-
D-428
                     0003503055




                     Attachment, Bid, PILGRIMS-
D-429
                     0003503057




                     Email, RE: Popeyes, 11/29/2012,
D-430
                     PILGRIMS-0003504285




                     Attachment, Popeyes.xlsm, PILGRIMS-
D-431
                     0003504287




                     Email, Fwd: costco slides, 01/08/2013,
D-432
                     PILGRIMS-0003505340
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 491 of 1105

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                     Attachment, Wog_Part_Analysis.xlsx,
D-433
                     PILGRIMS-0003505341




                     Attachment, mobile record, PILGRIMS-
D-434
                     0003505342




                     Attachment, Powerpoint Presentation,
D-435
                     PILGRIMS-0003505343




                     Attachment, mobile record, PILGRIMS-
D-436
                     0003505349




                     Email, Fwd: Boneless cost, 02/03/2013,
D-437
                     PILGRIMS-0003506564




                     Email, Re: CR Net Dock Return -
D-438                February 2013 Wk 4, 02/28/2013,
                     PILGRIMS-0003508251



                     Email, FW: Live Production Cost-
                     Chicken Avg Company vs ABF
D-439
                     Program.xlsx, 01/21/2014, PILGRIMS-
                     0003520929
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 492 of 1105

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                     Attachment, Cost Model, PILGRIMS-
D-440
                     0003520930




                     Email, presentation KFC, 06/23/2014,
D-441
                     PILGRIMS-0003526891




                     Attachment, Powerpoint Presentation,
D-442
                     PILGRIMS-0003526892




                     Attachment, Microsoft_Excel_97-
D-443                2003_Worksheet1.xls, PILGRIMS-
                     0003527027




                     Email, RE: Friday, 06/26/2014,
D-444
                     PILGRIMS-0003527139




                     Attachment, Powerpoint Presentation,
D-445
                     PILGRIMS-0003527141




                     Attachment, Microsoft_Excel_97-
D-446                2003_Worksheet1.xls, PILGRIMS-
                     0003527269
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 493 of 1105

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                     Email, presentation, 07/14/2014,
D-447
                     PILGRIMS-0003527467




                     Attachment, Powerpoint Presentation,
D-448
                     PILGRIMS-0003527468




                     Attachment, Microsoft_Excel_97-
D-449                2003_Worksheet1.xls, PILGRIMS-
                     0003527596



                     Email, Pilgrims Budget 2015 -
D-450                Board.pptx, 11/28/2014, PILGRIMS-
                     0003535743




                     Attachment, Powerpoint Presentation,
D-451
                     PILGRIMS-0003535744




                     Attachment, image, PILGRIMS-
D-452
                     0003535784




                     Email, Small Wogs Pres, 02/14/2015,
D-453
                     PILGRIMS-0003538296
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 494 of 1105

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                     Attachment, Powerpoint Presentation,
D-454
                     PILGRIMS-0003538297



                     Attachment,
                     Microsoft_Office_Excel_97-
D-455
                     2003_Worksheet3.xls, PILGRIMS-
                     0003538310


                     Attachment,
                     Microsoft_Office_Excel_97-
D-456
                     2003_Worksheet2.xls, PILGRIMS-
                     0003538311


                     Attachment,
                     Microsoft_Office_Excel_97-
D-457
                     2003_Worksheet1.xls, PILGRIMS-
                     0003538312



                     Attachment, mobile record, PILGRIMS-
D-458
                     0003538313




                     Email, FW: Small Wogs (2).pptx,
D-459
                     02/16/2015, PILGRIMS-0003538334




                     Attachment, Powerpoint Presentation,
D-460
                     PILGRIMS-0003538335
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 495 of 1105

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                     Attachment,
                     Microsoft_Office_Excel_97-
D-461
                     2003_Worksheet3.xls, PILGRIMS-
                     0003538348


                     Attachment,
                     Microsoft_Office_Excel_97-
D-462
                     2003_Worksheet2.xls, PILGRIMS-
                     0003538349


                     Attachment,
                     Microsoft_Office_Excel_97-
D-463
                     2003_Worksheet1.xls, PILGRIMS-
                     0003538350



                     Deck of Q3 2014 Board of Directors
D-464
                     Meeting, PILGRIMS-0003604737




                     Attachment, Powerpoint Presentation,
D-465
                     PILGRIMS-0003620006




                     Email, FW: Monthly Business Review
D-466                4-13-15, 04/09/2015, PILGRIMS-
                     0003620405



                     Attachment,
D-467                Microsoft_Excel_Worksheet1.xlsx,
                     PILGRIMS-0003620418
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 496 of 1105

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                     Attachment,
D-468                Microsoft_Excel_Worksheet2.xlsx,
                     PILGRIMS-0003620419



                     Attachment,
D-469                Microsoft_Excel_Worksheet3.xlsx,
                     PILGRIMS-0003620420



                     Attachment,
D-470                Microsoft_Excel_Worksheet4.xlsx,
                     PILGRIMS-0003620421



                     Attachment,
D-471                Microsoft_Excel_Worksheet5.xlsx,
                     PILGRIMS-0003620422



                     Attachment,
D-472                Microsoft_Excel_Worksheet10.xlsx,
                     PILGRIMS-0003620423



                     Attachment,
D-473                Microsoft_Excel_Worksheet11.xlsx,
                     PILGRIMS-0003620424



                     Attachment,
D-474                Microsoft_Excel_Worksheet12.xlsx,
                     PILGRIMS-0003620425
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                     Attachment,
D-475                Microsoft_Excel_Worksheet6.xlsx,
                     PILGRIMS-0003620426



                     Attachment,
D-476                Microsoft_Excel_Worksheet7.xlsx,
                     PILGRIMS-0003620427



                     Attachment,
D-477                Microsoft_Excel_Worksheet8.xlsx,
                     PILGRIMS-0003620428



                     Attachment,
D-478                Microsoft_Excel_Worksheet9.xlsx,
                     PILGRIMS-0003620429



                     Email, FW: Pricing Goals for Spot
D-479                Sales - Week 25/2015, 06/11/2015,
                     PILGRIMS-0003620785



                     "1408_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-480
                     RUN20141002-100141-287.PDF",
                     PILGRIMS-0003814840


                     "1409_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-481
                     RUN20141103-094451-779.PDF",
                     PILGRIMS-0003820884
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                     "1410_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-482
                     RUN20141204-121850-930.pdf",
                     PILGRIMS-0003827050


                     "1411_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-483
                     RUN20150109-102756-138.pdf",
                     PILGRIMS-0003834698


                     "1412_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-484
                     RUN20150202-094253-123.PDF",
                     PILGRIMS-0003849074


                     "1502_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-485
                     RUN20150403-125454-015.pdf",
                     PILGRIMS-0003866497


                     "1503_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-486
                     RUN20150505-114818-346.pdf",
                     PILGRIMS-0003873618


                     "1504_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-487
                     RUN20150602-090214-337.pdf",
                     PILGRIMS-0003879863


                     "1504_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
D-488
                     RUN20150602-101812-171.pdf",
                     PILGRIMS-0003880367
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                     "1505_Broiler-
D-489                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003890257



                     "1506_Broiler-
D-490                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003904251



                     "1507_Broiler-
D-491                Profit_USA_PILGRIMS_GENERAL-
                     RUN.PDF", PILGRIMS-0003913049



                     "1508_Broiler-
D-492                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003919206



                     "1509_Broiler-
D-493                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003924894



                     "1510_Broiler-
D-494                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003933111



                     "1511_Broiler-
D-495                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003939923
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                     "1512_Broiler-
D-496                Profit_USA_PILGRIMS_GENERAL-
                     RUN.pdf", PILGRIMS-0003956527




                     Email, [No Subject], 10/28/2011,
D-497
                     PILGRIMS-0005250144




                     Attachment, notes, PILGRIMS-
D-498
                     0005250145




                     Attachment, Bid, PILGRIMS-
D-499
                     0005250148




                     Attachment, blank page, PILGRIMS-
D-500
                     0005250149




                     Attachment, meeting summary,
D-501
                     PILGRIMS-0005250150




                     Attachment, Bid, PILGRIMS-
D-502
                     0005250153
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                     Email, UFPC Discussion, 10/28/2011,
D-503
                     PILGRIMS-0005250157




                     Attachment, Bid, PILGRIMS-
D-504
                     0005250158




                     Attachment, meeting summary,
D-505
                     PILGRIMS-0005250159




                     Attachment, blank page, PILGRIMS-
D-506
                     0005250162




                     Attachment, Bid, PILGRIMS-
D-507
                     0005250163




                     Attachment, meeting summary,
D-508
                     PILGRIMS-0005250164




                     Email, RE: Bid, 11/04/2011,
D-509
                     PILGRIMS-0005250231
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                     Attachment, blank page, PILGRIMS-
D-510
                     0005250232




                     Email, FW: Popcorn, 11/12/2011,
D-511
                     PILGRIMS-0005250303




                     Email, Food Prices Rising From Severe
D-512                Drought, 07/25/2012, PILGRIMS-
                     0005251848




                     Email, FW: Market Updates,
D-513
                     08/23/2012, PILGRIMS-0005252155




                     Attachment, Powerpoint Presentation,
D-514
                     PILGRIMS-0005252156




                     Hard Copy Documents, PILGRIMS-
D-515
                     0005252289




                     Email, [No Subject], 10/05/2012,
D-516
                     PILGRIMS-0005252461
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                     Attachment, Period 11.xls, PILGRIMS-
D-517
                     0005252462




                     Attachment, Cost Model, PILGRIMS-
D-518
                     0005252463




                     Email, [No Subject], 10/10/2012,
D-519
                     PILGRIMS-0005252501




                     Attachment, Summary B.xlsx,
D-520
                     PILGRIMS-0005252502



                     Email, FW: PROTOTYPE MODEL
                     BIG BIRD DEBONING SEPT
D-521
                     2011.xlsx, 10/11/2012, PILGRIMS-
                     0005252519



                     Attachment, Cost Model, PILGRIMS-
D-522
                     0005252520




                     Email, [No Subject], 10/29/2012,
D-523
                     PILGRIMS-0005252748
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                     Attachment, meeting summary,
D-524
                     PILGRIMS-0005252749




                     Email, [No Subject], 11/05/2012,
D-525
                     PILGRIMS-0005252771




                     Attachment, 2012 - 2013
D-526                comparison.xls, PILGRIMS-
                     0005252772




                     Attachment, Bid, PILGRIMS-
D-527
                     0005252773




                     Attachment, Pilgrim's letter, PILGRIMS-
D-528
                     0005252774




                     Attachment, Cost Model, PILGRIMS-
D-529
                     0005252775




                     Email, [No Subject], 11/13/2012,
D-530
                     PILGRIMS-0005252799
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                     Attachment, Cost Model, PILGRIMS-
D-531
                     0005252800




                     Email, [No Subject], 11/27/2012,
D-532
                     PILGRIMS-0005252983




                     Attachment, Cost Model, PILGRIMS-
D-533
                     0005252984




                     Attachment, Bid, PILGRIMS-
D-534
                     0005252985




                     Attachment, Cost Model, PILGRIMS-
D-535
                     0005252986




                     Email, Price Reduction Spreadsheet,
D-536
                     11/29/2012, PILGRIMS-0005252995




                     Attachment, Price Reduction
D-537
                     Impact.xlsx, PILGRIMS-0005252996
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                     Email, Revised Price Reduction
D-538                Impact, 11/29/2012, PILGRIMS-
                     0005252997




                     Attachment, Price Reduction
D-539
                     Impact.xlsx, PILGRIMS-0005252998




                     Email, FW: tomorrow, 12/03/2012,
D-540
                     PILGRIMS-0005253001




                     Attachment, Bid, PILGRIMS-
D-541
                     0005253002




D-542                Cost Model, PILGRIMS-0005253003




                     Email, Bid, 12/04/2012, PILGRIMS-
D-543
                     0005253004




                     Attachment, Bid, PILGRIMS-
D-544
                     0005253005
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                     Attachment, Cost Model, PILGRIMS-
D-545
                     0005253006




                     Email, Bid, 12/04/2012, PILGRIMS-
D-546
                     0005253007




                     Email, Fwd: Signed Exhibits 1-7
D-547                Unified Foodservice, 12/18/2012,
                     PILGRIMS-0005253029




                     Attached, supply contract, PILGRIMS-
D-548
                     0005253030




                     Email, RE: KFC Dark Meat,
D-549
                     02/07/2013, PILGRIMS-0005253351




                     Email, RE: Pricing for Hawaii,
D-550
                     03/19/2013, PILGRIMS-0005253550




                     Email, RE: Chicken Consumption
D-551                Trends, 03/27/2013, PILGRIMS-
                     0005253634
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                     Attachment, company presentation,
D-552
                     PILGRIMS-0005253637




                     Attachment, company presentation,
D-553
                     PILGRIMS-0005253709




                     Email, Re: McLane Albany,
D-554
                     08/30/2013, PILGRIMS-0005254265




                     Email, [No Subject], 09/26/2013,
D-555
                     PILGRIMS-0005254310




                     Attachment, Bid, PILGRIMS-
D-556
                     0005254311




                     Attachment, Bid, PILGRIMS-
D-557
                     0005254312




                     Email, Bid, 09/26/2013, PILGRIMS-
D-558
                     0005254313
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                     Attachment, Bid, PILGRIMS-
D-559
                     0005254314




                     Email, KFC Bone In Adjustments and
D-560                Comparison to 2013, 10/07/2013,
                     PILGRIMS-0005254339




                     Attachment, Cost Model, PILGRIMS-
D-561
                     0005254340




                     Email, RE: Additional KFC COB
D-562                capacity, 10/16/2013, PILGRIMS-
                     0005254366




                     Email, RFP Round 1 Feedback,
D-563
                     10/31/2013, PILGRIMS-0005254459




                     Attachment, supplier feedback,
D-564
                     PILGRIMS-0005254460




                     Email, FW: UFPC Round 1 Feedback,
D-565
                     11/01/2013, PILGRIMS-0005254469
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                     Attachment, FOB Summary 2014 Rnd 2-
D-566
                     Pilgrim's.xls, PILGRIMS-0005254470




                     Attachment, RFI 2014 Rnd 2.xls,
D-567
                     PILGRIMS-0005254471




                     Email, Round 2, 11/05/2013,
D-568
                     PILGRIMS-0005254479




                     Attachment, Bid, PILGRIMS-
D-569
                     0005254480




                     Attachment, Bid, PILGRIMS-
D-570
                     0005254481




                     Attachment, Cost Model, PILGRIMS-
D-571
                     0005254482




                     Attachment, Cost Model, PILGRIMS-
D-572
                     0005254483
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                     Email, FW: Round 2, 11/06/2013,
D-573
                     PILGRIMS-0005254487




                     Attachment, FOB Summary 2014 Rnd 2-
D-574
                     Pilgrim's.xls, PILGRIMS-0005254488




                     Attachment, business card, PILGRIMS-
D-575
                     0005254489




                     Email, KFC 8PC Cost for bid 13-11-
D-576                01.xlsx, 11/06/2013, PILGRIMS-
                     0005254490




                     Attachment, Cost Model, PILGRIMS-
D-577
                     0005254491




                     Email, KFC 8 PC Pricing Model 13-11-
D-578                06.xlsx, 11/06/2013, PILGRIMS-
                     0005254492




                     Attachment, Cost Model, PILGRIMS-
D-579
                     0005254493
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                     Email, Fwd: KFC 8 PC Pricing Model
D-580                13-11-06.xlsx, 11/06/2013, PILGRIMS-
                     0005254494




                     Attachment, Cost Model, PILGRIMS-
D-581
                     0005254495




                     Email, FW: UFPC Final Bid
D-582                Submissions, 11/18/2013, PILGRIMS-
                     0005254540




                     Attachment, FOB Summary FINAL -
D-583
                     Pilgrim's.xls, PILGRIMS-0005254541




                     Email, Re: Bid, 11/19/2013,
D-584
                     PILGRIMS-0005254542




                     Email, RE: Bid, 11/19/2013,
D-585
                     PILGRIMS-0005254543




                     Email, FW: KFC, 11/20/2013,
D-586
                     PILGRIMS-0005254557
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                     Attachment, Book1.xlsx, PILGRIMS-
D-587
                     0005254558




                     Email, Summary, 11/20/2013,
D-588
                     PILGRIMS-0005254569




                     Attachment, Bid, PILGRIMS-
D-589
                     0005254570




                     Email, RE: Cost model, 11/20/2013,
D-590
                     PILGRIMS-0005254571




                     Attachment, FOB Summary FINAL -
D-591
                     Pilgrim's.xls, PILGRIMS-0005254573




                     Email, FW: YUM Cost Model,
D-592
                     02/14/2014, PILGRIMS-0005254831




                     Attachment, Cost Model, PILGRIMS-
D-593
                     0005254832
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                     Email, FW: KFC Bid, 04/15/2014,
D-594
                     PILGRIMS-0005255179




                     Attachment, Bid, PILGRIMS-
D-595
                     0005255180




                     Email, RE: 6-13-14, 06/18/2014,
D-596
                     PILGRIMS-0005255198




                     Attachment, supply contract,
D-597
                     PILGRIMS-0005255200




                     Email, Re: RE:, 11/18/2014,
D-598
                     PILGRIMS-0005255533




                     Email, RE: Split Leg Quarters,
D-599
                     10/31/2015, PILGRIMS-0005257662




                     Email, FW: YUM update, 11/20/2014,
D-600
                     PILGRIMS-0005258423
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                     Email, mixed bag, 11/07/2014,
D-601
                     PILGRIMS-0005258908




                     Attachment, contact information,
D-602
                     PILGRIMS-0005258909




                     Email, RE: Follow-up on currently open
D-603                quotes for raw., 11/10/2014,
                     PILGRIMS-0005258937




                     Email, FW: GOLDEN CORRAL.xlsx,
D-604
                     04/19/2013, PILGRIMS-0005265764




                     Attachment, GOLDEN CORRAL.xlsx,
D-605
                     PILGRIMS-0005265765




                     Email, FW: 2013 Contract,
D-606
                     05/10/2013, PILGRIMS-0005266147




                     Attachment, supply contract,
D-607
                     PILGRIMS-0005266148
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                     Email, FW: Acme weekly Pricing,
D-608
                     07/23/2013, PILGRIMS-0005267611




                     Attachment, Cost Model, PILGRIMS-
D-609
                     0005267613




                     Email, FW: FFS Net Dock Return
D-610                Reports P9, 10/06/2014, PILGRIMS-
                     0005288261




                     Attachment, FFS Net Dock Return P9
D-611
                     FY 15.xlsx, PILGRIMS-0005288262




                     Attachment, FFS Net Dock Return-
D-612                Trend File PD 9 CY 2014.xlsx,
                     PILGRIMS-0005288263




                     Email, "FW: Mayfield 2015.pptx",
D-613
                     10/20/2014, PILGRIMS-0005288284




                     Attachment, "Mayfield 2015.pptx",
D-614
                     PILGRIMS-0005288285
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                     Email, RE: Costco, 11/28/2012,
D-615
                     PILGRIMS-0005300533




                     Attachment, image, PILGRIMS-
D-616
                     0005300535




                     Email, KFC Price model, 12/03/2012,
D-617
                     PILGRIMS-0005300589




                     Attachment, Nacogdoches Plant stats,
D-618
                     PILGRIMS-0005300590




                     Email, FW: Sanderson Pricing...Just
D-619                FYI, 08/22/2013, PILGRIMS-
                     0005304333




                     Attachment, image, PILGRIMS-
D-620
                     0005304335




                     Email, FW: Pilgrims Bid Discussion
D-621                Document, 08/05/2014, PILGRIMS-
                     0005309792
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                     Attachment, company presentation,
D-622
                     PILGRIMS-0005309793



                     Email, Transcription for JBS Pilgrim's
                     Pride Conference Call on Friday, April
D-623
                     27, 2012 at 8:00 AM Eastern,
                     05/01/2012, PILGRIMS-0005330154



                     Attachment, schedule, PILGRIMS-
D-624
                     0005330155




                     Attachment, logo, PILGRIMS-
D-625
                     0005330170




                     Attachment, logo, PILGRIMS-
D-626
                     0005330171




                     Email, RE: Costco Price Adjustments,
D-627
                     08/29/2012, PILGRIMS-0005408698




                     Email, RE: Eggs Set, 12/05/2012,
D-628
                     PILGRIMS-0005747095
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                     Email, "Fwd: Investor Day
D-629                Presentation", 3/19/2014, PILGRIMS-
                     0005751173



                     Email, "FW: Big Bird Vs. Small Bird
D-630                Economics", 8/28/2014, PILGRIMS-
                     0005753500



                     Attachment, "Big Bird Vs Small Bird
D-631                Economics.pptx", PILGRIMS-
                     0005753501




                     Email, FW: UNTITLED.pptx,
D-632
                     07/13/2015, PILGRIMS-0005758015




                     Attachment, Powerpoint Presentation,
D-633
                     PILGRIMS-0005758016




                     Email, RE: Current CFA Cutout,
D-634
                     09/18/2015, PILGRIMS-0005758960




                     Email, FW: Reminder to plan inventory
D-635                for Mother's Day, 04/26/2011,
                     PILGRIMS-0005795879
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                     Attachment, blank page, PILGRIMS-
D-636
                     0005795881




                     Email, RE: GC, 10/26/2012,
D-637
                     PILGRIMS-0005796718




                     Email, FW: Grain based Model for
D-638                Pollo Tropical 10-18-12.xlsx,
                     10/30/2012, PILGRIMS-0005796830




                     Attachment, logo, PILGRIMS-
D-639
                     0005796831




                     Attachment, logo, PILGRIMS-
D-640
                     0005796832




                     Attachment, logo, PILGRIMS-
D-641
                     0005796833




                     Email, FW: Chicken, 11/08/2012,
D-642
                     PILGRIMS-0005796999
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                     Email, Fwd: Popeyes, 11/29/2012,
D-643
                     PILGRIMS-0005797241




                     Email, RE: Need info for a planning
D-644                meeting, 02/27/2013, PILGRIMS-
                     0005798255



                     Email, Re: Need info for a planning
D-645                meeting, 02/27/2013, PILGRIMS-
                     0005798265




                     Email, FW: Bird size, 03/13/2013,
D-646
                     PILGRIMS-0005798440




                     Email, FW: UFPC Round 1 Feedback,
D-647
                     11/01/2013, PILGRIMS-0005800855




                     Attachment, supplier feedback,
D-648
                     PILGRIMS-0005800856




                     Email, RFI Questions, 11/04/2013,
D-649
                     PILGRIMS-0005800876
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                     Attachment, Bid, PILGRIMS-
D-650
                     0005800877




                     Email, Volume summary, 11/04/2013,
D-651
                     PILGRIMS-0005800878




                     Attachment, Bid, PILGRIMS-
D-652
                     0005800879




                     Email, Re: Bid, 11/19/2013,
D-653
                     PILGRIMS-0005801603




                     Email, RE: Book1.xlsx, 11/19/2013,
D-654
                     PILGRIMS-0005801620




                     Attachment, Exhibit 1.xlsx, PILGRIMS-
D-655
                     0005801621




                     Email, Book1.xlsx, 11/19/2013,
D-656
                     PILGRIMS-0005801622
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                     Attachment, Book1.xlsx, PILGRIMS-
D-657
                     0005801623




                     Email, [No Subject], 11/21/2013,
D-658
                     PILGRIMS-0005801650




                     Attachment, Bid, PILGRIMS-
D-659
                     0005801651




                     Email, RE: Bojangles, 11/22/2013,
D-660
                     PILGRIMS-0005801696




                     Email, Re: Church's for SSA,
D-661
                     12/24/2013, PILGRIMS-0005802128




                     Email, RE: Albertsons Deli upcoming
D-662                meeting next Tuesday 7/01,
                     06/25/2014, PILGRIMS-0005803461




                     Email, FW: Albertsons LLC deli,
D-663
                     07/02/2014, PILGRIMS-0005803493
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                     Email, RE: HEB Questions,
D-664
                     07/25/2014, PILGRIMS-0005803759




                     Email, Pre Bid meeting 8 1 2014.pptx,
D-665
                     07/29/2014, PILGRIMS-0005803786




                     Attachment, Powerpoint Presentation,
D-666
                     PILGRIMS-0005803787




                     Email, FW: Small Bird 2015-
D-667                HEB.pptx, 08/11/2014, PILGRIMS-
                     0005803966




                     Attachment, Powerpoint Presentation,
D-668
                     PILGRIMS-0005803967




                     Email, KFC Price Increase 14-08-
D-669                15.xlsx, 08/15/2014, PILGRIMS-
                     0005804066




                     Attachment, KFC Price Increase 14-08-
D-670
                     15.xlsx, PILGRIMS-0005804067
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                     Email, RE: KFC Price Increase 14-08-
D-671                15.xlsx, 08/15/2014, PILGRIMS-
                     0005804068




                     Attachment, KFC Price Increase Graph
D-672
                     14-08-15.xlsx, PILGRIMS-0005804069




                     Email, Fw: Fwd: Church's Meeting,
D-673
                     08/18/2014, PILGRIMS-0005804080




                     Attachment, time zone information,
D-674
                     PILGRIMS-0005804081




                     Email, "Fwd: Church's Meeting",
D-675
                     08/18/2014, PILGRIMS-0005804082




                     Email, KFC data, 08/19/2014,
D-676
                     PILGRIMS-0005804090




                     Attachment, KFC Price Increase 14-08-
D-677
                     15.xlsx, PILGRIMS-0005804091
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                     Email, KFC Price Increase 14-08-
D-678                15.xlsx, 08/19/2014, PILGRIMS-
                     0005804096




                     Attachment, KFC Price Increase 14-08-
D-679
                     15.xlsx, PILGRIMS-0005804097




                     Email, RE: Please call Kelly's today
D-680                RE: Golden Corral, 08/19/2014,
                     PILGRIMS-0005804100




                     Email, KFC Data, 08/19/2014,
D-681
                     PILGRIMS-0005804106




                     Attachment, KFC Price Increase 14-08-
D-682
                     15.xlsx, PILGRIMS-0005804107




                     Email, Fwd: KFC Meeting Last Friday,
D-683
                     08/27/2014, PILGRIMS-0005804256




                     Email, Re: email?, 09/22/2014,
D-684
                     PILGRIMS-0005804544
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                     Email, Re: RFP Feedback, 08/21/2015,
D-685
                     PILGRIMS-0005807244




                     Attachment, blank page, PILGRIMS-
D-686
                     0005822162




                     Email, Pollo Tropical, 08/24/2011,
D-687
                     PILGRIMS-0005822210




                     Attachment, blank page, PILGRIMS-
D-688
                     0005822211




                     Email, Re: KFC 2012 Pricing.xlsx,
D-689
                     11/08/2011, PILGRIMS-0005824758




                     Attachment, blank page, PILGRIMS-
D-690
                     0005824759




                     Email, Re: KFC 2012 Pricing.xlsx,
D-691
                     11/08/2011, PILGRIMS-0005824760
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                     Attachment, blank page, PILGRIMS-
D-692
                     0005824761




                     Email, Re: Monday Call, 11/11/2011,
D-693
                     PILGRIMS-0005824895




                     Attachment, blank page, PILGRIMS-
D-694
                     0005824896




                     Email, Re: Monday Call, 11/11/2011,
D-695
                     PILGRIMS-0005824897




                     Attachment, blank page, PILGRIMS-
D-696
                     0005824898




                     Email, Re: Bulk BS Breast, 11/28/2011,
D-697
                     PILGRIMS-0005825748




                     Email, RE: KFC, 01/27/2012,
D-698
                     PILGRIMS-0005827819
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                     Email, FW: 8pc pricing request for
D-699                Hampton Roads, 07/12/2012,
                     PILGRIMS-0005832492




                     Attachment, logo, PILGRIMS-
D-700
                     0005832495




                     Email, Re: Golden Corral, 09/10/2012,
D-701
                     PILGRIMS-0005833672




                     Email, RE: Bone in Model, 10/10/2012,
D-702
                     PILGRIMS-0005834443




                     Email, Price on bone in, 11/26/2012,
D-703
                     PILGRIMS-0005835856




                     Email, FW: Bites, 12/10/2012,
D-704
                     PILGRIMS-0005836588




                     Email, RE: Bites, 12/10/2012,
D-705
                     PILGRIMS-0005836590
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                     Email, Yum! Bid, 12/12/2012,
D-706
                     PILGRIMS-0005836615




                     Attachment, Bid, PILGRIMS-
D-707
                     0005836616




                     Email, Fwd: SBRA, 12/14/2012,
D-708
                     PILGRIMS-0005836642




                     Attachment, supply contract,
D-709
                     PILGRIMS-0005836643




                     Email, Fwd: Central / Sanderson
D-710                Chicken Deals, 01/06/2013, PILGRIMS-
                     0005837191




                     Attachment, feature proposals,
D-711
                     PILGRIMS-0005837192




                     Email, FW: Publix--Costco
D-712                presentations, 01/07/2013, PILGRIMS-
                     0005837213
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                     Attachment, Powerpoint Presentation,
D-713
                     PILGRIMS-0005837214




                     Attachment, Powerpoint Presentation,
D-714
                     PILGRIMS-0005837225




                     Attachment, Powerpoint Presentation,
D-715
                     PILGRIMS-0005837257




                     Email, FW: Costco (2).ppt,
D-716
                     01/08/2013, PILGRIMS-0005837305




                     Attachment, Powerpoint Presentation,
D-717
                     PILGRIMS-0005837306




                     Email, Costco volume & Price 2013
D-718                Proposal 13-01-25 ver2.xlsx,
                     01/28/2013, PILGRIMS-0005838064




                     Attachment, Cost Model, PILGRIMS-
D-719
                     0005838065
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                     Email, Fwd:, 02/02/2013, PILGRIMS-
D-720
                     0005838216




                     Email, FW: COSTCO WORK SHEET,
D-721
                     02/23/2013, PILGRIMS-0005838702




                     Attachment, Book3.xlsx, PILGRIMS-
D-722
                     0005838703




                     Email, Re: KFC, 03/26/2013,
D-723
                     PILGRIMS-0005839465




                     Email, Golden Corral, 04/11/2013,
D-724
                     PILGRIMS-0005839966




                     Email, Re: Colden Corral Wings,
D-725
                     04/12/2013, PILGRIMS-0005840006




                     Email, Fwd: Golden Corral,
D-726
                     05/28/2013, PILGRIMS-0005842917
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D-727                "RE: Costco", PILGRIMS-0005847340




                     Email, Fwd: Costco, 09/02/2013,
D-728
                     PILGRIMS-0005847522




                     Email, Competitors pricing,
D-729
                     09/05/2013, PILGRIMS-0005847575




                     Attachment, Pricing Comparison 13-09-
D-730
                     05.xlsx, PILGRIMS-0005847576




                     Email, FW: Bid so far, 11/04/2013,
D-731
                     PILGRIMS-0005849285




                     Attachment, Bid, PILGRIMS-
D-732
                     0005849286




                     Attachment, Bid, PILGRIMS-
D-733
                     0005849287
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                     Attachment, Bid, PILGRIMS-
D-734
                     0005849288




                     Email, RE: CHURCH'S RFP,
D-735
                     11/06/2013, PILGRIMS-0005849345




                     Email, [No Subject], 11/18/2013,
D-736
                     PILGRIMS-0005849720




                     Attachment, Bid, PILGRIMS-
D-737
                     0005849721




                     Email, KFC Info, 11/19/2013,
D-738
                     PILGRIMS-0005849753




                     Attachment, Book1.xlsx, PILGRIMS-
D-739
                     0005849754




                     Email, Book1.xlsx, 11/19/2013,
D-740
                     PILGRIMS-0005849755
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                     Attachment, Book1.xlsx, PILGRIMS-
D-741
                     0005849756




                     Email, Re: CFA, 02/04/2014,
D-742
                     PILGRIMS-0005852816




                     Email, RE: Safeway, 02/24/2014,
D-743
                     PILGRIMS-0005853375




                     Email, RE: Fresh PC boneless,
D-744
                     04/12/2014, PILGRIMS-0005854702




                     Email, Jayson's Group's Goals,
D-745
                     05/01/2014, PILGRIMS-0005854940




                     Attachment, Jayson Penn Reports &
D-746                2nd Level Reports - 2014 Goals 2.xlsx,
                     PILGRIMS-0005854941



                     Email, "RE: April OP Profits
D-747                Agristats", 6/4/2014, PILGRIMS-
                     0005855214
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                     Email, RE: FTF Bites, 06/24/2014,
D-748
                     PILGRIMS-0005855376




                     Email, RE: Cost Increases, 08/09/2014,
D-749
                     PILGRIMS-0005855973




                     Email, FW: KFC Meeting Last Friday,
D-750
                     08/26/2014, PILGRIMS-0005856142




                     Email, RE: KFC Meeting Last Friday,
D-751
                     08/26/2014, PILGRIMS-0005856144




                     Email, FW: Big Bird Vs. Small Bird
D-752                Economics, 08/29/2014, PILGRIMS-
                     0005856189




                     Attachment, Powerpoint Presentation,
D-753
                     PILGRIMS-0005856191




                     Email, RE: Publix Presentation - draft,
D-754
                     09/03/2014, PILGRIMS-0005856293
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                     Attachment, company presentation,
D-755
                     PILGRIMS-0005856295




                     Attachment, company presentation,
D-756
                     PILGRIMS-0005856325




                     Email, RE: KFC, 09/05/2014,
D-757
                     PILGRIMS-0005856354




                     Email re covering corn and meal costs
D-758                for second half of 2015., 10/01/2014,
                     PILGRIMS-0005856643




                     Email, KFC Addendum, 10/07/2014,
D-759
                     PILGRIMS-0005856747




                     Attachment, RSCS letter and supply
D-760
                     contract, PILGRIMS-0005856748




                     Email, FW: Andrew Hays' weekly
D-761                report, 10/25/2014, PILGRIMS-
                     0005857082
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                     Attachment, weekly report, PILGRIMS-
D-762
                     0005857083



                     Email, RE: Tyson’s Recipe Tests
                     Investors’ Appetite -- Ahead of the
D-763
                     Tape - WSJ - WSJ, 11/17/2014,
                     PILGRIMS-0005857527



                     Email, RE: US Foods Lexington new
D-764                business, 12/18/2014, PILGRIMS-
                     0005858269



                     Email, Re: BB&TCM: TSN: Why This
                     Stock Needs A Decline In Chicken
D-765
                     Prices, 12/22/2014, PILGRIMS-
                     0005858337



                     Email, RE: Friday Adjustments,
D-766
                     12/26/2014, PILGRIMS-0005858460




                     Email, Fast Food 2015 Customers
D-767                (2).pptx, 02/10/2015, PILGRIMS-
                     0005859418




                     Attachment, Powerpoint Presentation,
D-768
                     PILGRIMS-0005859419
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                     Email, Fast Food 2015 Customers (2)
D-769                (3).pptx, 02/10/2015, PILGRIMS-
                     0005859445




                     Attachment, Powerpoint Presentation,
D-770
                     PILGRIMS-0005859446




                     Email, RE: September bone in
D-771                promotion, 04/01/2015, PILGRIMS-
                     0005861272




                     Email, This week, 08/19/2016,
D-772
                     PILGRIMS-0005875408




                     Email, Re: additional grower fees for
D-773                small bird plants, 08/10/2014,
                     PILGRIMS-0005884493



                     Email, One Page Customer Strategy for
D-774                the Board, 02/12/2013, PILGRIMS-
                     0005906460




                     Attachment, Powerpoint Presentation,
D-775
                     PILGRIMS-0005906461
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                     Attachment, image, PILGRIMS-
D-776
                     0005906462




                     Email, CFA Draft, 06/10/2014,
D-777
                     PILGRIMS-0005932452




                     Attachment, Powerpoint Presentation,
D-778
                     PILGRIMS-0005932453




                     Email, RE: PT, 09/30/2014, PILGRIMS-
D-779
                     0005934807




                     Email, Re: PT, 10/02/2014, PILGRIMS-
D-780
                     0005934829




                     Email, Re: PT, 10/03/2014, PILGRIMS-
D-781
                     0005934839




                     Email, Re: PT, 10/03/2014, PILGRIMS-
D-782
                     0005934843
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                     Email, Re: Golden Corral 2015,
D-783
                     11/07/2014, PILGRIMS-0005935830




                     Attachment, logo, PILGRIMS-
D-784
                     0005935832




                     Attachment, image, PILGRIMS-
D-785
                     0005935833




                     Email, Golden Corral 2015 Price
D-786                Model 14-09-26.xls, 11/10/2014,
                     PILGRIMS-0005935844




                     Attachment, Cost Model, PILGRIMS-
D-787
                     0005935845




                     Email, FW: Pilgrim's - Golden Corral
D-788                Proposal 2015, 11/10/2014, PILGRIMS-
                     0005935850




                     Attachment, Bid, PILGRIMS-
D-789
                     0005935851
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                     Email, "RE: 2015 Agreement",
D-790
                     11/10/2014, PILGRIMS-0005935862




                     Attachment, Cost Model, PILGRIMS-
D-791
                     0005935867




                     Email, RE: Roundy's Deli fresh and
D-792                frozen opportunity, 11/24/2014,
                     PILGRIMS-0005936205



                     Email, FW: Golden Corral 2015
D-793                Pricing .xlsx, 12/16/2014, PILGRIMS-
                     0005936851




                     Attachment, Golden Corral 2015
D-794
                     Pricing .xlsx, PILGRIMS-0005936852




                     Email, FW: 2015 Supply and Pricing
D-795                Agreement, 12/30/2014, PILGRIMS-
                     0005937042




                     Email, Re: Give me a shout,
D-796
                     02/03/2015, PILGRIMS-0005937539
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                     Email, RE: GE update, 03/18/2015,
D-797
                     PILGRIMS-0005938813




                     Email, RE: GE update, 03/18/2015,
D-798
                     PILGRIMS-0005938815




                     Email, RE: September bone in
D-799                promotion, 04/01/2015, PILGRIMS-
                     0005938977



                     Email, RE: September bone in
D-800                promotion, 04/01/2015, PILGRIMS-
                     0005938980




                     Email, Re: CFA Volume, 05/29/2015,
D-801
                     PILGRIMS-0005939936




                     Email, Re: Church's Dark Meat LTO
D-802                8/31-9/27, 07/10/2015, PILGRIMS-
                     0005941195




                     Email, Re: Split Leg Quarters,
D-803
                     10/29/2015, PILGRIMS-0005943548
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                     Email, RE: FFS IC Net Margin P1 W4
D-804                FY 2017 w/e 1/24/16, 01/27/2016,
                     PILGRIMS-0005945629




                     Handwritten notes, PILGRIMS-
D-805
                     0005992723




                     Product information, PILGRIMS-
D-806
                     0005992724




                     Handwritten notes, PILGRIMS-
D-807
                     0005992725




D-808                Cost model, PILGRIMS-0005992727




                     Request for information, PILGRIMS-
D-809
                     0005992730




                     Supplier feedback, PILGRIMS-
D-810
                     0005992733
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                     Proposal summary, PILGRIMS-
D-811
                     0005992735




                     Proposal summary, PILGRIMS-
D-812
                     0005992739




                     Pilgrim's letter, PILGRIMS-
D-813
                     0005992741




D-814                Price analysis, PILGRIMS-0005992744




D-815                Sales analysis, PILGRIMS-0005992746




                     Proposal summary, PILGRIMS-
D-816
                     0005992747




                     Email, KFC, 11/12/2011, PILGRIMS-
D-817
                     0005992748
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                     Proposal summary, PILGRIMS-
D-818
                     0005992749




D-819                Cost model, PILGRIMS-0005992751




D-820                Sales model, PILGRIMS-0005992753




D-821                Cost model, PILGRIMS-0005992754




                     Pilgrim's letter, PILGRIMS-
D-822
                     0005992756




D-823                Cost model, PILGRIMS-0005992759




                     Email, Information, 05/10/2011,
D-824
                     PILGRIMS-0005994314
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                     Attachment, Letter to Mike Ledford,
D-825
                     PILGRIMS-0005994315




                     Attachment, Report Card 2011 B.xlsx,
D-826
                     PILGRIMS-0005994317




                     Attachment, Placeholder, PILGRIMS-
D-827
                     0005994318




                     Attachment, Letter to Mike Ledford,
D-828
                     PILGRIMS-0005994319




                     Attachment, Report Card 2011 B.xlsx,
D-829
                     PILGRIMS-0005994321




                     Email, KGC re-launch, 06/20/2011,
D-830
                     PILGRIMS-0005994683




                     Attachment, Placeholder, PILGRIMS-
D-831
                     0005994684
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                     Email, FW: Medallion downgrade
D-832                costs, 12/16/2011, PILGRIMS-
                     0005995967




                     Email, RE: Butts Tenders, 06/07/2012,
D-833
                     PILGRIMS-0005996588




                     Email, RE: New Product Development
D-834                Inquiry for KFC LA&C- Pilgrims,
                     09/26/2012, PILGRIMS-0005997213




                     Email, Bid Package, 10/02/2012,
D-835
                     PILGRIMS-0005997252




                     Attachment, Bid, PILGRIMS-
D-836
                     0005997253




                     Summary of Buyer Meeting,
D-837
                     PILGRIMS-0005997457




                     Email, Re: Call me when you can,
D-838
                     11/07/2012, PILGRIMS-0005997458
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                     Email, Re: Price Reduction
D-839                Spreadsheet, 11/29/2012, PILGRIMS-
                     0005997726



                     Email, RE: schedule change PO
D-840                Number 31891, 11/30/2012,
                     PILGRIMS-0005997727




                     Attachment, PO.xlsm.xlsm, PILGRIMS-
D-841
                     0005997728




                     Email, Re: Boneless Pricing,
D-842
                     02/07/2013, PILGRIMS-0005998166




                     Email, Re: Boneless Pricing,
D-843
                     02/08/2013, PILGRIMS-0005998172




                     Email, RE: Need info for a planning
D-844                meeting, 02/27/2013, PILGRIMS-
                     0005998245



                     Email, RE: Need info for a planning
D-845                meeting, 02/27/2013, PILGRIMS-
                     0005998247
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                     Email, Re: Need info for a planning
D-846                meeting, 02/27/2013, PILGRIMS-
                     0005998249



                     Email, Re: Need info for a planning
D-847                meeting, 02/27/2013, PILGRIMS-
                     0005998253




                     Email, Pilgrims data sheet.xlsx,
D-848
                     03/05/2013, PILGRIMS-0005998284




                     Attachment, Pilgrims data sheet.xlsx,
D-849
                     PILGRIMS-0005998285




                     Email, FW: Pilgrims data sheet.xlsx,
D-850
                     03/12/2013, PILGRIMS-0005998353




                     Attachment, Pilgrims data sheet.xlsx,
D-851
                     PILGRIMS-0005998354




                     Email, FW: Pilgrims data sheet.xlsx,
D-852
                     03/12/2013, PILGRIMS-0005998357
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                     Attachment, Pilgrims data sheet.xlsx,
D-853
                     PILGRIMS-0005998358




                     Email, FW: RFI questions for next
D-854                week's meeting with UFPC,
                     09/26/2013, PILGRIMS-0005999308



                     Attachment, Attachment #5 RFI for
D-855                2014 Poultry RFP.xls, PILGRIMS-
                     0005999310




                     Email, [No Subject], 10/03/2013,
D-856
                     PILGRIMS-0005999320




                     Attachment, Bid, PILGRIMS-
D-857
                     0005999321




                     Email, FW: YUM 2014 Bid,
D-858
                     10/04/2013, PILGRIMS-0005999347




                     Email, RE: KFC 8PC Cost for bid 13-
D-859                10-07.xlsx, 10/07/2013, PILGRIMS-
                     0005999354
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                     Email, Re: Materials for Orange Label
D-860                Chicken, 10/07/2013, PILGRIMS-
                     0005999358




                     Email, [No Subject], 10/16/2013,
D-861
                     PILGRIMS-0005999404




                     Attachment, Powerpoint Presentation,
D-862
                     PILGRIMS-0005999405




                     Email, RE: pilgrims Deli Prepared
D-863                Chicken 2_25_13.pptx, 10/29/2013,
                     PILGRIMS-0005999481




                     Email, RE: CTI, 11/04/2013,
D-864
                     PILGRIMS-0005999542




                     Email, Models, 11/18/2013,
D-865
                     PILGRIMS-0005999585




                     Attachment, Cost Model, PILGRIMS-
D-866
                     0005999586
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                     Attachment, Cost Model, PILGRIMS-
D-867
                     0005999587




                     Email, FW: Models, 11/18/2013,
D-868
                     PILGRIMS-0005999588




                     Attachment, Cost Model, PILGRIMS-
D-869
                     0005999589




                     Attachment, Cost Model, PILGRIMS-
D-870
                     0005999590




                     Email, Models Final, 11/19/2013,
D-871
                     PILGRIMS-0005999591




                     Attachment, Cost Model, PILGRIMS-
D-872
                     0005999592




                     Email, RE: Models, 11/19/2013,
D-873
                     PILGRIMS-0005999593
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                     Attachment, Cost Model, PILGRIMS-
D-874
                     0005999594




                     Email, RE:, 12/02/2013, PILGRIMS-
D-875
                     0005999644




                     Email, Re: Chicken, 12/29/2013,
D-876
                     PILGRIMS-0005999732




                     Powerpoint Presentation, PILGRIMS-
D-877
                     0006000910, PILGRIMS-0006000910




                     Email, Pilgrim's - Golden Corral
D-878                Proposal 2015, 09/30/2014, PILGRIMS-
                     0006000943




                     Attachment, Bid, PILGRIMS-
D-879
                     0006000944




                     Email, RE: Hedging, 10/29/2014,
D-880
                     PILGRIMS-0006001117
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                     Email, RE: Pilgrim's - Golden Corral
D-881                Bid #3, 11/12/2014, PILGRIMS-
                     0006001212




D-882                Buyer Letter, PILGRIMS-0006002021




                     Email, Re: 4/10 CVP Jumbo B&S
D-883                Thigh Meat., 10/09/2014, PILGRIMS-
                     0006007583




                     Email, RE: GOLDEN CORRAL,
D-884
                     05/02/2013, PILGRIMS-0006023648




                     Email, Re: KFC meeting, 09/16/2015,
D-885
                     PILGRIMS-0006081847




                     Email, "RE: Bnls needs week of July
D-886                30.xlsx", 08/08/2012, PILGRIMS-
                     0006091023




                     Email, RE: Mesquite wings,
D-887
                     01/03/2013, PILGRIMS-0006094670
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                     List of Projects in Process, PILGRIMS-
D-888
                     0006116450




                     Email, RE: New Manager Meeting,
D-889
                     11/19/2014, PILGRIMS-0006116623




                     Attachment, Powerpoint Presentation,
D-890
                     PILGRIMS-0006116624




                     Email, RE: questions, 06/05/2014,
D-891
                     PILGRIMS-0006423878



                     Attachment, Operations Profit by
                     Business Unit by MOnth 2003 to
D-892
                     current date.xlsx, PILGRIMS-
                     0006423879



                     Email, RE: Small Bird Data,
D-893
                     06/17/2014, PILGRIMS-0006424013




                     Attachment, Powerpoint Presentation,
D-894
                     PILGRIMS-0006424014
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                     Email, Re: Costco, 01/07/2013,
D-895
                     PILGRIMS-0006713273




                     Email, RE: KFC, 05/19/2014,
D-896
                     PILGRIMS-0006742261




                     Email, Re: Pricing at WM, 08/05/2014,
D-897
                     PILGRIMS-0006744854




                     Email, "RE: USDA Slaughter by
D-898                Weight Class", 2/13/2015, PILGRIMS-
                     0006750245




                     Email, Fwd: Commited wings,
D-899
                     08/28/2015, PILGRIMS-0006825868




                     Email, RE: Enterprise Shorts,
D-900
                     09/25/2012, PILGRIMS-0006832872




                     Email, FW: Need info for a planning
D-901                meeting, 02/26/2013, PILGRIMS-
                     0006835658
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                     Email, RE: Need info for a planning
D-902                meeting, 02/27/2013, PILGRIMS-
                     0006835686




                     Email, FW: Pilgrims data sheet.xlsx,
D-903
                     03/05/2013, PILGRIMS-0006835912




                     Attachment, Pilgrims data sheet.xlsx,
D-904
                     PILGRIMS-0006835913




                     Email, FW: Pilgrims data sheet.xlsx,
D-905
                     03/11/2013, PILGRIMS-0006836058




                     Attachment, Pilgrims data sheet.xlsx,
D-906
                     PILGRIMS-0006836059




                     Email, RE: Pilgrims data sheet.xlsx,
D-907
                     03/12/2013, PILGRIMS-0006836075




                     Email, RE: Pilgrims data sheet.xlsx,
D-908
                     03/12/2013, PILGRIMS-0006836077
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                     Email, Re: RE: RE:, 10/28/2013,
D-909
                     PILGRIMS-0006841221




                     Email, Fwd: Popeyes Pay Day special
D-910                March 26th, 03/06/2014, PILGRIMS-
                     0006844789



                     Email, FW: Popeyes Pay Day special
D-911                March 26th, 03/13/2014, PILGRIMS-
                     0006844841




                     Email, Re: Popeyes, 05/15/2014,
D-912
                     PILGRIMS-0006846380




                     Email, RE: Popeyes, 06/12/2014,
D-913
                     PILGRIMS-0006846669




                     Email, Re: IF Supply Chain Discussion
D-914                1pmMT, 07/19/2014, PILGRIMS-
                     0006847681



                     Email, Re: Small Bird Cost Detail
D-915                Model, 07/23/2014, PILGRIMS-
                     0006847726
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                     Email, KFC 8 1 2014.pptx,
D-916
                     07/31/2014, PILGRIMS-0006847841




                     Attachment, Powerpoint Presentation,
D-917
                     PILGRIMS-0006847842




                     Email, KFC 8 1 2014.pptx,
D-918
                     07/31/2014, PILGRIMS-0006847853




                     Attachment, Powerpoint Presentation,
D-919
                     PILGRIMS-0006847854




                     Powerpoint Presentation regarding Pre
D-920
                     Bid meeting, PILGRIMS-0006847865



                     Email, Re: This will be in my deck
                     tomorrow. Can you provide the talking
D-921
                     points so we are on same page? Thanks,
                     08/07/2014, PILGRIMS-0006847974



                     Email, RE: 2015 chicken pounds
D-922                capability, 08/11/2014, PILGRIMS-
                     0006847991
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                     Email, "RE: 2015 chicken pounds
D-923                capability", 8/11/2014, PILGRIMS-
                     0006847993




                     Email, Re: Popcorn Chicken,
D-924
                     08/20/2014, PILGRIMS-0006848079




                     Email, RE: Not so monster,
D-925
                     08/26/2014, PILGRIMS-0006848148




                     Email, FW: Church's versus export
D-926                Athens Ga Qtr 1-3 2011.xlsx,
                     10/31/2011, PILGRIMS-0006886666



                     Attachment, Church's versus export
D-927                Athens Ga Qtr 1-3 2011.xlsx,
                     PILGRIMS-0006886667




                     Attachment, Placeholder, PILGRIMS-
D-928
                     0006886668




                     Attachment, Church's Volume
D-929
                     Spreadsheet, PILGRIMS-0006886669
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                     Email, FW: Best in Class, 06/19/2012,
D-930
                     PILGRIMS-0006893669




                     Email, RE: Best in Class, 06/19/2012,
D-931
                     PILGRIMS-0006893761




                     Email, RE: I am okay w the marinated
D-932                wings, 10/26/2012, PILGRIMS-
                     0006898757



                     Email, Re: Price Reduction Impact -
D-933                KFC, 11/30/2012, PILGRIMS-
                     0006899508




                     Email, Net Dock Price.xlsx,
D-934
                     12/28/2012, PILGRIMS-0006900828




                     Attachment, Net Dock Price.xlsx,
D-935
                     PILGRIMS-0006900829




                     Email, FW: COSTCO Sales SADDLE
D-936                PACK DELI WOGS_1 4 13.xlsx,
                     01/09/2013, PILGRIMS-0006901425
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 563 of 1105

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                     Attachment, Cost Model, PILGRIMS-
D-937
                     0006901426




                     Email, RE: Boneless, 01/21/2013,
D-938
                     PILGRIMS-0006902332




                     Email, Fwd: 2013 Poultry pricing,
D-939
                     02/28/2013, PILGRIMS-0006903396




                     Attachment, Supplier Agreement,
D-940
                     PILGRIMS-0006903397




                     Email, FW: Pilgrim's, 11/13/2013,
D-941
                     PILGRIMS-0006928788




                     Attachment, Yum! PowerPoint
D-942
                     Presentation, PILGRIMS-0006928789




                     Email, CFA Project, 01/21/2014,
D-943
                     PILGRIMS-0006933381
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                     Attachment, CFA Project 1-21-14.xlsx,
D-944
                     PILGRIMS-0006933382




                     Email, RE: FW:, 01/22/2014,
D-945
                     PILGRIMS-0006933385




                     Attachment, CFA Project 1-21-14.xlsx,
D-946
                     PILGRIMS-0006933386




                     Email, RE: Chick Fil A announcement,
D-947
                     02/12/2014, PILGRIMS-0006936703




                     Email, Fwd: Your reports' goals - down
D-948                two levels, 03/28/2014, PILGRIMS-
                     0006939810



                     Attachment, Jayson Penn Reports &
D-949                2nd Level Reports - 2014 Goals.xlsx,
                     PILGRIMS-0006939811



                     Email, RE: JBS USA Beef Has Big
D-950                Year, 03/29/2014, PILGRIMS-
                     0006939818
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                     Good general email re shortages on
D-951                Mother's Day 2014., PILGRIMS-
                     0006946703




                     Email, Question List I received today,
D-952
                     06/02/2014, PILGRIMS-0006946914




                     Attachment, Email, "FW: Agri Stat data
D-953
                     request", PILGRIMS-0006946915




                     Email, RE: Popeyes, 06/12/2014,
D-954
                     PILGRIMS-0006948411




                     Email, Re: Sam's, 06/20/2014,
D-955
                     PILGRIMS-0006948640




                     Email, RE: Basha's Update,
D-956
                     06/24/2014, PILGRIMS-0006948807




                     Email, RE: FTF Bites, 06/27/2014,
D-957
                     PILGRIMS-0006949046
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                     Email, FW: Negotiations, 07/11/2014,
D-958
                     PILGRIMS-0006949886




                     Email, Re: Tyson Pricing, 08/11/2014,
D-959
                     PILGRIMS-0006951268




                     Attachment, Email Signature,
D-960
                     PILGRIMS-0006951271




                     Attachment, Logo, PILGRIMS-
D-961
                     0006951272




                     Email, RE: KFC, 08/19/2014,
D-962
                     PILGRIMS-0006951503




                     Email, "Re: Today", 08/23/2014,
D-963
                     PILGRIMS-0006951827




                     Email, "RE: Sanderson", 08/26/2014,
D-964
                     PILGRIMS-0006951851
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                     Email, "RE: Deli", 08/29/2014,
D-965
                     PILGRIMS-0006952009




                     Email, "Re: King Soopers", 11/24/2014,
D-966
                     PILGRIMS-0006956315




                     Email, "RE: King Soopers",
D-967
                     11/25/2014, PILGRIMS-0006956323




                     Email, "Re: Wal-Mart", 11/26/2014,
D-968
                     PILGRIMS-0006956340




                     Email, "RE: Wal-Mart", 11/26/2014,
D-969
                     PILGRIMS-0006956341




                     Email, "Re: Wal-Mart", 11/26/2014,
D-970
                     PILGRIMS-0006956343




                     Email, "Re: Roundy's", 11/26/2014,
D-971
                     PILGRIMS-0006956348
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                     Email, "RE: Roundy's", 11/26/2014,
D-972
                     PILGRIMS-0006956350




                     Email, "RE: Roundy's", 11/26/2014,
D-973
                     PILGRIMS-0006956352




                     Key Performance Indicators,
D-974
                     PILGRIMS-0006956433




                     Email, "Re: Publix Deli >>>Job well
D-975                Done !!", 02/02/2015, PILGRIMS-
                     0006962267




                     Email, "Re: Michael Foods",
D-976
                     05/17/2015, PILGRIMS-0006970481



                     Email between Jayson and Bill in which
                     Bill gives green light to offer more
D-977
                     chicken to CFA., 05/29/2015,
                     PILGRIMS-0006970729



                     Email, "Cost of removing Mayfield
D-978                from KFC", 09/22/2015, PILGRIMS-
                     0006977310
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                     Email, "Re: Sam's Club", 12/14/2015,
D-979
                     PILGRIMS-0006983360




                     Email, "Re: PFG Lebanon",
D-980
                     10/24/2015, PILGRIMS-0007044601




                     Email, "Re: Market Perception -
D-981                Sanderson Results", 08/25/2015,
                     PILGRIMS-0007064739




                     Attachment, logo, PILGRIMS-
D-982
                     0007064741




                     Attachment, logo, PILGRIMS-
D-983
                     0007064742




                     Attachment, Earnings information,
D-984
                     PILGRIMS-0007064743




                     Email, "Sysco", 04/28/2016,
D-985
                     PILGRIMS-0007065366
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                     Attachment, Pilgrim's letter, PILGRIMS-
D-986
                     0007065367




                     Email, "Pilgrim's Sysco Letter",
D-987
                     05/02/2016, PILGRIMS-0007065375




                     Attachment, Pilgrim's letter, PILGRIMS-
D-988
                     0007065376




                     Email, "FW: PPC terms", 05/13/2016,
D-989
                     PILGRIMS-0007065422




                     Attachment, Pilgrim's letter, PILGRIMS-
D-990
                     0007065424




                     Email, "FW: Pilgrim's - Golden Corral
D-991                Bid #3", 11/12/2014, PILGRIMS-
                     0007077454




                     Supplier proposal, PILGRIMS-
D-992
                     0007077455
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                     Email, "RE: WOGs", 11/24/2014,
D-993
                     PILGRIMS-0007077787




                     Email, "fyi", 11/25/2014, PILGRIMS-
D-994
                     0007077802




                     Email, "RE: Roundy's", 11/26/2014,
D-995
                     PILGRIMS-0007077804




                     Email, "Re: Wog pricing", 11/26/2014,
D-996
                     PILGRIMS-0007077806




                     Email, "RE: Roundy's Wog spec",
D-997
                     11/26/2014, PILGRIMS-0007077816




                     Email, "RE: Roundy's Deli fresh case
D-998                costing?", 12/05/2014, PILGRIMS-
                     0007077903



                     Email, "RE: Roundy's Deli fresh case
D-999                costing?", 12/05/2014, PILGRIMS-
                     0007077906
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                     Email, "Fast Food 2015
E-001                Customers.pptx", 02/10/2015,
                     PILGRIMS-0007079243




                     Attachment, Pilgrim's presentation,
E-002
                     PILGRIMS-0007079244




                     Email, "Fwd: Otis Principal",
E-003
                     02/20/2015, PILGRIMS-0007079346




                     Email, "FW: FOR OUR CALL",
E-004
                     06/26/2015, PILGRIMS-0007082990




                     Attachment, Pilgrim's presentation,
E-005
                     PILGRIMS-0007082991




                     Email, "RE: KFC meeting",
E-006
                     09/17/2015, PILGRIMS-0007083918




                     Email, "Re: Supplier of the year",
E-007
                     10/08/2015, PILGRIMS-0007084167
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                     Email, "RE: Fwd:", 12/14/2015,
E-008
                     PILGRIMS-0007085546




                     Email, "RE: SBRA", 02/15/2016,
E-009
                     PILGRIMS-0007087562




                     Email, supplier questionnaire,
E-010
                     PILGRIMS-0007101062




                     Email, "FW:", 03/14/2013, PILGRIMS-
E-011
                     0007116007




                     Attachment, supply contract,
E-012
                     PILGRIMS-0007585537




                     Attachment, supply contract,
E-013
                     PILGRIMS-0007585546




                     Attachment, supply contract,
E-014
                     PILGRIMS-0007585547
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                     Attachment, supply contract,
E-015
                     PILGRIMS-0007585551




                     Attachment, supply contract,
E-016
                     PILGRIMS-0007585555




                     Attachment, supply contract,
E-017
                     PILGRIMS-0007585565




                     Attachment, supply contract,
E-018
                     PILGRIMS-0007585568




                     Attachment, supply contract,
E-019
                     PILGRIMS-0007585573




                     Attachment, supply contract,
E-020
                     PILGRIMS-0007585582




                     Email, "2010 SBRA Exhibits",
E-021
                     11/25/2009, PILGRIMS-0007585591
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                     Attachment, supply contract,
E-022
                     PILGRIMS-0007585601




                     Attachment, supply contract,
E-023
                     PILGRIMS-0007585613




                     Attachment, supply contract,
E-024
                     PILGRIMS-0007585624




                     Attachment, supply contract,
E-025
                     PILGRIMS-0007585626




                     Attachment, supply contract,
E-026
                     PILGRIMS-0007585633




                     Attachment, supply contract,
E-027
                     PILGRIMS-0007585641




                     Attachment, supply contract,
E-028
                     PILGRIMS-0007585648
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                     Attachment, supply contract,
E-029
                     PILGRIMS-0007585655




                     Supply contract, PILGRIMS-
E-030
                     0007586367




                     Email, "RE: Tomorrow", 05/04/2010,
E-031
                     PILGRIMS-0007586631




                     Email, "RE: spreading", 05/05/2010,
E-032
                     PILGRIMS-0007586633




                     Email, "RE: KFS Sales Analysis Fixed
E-033                Wt Billing.xlsx", 06/11/2012,
                     PILGRIMS-0007589031



                     Email, "Mikell shot this deer Sunday in
E-034                TX", 11/27/2012, PILGRIMS-
                     0007590059




                     Attachment, signature block,
E-035
                     PILGRIMS-0007590060
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                     Attachment, photo, PILGRIMS-
E-036
                     0007590061




                     Email regarding supply negotiations,
E-037
                     11/28/2012, PILGRIMS-0007590068




                     Email, "RE: 2013 SBRA Exhibits -
E-038                Pilgrim's Boneless revisions",
                     08/19/2013, PILGRIMS-0007591298




                     Attachment, supply contract,
E-039
                     PILGRIMS-0007591300




                     Attachment, contact information,
E-040
                     PILGRIMS-0007591309




                     Email, "FW: F P Bid for Yum!",
E-041
                     09/24/2013, PILGRIMS-0007591383




                     Attachment, RFP, PILGRIMS-
E-042
                     0007591384
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                     Attachment, program description,
E-043
                     PILGRIMS-0007591385




                     Attachment, program description,
E-044
                     PILGRIMS-0007591402




                     Attachment, program description,
E-045
                     PILGRIMS-0007591412




                     Email, "FW: UFPC Final Bid
E-046                Submissions", 11/18/2013, PILGRIMS-
                     0007591896




                     Attachment, bid, PILGRIMS-
E-047
                     0007591897




                     Email, "Models", 11/19/2013,
E-048
                     PILGRIMS-0007591901




                     Attachment, cost model, PILGRIMS-
E-049
                     0007591902
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                     Attachment, cost model, PILGRIMS-
E-050
                     0007591903




                     Email, "2014 UFPC SBRA Exhibits",
E-051
                     12/11/2013, PILGRIMS-0007591990




                     Attachment, supply contract,
E-052
                     PILGRIMS-0007591991




                     Attachment, contact information,
E-053
                     PILGRIMS-0007592000




                     Email, "RE: Pilgrim's - Golden Corral",
E-054
                     12/03/2014, PILGRIMS-0007594643




                     Email, "RE: Numbers", 07/06/2015,
E-055
                     PILGRIMS-0007596004




                     Attachment, Agri-stats data, PILGRIMS-
E-056
                     0007596005
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                     Email, "FW: EASTERN
E-057                POULTRY/WEST LIBERTY FOODS",
                     11/06/2014, PILGRIMS-0007598558




                     Email, "Re: Costco/Goodheart",
E-058
                     02/14/2013, PILGRIMS-0007640971




                     Email, "RE: Ettrick Wings[1].doc,
E-059
                     06/13/2013, PILGRIMS-0007642647




                     Email, "Introduction & Strategy
E-060                Meeting", 06/02/2011, PILGRIMS-
                     0007652194



                     Email, "Strategy Meeting
E-061                Expectations", 06/02/2011, PILGRIMS-
                     0007652195




                     Attachment, company analysis,
E-062
                     PILGRIMS-0007652196




                     Attachment, company analysis,
E-063
                     PILGRIMS-0007652199
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                     Attachment, company analysis,
E-064
                     PILGRIMS-0007652203




                     Attachment, company analysis,
E-065
                     PILGRIMS-0007652205




                     Email, "Introduction & Strategy
E-066                Meeting", 06/02/2011, PILGRIMS-
                     0007652212



                     Email, "Strategy Meeting
E-067                Expectations", 06/02/2011, PILGRIMS-
                     0007652213




                     Attachment, company analysis,
E-068
                     PILGRIMS-0007652214




                     Attachment, company analysis,
E-069
                     PILGRIMS-0007652217




                     Attachment, company analysis,
E-070
                     PILGRIMS-0007652221
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                     Attachment, company analysis,
E-071
                     PILGRIMS-0007652223




                     Attachment, blank page, PILGRIMS-
E-072
                     0007652230




                     Email, "Strategy Meeting
E-073                Expectations", 06/02/2011, PILGRIMS-
                     0007652231




                     Attachment, company strategy,
E-074
                     PILGRIMS-0007652232




                     Attachment, company
E-075
                     strategy,PILGRIMS-0007652235




                     Attachment, company strategy,
E-076
                     PILGRIMS-0007652239




                     Attachment, company strategy,
E-077
                     PILGRIMS-0007652241
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                     Email, "RE: Remarks for opening at
E-078                NCC Marketing Seminar", 07/18/2013,
                     PILGRIMS-0008935953




                     Attachment, remarks, PILGRIMS-
E-079
                     0008935954




                     Email, "RE: Tyson", 04/14/2014,
E-080
                     PILGRIMS-0008937148




                     Email, "FW: Final IQF Chicken
E-081                Letters", 11/24/2014, PILGRIMS-
                     0008971122




                     Attachment, Kroger letter, PILGRIMS-
E-082
                     0008971123




                     Email, "FW: 2013 Bone In Offer",
E-083
                     11/26/2012, PILGRIMS-0008977636




                     Email, "Austin Presentation.pptx",
E-084
                     07/15/2014, PILGRIMS-0008989971
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                     Attachment, presentation, PILGRIMS-
E-085
                     0008989972




                     Email re CFA likely to grow
E-086                substantially in the next 10 years.,
                     07/17/2014, PILGRIMS-0008990026



                     Email, "Re: KFC 2012 Pricing
E-087                (2).xlsx", 11/09/2011, PILGRIMS-
                     0009031402




                     Attachment, blank page, PILGRIMS-
E-088
                     0009031403




                     Email, "KFC", 01/26/2012, PILGRIMS-
E-089
                     0009033339




                     Email, "RE: NPR Meeting Re-cap",
E-090
                     03/23/2012, PILGRIMS-0009034964




                     Email, "FW:", 11/28/2012, PILGRIMS-
E-091
                     0009040100
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                     Email, "RE: FW:", 11/29/2012,
E-092
                     PILGRIMS-0009040244




                     Email, "Re: Popeyes", 11/29/2012,
E-093
                     PILGRIMS-0009040259




                     Email, "USFS Strategy Review",
E-094
                     11/30/2012, PILGRIMS-0009040263




                     Attachment, presentation, PILGRIMS-
E-095
                     0009040265




                     Attachment, company analysis,
E-096
                     PILGRIMS-0009040309




                     Attachment, company analysis,
E-097
                     PILGRIMS-0009040310




                     Attachment, logo, PILGRIMS-
E-098
                     0009040342
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                     Email, "RE: Thoughts", 01/24/2013,
E-099
                     PILGRIMS-0009043498




                     Email, "Re: please release", 1/29/2013,
E-100
                     PILGRIMS-0009043853




                     Email, "RE: please release",
E-101
                     01/29/2013, PILGRIMS-0009043861




                     Attachment, company analysis,
E-102
                     PILGRIMS-0009043864




                     Email, "RE: KFC B/L Cost model",
E-103
                     02/08/2013, PILGRIMS-0009044130




                     Email, "Costco - Sidney", 02/26/2013,
E-104
                     PILGRIMS-0009044294




                     Email, "Fwd: 2013-2014 Poultry
E-105                pricing", 02/28/2013, PILGRIMS-
                     0009044315
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                     Email, "Costco 2013 recap",
E-106
                     03/01/2013, PILGRIMS-0009044321




                     Attachment, recap, PILGRIMS-
E-107
                     0009044322




                     Email, "Re: Costco Discussion",
E-108
                     03/01/2013, PILGRIMS-0009044325




                     Email, "RE: Re additional wing
E-109                purchase", 05/24/2013, PILGRIMS-
                     0009049054




                     Email, "RE: Mighty Wings",
E-110
                     08/27/2013, PILGRIMS-0009060087




                     Email, "Weekly Update 12/1",
E-111
                     12/06/2013, PILGRIMS-0009062942




                     Email, "Fwd: November 2013 Poultry
E-112                Survey", 1/2/2014, PILGRIMS-
                     0009063251
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                     Email, "Re: John Paul Graves",
E-113
                     07/31/2014, PILGRIMS-0009078001




                     Email, "KFC Price Increase 14-08-
E-114                15.xlsx", 08/19/2014, PILGRIMS-
                     0009078518




                     Attachment, price analysis, PILGRIMS-
E-115
                     0009078519




                     Email, "Re: Pilgrim's Back Half
E-116                Pricing", 08/26/2014, PILGRIMS-
                     0009078594




                     Email, "Re: Rotisserie", 11/24/2014,
E-117
                     PILGRIMS-0009084137




                     Email, "Re: King Soopers", 11/24/2014,
E-118
                     PILGRIMS-0009084147




                     Email, "Re: King Soopers", 11/25/2014,
E-119
                     PILGRIMS-0009084158
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                     Email, "RE: Balance sheet",
E-120
                     01/05/2015, PILGRIMS-0009085985




                     Email, "RE: Where the birds went.",
E-121
                     02/13/2015, PILGRIMS-0009089977




                     Email, "Re: Small Wog Dynamics,
E-122                other stuff", 02/15/2015, PILGRIMS-
                     0009090053




                     Email, "RE: 2016 KPI's", 12/08/2015,
E-123
                     PILGRIMS-0009106304




                     Attachment, KPIs, PILGRIMS-
E-124
                     0009106306




                     Email, "Sysco update", 05/14/2016,
E-125
                     PILGRIMS-0009114194




                     Email, "RE:", 11/24/2014, PILGRIMS-
E-126
                     0009181498
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                     Email, "FW: Tyson fresh chicken spec
E-127                sheets", 11/25/2014, PILGRIMS-
                     0009181512




                     Attachment, product information,
E-128
                     PILGRIMS-0009181514




                     Email, "Re: Roti Chickens",
E-129
                     11/26/2014, PILGRIMS-0009181543




                     Email, "FW: Roundy's Wog spec",
E-130
                     12/03/2014, PILGRIMS-0009181599




                     Attachment, product information,
E-131
                     PILGRIMS-0009181602




                     Attachment, product information,
E-132
                     PILGRIMS-0009181603




                     Email, "RE:", 01/07/2015, PILGRIMS-
E-133
                     0009181966
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                     Email, "RE: Where the birds went.",
E-134
                     02/12/2015, PILGRIMS-0009182391




                     Email, "RE: Where the birds went.",
E-135
                     02/12/2015, PILGRIMS-0009182393




                     Email, "RE:", 03/31/2015, PILGRIMS-
E-136
                     0009182647




                     Email, "Re: Do not forward",
E-137
                     09/17/2015, PILGRIMS-0009185471




                     Meeting invitation, "KFC", PILGRIMS-
E-138
                     0009252790




                     Meeting invitation, "KFC", PILGRIMS-
E-139
                     0009252810




                     Meeting invitation, "Pilgrim's Carrolton
E-140
                     Discussion", PILGRIMS-0009252836
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                     Meeting invitation, "KFC Bid
E-141                Discussion 1:30pmMT", PILGRIMS-
                     0009252843



                     Meeting invitation, " Pilgrims
E-142                Negotiation Call", PILGRIMS-
                     0009252915




                     Meeting invitation, "Yum! Final Pricing
E-143
                     Conference", PILGRIMS-0009252916




                     Meeting invitation, " KFC Bid",
E-144
                     PILGRIMS-0009253134




                     Meeting invitation, "KFC", PILGRIMS-
E-145
                     0009253139




                     Meeting invitation, "KFC Bid
E-146
                     Discussion", PILGRIMS-0009253142




                     Meeting invitation, "KFC Discussion",
E-147
                     PILGRIMS-0009253149
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                     Meeting invitation, "KFC", PILGRIMS-
E-148
                     0009253150




                     Meeting invitation, "KFC", PILGRIMS-
E-149
                     0009253151




                     Meeting invitation, "KFC", PILGRIMS-
E-150
                     0009253156




                     Meeting invitation, "Fast Food",
E-151
                     PILGRIMS-0009253162




                     Meeting invitation, "Bids", PILGRIMS-
E-152
                     0009253174




                     Meeting invitation, "Cost Plus Call",
E-153
                     PILGRIMS-0009253175




                     Meeting invitation, "KFC", PILGRIMS-
E-154
                     0009253176
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                     Email, "FW: KFC Fresh Poultry
E-155                Discussion", 05/27/2014, PILGRIMS-
                     0009253330




                     Meeting invitation, "Lunch",
E-156
                     PILGRIMS-0009253333




                     Meeting invitation, "Dinner with
E-157                Pilgrim's Pride", PILGRIMS-
                     0009253364



                     Meeting invitation, "Pilgrim's Pride
E-158                Poultry Meeting", PILGRIMS-
                     0009253366



                     Meeting invitation, " Discuss KFC 8pc
E-159                COB Purple Label Spec", PILGRIMS-
                     0009253383




                     Meeting invitation, "KFC pricing
E-160
                     models", PILGRIMS-0009253404




                     Meeting invitation, "KFC", PILGRIMS-
E-161
                     0009253405
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                     Meeting invitation, "Pilgrim's Pride
E-162
                     Meeting", PILGRIMS-0009253407




                     Meeting invitation, "KFC Discussion
E-163                1:15pmMDT", PILGRIMS-
                     0009253411




                     Meeting invitation, "9 Box Training
E-164
                     Session 3", PILGRIMS-0009253421




                     Meeting invitation, "Pricing Call",
E-165
                     PILGRIMS-0009253434




                     Meeting invitation, "RSCS/Pilgrim's
E-166                Pride Lunch to discuss Rich's poor
                     attitude", PILGRIMS-0009253533




                     Meeting invitation, "Pilgrim's Checking
E-167
                     In Lunch", PILGRIMS-0009254364




                     Meeting invitation, "Insight Meeting-
E-168
                     Pilgrims", PILGRIMS-0009254556
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                     Meeting invitation, "Accepted: Follow
E-169
                     Up Meeting", PILGRIMS-0009255155




                     Meeting invitation, "FW: Pilgrim's
E-170                Pride Small Bird Discussion with
                     McKinsey", PILGRIMS-0009305679



                     Meeting invitation, " FW: RWA
E-171                Discussion with Pilgrim's", PILGRIMS-
                     0009319882



                     Meeting invitation, " Call to discuss
                     response to CFA - Time of ABF
E-172
                     implement & Cost", PILGRIMS-
                     0009319895



                     Meeting invitation, " SG&A & Price
E-173
                     Increase", PILGRIMS-0009320581




                     Meeting invitation, "Industry Trends
E-174                and Supply Ideas", PILGRIMS-
                     0009347067



                     Meeting invitation, " Pilgrim's
E-175                Deli/Food Service Update", PILGRIMS-
                     0009347254
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                     Meeting invitation, " McGuire-Penn",
E-176
                     PILGRIMS-0009347279




                     Meeting invitation, " KFC pricing
E-177
                     models", PILGRIMS-0009347376




                     Meeting invitation, "KFC", PILGRIMS-
E-178
                     0009347412




                     Meeting invitation, " KFC Discussion
E-179                1:15pmMDT", PILGRIMS-
                     0009347450




                     Meeting invitation, "Accepted: PT",
E-180
                     PILGRIMS-0009353169




                     Meeting invitation, "FW: Pilgrim's
E-181                Pride Small Bird Discussion with
                     McKinsey", PILGRIMS-0009356960



                     Meeting invitation, "Kroger Top-to-Top
                     Meeting AGENDA & JET SCHEDULE
E-182
                     ATTACHED", PILGRIMS-
                     0009357229
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                     Attachment, schedule, PILGRIMS-
E-183
                     0009357230




                     Meeting invitation, "CFA Cost Model",
E-184
                     PILGRIMS-0009357601




                     Meeting invitation, "KFC", PILGRIMS-
E-185
                     0009357820




                     Meeting invitation, "Sysco Terms
E-186
                     change", PILGRIMS-0009394171




                     Meeting invitation, "Sysco Terms
E-187
                     change", PILGRIMS-0009394178




                     Meeting invitation, "Sysco Terms
E-188
                     change", PILGRIMS-0009394179




                     Meeting Invitation, "Sysco terms",
E-189
                     PILGRIMS-0009394340
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                     Meeting invitation, "Sysco terms",
E-190
                     PILGRIMS-0009394349




                     Meeting invitation, "PT", PILGRIMS-
E-191
                     0009395429




                     Meeting invitation, "Accepted: PT",
E-192
                     PILGRIMS-0009395430




                     Meeting invitation, "Accepted: PT",
E-193
                     PILGRIMS-0009395431




                     Email, "FW: Chick-fil-A discussion…",
E-194
                     10/7/2015, PILGRIMS-0009398809




                     Email, "Mayfield/AR Trip",
E-195
                     12/02/2015, PILGRIMS-0009399276




                     Email, "RE: Pilgrims data sheet.xlsx",
E-196
                     03/19/2013, PILGRIMS-0009779420
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                     Attachment, label, PILGRIMS-
E-197
                     0009782351




                     Attachment, presentation, PILGRIMS-
E-198
                     0009782352




                     Attachment, schedule, PILGRIMS-
E-199
                     0009782375




                     Attachment, designations, PILGRIMS-
E-200
                     0009782376




                     Email, "Pricing", 01/25/2012,
E-201
                     PILGRIMS-0009782377




                     Attachment, presentation, PILGRIMS-
E-202
                     0009782379




                     Email, "RE: Address for SBRA",
E-203
                     12/19/2013, PILGRIMS-0009795016
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                     Attachment, supply contract,
E-204
                     PILGRIMS-0009795018




                     Email, "FW: YUM 2015 Pilgrim's
E-205                SBRA Exhibits", 10/27/2014,
                     PILGRIMS-0009795052




                     Attachment, supply contract,
E-206
                     PILGRIMS-0009795053




                     Email, "Re: KFC 2012 Pricing
E-207                (2).xlsx", 11/22/2011, PILGRIMS-
                     0009892976




                     Email, "FW: Address for SBRA",
E-208
                     12/19/2013, PILGRIMS-0009903730




                     Attachment, supply contract,
E-209
                     PILGRIMS-0009903732




                     Email, "Fwd: Commercial Net Dock &
E-210                Trend Report P10 Wk2 CY14",
                     10/18/2014, PILGRIMS-0009910036
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                     Attachment, commercial report,
E-211
                     PILGRIMS-0009910038




                     Attachment, Mobile Record,
E-212
                     PILGRIMS-0009910039




                     Attachment, commercial
E-213
                     report,PILGRIMS-0009910040




                     Attachment, Mobile Record,
E-214
                     PILGRIMS-0009910041




                     Email, "Re: 2015 Pilgrim's SBRA
E-215                Exhibits", 10/28/2014, PILGRIMS-
                     0009910346




                     Email, "Contract", 09/17/2015,
E-216
                     PILGRIMS-0009930704




                     Email, "RSCS - SBRA", 09/17/2015,
E-217
                     PILGRIMS-0009930705
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                     Attachment, supply contract,
E-218
                     PILGRIMS-0009930706




                     Email, "FW: SBRA", 02/15/2016,
E-219
                     PILGRIMS-0009930728




                     Attachment, supply contract,
E-220
                     PILGRIMS-0009930729




                     Email, "Re: PILGRIMS PRIDE Revised
E-221                Terms Letter", 04/25/2016, PILGRIMS-
                     0009964734




                     Email, "360 Reports - Smith",
E-222
                     02/23/2011, PILGRIMS-0009971023




                     Attachment, employee reports,
E-223
                     PILGRIMS-0009971024




                     Attachment, employee reports,
E-224
                     PILGRIMS-0009971025
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                     Attachment, employee reports,
E-225
                     PILGRIMS-0009971030




                     Attachment, employee reports,
E-226
                     PILGRIMS-0009971038




                     Attachment, employee reports,
E-227
                     PILGRIMS-0009971057




                     Attachment, employee reports,
E-228
                     PILGRIMS-0009971086




                     Attachment, employee reports,
E-229
                     PILGRIMS-0009971096




                     Attachment, employee reports,
E-230
                     PILGRIMS-0009971102




                     Email, "Kickoff Meeting Recap",
E-231
                     01/08/2012, PILGRIMS-0009972274
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                     Email, "RE: Wings", 01/20/2012,
E-232
                     PILGRIMS-0009972305



                     Email, "SIGNIFICANT POTENTIAL,
                     BUT WEAK S/D FUNDAMENTALS
E-233                KEEP US ON SIDELINES; HOLD
                     (2)", 04/26/2011, PILGRIMS-
                     0010011911

                     Email, "PPC: SIGNIFICANT
                     POTENTIAL, BUT WEAK S/D
E-234                FUNDAMENTALS KEEP US ON
                     SIDELINES; HOLD (2)", 04/26/2011,
                     PILGRIMS-0010011922



                     Attachment, blank page, PILGRIMS-
E-235
                     0010011933



                     Email, "SIGNIFICANT POTENTIAL,
                     BUT WEAK S/D FUNDAMENTALS
E-236                KEEP US ON SIDELINES; HOLD
                     (2)", 04/26/2011, PILGRIMS-
                     0010011944


                     Email, "Golden Corral 2015 Pricing
E-237                .xlsx", 12/15/2014, PILGRIMS-
                     0010348894




                     Attachment, cost model, PILGRIMS-
E-238
                     0010348895
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                     Email, "Golden Corral 2015 Pricing
E-239                .xlsx", 12/17/2014, PILGRIMS-
                     0010348896




                     Attachment, cost model, PILGRIMS-
E-240
                     0010348897




                     Email, "FW: Golden Corral Pricing
E-241                2015", 01/05/2015, PILGRIMS-
                     0010348912




                     Attachment, cost model, PILGRIMS-
E-242
                     0010348913




                     Email, "Contract 'Golden Corral
E-243                entered.", 01/06/2015, PILGRIMS-
                     0010348914




                     Attachment, cost model, PILGRIMS-
E-244
                     0010348915




                     Email, "RE: Golden Corral",
E-245
                     11/14/2014, PILGRIMS-0010431373
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                     Email, "FW: Fresh Chicken Category
E-246                Extension", 04/25/2016, PILGRIMS-
                     0010445034




                     Attachment, supply contract,
E-247
                     PILGRIMS-0010445035




                     Email, "Fresh Chicken Contract
E-248                Extension", 05/11/2016, PILGRIMS-
                     0010445245




                     Attachment, supply contract,
E-249
                     PILGRIMS-0010445246




                     Email, "Fwd: PPC Aging 5-12-16",
E-250
                     05/13/2016, PILGRIMS-0010445259




                     Attachment, accounts analysis,
E-251
                     PILGRIMS-0010445262




                     Attachment, mobile record, PILGRIMS-
E-252
                     0010445263
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                     Attachment, accounts analysis,
E-253
                     PILGRIMS-0010445264




                     Attachment, mobile record, PILGRIMS-
E-254
                     0010445265




                     Email, "RE: Meijer Prepared Foods
E-255                pricing proposal", 08/12/2014,
                     PILGRIMS-0010494161



                     Email regarding company presentations,
E-256                10/17/2012, PILGRIMS-DOJ-
                     0000104930




                     Attachment, company presentation,
E-257
                     PILGRIMS-DOJ-0000104931




                     Email, "Weekly report- week ending 11-
E-258                09-12.docx", 11/09/2012, PILGRIMS-
                     DOJ-0000105035




                     Attachment, Pilgrim's letter, PILGRIMS-
E-259
                     DOJ-0000105036
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                     Email, "FW: GOLDEN CORRAL
E-260                UPDATE", 11/15/2012, PILGRIMS-
                     DOJ-0000105053



                     Email, "RE: GOLDEN CORRAL",
E-261                04/19/2013, PILGRIMS-DOJ-
                     0000106465



                     Email, "RE: PHONE
                     CONVERSATION 05/15/13",
E-262
                     05/21/2013, PILGRIMS-DOJ-
                     0000106539



                     Email, "Completed: Revised Contract",
E-263                12/22/2013, PILGRIMS-DOJ-
                     0000110480




                     Attachment, supply contract,
E-264
                     PILGRIMS-DOJ-0000110481




                     Email, "Fwd: Church's June 2013
E-265                Forecast", 05/24/2013, PILGRIMS-DOJ-
                     0000174644




                     Attachment, company forecast,
E-266
                     PILGRIMS-DOJ-0000174646
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                     Attachment, mobile record, PILGRIMS-
E-267
                     DOJ-0000174647




                     Attachment, company forecast,
E-268
                     PILGRIMS-DOJ-0000174648




                     Attachment, mobile record, PILGRIMS-
E-269
                     DOJ-0000174649




                     Attachment, action plan, PILGRIMS-
E-270
                     DOJ-0000174650




                     Attachment, mobile record, PILGRIMS-
E-271
                     DOJ-0000174655




                     Attachment, action plan, PILGRIMS-
E-272
                     DOJ-0000174656




                     Attachment, mobile record, PILGRIMS-
E-273
                     DOJ-0000174662
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                     Email, "Re: Church's Frozen 8pc and
E-274                Dark Meat-Pilgrims Pride", 05/31/2013,
                     PILGRIMS-DOJ-0000174709



                     Email, "Re: Church's Frozen 8pc and
E-275                Dark Meat-Pilgrims Pride", 06/01/2013,
                     PILGRIMS-DOJ-0000174733



                     Email, "Church's Letter of Agreement-
E-276                Pilgrims Pride", 06/13/2013,
                     PILGRIMS-DOJ-0000174890




                     Attachment, supply contract,
E-277
                     PILGRIMS-DOJ-0000174891



                     Email, "RE: Church's Letter of
                     Agreement-Pilgrims Pride",
E-278
                     08/09/2013, PILGRIMS-DOJ-
                     0000175725



                     Email, "FW: Church's LOA with
E-279                Pilgrims Pride", 10/17/2013,
                     PILGRIMS-DOJ-0000176705




                     Attachment, supply contract,
E-280
                     PILGRIMS-DOJ-0000176706
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                     Email, "FW:", 10/24/2013, PILGRIMS-
E-281
                     DOJ-0000176796




                     Attachment, cost model, PILGRIMS-
E-282
                     DOJ-0000176797




                     Attachment, cost model, PILGRIMS-
E-283
                     DOJ-0000176798




                     Attachment, cost model, PILGRIMS-
E-284
                     DOJ-0000176799




                     Attachment, cost model, PILGRIMS-
E-285
                     DOJ-0000176800




                     Attachment, cost model, PILGRIMS-
E-286
                     DOJ-0000176801




                     Email, "Re: RE: RE:", 10/28/2013,
E-287
                     PILGRIMS-DOJ-0000176841
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                     Email, "RE: CHURCH'S RFP",
E-288                11/06/2013, PILGRIMS-DOJ-
                     0000176986




                     Attachment, cost model, PILGRIMS-
E-289
                     DOJ-0000176988




                     Email, "Re: CHURCH'S RFP",
E-290                11/06/2013, PILGRIMS-DOJ-
                     0000176989



                     Email, "Re: CHURCH'S RFP",
E-291                11/06/2013, PILGRIMS-DOJ-
                     0000176993



                     Email, "YUM Sales - Week #46",
E-292                11/19/2013, PILGRIMS-DOJ-
                     0000177278




                     Attachment, company analysis,
E-293
                     PILGRIMS-DOJ-0000177279




                     Email, "Re: Church's for SSA",
E-294                12/24/2013, PILGRIMS-DOJ-
                     0000177839
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                     Email, "FW: PFG Purchase Order
E-295                #1071769", 02/04/2014, PILGRIMS-
                     DOJ-0000178457




                     Attachment, purchase order,
E-296
                     PILGRIMS-DOJ-0000178458




                     Attachment, mobile record, PILGRIMS-
E-297
                     DOJ-0000178459




                     Email, "Fwd_ PFG Purchase Order
E-298                #1071769", 02/04/2014, PILGRIMS-
                     DOJ-0000178460



                     Email, "Pilgrim's Issues at PFGC-
E-299                Georgia", 02/15/2014, PILGRIMS-DOJ-
                     0000178591



                     Email, "Small Bird 2015-
E-300                Churchs.pptx", 08/21/2014, PILGRIMS-
                     DOJ-0000180211




                     Attachment, company presentation,
E-301
                     PILGRIMS-DOJ-0000180212
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                     Email, "Sanderson Pricing...Just FYI",
E-302                08/22/2013, PILGRIMS-DOJ-
                     0000185503



                     Email, "Pricing Strategy Presentation",
E-303                10/31/2014, PILGRIMS-DOJ-
                     0000188497




                     Attachment, company presentation,
E-304
                     PILGRIMS-DOJ-0000188498



                     Email, "Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
E-305
                     PRIDE", 06/22/2016, PILGRIMS-DOJ-
                     0000242419



                     Attachment, payment terms, PILGRIMS-
E-306
                     DOJ-0000242421




                     Email, "FW: 2017 Fresh Chicken
E-307                Supply Changes", 11/18/2016,
                     PILGRIMS-DOJ-0000298603




                     Email, "Bid Summary", 10/26/2012,
E-308
                     PILGRIMS-DOJ-0000332909
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                     Attachment, bid summary, PILGRIMS-
E-309
                     DOJ-0000332910




                     Attachment, meeting recap, PILGRIMS-
E-310
                     DOJ-0000332911




                     Email, "Re: Price Reduction
E-311                Spreadsheet", 11/29/2012, PILGRIMS-
                     DOJ-0000333155




                     Email, "Models", 11/19/2013,
E-312
                     PILGRIMS-DOJ-0000335130




                     Attachment, cost model, PILGRIMS-
E-313
                     DOJ-0000335131




                     Attachment, cost model, PILGRIMS-
E-314
                     DOJ-0000335132




                     Email, "RE: Models", 11/19/2013,
E-315
                     PILGRIMS-DOJ-0000335133
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                     Attachment, cost model, PILGRIMS-
E-316
                     DOJ-0000335134




                     Email, "RE: Fresh Chicken",
E-317                09/22/2016, PILGRIMS-DOJ-
                     0000341801




                     Email, "Deck", 01/24/2017, PILGRIMS-
E-318
                     DOJ-0000343693




                     Attachment, company analysis,
E-319
                     PILGRIMS-DOJ-0000343694




                     Email, "FW: PO for KFC from
E-320                George's", 09/12/2017, PILGRIMS-
                     DOJ-0000346641



                     Email, "RE: information by next
E-321                Thursday please", 2/19/2018,
                     PILGRIMS-DOJ-0000350549



                     Attachment, "Supply Demand
E-322                Indicators Customer Version 02-07-
                     18.pptx", PILGRIMS-DOJ-0000350554
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                     Attachment,
E-323                "Microsoft_Excel_Worksheet3.xlsx",
                     PILGRIMS-DOJ-0000350593



                     Attachment,
E-324                "Microsoft_Excel_Worksheet2.xlsx",
                     PILGRIMS-DOJ-0000350594



                     Attachment,
E-325                "Microsoft_Excel_Worksheet1.xlsx",
                     PILGRIMS-DOJ-0000350595




                     Email, "January Pricing", 01/02/2019,
E-326
                     PILGRIMS-DOJ-0000362034




                     Attachment, cost model, PILGRIMS-
E-327
                     DOJ-0000362035



                     Email, "FW: Strategy Development -
                     Becoming the Irreplaceable Valued
E-328                Partner to our Key Customer",
                     10/26/2012, PILGRIMS-DOJ-
                     0000383019



                     Attachment, company presentation,
E-329
                     PILGRIMS-DOJ-0000383020
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                     Email regarding cost model,
E-330                11/05/2012, PILGRIMS-DOJ-
                     0000383404




                     Attachment, cost model, PILGRIMS-
E-331
                     DOJ-0000383405




                     Attachment, bid summary, PILGRIMS-
E-332
                     DOJ-0000383406




                     Attachment, Pilgrim's letter, PILGRIMS-
E-333
                     DOJ-0000383407




                     Attachment, cost model, PILGRIMS-
E-334
                     DOJ-0000383408




                     Email, "FW: 2013 Bone In Offer",
E-335                11/26/2012, PILGRIMS-DOJ-
                     0000383844




                     Attachment, cost model, PILGRIMS-
E-336
                     DOJ-0000383845
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                     Attachment, supply amounts,
E-337
                     PILGRIMS-DOJ-0000383846




                     Attachment, cost model, PILGRIMS-
E-338
                     DOJ-0000383847




                     Email, "RE: FW:", 11/28/2012,
E-339
                     PILGRIMS-DOJ-0000383924




                     Email, "RE:", 10/08/2013, PILGRIMS-
E-340
                     DOJ-0000389081



                     Email, "RE: Puerto Rico Pay Day -
                     Discount on Pilgrims 8 pc. 80496 (2.5 -
E-341
                     2.75 lbs.)", 10/14/2013, PILGRIMS-
                     DOJ-0000389138



                     Email regarding company presentation,
E-342                11/13/2013, PILGRIMS-DOJ-
                     0000390011




                     Attachment, company presentation,
E-343
                     PILGRIMS-DOJ-0000390012
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                     Email, "FW: KFC", 11/20/2013,
E-344
                     PILGRIMS-DOJ-0000390083




                     Attachment, cost model, PILGRIMS-
E-345
                     DOJ-0000390084




                     Email, "FW: Availability", 05/13/2014,
E-346
                     PILGRIMS-DOJ-0000392669




                     Attachment, supply production,
E-347
                     PILGRIMS-DOJ-0000392670




                     2013 Pilgrim's presentation to CFA,
E-348
                     PILGRIMS-DOJ-0000393093




                     Email, "RE: PowerPoint", 07/22/2014,
E-349
                     PILGRIMS-DOJ-0000393668




                     Attachment, company presentation,
E-350
                     PILGRIMS-DOJ-0000393669
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                     Attachment, plant analysis, PILGRIMS-
E-351
                     DOJ-0000393687




                     Email, "Pre Bid meeting 8 1
E-352                2014.pptx", 07/29/2014, PILGRIMS-
                     DOJ-0000393934




                     Attachment, company presentation,
E-353
                     PILGRIMS-DOJ-0000393935



                     Email, "Summit News: Lessons in
                     Leadership - July 2014 Edition",
E-354
                     07/30/2014, PILGRIMS-DOJ-
                     0000393961



                     Email, "Fwd: RSCS 2015 Further
E-355                Processed Poultry RFP", 10/13/2014,
                     PILGRIMS-DOJ-0000394705




                     Attachment, capacity template,
E-356
                     PILGRIMS-DOJ-0000394706




                     Attachment, mobile record, PILGRIMS-
E-357
                     DOJ-0000394707
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                     Attachment, cost model, PILGRIMS-
E-358
                     DOJ-0000394708




                     Attachment, mobile record, PILGRIMS-
E-359
                     DOJ-0000394709




                     Attachment, RFI questions, PILGRIMS-
E-360
                     DOJ-0000394710




                     Attachment, mobile record, PILGRIMS-
E-361
                     DOJ-0000394711




                     Attachment, RSCS's letter, PILGRIMS-
E-362
                     DOJ-0000394712




                     Attachment, mobile record, PILGRIMS-
E-363
                     DOJ-0000394715




                     Attachment, RFP, PILGRIMS-DOJ-
E-364
                     0000394716
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                     Attachment, mobile record, PILGRIMS-
E-365
                     DOJ-0000394717



                     Email, "RE: RSCS 2015 Further
                     Processed Poultry RFP Supplier
E-366
                     Feedback R1", 11/06/2014, PILGRIMS-
                     DOJ-0000395053



                     Email, "FW: Bid", 11/06/2014,
E-367
                     PILGRIMS-DOJ-0000395069




                     Attachment, RFP, PILGRIMS-DOJ-
E-368
                     0000395071




                     Attachment, capacity template,
E-369
                     PILGRIMS-DOJ-0000395072




                     Attachment, cost model, PILGRIMS-
E-370
                     DOJ-0000395073




                     Email, "Major Customer price
E-371                increases", 12/30/2014, PILGRIMS-
                     DOJ-0000395757
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                     Email, "RE: Where the birds went.",
E-372                02/12/2015, PILGRIMS-DOJ-
                     0000396793



                     PPC emails re details of locking in corn
E-373                and meal pricing for CFA., PILGRIMS-
                     DOJ-0000398619



                     Email, "Contract 'CFA Jan/Feb
E-374                entered.", 12/29/2015, PILGRIMS-DOJ-
                     0000401688




                     Attachment, cost model, PILGRIMS-
E-375
                     DOJ-0000401689




                     Email, "FW: KFC COB SBRA
E-376                Document", 08/14/2017, PILGRIMS-
                     DOJ-0000411511




                     Attachment, supply contract,
E-377
                     PILGRIMS-DOJ-0000411513




                     Email, "FW: KFC COB SBRA
E-378                Document", 09/01/2017, PILGRIMS-
                     DOJ-0000412050
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                     Attachment, supply contract,
E-379
                     PILGRIMS-DOJ-0000412051




                     Email, "Popeye's 2018 & 2019 Pricing
E-380                Model", 09/05/2017, PILGRIMS-DOJ-
                     0000412075




                     Attachment, cost model, PILGRIMS-
E-381
                     DOJ-0000412076




                     Email, "RE: Popeye's 2018 & 2019
E-382                Pricing Model", 09/05/2017,
                     PILGRIMS-DOJ-0000412078




                     Attachment, cost model, PILGRIMS-
E-383
                     DOJ-0000412079




                     Email, "2018 / 2019 Proposal Bone In",
E-384                09/05/2017, PILGRIMS-DOJ-
                     0000412081




                     Attachment, cost model, PILGRIMS-
E-385
                     DOJ-0000412082
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                     Attachment, cost model, PILGRIMS-
E-386
                     DOJ-0000412083




                     Attachment, supply analysis,
E-387
                     PILGRIMS-DOJ-0000412084




                     Email, "Re: 2018 Comparison Pricing",
E-388                12/19/2017, PILGRIMS-DOJ-
                     0000413708



                     Email, "January 2018 Pricing",
E-389                12/28/2017, PILGRIMS-DOJ-
                     0000413826




                     Attachment, cost model, PILGRIMS-
E-390
                     DOJ-0000413827




                     Email, "FW:", 03/12/2018, PILGRIMS-
E-391
                     DOJ-0000415231




                     Attachment, supply contract,
E-392
                     PILGRIMS-DOJ-0000415232
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                     Email, "FW: Pilgrims Sysco St Louis
E-393                2012.doc", 12/29/2011, PILGRIMS-
                     DOJ-0000437216




                     Attachment, Golden Corral's letter,
E-394
                     PILGRIMS-DOJ-0000437217




                     Email, "RE: KFC pricing", 05/01/2012,
E-395
                     PILGRIMS-DOJ-0000443625




                     Email, "FW: 8pc pricing request for
E-396                Hampton Roads", 07/12/2012,
                     PILGRIMS-DOJ-0000446016




                     Attachment, logo, PILGRIMS-DOJ-
E-397
                     0000446019




                     Email, "RE: Popeye volumes",
E-398                10/11/2012, PILGRIMS-DOJ-
                     0000448825



                     Email, "RE: George's / Mar Jac
E-399                pricing", 12/19/2013, PILGRIMS-DOJ-
                     0000462400
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                     Email, "Re: Media picking up on small
E-400                bird situation", 11/18/2014, PILGRIMS-
                     DOJ-0000467967



                     Email, "FW: Certicications and
E-401                Disclosures for Q4", 01/29/2015,
                     PILGRIMS-DOJ-0000468992




                     Attachment, Pilgrim's letter, PILGRIMS-
E-402
                     DOJ-0000468994




                     Attachment, Pilgrim's letter, PILGRIMS-
E-403
                     DOJ-0000468996




                     Attachment, Pilgrim's letter, PILGRIMS-
E-404
                     DOJ-0000468998




                     Attachment, Pilgrim's letter, PILGRIMS-
E-405
                     DOJ-0000469000




                     Attachment, Pilgrim's letter, PILGRIMS-
E-406
                     DOJ-0000469002
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                     Attachment, Pilgrim's letter, PILGRIMS-
E-407
                     DOJ-0000469004




                     Attachment, Pilgrim's letter, PILGRIMS-
E-408
                     DOJ-0000469006




                     Attachment, Pilgrim's letter, PILGRIMS-
E-409
                     DOJ-0000469008




                     Attachment, Pilgrim's letter, PILGRIMS-
E-410
                     DOJ-0000469010




                     Attachment, Pilgrim's letter, PILGRIMS-
E-411
                     DOJ-0000469012




                     Attachment, Pilgrim's letter, PILGRIMS-
E-412
                     DOJ-0000469014




                     Attachment, Pilgrim's letter, PILGRIMS-
E-413
                     DOJ-0000469016
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                     Attachment, Pilgrim's letter, PILGRIMS-
E-414
                     DOJ-0000469018




                     Attachment, Pilgrim's letter, PILGRIMS-
E-415
                     DOJ-0000469020




                     Attachment, Pilgrim's letter, PILGRIMS-
E-416
                     DOJ-0000469022




                     Attachment, Pilgrim's letter, PILGRIMS-
E-417
                     DOJ-0000469024




                     Attachment, Pilgrim's letter, PILGRIMS-
E-418
                     DOJ-0000469026




                     Attachment, Pilgrim's letter, PILGRIMS-
E-419
                     DOJ-0000469028




                     Attachment, Pilgrim's letter, PILGRIMS-
E-420
                     DOJ-0000469030
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                     Attachment, Pilgrim's letter, PILGRIMS-
E-421
                     DOJ-0000469032




                     Attachment, Pilgrim's letter, PILGRIMS-
E-422
                     DOJ-0000469034




                     Attachment, Pilgrim's letter, PILGRIMS-
E-423
                     DOJ-0000469036




                     Attachment, Pilgrim's letter, PILGRIMS-
E-424
                     DOJ-0000469038




                     Attachment, company policy,
E-425
                     PILGRIMS-DOJ-0000469040




                     Company policy, PILGRIMS-DOJ-
E-426
                     0000469041




                     Text message regarding sales
E-427                negotiations, PILGRIMS-DOJ-
                     0000484696
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                     Text message regarding sales
E-428                negotiations, PILGRIMS-DOJ-
                     0000484944




                     Text message regarding customers
E-429
                     analysis, PILGRIMS-DOJ-0000484965




                     Attachment regarding customer
E-430
                     analysis, PILGRIMS-DOJ-0000484966




                     Text message regarding sales
E-431                negotiations, PILGRIMS-DOJ-
                     0000485278



                     Text message regarding sales
E-432                negotiations, PILGRIMS-DOJ-
                     0000485279



                     Text message regarding sales
E-433                negotiations, PILGRIMS-DOJ-
                     0000485280



                     Text message regarding sales
E-434                negotiations, PILGRIMS-DOJ-
                     0000485344
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                     Text message regarding sales
E-435                negotiations, PILGRIMS-DOJ-
                     0000485345



                     Text message regarding sales
E-436                negotiations, PILGRIMS-DOJ-
                     0000485724



                     Text message regarding sales
E-437                negotiations, PILGRIMS-DOJ-
                     0000485725



                     Text message regarding sales
E-438                negotiations, PILGRIMS-DOJ-
                     0000489389



                     Text message regarding sales
E-439                negotiations, PILGRIMS-DOJ-
                     0000489390



                     Text message regarding sales
E-440                negotiations, PILGRIMS-DOJ-
                     0000489391



                     Text message regarding sales
E-441                negotiations, PILGRIMS-DOJ-
                     0000489392
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                     Text message regarding sales
E-442                negotiations, PILGRIMS-DOJ-
                     0000489393



                     Email, "RE: 2012 poultry contract
E-443                addendum - Church's", 02/17/2012,
                     PILGRIMS-DOJ-0000504083




                     Attachment, supply contract,
E-444
                     PILGRIMS-DOJ-0000504084




                     Email, "FW: Pilgrim's Pride - Golden
E-445                Corral Contract revised", 12/16/2014,
                     PILGRIMS-DOJ-0000507029




                     Attachment, purchase agreement,
E-446
                     PILGRIMS-DOJ-0000507031




                     Email, "Update", 03/03/2017,
E-447
                     PILGRIMS-DOJ-0000509284




                     Email, "Update", 01/20/2017,
E-448
                     PILGRIMS-DOJ-0000509285
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                     Email, "Re: Roti Chickens",
E-449                11/26/2014, PILGRIMS-DOJ-
                     0000509286



                     Meeting Invitation, "Fwd: Next KFC
E-450                COB Agreement Discussion",
                     PILGRIMS-DOJ-0000509288



                     Email, "FW: Next KFC COB
E-451                Agreement", 12/13/2016, PILGRIMS-
                     DOJ-0000509289



                     Attachment, Email, "FW: Next KFC
E-452                COB Agreement", PILGRIMS-DOJ-
                     0000509290



                     Email, "Re: Any word from them on
E-453                our proposal?", 08/21/2014, PILGRIMS-
                     DOJ-0000509291



                     Attachment, Email, "Re: Any word
E-454                from them on our proposal?",
                     PILGRIMS-DOJ-0000509292




                     Email, "Model", 08/18/2014,
E-455
                     PILGRIMS-DOJ-0000509294
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                     Attachment, Email, "Model",
E-456
                     PILGRIMS-DOJ-0000509295




                     Email, "RE: Meeting August 1",
E-457                07/09/2014, PILGRIMS-DOJ-
                     0000509296



                     Attachment, Email, "RE: Meeting
E-458                August 1", PILGRIMS-DOJ-
                     0000509297



                     Email, "RE: Boston Market",
E-459                09/19/2014, PILGRIMS-DOJ-
                     0000509299




                     Attachment, Email, "RE: Boston
E-460
                     Market", PILGRIMS-DOJ-0000509300




                     Email, "KFC", 11/20/2013, PILGRIMS-
E-461
                     DOJ-0000509303




                     Email, "FW: Call", 11/19/2013,
E-462
                     PILGRIMS-DOJ-0000509308
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                     Email, "RE: Round 2 Offer",
E-463                11/07/2012, PILGRIMS-DOJ-
                     0000509324




                     Email, "FW: KFC", 03/27/2013,
E-464
                     PILGRIMS-DOJ-0000509325




                     Spreadsheet containing period pricing,
E-465
                     PILGRIMS-DOJ-0000509329




                     Email, "RE: KFC", 03/27/2013,
E-466
                     PILGRIMS-DOJ-0000509330




                     Email, "2018 Proposal", 02/03/2017,
E-467
                     PILGRIMS-DOJ-0000509332




                     Cost Model, PILGRIMS-DOJ-
E-468
                     0000509333




                     Email, "FW: KFC label", 01/16/2017,
E-469
                     PILGRIMS-DOJ-0000509334
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                     Attachment, Chicken Label, PILGRIMS-
E-470
                     DOJ-0000509335




                     Email, "FW: September bone in
E-471                promotion", 04/01/2015, PILGRIMS-
                     DOJ-0000509342



                     Email, "Re: September bone in
E-472                promotion", 03/26/2015, PILGRIMS-
                     DOJ-0000509343



                     Email, "Re: Price Reduction Impact -
E-473                KFC", 11/30/2012, PILGRIMS-DOJ-
                     0000509346




                     Email, "RE: KFC", 12/11/2012,
E-474
                     PILGRIMS-DOJ-0000509347




                     Email, "RE: Pilgrims data sheet.xlsx",
E-475                03/05/2013, PILGRIMS-DOJ-
                     0000509367




                     Text message regarding KFC,
E-476
                     PILGRIMS-DOJ-0000509372
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                     Text message regarding KFC,
E-477
                     PILGRIMS-DOJ-0000509373




                     Text message regarding KFC,
E-478
                     PILGRIMS-DOJ-0000509374




                     Text message regarding KFC,
E-479
                     PILGRIMS-DOJ-0000509375




                     Text message regarding KFC,
E-480
                     PILGRIMS-DOJ-0000509377




                     Text message regarding KFC,
E-481
                     PILGRIMS-DOJ-0000509378




                     Text message regarding KFC,
E-482
                     PILGRIMS-DOJ-0000509379




                     Text message regarding KFC,
E-483
                     PILGRIMS-DOJ-0000509380
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                     Text message regarding KFC,
E-484
                     PILGRIMS-DOJ-0000509381




                     Text message regarding KFC,
E-485
                     PILGRIMS-DOJ-0000509382




                     Text message regarding KFC,
E-486
                     PILGRIMS-DOJ-0000509383




                     Text message regarding KFC,
E-487
                     PILGRIMS-DOJ-0000509384




                     Text message regarding KFC,
E-488
                     PILGRIMS-DOJ-0000509385




                     Text message regarding KFC,
E-489
                     PILGRIMS-DOJ-0000509386




                     Text message regarding KFC,
E-490
                     PILGRIMS-DOJ-0000509387
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                     Text message regarding KFC,
E-491
                     PILGRIMS-DOJ-0000509388




                     Text message regarding KFC,
E-492
                     PILGRIMS-DOJ-0000509389




                     Text message regarding KFC,
E-493
                     PILGRIMS-DOJ-0000509390




                     Text message regarding KFC,
E-494
                     PILGRIMS-DOJ-0000509391




                     Text message regarding KFC,
E-495
                     PILGRIMS-DOJ-0000509392




                     Text message regarding KFC,
E-496
                     PILGRIMS-DOJ-0000509393




                     Text message regarding KFC,
E-497
                     PILGRIMS-DOJ-0000509394
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                     Text message regarding KFC,
E-498
                     PILGRIMS-DOJ-0000509395




                     Text message regarding KFC,
E-499
                     PILGRIMS-DOJ-0000509396




                     Text message regarding KFC,
E-500
                     PILGRIMS-DOJ-0000509397




                     Text message regarding KFC,
E-501
                     PILGRIMS-DOJ-0000509398




                     Text message regarding KFC,
E-502
                     PILGRIMS-DOJ-0000509399




                     Text message regarding KFC,
E-503
                     PILGRIMS-DOJ-0000509400




                     Text message regarding KFC,
E-504
                     PILGRIMS-DOJ-0000509401
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                     Text message regarding KFC,
E-505
                     PILGRIMS-DOJ-0000509402




                     Text message regarding KFC,
E-506
                     PILGRIMS-DOJ-0000509403




                     Text message regarding KFC,
E-507
                     PILGRIMS-DOJ-0000509404




                     Email, "Update", 03/31/2017,
E-508
                     PILGRIMS-DOJ-0000513391




                     Email, "Re: Update", 02/05/2017,
E-509
                     PILGRIMS-DOJ-0000513394




                     Email, "RE: Roti Chickens",
E-510                11/26/2014, PILGRIMS-DOJ-
                     0000513405



                     Email, "Chicken on the Bone Update",
E-511                02/17/2017, PILGRIMS-DOJ-
                     0000513441
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                     Email, "Re: KFC Price Increase 14-08-
E-512                15.xlsx", 08/15/2014, PILGRIMS-DOJ-
                     0000513454



                     Attachment, Email, "Re: KFC Price
E-513                Increase 14-08-15.xlsx", PILGRIMS-
                     DOJ-0000513455



                     Email, "RE: Any word from them on
E-514                our proposal?", 08/20/2014, PILGRIMS-
                     DOJ-0000513458



                     Attachment, Email, "RE: Any word
E-515                from them on our proposal?",
                     PILGRIMS-DOJ-0000513459




                     Email, "KFC Cost Model", 08/18/2014,
E-516
                     PILGRIMS-DOJ-0000513460




                     Attachment, Email, "KFC Cost Model",
E-517
                     PILGRIMS-DOJ-0000513461




                     Email, "FW: KFC", 08/18/2014,
E-518
                     PILGRIMS-DOJ-0000513462
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                     Attachment, Email, "FW: KFC",
E-519
                     PILGRIMS-DOJ-0000513463




                     Email regarding KFC bid, 08/18/2014,
E-520
                     PILGRIMS-DOJ-0000513464




                     Email regarding KFC bid, 08/18/2014,
E-521
                     PILGRIMS-DOJ-0000513466




                     Attachment, Email regarding KFC bid,
E-522
                     PILGRIMS-DOJ-0000513467




                     Email, "Fw: KFC Discussion
E-523                1:15pmMDT", 08/25/2014, PILGRIMS-
                     DOJ-0000513468



                     Attachment, Email, "Fw: KFC
E-524                Discussion 1:15pmMDT", PILGRIMS-
                     DOJ-0000513469




                     Attachment, Metadata, PILGRIMS-DOJ-
E-525
                     0000513470
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                     Attachment Meeting Invite, "KFC
E-526                Discussion 1:15pmMDT", PILGRIMS-
                     DOJ-0000513471




                     Email, "Thx", 08/04/2014, PILGRIMS-
E-527
                     DOJ-0000513472




                     Attachment, Email, "Thx", PILGRIMS-
E-528
                     DOJ-0000513473




                     Email, "RE: KFC", 08/09/2014,
E-529
                     PILGRIMS-DOJ-0000513483




                     Attachment, Email, "RE: KFC",
E-530
                     PILGRIMS-DOJ-0000513484




                     Email, "RE: KFC pricing models",
E-531                08/14/2014, PILGRIMS-DOJ-
                     0000513487




                     Attachment, Email, "RE: KFC pricing
E-532
                     models", PILGRIMS-DOJ-0000513488
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                     Email, "RE: Tyson Pricing",
E-533                08/11/2014, PILGRIMS-DOJ-
                     0000513489




                     Attachment, Email, "RE: Tyson
E-534
                     Pricing", PILGRIMS-DOJ-0000513490




                     Email, "Re: GE update", 03/18/2015,
E-535
                     PILGRIMS-DOJ-0000513509




                     Attachment, Email, "Re: GE update",
E-536
                     PILGRIMS-DOJ-0000513510




                     Email, "KFC meeting", 07/21/2014,
E-537
                     PILGRIMS-DOJ-0000513540




                     Attachment, Email, "KFC meeting",
E-538
                     PILGRIMS-DOJ-0000513541




                     Email, "files", 08/19/2014, PILGRIMS-
E-539
                     DOJ-0000513542
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                     Attachment, Email, "files", PILGRIMS-
E-540
                     DOJ-0000513543




                     Attachment, August 2014 PowerPoint
E-541                presentation to RSCS, PILGRIMS-DOJ-
                     0000513544




                     Email regarding KFC bid, 08/19/2014,
E-542
                     PILGRIMS-DOJ-0000513552




                     Attachment, Email regarding KFC bid,
E-543
                     PILGRIMS-DOJ-0000513553




                     Email, "Attachments", 08/20/2014,
E-544
                     PILGRIMS-DOJ-0000513555




                     Attachment, Email, "Attachments",
E-545
                     PILGRIMS-DOJ-0000513556




                     Attachment, Cost Model, PILGRIMS-
E-546
                     DOJ-0000513557
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                     Attachment, August 2014 PowerPoint
E-547                Presentation to RSCS, PILGRIMS-DOJ-
                     0000513558



                     Email, "KFC COB Next Agreement",
E-548                01/27/2017, PILGRIMS-DOJ-
                     0000513570



                     Attachment, Email, "KFC COB Next
E-549                Agreement", PILGRIMS-DOJ-
                     0000513571




                     Email regarding KFC bid, 02/07/2017,
E-550
                     PILGRIMS-DOJ-0000513572




                     Attachment, Email regarding KFC bid,
E-551
                     PILGRIMS-DOJ-0000513573




                     Email, "RE: KFC Boneless Model (3)
E-552                (2).xlsx", 02/06/2013, PILGRIMS-DOJ-
                     0000513605



                     Email, "Re: Price Reduction Impact -
E-553                KFC", 11/30/2012, PILGRIMS-DOJ-
                     0000513615
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                     Email, "RE: KFC Bid", 11/05/2012,
E-554
                     PILGRIMS-DOJ-0000513638




                     Email, "Fwd: Wings", 09/13/2012,
E-555
                     PILGRIMS-DOJ-0000513646




                     Email, "FW: KFC Final Discussion",
E-556                11/18/2013, PILGRIMS-DOJ-
                     0000513648




                     Email regarding Sysco, 05/01/2016,
E-557
                     PILGRIMS-DOJ-0000513651




                     Email, "FW: Everybody gathering
E-558                around the TV?", 11/26/2014,
                     PILGRIMS-DOJ-0000513678



                     Attachment, Email, "FW: Everybody
E-559                gathering around the TV?", PILGRIMS-
                     DOJ-0000513679




                     Attachment, Screenshot, PILGRIMS-
E-560
                     DOJ-0000513681
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                     Email, "Re: Pilgrim's 2015 Bid - Round
E-561                2", 11/11/2014, PILGRIMS-DOJ-
                     0000513695




                     Attachment, Logo, PILGRIMS-DOJ-
E-562
                     0000513697




                     Attachment, Logo, PILGRIMS-DOJ-
E-563
                     0000513698




                     Email, "RE: Call", 11/19/2013,
E-564
                     PILGRIMS-DOJ-0000513739




                     Email, "FW: KFC questions",
E-565                03/27/2013, PILGRIMS-DOJ-
                     0000513740



                     Attachment, Volume Availability by
E-566                Weight Range, PILGRIMS-DOJ-
                     0000513741



                     Email, "RE: Pilgrims data sheet.xlsx",
E-567                03/19/2013, PILGRIMS-DOJ-
                     0000513744
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                     Email, "Pilgrim's - Golden Corral Bid
E-568                #3", 11/12/2014, PILGRIMS-DOJ-
                     0000513765




                     Attachment, Bid Proposal, PILGRIMS-
E-569
                     DOJ-0000513766




                     Email, "Re: Price Reduction Impact -
E-570                KFC", 11/30/2012, PILGRIMS-DOJ-
                     0000513769



                     Email, "FW: FT P1 PAcker
E-571                Volume.xlsx", 03/07/2013, PILGRIMS-
                     DOJ-0000513804



                     Attachment, Delivered Pricing
E-572                Information, PILGRIMS-DOJ-
                     0000513805



                     Email, "RE: Golden Corral",
E-573                11/03/2014, PILGRIMS-DOJ-
                     0000513843




                     Attachment, Email, "RE: Golden
E-574
                     Corral", PILGRIMS-DOJ-0000513844
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                     Email, "Re: Grain Matrix for 2015",
E-575                06/30/2014, PILGRIMS-DOJ-
                     0000513851



                     Email, "Grain Matrix for 2015",
E-576                06/27/2014, PILGRIMS-DOJ-
                     0000513852




                     Email regarding KFC bid, 11/28/2012,
E-577
                     PILGRIMS-DOJ-0000513855




                     Email, "RE: KFC Bid", 09/02/2014,
E-578
                     PILGRIMS-DOJ-0000513857




                     Email, "Grain booking for 2015",
E-579                07/11/2014, PILGRIMS-DOJ-
                     0000513858



                     Email, "Re: Revised Price Reduction
E-580                Impact", 11/29/2012, PILGRIMS-DOJ-
                     0000513869



                     Email, "FFS Net Dock Return P 10 W 4
E-581                FY 14-Revised", 10/30/2013,
                     PILGRIMS-DOJ-0000548995
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                     Attachment, Net Dock Report,
E-582
                     PILGRIMS-DOJ-0000548996




                     Email, "FFS Net Dock Return-Pd 11
E-583                Wk 1 Revised", 11/07/2013,
                     PILGRIMS-DOJ-0000549073




                     Attachment, Net Dock Report,
E-584
                     PILGRIMS-DOJ-0000549074



                     Email, "RE: Unified Grocers / Haggen
                     notified of our last ship next Thu
E-585
                     7/16.", 07/10/2015, PILGRIMS-DOJ-
                     0000551438



                     Email, "Re: Roundy's second request",
E-586                01/06/2018, PILGRIMS-DOJ-
                     0000551908



                     Email, "FW: 2016 Chicken WOGs Bid
E-587                Sheet.xlsx", 03/15/2017, PILGRIMS-
                     DOJ-0000552019



                     Email, "Re: Kroger Atlanta IQF
E-588                Chicken Wing orders", 02/22/2013,
                     PILGRIMS-DOJ-0000553493
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                     Email, "RE: Metro - Whole Bird",
E-589                08/29/2012, PILGRIMS-DOJ-
                     0000569050



                     Email, "Mayfield Project
E-590                Timeline.xlsx", 02/02/2016, PILGRIMS-
                     DOJ-0000614081




                     Attachment, Mayfield Operational Plan,
E-591
                     PILGRIMS-DOJ-0000614082




                     Email, "FW: Old Tyson letter",
E-592                06/01/2016, PILGRIMS-DOJ-
                     0000621596




                     Attachment, Tyson Shortage Letter,
E-593
                     PILGRIMS-DOJ-0000621598




                     Email, "FW: Capex 2016 YTD - PPC",
E-594                09/21/2016, PILGRIMS-DOJ-
                     0000629728



                     Email, "RE: Personnel Request
                     #825017693 is ready for review.",
E-595
                     09/21/2016, PILGRIMS-DOJ-
                     0000629762
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                     Attachment, Personnel Change Form,
E-596
                     PILGRIMS-DOJ-0000629764




                     Attachment, Personnel Change Form,
E-597
                     PILGRIMS-DOJ-0000629766




                     Attachment, Personnel Change Form,
E-598
                     PILGRIMS-DOJ-0000629769




                     Attachment, Personnel Change Form,
E-599
                     PILGRIMS-DOJ-0000629771




                     Attachment, Personnel Change Form,
E-600
                     PILGRIMS-DOJ-0000629773




                     Attachment, Personnel Change Form,
E-601
                     PILGRIMS-DOJ-0000629775




                     Attachment, Personnel Change Form,
E-602
                     PILGRIMS-DOJ-0000629778
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                     Attachment, Personnel Change Form,
E-603
                     PILGRIMS-DOJ-0000629781




                     Email, "RE: sales analysis",
E-604                01/10/2012, PILGRIMS-DOJ-
                     0000821411




                     Email, "RE: Eggs Set", 12/05/2012,
E-605
                     PILGRIMS-DOJ-0000846999




                     Email, "Costco", 01/17/2013,
E-606
                     PILGRIMS-DOJ-0000850154




                     Email, "RE: Costco Discussion",
E-607                03/01/2013, PILGRIMS-DOJ-
                     0000853335



                     Email, "Re: DRAFT - Costco",
E-608                03/02/2013, PILGRIMS-DOJ-
                     0000853346



                     Email, "Re: DRAFT - Costco",
E-609                03/02/2013, PILGRIMS-DOJ-
                     0000853347
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                     Email, "Joe Grendys re: boneless",
E-610                03/27/2013, PILGRIMS-DOJ-
                     0000854774




                     Email, "RE: Koch Foods", 03/27/2013,
E-611
                     PILGRIMS-DOJ-0000854775




                     "Re: Costco / Pilgrim's Dinner",
E-612
                     PILGRIMS-DOJ-0000858474




                     Email, "RE: Remarks for opening at
E-613                NCC Marketing Seminar", 7/18/2013,
                     PILGRIMS-DOJ-0000863187



                     Attachment, "Bill Lovette Welcome
                     Remarks, NCC Chicken Marketing
E-614
                     Seminar.docx", PILGRIMS-DOJ-
                     0000863188



                     Email, "FW: Any update on the
E-615                boneless?", 08/09/2013, PILGRIMS-
                     DOJ-0000864786



                     Email, "Interview Chad Baker Monday
E-616                11-4", 11/01/2013, PILGRIMS-DOJ-
                     0000871334
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                     Attachment, Chad Baker Candidate
E-617
                     Profile, PILGRIMS-DOJ-0000871335




                     Attachment, Image, PILGRIMS-DOJ-
E-618
                     0000871344




                     Email, "The Revolution (Kick Off
E-619                Meeting Jan 16/17)", 12/30/2013,
                     PILGRIMS-DOJ-0000874895



                     Email, "Kickoff Meeting Attendees:
E-620                Message from Bill Lovette", 1/6/2014,
                     PILGRIMS-DOJ-0000875272



                     Attachment,
                     "803133SouthwestAirlinesIndustryUnd
E-621
                     erSeige.pdf", PILGRIMS-DOJ-
                     0000875274



                     "Southwest Airlines 2002: An Industry
E-622                Under Siege", 1/6/2014, PILGRIMS-
                     DOJ-0000875274-T-0001



                     Attachment, "Agenda 2014 Kickoff Jan
E-623                16-17 sg2.pdf", PILGRIMS-DOJ-
                     0000875298
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                     Email, "FW: CFA PR FAQs and media
E-624                release", 02/11/2014, PILGRIMS-DOJ-
                     0000877362




                     Attachment, AFB Q&A, PILGRIMS-
E-625
                     DOJ-0000877363




                     Attachment, Chick-fil-A Press Release,
E-626
                     PILGRIMS-DOJ-0000877365




                     Email, "FW: CFA PR FAQs and media
E-627                release", 02/11/2014, PILGRIMS-DOJ-
                     0000877366




                     Attachment, ABF Q&A, PILGRIMS-
E-628
                     DOJ-0000877367




                     Attachment, FAQs, PILGRIMS-DOJ-
E-629
                     0000877367-T-0001




                     Attachment, Chick-Fil-A Press Release,
E-630
                     PILGRIMS-DOJ-0000877369
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                     Email, "Fwd: TSN Comparison: quarter
E-631                ended Sep'14", 11/19/2014, PILGRIMS-
                     DOJ-0000891111




                     Attachment, Logo, PILGRIMS-DOJ-
E-632
                     0000891112




                     Attachment, Email Signature,
E-633
                     PILGRIMS-DOJ-0000891113




                     Attachment, Logo, PILGRIMS-DOJ-
E-634
                     0000891114




                     Attachment, Email Signature,
E-635
                     PILGRIMS-DOJ-0000891115




                     Attachment, Email Signature,
E-636
                     PILGRIMS-DOJ-0000891116




                     Attachment, Tyson - JBS P&L
E-637                Comparison, PILGRIMS-DOJ-
                     0000891117
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                     Attachment, Mobile Record,
E-638
                     PILGRIMS-DOJ-0000891118




                     Email, "Re: fault tree", 09/19/2015,
E-639
                     PILGRIMS-DOJ-0000906959




                     Email, "Fwd: KFC QSA", 10/30/2015,
E-640
                     PILGRIMS-DOJ-0000908665




                     Attachment, "image001.jpg",
E-641                10/30/2015, PILGRIMS-DOJ-
                     0000908666



                     Attachment, "image003.jpg",
E-642                10/30/2015, PILGRIMS-DOJ-
                     0000908669



                     Attachment, "ATT00003.htm",
E-643                10/30/2015, PILGRIMS-DOJ-
                     0000908670



                     Attachment, "ATT00005.htm",
E-644                10/30/2015, PILGRIMS-DOJ-
                     0000908679
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                     Email, "RE: DRAFT", 12/21/2015,
E-645
                     PILGRIMS-DOJ-0000911350




                     Email, "Roadmap & Priorities",
E-646                12/21/2015, PILGRIMS-DOJ-
                     0000911353




                     Email, "Fwd: WMT DSO", 12/22/2015,
E-647
                     PILGRIMS-DOJ-0000911457




                     Email, "Re: Roadmap & Priorities FFS
E-648                & SBD", 12/31/2015, PILGRIMS-DOJ-
                     0000911756




                     Text regarding customer strategy,
E-649
                     PILGRIMS-DOJ-0000913875




                     Text regarding customer strategy,
E-650
                     PILGRIMS-DOJ-0000913876




                     Text regarding customer strategy,
E-651
                     PILGRIMS-DOJ-0000913877
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                     Text regarding customer strategy,
E-652
                     PILGRIMS-DOJ-0000913878




                     Text with Stiller., PILGRIMS-DOJ-
E-653
                     0000914168




                     Text with Stiller., PILGRIMS-DOJ-
E-654
                     0000914239




                     Text regarding fresh foodservice
E-655
                     business, PILGRIMS-DOJ-0000914625




                     Text regarding KPIs, PILGRIMS-DOJ-
E-656
                     0000915268




                     Text regarding customer email,
E-657
                     PILGRIMS-DOJ-0000915280




                     Text regarding customer strategy,
E-658
                     PILGRIMS-DOJ-0000915300
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                     Text regarding customer strategy,
E-659
                     PILGRIMS-DOJ-0000915301




                     Text regarding customer strategy,
E-660
                     PILGRIMS-DOJ-0000915303




                     Text regarding customer strategy,
E-661
                     PILGRIMS-DOJ-0000915320




                     Text regarding customer strategy,
E-662
                     PILGRIMS-DOJ-0000915339




                     Text regarding customer strategy,
E-663
                     PILGRIMS-DOJ-0000915346




                     Text regarding customer strategy,
E-664
                     PILGRIMS-DOJ-0000915353




                     Text regarding customer strategy,
E-665
                     PILGRIMS-DOJ-0000915358
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                     Text regarding customer strategy,
E-666
                     PILGRIMS-DOJ-0000915360




                     Text regarding customer strategy,
E-667
                     PILGRIMS-DOJ-0000915361




                     Text regarding customer strategy,
E-668
                     PILGRIMS-DOJ-0000915365




                     Text regarding customer strategy,
E-669
                     PILGRIMS-DOJ-0000915366




                     Text regarding customer strategy,
E-670
                     PILGRIMS-DOJ-0000915477




                     Text with Stiller., PILGRIMS-DOJ-
E-671
                     0000915537




                     Text regarding customer strategy,
E-672
                     PILGRIMS-DOJ-0000915538
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                     Text regarding customer strategy,
E-673
                     PILGRIMS-DOJ-0000915647




                     Text regarding fresh foodservice
E-674
                     strategy, PILGRIMS-DOJ-0000915652




                     Text regarding customer strategy,
E-675
                     PILGRIMS-DOJ-0000915653




                     Text regarding customer strategy,
E-676
                     PILGRIMS-DOJ-0000915655




                     Text regarding customer personnel,
E-677
                     PILGRIMS-DOJ-0000915696




                     Text regarding shortages, PILGRIMS-
E-678
                     DOJ-0000916936




                     Text regarding customer strategy,
E-679
                     PILGRIMS-DOJ-0000924034
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                     Text regarding customer personnel,
E-680
                     PILGRIMS-DOJ-0000924036




                     Text regarding award presentation,
E-681
                     PILGRIMS-DOJ-0000926063




                     Text regarding customer strategy,
E-682
                     PILGRIMS-DOJ-0000933516




                     Attachment, Email, "Re: KFC 2012
E-683                Pricing.xlsx", PILGRIMS-DOJ-
                     0000989787



                     Email, "Re: KFC 2012 Pricing.xlsx",
E-684                11/08/2011, PILGRIMS-DOJ-
                     0000989788



                     Attachment, Email, "Re: KFC 2012
E-685                Pricing.xlsx", PILGRIMS-DOJ-
                     0000989789



                     Attachment, Email, "Re: KFC 2012
E-686                Pricing.xlsx", PILGRIMS-DOJ-
                     0000989790
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                     Attachment, Email, "Re: KFC 2012
E-687                Pricing.xlsx", PILGRIMS-DOJ-
                     0000989791



                     Attachment, Email, "FW: KFC 2012
E-688                Pricing.xlsx", PILGRIMS-DOJ-
                     0000989792



                     Email, "Re: 2012 main directives/
E-689                projects", 11/9/2011, PILGRIMS-DOJ-
                     0000989829



                     Attachment, "ATT Archive",
E-690                11/9/2011, PILGRIMS-DOJ-
                     0000989830



                     Attachment, "Re: 2012 main directives/
E-691                projects", 11/9/2011, PILGRIMS-DOJ-
                     0000989831



                     Attachment, "Re: 2012 main directives/
E-692                projects", 11/9/2011, PILGRIMS-DOJ-
                     0000989832



                     Email, "2018_PPC_KPIs.xlsx",
E-693                11/09/2018, PILGRIMS-DOJ-
                     0001029975
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                     Attachment, Pilgrim's Leadership Key
E-694                Performance Indicators, PILGRIMS-
                     DOJ-0001029976



                     Email, "FW: Europe NDR Deck -
E-695                FINAL", 11/19/2018, PILGRIMS-DOJ-
                     0001031558



                     Email, "FW: Europe NDR Deck -
E-696                FINAL", 11/19/2018, PILGRIMS-DOJ-
                     0001031559



                     Attachment, Pilgrim's Investor
E-697                Presentation, PILGRIMS-DOJ-
                     0001031560




                     Attachment, Protein Data, PILGRIMS-
E-698
                     DOJ-0001031604




                     Attachment, Excel Spreadsheet,
E-699
                     PILGRIMS-DOJ-0001031605




                     Attachment, Excel Spreadsheet,
E-700
                     PILGRIMS-DOJ-0001031606
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                     Attachment, Excel Spreadsheet,
E-701
                     PILGRIMS-DOJ-0001031607




                     Attachment, Excel Spreadsheet,
E-702
                     PILGRIMS-DOJ-0001031608




                     Attachment, Excel Spreadsheet,
E-703
                     PILGRIMS-DOJ-0001031609




                     Attachment, Excel Spreadsheet,
E-704
                     PILGRIMS-DOJ-0001031610




                     Attachment, Excel Spreadsheet,
E-705
                     PILGRIMS-DOJ-0001031611




                     Attachment, Excel Spreadsheet,
E-706
                     PILGRIMS-DOJ-0001031612




                     Attachment, Excel Spreadsheet,
E-707
                     PILGRIMS-DOJ-0001031613
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                     Attachment, Excel Spreadsheet,
E-708
                     PILGRIMS-DOJ-0001031614




                     Attachment, Excel Spreadsheet,
E-709
                     PILGRIMS-DOJ-0001031615




                     Attachment, Excel Spreadsheet,
E-710
                     PILGRIMS-DOJ-0001031616




                     Attachment, Excel Spreadsheet,
E-711
                     PILGRIMS-DOJ-0001031617




                     Attachment, Excel Spreadsheet,
E-712
                     PILGRIMS-DOJ-0001031618




                     Attachment, Excel Spreadsheet,
E-713
                     PILGRIMS-DOJ-0001031619




                     Attachment, P&L Spreadsheet,
E-714
                     PILGRIMS-DOJ-0001031620
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                     Attachment, Excel Spreadsheet,
E-715
                     PILGRIMS-DOJ-0001031621




                     Email, "Catch Ball: Session 2 Agenda
E-716                and Proposed KPIs", 12/10/2018,
                     PILGRIMS-DOJ-0001036151



                     Attachment, Pilgrim's Leadership Key
E-717                Performance Indicators, PILGRIMS-
                     DOJ-0001036153




                     Attachment, Pilgrim's Leadership KPIs,
E-718
                     PILGRIMS-DOJ-0001036153-T-0001




                     Attachment, List of Recipients,
E-719
                     PILGRIMS-DOJ-0001055920




                     Email, "A MESSAGE FROM BILL
E-720                LOVETTE", 03/22/2019, PILGRIMS-
                     DOJ-0001055932



                     Email, "FW: Following up",
E-721                04/22/2019, PILGRIMS-DOJ-
                     0001070352
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                     Attachment, Email, "FW: Following
E-722
                     up", PILGRIMS-DOJ-0001070353




                     Email, "Re: Costco A/S", 12/04/2015,
E-723
                     PILGRIMS-DOJ-0001124492



                     Email, "FW: Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
E-724
                     PRIDE", 04/25/2016, PILGRIMS-DOJ-
                     0001128863



                     Attachment, Supplier Payment Terms
E-725                Change Form, PILGRIMS-DOJ-
                     0001128864



                     Attachment, Email, "FW: PILGRIMS
E-726                PRIDE Revised Terms Letter",
                     PILGRIMS-DOJ-0001128872




                     Attachment, Email Signature,
E-727
                     PILGRIMS-DOJ-0001128873




                     Attachment, Mobile Record,
E-728
                     PILGRIMS-DOJ-0001128874
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                     Attachment, Supplier Payment Terms
E-729                Change Form, PILGRIMS-DOJ-
                     0001128875




                     Attachment, Mobile Record,
E-730
                     PILGRIMS-DOJ-0001128876




                     Email, "FW: PILGRIMS PRIDE
E-731                Revised Terms Letter", 04/25/2016,
                     PILGRIMS-DOJ-0001128877




                     Attachment, Email Signature,
E-732
                     PILGRIMS-DOJ-0001128878




                     Attachment, Mobile Record,
E-733
                     PILGRIMS-DOJ-0001128879




                     Attachment, Supplier Payment Terms
E-734                Change Form, PILGRIMS-DOJ-
                     0001128880




                     Attachment, Mobile Record,
E-735
                     PILGRIMS-DOJ-0001128881
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                     Email, "Re: Russellville cuts shipping
E-736                thurs 3/23", 03/25/2017, PILGRIMS-
                     DOJ-0001142336




                     Attachment, Email Signature,
E-737
                     PILGRIMS-DOJ-0001142338




                     Attachment, Email Signature,
E-738
                     PILGRIMS-DOJ-0001142339




                     Attachment, Email Signature,
E-739
                     PILGRIMS-DOJ-0001142340




                     Attachment, Email Signature,
E-740
                     PILGRIMS-DOJ-0001142341




                     Email, "Re: Opdate", 08/18/2017,
E-741
                     PILGRIMS-DOJ-0001158145




                     Email, "Gold'n Plump V&S.pptx",
E-742                9/5/2017, PILGRIMS-DOJ-
                     0001159784
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                     Attachment, "Gold'n Plump V&S.pptx,
E-743                Slide 1", 9/5/2017, PILGRIMS-DOJ-
                     0001159785



                     Attachment,
                     "Microsoft_Excel_Worksheet1.xlsx",
E-744
                     9/5/2017, PILGRIMS-DOJ-
                     0001159803


                     Attachment,
                     "Microsoft_Excel_Worksheet2.xlsx",
E-745
                     9/5/2017, PILGRIMS-DOJ-
                     0001159804


                     Attachment,
                     "Microsoft_Excel_Worksheet3.xlsx",
E-746
                     9/5/2017, PILGRIMS-DOJ-
                     0001159805



                     Email, "Quarterly Market Recap,
E-747                Presentation Attached" , 9/12/2017,
                     PILGRIMS-DOJ-0001161990




                     Attachment, "PRICING Project",
E-748
                     PILGRIMS-DOJ-0001161992




                     Email, "Update", 09/29/2017,
E-749
                     PILGRIMS-DOJ-0001164564
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                     Attachment, Email, "RE: Today's call",
E-750
                     PILGRIMS-DOJ-0001213214




                     Email, "RE" Today's Call", 11/12/2011,
E-751
                     PILGRIMS-DOJ-0001213215




                     Attachment, Email thread entitled "RE:
E-752                Today's call", PILGRIMS-DOJ-
                     0001213216




                     Attachment, Email, "RE: Today's call",
E-753
                     PILGRIMS-DOJ-0001213219




                     Attachment, Email, "RE: Today's call",
E-754
                     PILGRIMS-DOJ-0001213222




                     Attachment, Email thread entitled "FW:
E-755                Today's call", PILGRIMS-DOJ-
                     0001213223




                     Email, "FW: KFC", 11/14/2011,
E-756
                     PILGRIMS-DOJ-0001213504
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                     Attachment, Email thread entitled "FW:
E-757
                     KFC", PILGRIMS-DOJ-0001213505




                     Attachment, Email thread entitled "FW:
E-758
                     KFC", PILGRIMS-DOJ-0001213506




                     Attachment, Email, "FW: KFC",
E-759
                     PILGRIMS-DOJ-0001213507




                     Attachment, Email, "FW: KFC",
E-760
                     PILGRIMS-DOJ-0001213508




                     Attachment, Email thread entitled "FW:
E-761
                     KFC", PILGRIMS-DOJ-0001213509




                     Email, "RE: Bid", 11/15/2011,
E-762
                     PILGRIMS-DOJ-0001213997




                     Attachment, Email, "FW: Bid",
E-763
                     PILGRIMS-DOJ-0001213998
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                     Attachment, Email, "RE: Bid",
E-764
                     PILGRIMS-DOJ-0001213999




                     Attachment, Email, "RE: Bid",
E-765
                     PILGRIMS-DOJ-0001214000




                     Attachment, Email, "RE: Bid",
E-766
                     PILGRIMS-DOJ-0001214001




                     Attachment, Email thread entitled "FW:
E-767
                     Bid", PILGRIMS-DOJ-0001214002




                     Email, "FW: Quality Cost Information
E-768                Survey", 12/16/2011, PILGRIMS-DOJ-
                     0001215409



                     Email, "RE: KFC Quality Survey",
E-769                12/16/2011, PILGRIMS-DOJ-
                     0001215413




                     Email, "Signed SBRA", 02/07/2012,
E-770
                     PILGRIMS-DOJ-0001216785
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                     Attachment, Supplier Contract,
E-771
                     PILGRIMS-DOJ-0001216786




                     Email, "RE: NCAC Approvals",
E-772                02/09/2012, PILGRIMS-DOJ-
                     0001216856



                     Email, "RE: Supplier Summit",
E-773                08/06/2012, PILGRIMS-DOJ-
                     0001224579



                     Email, "RE: follow up from innovation
E-774                meeting - Cost model", 08/30/2012,
                     PILGRIMS-DOJ-0001226786




                     Attachment, Email Signature,
E-775
                     PILGRIMS-DOJ-0001226788




                     Email, "RE: P-12 Pricing", 10/30/2012,
E-776
                     PILGRIMS-DOJ-0001230773




                     Email, "Round 2", 11/06/2012,
E-777
                     PILGRIMS-DOJ-0001231380
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                     Attachment, Cover Letter, PILGRIMS-
E-778
                     DOJ-0001231382




                     Attachment, UFPC Cost Model,
E-779
                     PILGRIMS-DOJ-0001231383




                     Email, "RE: RFP", 12/05/2012,
E-780
                     PILGRIMS-DOJ-0001232268




                     Email, "RE: Bites", 12/10/2012,
E-781
                     PILGRIMS-DOJ-0001232427




                     Email, "RE: Feb 19-20 for Visit",
E-782                01/24/2013, PILGRIMS-DOJ-
                     0001234826




                     Email, "Boneless Project", 01/28/2013,
E-783
                     PILGRIMS-DOJ-0001235008




                     Attachment, Cost Model, PILGRIMS-
E-784
                     DOJ-0001235009
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                     Email, "KFC B/L Cost Model",
E-785                02/01/2013, PILGRIMS-DOJ-
                     0001235277




                     Attachment, Cost Model, PILGRIMS-
E-786
                     DOJ-0001235278




                     Email, "Re: Boneless Pricing",
E-787                02/08/2013, PILGRIMS-DOJ-
                     0001235765



                     Email, "RE: Need you to call me this
                     afternoon about the KFC changing sizes
E-788
                     information", 03/26/2013, PILGRIMS-
                     DOJ-0001237766


                     Email, "RE: 2013 SBRA Exhibits -
                     Pilgrim's Boneless revisions",
E-789
                     08/19/2013, PILGRIMS-DOJ-
                     0001242787



                     Attachment, Cost Model, PILGRIMS-
E-790
                     DOJ-0001242788




                     Attachment, Email Signature,
E-791
                     PILGRIMS-DOJ-0001242797
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                     Attachment, Email, "FW: UFPC/Yum!
E-792                Brands cross-concept RMI Program",
                     PILGRIMS-DOJ-0001243883




                     Letter regarding margin improvement
E-793
                     effort, PILGRIMS-DOJ-0001243884




                     Attachment, Email Signature,
E-794
                     PILGRIMS-DOJ-0001243885



                     Email, "RE: RFI questions for next
                     week's meeting with UFPC",
E-795
                     09/27/2013, PILGRIMS-DOJ-
                     0001244586



                     Email, "RE: KFC 8PC Cost for bid 13-
E-796                10-07.xlsx", 10/07/2013, PILGRIMS-
                     DOJ-0001245049



                     Email, "RE: Additional KFC COB
E-797                capacity", 10/16/2013, PILGRIMS-DOJ-
                     0001245233




                     Email, "Re: Bid so far", 11/04/2013,
E-798
                     PILGRIMS-DOJ-0001245910
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                     Email, "RE: Call", 11/19/2013,
E-799
                     PILGRIMS-DOJ-0001246380




                     Email, "KFC", 11/19/2013, PILGRIMS-
E-800
                     DOJ-0001246419




                     Attachment, Price Assessment
E-801                Spreadsheet, PILGRIMS-DOJ-
                     0001246420




                     Email, "RE: KFC", 11/20/2013,
E-802
                     PILGRIMS-DOJ-0001246448




                     Attachment, Cost Model, PILGRIMS-
E-803
                     DOJ-0001246449




                     Email, "RE: Orange Marinade",
E-804                02/03/2014, PILGRIMS-DOJ-
                     0001247551



                     Email, "Re: Strategy: Be a Valuable
                     Supplier to our Key Customers",
E-805
                     02/23/2014, PILGRIMS-DOJ-
                     0001248342
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                     Email, "RE: Antibiotic Free",
E-806                02/28/2014, PILGRIMS-DOJ-
                     0001248593



                     Attachment, PowerPoint Deck on
E-807                Antibiotics, PILGRIMS-DOJ-
                     0001248595




                     Attachment, Logo, PILGRIMS-DOJ-
E-808
                     0001248606




                     Email, "Market Info", 03/29/2014,
E-809
                     PILGRIMS-DOJ-0001251294




                     Attachment, PowerPoint Deck on
E-810                Industry Trends, PILGRIMS-DOJ-
                     0001251295




                     Attachment, Chart, PILGRIMS-DOJ-
E-811
                     0001251444




                     Attachment, Chart, PILGRIMS-DOJ-
E-812
                     0001251445
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                     Email, "FW: Strategy Meeting",
E-813                10/31/2016, PILGRIMS-DOJ-
                     0001261834




                     Attachment, PowerPoint Deck on FFS
E-814
                     Strategy, PILGRIMS-DOJ-0001261835




                     Email, "KFC 2018 Cost Model.xls",
E-815                02/03/2017, PILGRIMS-DOJ-
                     0001263096




                     Attachment, Cost Model, PILGRIMS-
E-816
                     DOJ-0001263097




                     Email, "RE: SHORTAGE FRESH KFC
E-817                9 PC CUT", 02/17/2017, PILGRIMS-
                     DOJ-0001263351




                     Email, "KFC", 06/19/2017, PILGRIMS-
E-818
                     DOJ-0001264991




                     Attachment, Executed Supply Contract,
E-819
                     PILGRIMS-DOJ-0001264992
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                     Email, "Executed Pricing Addendum to
                     the SBRA for Pilgrim's Pride",
E-820
                     09/21/2017, PILGRIMS-DOJ-
                     0001266884



                     Attachment, Executed Cost Model,
E-821
                     PILGRIMS-DOJ-0001266885




                     Email, "RE: Carrollton Week 3 P9
E-822                FY15", 09/23/2014, PILGRIMS-DOJ-
                     0001362261



                     Email, "RE: Pinnacle loads",
E-823                06/02/2015, PILGRIMS-DOJ-
                     0001363671



                     Email, "RE: National Fried Chicken
E-824                Day - RESULTS", 07/07/2015,
                     PILGRIMS-DOJ-0001364102



                     Email, "RE: As we discussed",
E-825                9/25/2015, PILGRIMS-DOJ-
                     0001365600



                     Email, "FW: 2016 Strategic Pillars",
E-826                12/03/2015, PILGRIMS-DOJ-
                     0001366615
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                     Email, "FW: Roadmap & Priorities FFS
E-827                & SBD", 01/13/2016, PILGRIMS-DOJ-
                     0001367486



                     Email, "FW: Mayfield Project
E-828                Timeline", 1/28/2016, PILGRIMS-DOJ-
                     0001367783



                     Attachment, "Mayfield Project
E-829                Timeline.xlsx", 1/28/2016, PILGRIMS-
                     DOJ-0001367784



                     Email, "FW: Pilgrims Mayfield",
E-830                2/8/2016, PILGRIMS-DOJ-
                     0001367892



                     Attachment, "1-
                     1TFMJA5_PILGRIMS_BP
E-831
                     REV0.xlsx.pdf", 2/8/2016, PILGRIMS-
                     DOJ-0001367894



                     Email, "Re: Mayfield Project
E-832                Timeline.xlsx", 02/10/2016, PILGRIMS-
                     DOJ-0001367934



                     "Mayfield Project Timeline- Update",
E-833                2/16/2016, PILGRIMS-DOJ-
                     0001367998
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                     "Mayfield Project Timeline.xlsx",
E-834                2/16/2016, PILGRIMS-DOJ-
                     0001367999




                     Email, "Mayfield", 06/02/2016,
E-835
                     PILGRIMS-DOJ-0001370264




                     Email, "RE: Savory WOG with
E-836                Carrageenan", 09/23/2016, PILGRIMS-
                     DOJ-0001373558



                     Email, "RE: Leq Quarter Film
E-837                Decision", 10/18/2016, PILGRIMS-
                     DOJ-0001375093



                     Email, "RE: Commodity Based VS
E-838                Fixed Pricing", 11/07/2016, PILGRIMS-
                     DOJ-0001375955



                     Email, "Bill KPI for SBD and FFS",
E-839                01/09/2017, PILGRIMS-DOJ-
                     0001379527



                     Attachment, Key Performance
E-840                Indicators, PILGRIMS-DOJ-
                     0001379528
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                     Attachment, Key Performance
E-841                Indicators, PILGRIMS-DOJ-
                     0001379529




                     Email, "FW: Thank You", 01/30/2017,
E-842
                     PILGRIMS-DOJ-0001383002




                     Email, "RE: Weekly Recap",
E-843                02/18/2017, PILGRIMS-DOJ-
                     0001386224



                     Email, "KFC 2018 Cost Model.xls",
E-844                02/20/2017, PILGRIMS-DOJ-
                     0001386299




                     Attachment, Cost Model, PILGRIMS-
E-845
                     DOJ-0001386300




                     Email, "KFC 2016 Cost Model vs 2016
E-846                Cost 17-01-25.xls", 02/20/2017,
                     PILGRIMS-DOJ-0001386301




                     Attachment, Cost Model, PILGRIMS-
E-847
                     DOJ-0001386302
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                     Email, "RE: KFC 2016 Cost Model vs
E-848                2016 Cost 17-01-25.xls", 02/20/2017,
                     PILGRIMS-DOJ-0001386303



                     Email, "RE: 2018 High Level Strategic
E-849                Drivers", 11/10/2017, PILGRIMS-DOJ-
                     0001410671




                     Email, "RE: Markets", 11/27/2017,
E-850
                     PILGRIMS-DOJ-0001412608



                     Email, "RE: Awarded Solicitation for
                     chicken and chicken products",
E-851
                     08/17/2018, PILGRIMS-DOJ-
                     0001448090



                     Attachment, Email, "RE: Portioned
E-852                Boneless", PILGRIMS-DOJ-
                     0001480517



                     Email, "RE: Portioned Boneless",
E-853                12/21/2018, PILGRIMS-DOJ-
                     0001480518




                     Email, "Re: Wogs", 01/09/2015,
E-854
                     PILGRIMS-DOJ-0001525320
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                     Email, "RE: Wings Cost", 02/11/2010,
E-855
                     PILGRIMS-DOJ-0001525720




                     Attachment, Church's Product
E-856                Specification, PILGRIMS-DOJ-
                     0001525726



                     Email regarding Popeyes discount,
E-857                03/27/2015, PILGRIMS-DOJ-
                     0001525962



                     Email, "Re: Chicken Without Labels -
E-858                Sygma Lancaster", 10/04/2012,
                     PILGRIMS-DOJ-0001526050




                     Email, "RE: call me", 08/18/2014,
E-859
                     PILGRIMS-DOJ-0001527515




                     Attachment, Email, "RE: call me",
E-860
                     PILGRIMS-DOJ-0001527516




                     Email regarding call, 08/18/2014,
E-861
                     PILGRIMS-DOJ-0001527521
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                     Attachment, Email regarding call,
E-862
                     PILGRIMS-DOJ-0001527522




                     Email regarding call, 08/18/2014,
E-863
                     PILGRIMS-DOJ-0001527531




                     Attachment, Email regarding call,
E-864
                     PILGRIMS-DOJ-0001527532




                     Email, "FW: KFC Cost Model",
E-865                08/18/2014, PILGRIMS-DOJ-
                     0001527541




                     Attachment, Email, "FW: KFC Cost
E-866
                     Model", PILGRIMS-DOJ-0001527542




                     Email, "Re: Wings", 10/30/2012,
E-867
                     PILGRIMS-DOJ-0001528641




                     Email, "RE: POTENTIAL new business
E-868                opportunity for you", 07/26/2017,
                     PILGRIMS-DOJ-0001530862
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Exhibit   Witness              Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "FFS Net Dock Return Reports -
E-869                P7", 08/01/2014, PILGRIMS-DOJ-
                     0001531113




                     Attachment, Net Dock Report,
E-870
                     PILGRIMS-DOJ-0001531114




                     Attachment, Plant Data Spreadsheet,
E-871
                     PILGRIMS-DOJ-0001531115




                     Email, "RE: kfc", 09/08/2014,
E-872
                     PILGRIMS-DOJ-0001532037



                     Email, "This will be in my deck
                     tomorrow. Can you provide the talking
E-873                points so we are on same page?
                     Thanks", 08/07/2014, PILGRIMS-DOJ-
                     0001532514



                     Attachment, HEB Weight Distribution,
E-874
                     PILGRIMS-DOJ-0001532515




                     Email, "RE: KFC", 09/05/2014,
E-875
                     PILGRIMS-DOJ-0001534067
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                     Email regarding call, 08/20/2014,
E-876
                     PILGRIMS-DOJ-0001535716




                     Email, "FW: People News",
E-877                08/14/2014, PILGRIMS-DOJ-
                     0001535854



                     Email, "RE: KFC Pricing Worksheet",
E-878                08/14/2014, PILGRIMS-DOJ-
                     0001535865




                     Email regarding call, 08/14/2014,
E-879
                     PILGRIMS-DOJ-0001535910




                     Email, "RE: KFC Pricing Worksheet",
E-880                08/15/2014, PILGRIMS-DOJ-
                     0001535944



                     Email regarding customer strategy,
E-881                08/18/2014, PILGRIMS-DOJ-
                     0001536381




                     Email, "KFC Cost Model", 08/18/2014,
E-882
                     PILGRIMS-DOJ-0001536452
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                     Email, "RE: KFC Cost Model",
E-883                08/18/2014, PILGRIMS-DOJ-
                     0001536455



                     Email, "Pilgrim’s Operations and Sales
                     Leadership Announcement",
E-884
                     09/10/2014, PILGRIMS-DOJ-
                     0001536881



                     Attachment, Photo, PILGRIMS-DOJ-
E-885
                     0001536882




                     Attachment, Photo, PILGRIMS-DOJ-
E-886
                     0001536883




                     Email, "KFC Price Increase 14-08-
E-887                15.xlsx", 08/15/2014, PILGRIMS-DOJ-
                     0001537257




                     Attachment, Price Analysis, PILGRIMS-
E-888
                     DOJ-0001537258




                     Email, "RE: 2015 chicken pounds
E-889                capability", 08/11/2014, PILGRIMS-
                     DOJ-0001537506
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                     Email, "Fwd: KFC pricing models",
E-890                08/14/2014, PILGRIMS-DOJ-
                     0001537599



                     Email, "KFC pricing models",
E-891                08/14/2014, PILGRIMS-DOJ-
                     0001537603



                     Email, "RE: Call tomorrow",
E-892                08/11/2014, PILGRIMS-DOJ-
                     0001537919



                     Email, "RE: Church's Meeting",
E-893                08/20/2014, PILGRIMS-DOJ-
                     0001538212




                     Email, "RE: KFC", 08/19/2014,
E-894
                     PILGRIMS-DOJ-0001538662




                     Email, "Re: KFC", 08/19/2014,
E-895
                     PILGRIMS-DOJ-0001538665




                     Email regarding presentation to KFC,
E-896                08/20/2014, PILGRIMS-DOJ-
                     0001538915
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                     Attachment, PowerPoint Deck for KFC
E-897
                     Meeting, PILGRIMS-DOJ-0001538916




                     Email, "Re: KFC Price Increase 14-08-
E-898                15.xlsx", 08/19/2014, PILGRIMS-DOJ-
                     0001539213


                     Email, "Re: This will be in my deck
                     tomorrow. Can you provide the talking
E-899                points so we are on same page?
                     Thanks", 08/07/2014, PILGRIMS-DOJ-
                     0001539589


                     Email, "RE: WM Deli WOGs",
E-900                11/16/2012, PILGRIMS-DOJ-
                     0001575151



                     Email, "Fwd: Presentation",
E-901                07/15/2014, PILGRIMS-DOJ-
                     0001607697



                     Attachment, Email, "Fwd:
E-902                Presentation", PILGRIMS-DOJ-
                     0001607698



                     Attachment, June 2014 KFC
E-903                PowerPoint Presentation, PILGRIMS-
                     DOJ-0001607699
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                     Attachment, Chart, PILGRIMS-DOJ-
E-904
                     0001607827




                     Email, "Re: Church's", 07/14/2014,
E-905
                     PILGRIMS-DOJ-0001607964




                     Email, "RE: Generic WOG Cost Model
E-906                8-60-12.xlsx", 10/22/2012, PILGRIMS-
                     DOJ-0001612029



                     Email, "Commercial Net Dock & Trend
E-907                Report P4 Wk4 CY14", 04/30/2014,
                     PILGRIMS-DOJ-0001617695




                     Attachment, Net Dock Report,
E-908
                     PILGRIMS-DOJ-0001617696




                     Attachment, Plant Data Spreadsheet,
E-909
                     PILGRIMS-DOJ-0001617697




                     Email, "Commercial Net Dock & Trend
E-910                Report P5 Wk1 CY14", 05/06/2014,
                     PILGRIMS-DOJ-0001617698
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                     Attachment, Net Dock Report,
E-911
                     PILGRIMS-DOJ-0001617699




                     Attachment, Net Dock Report,
E-912
                     PILGRIMS-DOJ-0001617700




                     Email, "Commercial Net Dock & Trend
E-913                Report P5 Wk2 CY14", 05/14/2014,
                     PILGRIMS-DOJ-0001617701




                     Attachment, Net Dock Report,
E-914
                     PILGRIMS-DOJ-0001617702




                     Attachment, Net Dock Report,
E-915
                     PILGRIMS-DOJ-0001617703




                     Email, "Commercial Net Dock & Trend
E-916                Report P5 Wk3 CY14", 05/21/2014,
                     PILGRIMS-DOJ-0001617704




                     Attachment, Net Dock Report,
E-917
                     PILGRIMS-DOJ-0001617705
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                     Attachment, Net Dock Report,
E-918
                     PILGRIMS-DOJ-0001617706




                     Email, "Commercial Net Dock & Trend
E-919                Report P5 Wk4 CY14", 05/28/2014,
                     PILGRIMS-DOJ-0001617707




                     Attachment, Net Dock Report,
E-920
                     PILGRIMS-DOJ-0001617708




                     Attachment, Net Dock Report,
E-921
                     PILGRIMS-DOJ-0001617709




                     Email, "Commercial Net Dock & Trend
E-922                Report P5 CY14", 06/11/2014,
                     PILGRIMS-DOJ-0001617735




                     Attachment, Net Dock Report,
E-923
                     PILGRIMS-DOJ-0001617736




                     Attachment, Net Dock Report,
E-924
                     PILGRIMS-DOJ-0001617737
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                     Email, "Commercial Net Dock & Trend
E-925                Report P6 Wk1 CY14", 06/17/2014,
                     PILGRIMS-DOJ-0001617746




                     Attachment, Net Dock Report,
E-926
                     PILGRIMS-DOJ-0001617747




                     Attachment, Net Dock Report,
E-927
                     PILGRIMS-DOJ-0001617748



                     Email, "REVISED Commercial Net
                     Dock & Trend Report P6 Wk3 CY14",
E-928
                     06/25/2014, PILGRIMS-DOJ-
                     0001617758



                     Attachment, Net Dock Report,
E-929
                     PILGRIMS-DOJ-0001617760




                     Attachment, Net Dock Report,
E-930
                     PILGRIMS-DOJ-0001617761



                     Email, "RE: Commercial Net Dock &
                     Trend Report P6 Wk4 CY14",
E-931
                     07/02/2014, PILGRIMS-DOJ-
                     0001617762
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                     Attachment, Net Dock Report,
E-932
                     PILGRIMS-DOJ-0001617763




                     Attachment, Net Dock Report,
E-933
                     PILGRIMS-DOJ-0001617764




                     Email, "Commercial Net Dock & Trend
E-934                Report P7 Wk1 CY14", 07/09/2014,
                     PILGRIMS-DOJ-0001617765




                     Attachment, Net Dock Report,
E-935
                     PILGRIMS-DOJ-0001617766




                     Attachment, Net Dock Report,
E-936
                     PILGRIMS-DOJ-0001617767



                     Email, "Commercial Net Dock & Trend
                     Report P6 CY14 ALSO INCLUDED
E-937                Qtr2 Net Dock and Qtr 2 YTD Net
                     Dock", 07/09/2014, PILGRIMS-DOJ-
                     0001617778



                     Attachment, Net Dock Report,
E-938
                     PILGRIMS-DOJ-0001617779
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                     Attachment, Net Dock Report,
E-939
                     PILGRIMS-DOJ-0001617780




                     Attachment, Net Dock Report,
E-940
                     PILGRIMS-DOJ-0001617781




                     Attachment, Net Dock Report,
E-941
                     PILGRIMS-DOJ-0001617782




                     Email, "Commercial Net Dock & Trend
E-942                Report P7 Wk2 CY14", 07/15/2014,
                     PILGRIMS-DOJ-0001617783




                     Attachment, Net Dock Report,
E-943
                     PILGRIMS-DOJ-0001617784




                     Attachment, Net Dock Report,
E-944
                     PILGRIMS-DOJ-0001617785




                     Email, "Commercial Net Dock & Trend
E-945                Report P7 Wk3 CY14", 07/23/2014,
                     PILGRIMS-DOJ-0001617786
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                     Attachment, Net Dock Report,
E-946
                     PILGRIMS-DOJ-0001617787




                     Attachment, Net Dock Report,
E-947
                     PILGRIMS-DOJ-0001617788




                     Email, "Commercial Net Dock & Trend
E-948                Report P7 CY14", 08/05/2014,
                     PILGRIMS-DOJ-0001617792




                     Attachment, Net Dock Report,
E-949
                     PILGRIMS-DOJ-0001617793




                     Attachment, Net Dock Report,
E-950
                     PILGRIMS-DOJ-0001617794




                     Email, "Commercial Net Dock & Trend
E-951                Report P8 Wk1 CY14", 08/05/2014,
                     PILGRIMS-DOJ-0001617795




                     Attachment, Net Dock Report,
E-952
                     PILGRIMS-DOJ-0001617796
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                     Attachment, Net Dock Report,
E-953
                     PILGRIMS-DOJ-0001617797




                     Email, "Commercial Net Dock & Trend
E-954                Report P8 Wk3 CY14", 08/19/2014,
                     PILGRIMS-DOJ-0001617807




                     Attachment, Net Dock Report,
E-955
                     PILGRIMS-DOJ-0001617808




                     Attachment, Net Dock Report,
E-956
                     PILGRIMS-DOJ-0001617809




                     Email, "Commercial Net Dock & Trend
E-957                Report P8 Wk4 CY14", 08/26/2014,
                     PILGRIMS-DOJ-0001617810




                     Attachment, Net Dock Report,
E-958
                     PILGRIMS-DOJ-0001617811




                     Attachment, Net Dock Report,
E-959
                     PILGRIMS-DOJ-0001617812
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                     Email, "Commercial Net Dock & Trend
E-960                Report P8 CY14", 09/12/2014,
                     PILGRIMS-DOJ-0001617819




                     Attachment, Net Dock Report,
E-961
                     PILGRIMS-DOJ-0001617820




                     Attachment, Net Dock Report,
E-962
                     PILGRIMS-DOJ-0001617821




                     Email, "Commercial Net Dock & Trend
E-963                Report P9 Wk2 CY14", 09/16/2014,
                     PILGRIMS-DOJ-0001617822




                     Attachment, Net Dock Report,
E-964
                     PILGRIMS-DOJ-0001617823




                     Attachment, Net Dock Report,
E-965
                     PILGRIMS-DOJ-0001617824




                     Email, "Commercial Net Dock & Trend
E-966                Report P9 Wk3 CY14", 09/23/2014,
                     PILGRIMS-DOJ-0001617825
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                     Attachment, Net Dock Report,
E-967
                     PILGRIMS-DOJ-0001617826




                     Attachment, Net Dock Report,
E-968
                     PILGRIMS-DOJ-0001617827




                     Email, "Commercial Net Dock & Trend
E-969                Report P9 Wk4 CY14", 09/30/2014,
                     PILGRIMS-DOJ-0001617830




                     Attachment, Net Dock Report,
E-970
                     PILGRIMS-DOJ-0001617831




                     Attachment, Net Dock Report,
E-971
                     PILGRIMS-DOJ-0001617832




                     Email, "Commercial Net Dock & Trend
E-972                Report P10 Wk1 CY14", 10/08/2014,
                     PILGRIMS-DOJ-0001617833




                     Attachment, Net Dock Report,
E-973
                     PILGRIMS-DOJ-0001617834
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                     Attachment, Net Dock Report,
E-974
                     PILGRIMS-DOJ-0001617835




                     Email, "Commercial Net Dock & Trend
E-975                Report P9 CY14", 10/10/2014,
                     PILGRIMS-DOJ-0001617836




                     Attachment, Net Dock Report,
E-976
                     PILGRIMS-DOJ-0001617837




                     Attachment, Net Dock Report,
E-977
                     PILGRIMS-DOJ-0001617838



                     Email, "Revised Commercial Net Dock
                     & Trend Report P10 Wk3 CY14",
E-978
                     10/23/2014, PILGRIMS-DOJ-
                     0001617851



                     Attachment, Net Dock Report,
E-979
                     PILGRIMS-DOJ-0001617852




                     Attachment, Net Dock Report,
E-980
                     PILGRIMS-DOJ-0001617853
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                     Email, "Commercial Net Dock & Trend
E-981                Report P10 Wk4 CY14", 10/29/2014,
                     PILGRIMS-DOJ-0001617854




                     Attachment, Net Dock Report,
E-982
                     PILGRIMS-DOJ-0001617855




                     Attachment, Net Dock Report,
E-983
                     PILGRIMS-DOJ-0001617856




                     Email, "Commercial Net Dock & Trend
E-984                Report P10 CY14", 11/05/2014,
                     PILGRIMS-DOJ-0001617860




                     Attachment, Net Dock Report,
E-985
                     PILGRIMS-DOJ-0001617861




                     Attachment, Net Dock Report,
E-986
                     PILGRIMS-DOJ-0001617862




                     Email, "Commercial Net Dock & Trend
E-987                Report P11 Wk1 CY14", 11/05/2014,
                     PILGRIMS-DOJ-0001617863
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                     Attachment, Net Dock Report,
E-988
                     PILGRIMS-DOJ-0001617864




                     Attachment, Net Dock Report,
E-989
                     PILGRIMS-DOJ-0001617865




                     Email, "Commercial Net Dock & Trend
E-990                Report P11 Wk2 CY14", 11/12/2014,
                     PILGRIMS-DOJ-0001617866




                     Attachment, Net Dock Report,
E-991
                     PILGRIMS-DOJ-0001617867




                     Attachment, Net Dock Report,
E-992
                     PILGRIMS-DOJ-0001617868




                     Email, "Commercial Net Dock & Trend
E-993                Report P11 Wk3 CY14", 11/19/2014,
                     PILGRIMS-DOJ-0001617869




                     Attachment, Net Dock Report,
E-994
                     PILGRIMS-DOJ-0001617870
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                     Attachment, Net Dock Report,
E-995
                     PILGRIMS-DOJ-0001617871




                     Email, "Commercial Net Dock & Trend
E-996                Report P11 Wk4 CY14", 11/25/2014,
                     PILGRIMS-DOJ-0001617872




                     Attachment, Net Dock Report,
E-997
                     PILGRIMS-DOJ-0001617873




                     Attachment, Net Dock Report,
E-998
                     PILGRIMS-DOJ-0001617874




                     Email, "Commercial Net Dock & Trend
E-999                Report P11 Wk5 CY14", 12/02/2014,
                     PILGRIMS-DOJ-0001617875




                     Attachment, Net Dock Report,
F-001
                     PILGRIMS-DOJ-0001617876




                     Attachment, Net Dock Report,
F-002
                     PILGRIMS-DOJ-0001617877
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                     Email, "Commercial Net Dock & Trend
F-003                Report P11 CY14", 12/08/2014,
                     PILGRIMS-DOJ-0001617878




                     Attachment, Net Dock Report,
F-004
                     PILGRIMS-DOJ-0001617880




                     Attachment, Net Dock Report,
F-005
                     PILGRIMS-DOJ-0001617881




                     Email, "Commercial Net Dock & Trend
F-006                Report P12 Wk1 CY14", 12/09/2014,
                     PILGRIMS-DOJ-0001617882




                     Attachment, Net Dock Report,
F-007
                     PILGRIMS-DOJ-0001617883




                     Attachment, Net Dock Report,
F-008
                     PILGRIMS-DOJ-0001617884




                     Email, "Commercial Net Dock & Trend
F-009                Report P12 Wk2 CY14", 12/16/2014,
                     PILGRIMS-DOJ-0001617885
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                     Attachment, Net Dock Report,
F-010
                     PILGRIMS-DOJ-0001617886




                     Attachment, Net Dock Report,
F-011
                     PILGRIMS-DOJ-0001617887




                     Email, "Commercial Net Dock & Trend
F-012                Report P12 Wk3 CY14", 12/24/2014,
                     PILGRIMS-DOJ-0001617888




                     Attachment, Net Dock Report,
F-013
                     PILGRIMS-DOJ-0001617889




                     Attachment, Net Dock Report,
F-014
                     PILGRIMS-DOJ-0001617890




                     Email, "Commercial Net Dock & Trend
F-015                Report P12 Wk4 CY14", 12/31/2014,
                     PILGRIMS-DOJ-0001617891




                     Attachment, Net Dock Report,
F-016
                     PILGRIMS-DOJ-0001617892
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                     Attachment, Net Dock Report,
F-017
                     PILGRIMS-DOJ-0001617893



                     Email, "Revised - Commercial Net
                     Dock & Trend Report P12 CY14",
F-018
                     01/08/2015, PILGRIMS-DOJ-
                     0001617902



                     Attachment, Net Dock Report,
F-019
                     PILGRIMS-DOJ-0001617903




                     Attachment, Net Dock Report,
F-020
                     PILGRIMS-DOJ-0001617904




                     Email, "Commercial Net Dock & Trend
F-021                Report P1 WK1 CY14", 01/08/2014,
                     PILGRIMS-DOJ-0001643424




                     Attachment, Net Dock Report,
F-022
                     PILGRIMS-DOJ-0001643425




                     Attachment, Net Dock Report,
F-023
                     PILGRIMS-DOJ-0001643426
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                     Email, "Commercial Net Dock & Trend
F-024                Report P1 WK2 CY14", 01/15/2014,
                     PILGRIMS-DOJ-0001643444




                     Attachment, Net Dock Report,
F-025
                     PILGRIMS-DOJ-0001643445




                     Attachment, Net Dock Report,
F-026
                     PILGRIMS-DOJ-0001643446




                     Email, "Commercial Net Dock & Trend
F-027                Report P1 WK3 CY14", 01/22/2014,
                     PILGRIMS-DOJ-0001643453




                     Attachment, Net Dock Report,
F-028
                     PILGRIMS-DOJ-0001643454




                     Attachment, Net Dock Report,
F-029
                     PILGRIMS-DOJ-0001643455




                     Email, "Commercial Net Dock & Trend
F-030                Report P1 CY14", 02/06/2014,
                     PILGRIMS-DOJ-0001643465
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                     Attachment, Net Dock Report,
F-031
                     PILGRIMS-DOJ-0001643466




                     Attachment, Net Dock Report,
F-032
                     PILGRIMS-DOJ-0001643467




                     Email, "Commercial Net Dock & Trend
F-033                Report P2 WK2 CY14", 02/12/2014,
                     PILGRIMS-DOJ-0001643471




                     Attachment, Net Dock Report,
F-034
                     PILGRIMS-DOJ-0001643472




                     Attachment, Net Dock Report,
F-035
                     PILGRIMS-DOJ-0001643473




                     Email, "Commercial Net Dock & Trend
F-036                Report P2 Wk4 CY14", 02/26/2014,
                     PILGRIMS-DOJ-0001643500




                     Attachment, Net Dock Report,
F-037
                     PILGRIMS-DOJ-0001643501
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                     Attachment, Net Dock Report,
F-038
                     PILGRIMS-DOJ-0001643502




                     Email, "Commercial Net Dock & Trend
F-039                Report P2 Wk5 CY14", 03/05/2014,
                     PILGRIMS-DOJ-0001643556




                     Attachment, Net Dock Report,
F-040
                     PILGRIMS-DOJ-0001643557




                     Attachment, Net Dock Report,
F-041
                     PILGRIMS-DOJ-0001643558




                     Email, "Commercial Net Dock & Trend
F-042                Report P3 Wk1 CY14", 03/12/2014,
                     PILGRIMS-DOJ-0001643571




                     Attachment, Net Dock Report,
F-043
                     PILGRIMS-DOJ-0001643572




                     Attachment, Net Dock Report,
F-044
                     PILGRIMS-DOJ-0001643573
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                     Email, "Commercial Net Dock & Trend
F-045                Report P3 Wk2 CY14", 03/19/2014,
                     PILGRIMS-DOJ-0001643591




                     Attachment, Net Dock Report,
F-046
                     PILGRIMS-DOJ-0001643592




                     Attachment, Net Dock Report,
F-047
                     PILGRIMS-DOJ-0001643593




                     Email, "Commercial Net Dock & Trend
F-048                Report P3 Wk3 CY14", 03/26/2014,
                     PILGRIMS-DOJ-0001643607




                     Attachment, Net Dock Report,
F-049
                     PILGRIMS-DOJ-0001643608




                     Attachment, Net Dock Report,
F-050
                     PILGRIMS-DOJ-0001643609




                     Email, "Commercial Net Dock & Trend
F-051                Report P4 Wk1 CY14", 04/09/2014,
                     PILGRIMS-DOJ-0001643670
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                     Attachment, Net Dock Report,
F-052
                     PILGRIMS-DOJ-0001643671




                     Attachment, Net Dock Report,
F-053
                     PILGRIMS-DOJ-0001643672




                     Email, "Commercial Net Dock & Trend
F-054                Report P4 Wk2 CY14", 04/15/2014,
                     PILGRIMS-DOJ-0001643701




                     Attachment, Net Dock Report,
F-055
                     PILGRIMS-DOJ-0001643702




                     Attachment, Net Dock Report,
F-056
                     PILGRIMS-DOJ-0001643703




                     Email, "Re: 6 to 9 Count Wings",
F-057                09/26/2012, PILGRIMS-DOJ-
                     0001670560



                     Email, "FW: Need info for a planning
F-058                meeting", 02/26/2013, PILGRIMS-DOJ-
                     0001672551
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                     Email, "RE: Need info for a planning
F-059                meeting", 02/27/2013, PILGRIMS-DOJ-
                     0001672573



                     Email, Email Extra Load 8 Piece,
F-060                3/14/2013, PILGRIMS-DOJ-
                     0001672696




                     Email, "Bid", 09/26/2013, PILGRIMS-
F-061
                     DOJ-0001674091




                     Attachment, Request for Information
F-062                Response, PILGRIMS-DOJ-
                     0001674092



                     Email, "RE: INVOICE 0918195703
F-063                George's Foods 307982", 10/08/2013,
                     PILGRIMS-DOJ-0001674218



                     Attachment, Email, "Scan from
F-064                EUSCOGR00CHK02", PILGRIMS-
                     DOJ-0001674219




                     Attachment, Hard Copy Invoice,
F-065
                     PILGRIMS-DOJ-0001674220
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                     Attachment, Database Record,
F-066
                     PILGRIMS-DOJ-0001674223




                     Attachment, Hard Copy Invoice,
F-067
                     PILGRIMS-DOJ-0001674224




                     Attachment, Email, "Scan from
F-068                EUSCOGR00CHK02.eml.eml",
                     PILGRIMS-DOJ-0001674227




                     Email, "Bid", 10/23/2013, PILGRIMS-
F-069
                     DOJ-0001674387




                     Talking Points for Negotiation,
F-070
                     PILGRIMS-DOJ-0001674653




                     Email, "RE: KFC Pricing", 11/17/2013,
F-071
                     PILGRIMS-DOJ-0001674665




                     Email, "Re: Bid", 11/19/2013,
F-072
                     PILGRIMS-DOJ-0001674671
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                     Email, "Re: Couple Points from the
F-073                CFA Call", 08/06/2014, PILGRIMS-
                     DOJ-0001675997



                     Email, "FW: 2015 chicken pounds
F-074                capability", 08/08/2014, PILGRIMS-
                     DOJ-0001676005



                     Email regarding Chick-fil-A ABF costs,
F-075                08/11/2014, PILGRIMS-DOJ-
                     0001676006



                     Email, "Re: CFA opportunity",
F-076                08/12/2014, PILGRIMS-DOJ-
                     0001676021



                     Email, "RE: September BIC
F-077                promotion", 07/24/2015, PILGRIMS-
                     DOJ-0001679590



                     Email, "FFS Net Dock Return Pd 1 Wk
F-078                4 FY 14", 01/29/2013, PILGRIMS-DOJ-
                     0001736029




                     Attachment, Net Dock Report,
F-079
                     PILGRIMS-DOJ-0001736030
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                     Email, "FFS Net Dock Return Reports-
F-080                Pd 2 Wk 3", 02/19/2013, PILGRIMS-
                     DOJ-0001736043




                     Attachment, Net Dock Report,
F-081
                     PILGRIMS-DOJ-0001736044




                     Attachment, Net Dock Report,
F-082
                     PILGRIMS-DOJ-0001736045




                     Email, "FFS Net Dock Return Reports-
F-083                PD 2 WK 4 FY 2014", 02/26/2013,
                     PILGRIMS-DOJ-0001736056




                     Attachment, Net Dock Report,
F-084
                     PILGRIMS-DOJ-0001736057




                     Attachment, Net Dock Report,
F-085
                     PILGRIMS-DOJ-0001736058




                     Email, "FFS Net Dock Return Reports-
F-086                PD 3 WK 2", 03/19/2013, PILGRIMS-
                     DOJ-0001736061
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                     Attachment, Net Dock Report,
F-087
                     PILGRIMS-DOJ-0001736062




                     Attachment, Net Dock Report,
F-088
                     PILGRIMS-DOJ-0001736063




                     Email, "FFS Net Dock Return Reports -
F-089                PD 3 WK 3", 03/26/2013, PILGRIMS-
                     DOJ-0001736064




                     Attachment, Net Dock Report,
F-090
                     PILGRIMS-DOJ-0001736065




                     Attachment, Net Dock Report,
F-091
                     PILGRIMS-DOJ-0001736066




                     Email, "FFS Net Dock Return Reports -
F-092                PD 4 WK 1", 04/10/2013, PILGRIMS-
                     DOJ-0001736078




                     Attachment, Net Dock Report,
F-093
                     PILGRIMS-DOJ-0001736079
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                     Attachment, Net Dock Report,
F-094
                     PILGRIMS-DOJ-0001736080




                     Email, "FFS Net Dock Return Reports -
F-095                Pd 4 Wk 3", 04/24/2013, PILGRIMS-
                     DOJ-0001736088




                     Attachment, Net Dock Report,
F-096
                     PILGRIMS-DOJ-0001736089




                     Attachment, Net Dock Report,
F-097
                     PILGRIMS-DOJ-0001736090




                     Email, "FFS Net Dock Return Files-PD
F-098                4 WK 4", 04/30/2013, PILGRIMS-DOJ-
                     0001736091




                     Attachment, Net Dock Report,
F-099
                     PILGRIMS-DOJ-0001736092




                     Attachment, Net Dock Report,
F-100
                     PILGRIMS-DOJ-0001736093
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                     Email, "FFS Net Dock Return Reports-
F-101                Pd 5 Wk 1", 05/08/2013, PILGRIMS-
                     DOJ-0001736094




                     Attachment, Net Dock Report,
F-102
                     PILGRIMS-DOJ-0001736095




                     Attachment, Net Dock Report,
F-103
                     PILGRIMS-DOJ-0001736096




                     Email, "FFS Net Dock Return Reports
F-104                Pd 5 Wk 2", 05/15/2013, PILGRIMS-
                     DOJ-0001736097




                     Attachment, Net Dock Report,
F-105
                     PILGRIMS-DOJ-0001736098




                     Attachment, Net Dock Report,
F-106
                     PILGRIMS-DOJ-0001736099




                     Email, "FFS Net Dock Return Pd 6 Wk
F-107                3 FY 14-REVISED", 06/26/2013,
                     PILGRIMS-DOJ-0001736112
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                     Attachment, Net Dock Report,
F-108
                     PILGRIMS-DOJ-0001736113




                     Attachment, Net Dock Report,
F-109
                     PILGRIMS-DOJ-0001736114




                     Email, "FFS Net Dock Return Reports-
F-110                PD 6 WK 4", 07/02/2013, PILGRIMS-
                     DOJ-0001736115




                     Attachment, Net Dock Report,
F-111
                     PILGRIMS-DOJ-0001736116




                     Attachment, Net Dock Report,
F-112
                     PILGRIMS-DOJ-0001736117




                     Email, "FFS Net Dock Return Reports -
F-113                Pd 7 Wk 1", 07/10/2013, PILGRIMS-
                     DOJ-0001736124




                     Attachment, Net Dock Report,
F-114
                     PILGRIMS-DOJ-0001736125
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                     Attachment, Net Dock Report,
F-115
                     PILGRIMS-DOJ-0001736126




                     Email, "FFS Net Dock Return Reports
F-116                Pd 7 Wk 2", 07/16/2013, PILGRIMS-
                     DOJ-0001736129




                     Attachment, Net Dock Report,
F-117
                     PILGRIMS-DOJ-0001736130




                     Attachment, Net Dock Report,
F-118
                     PILGRIMS-DOJ-0001736131




                     Email, "FFS Net Dock Return Reports-
F-119                P8 W1", 08/06/2013, PILGRIMS-DOJ-
                     0001736139




                     Attachment, Net Dock Report,
F-120
                     PILGRIMS-DOJ-0001736140




                     Attachment, Net Dock Report,
F-121
                     PILGRIMS-DOJ-0001736141
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                     Email, "FFS Net Dock Return Reports
F-122                Pd 8 Wk 2", 08/13/2013, PILGRIMS-
                     DOJ-0001736145




                     Attachment, Net Dock Report,
F-123
                     PILGRIMS-DOJ-0001736146




                     Attachment, Net Dock Report,
F-124
                     PILGRIMS-DOJ-0001736147




                     Email, "FFS Net Dock Return Reports-
F-125                P8 W3", 08/20/2013, PILGRIMS-DOJ-
                     0001736148




                     Attachment, Net Dock Report,
F-126
                     PILGRIMS-DOJ-0001736149




                     Attachment, Net Dock Report,
F-127
                     PILGRIMS-DOJ-0001736150




                     Email, "FFS Net Dock Return Reports-
F-128                REVISED", 08/27/2013, PILGRIMS-
                     DOJ-0001736156
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                     Attachment, Net Dock Report,
F-129
                     PILGRIMS-DOJ-0001736157




                     Attachment, Net Dock Report,
F-130
                     PILGRIMS-DOJ-0001736158




                     Email, "FFS Net Dock Return Pd 8 Wk
F-131                5", 09/04/2013, PILGRIMS-DOJ-
                     0001736159




                     Attachment, Net Dock Report,
F-132
                     PILGRIMS-DOJ-0001736160




                     Email, "FFS Net Dock Return Reports
F-133                P9 W1", 09/10/2013, PILGRIMS-DOJ-
                     0001736166




                     Attachment, Net Dock Report,
F-134
                     PILGRIMS-DOJ-0001736167




                     Attachment, Net Dock Report,
F-135
                     PILGRIMS-DOJ-0001736168
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                     Email, "FFS Net Dock Return Reports
F-136                PD 9 WK 2", 09/17/2013, PILGRIMS-
                     DOJ-0001736169




                     Attachment, Net Dock Report,
F-137
                     PILGRIMS-DOJ-0001736170




                     Attachment, Net Dock Report,
F-138
                     PILGRIMS-DOJ-0001736171




                     Email, "FFS Net Dock Return Reports
F-139                PD 9 WK 3", 09/24/2013, PILGRIMS-
                     DOJ-0001736175




                     Attachment, Net Dock Report,
F-140
                     PILGRIMS-DOJ-0001736176




                     Attachment, Net Dock Report,
F-141
                     PILGRIMS-DOJ-0001736177




                     Email, "FFS Net Dock Return Reports-
F-142                PD 9 WK 4", 10/01/2013, PILGRIMS-
                     DOJ-0001736178
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                     Attachment, Net Dock Report,
F-143
                     PILGRIMS-DOJ-0001736179




                     Attachment, Net Dock Report,
F-144
                     PILGRIMS-DOJ-0001736180




                     Email, "FFS Net Dock Return Reports
F-145                W/E 10/06/13", 10/09/2013,
                     PILGRIMS-DOJ-0001736184




                     Attachment, Net Dock Report,
F-146
                     PILGRIMS-DOJ-0001736185




                     Attachment, Net Dock Report,
F-147
                     PILGRIMS-DOJ-0001736186




                     Email, "FFS Net Dock Return Reports -
F-148                PD 1 WK 4", 01/28/2014, PILGRIMS-
                     DOJ-0001736189




                     Attachment, Net Dock Report,
F-149
                     PILGRIMS-DOJ-0001736190
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                     Attachment, Net Dock Report,
F-150
                     PILGRIMS-DOJ-0001736191




                     Email, "FW: Church's proposed cost",
F-151                11/10/2011, PILGRIMS-DOJ-
                     0001770985




                     Attachment, Cost Model, PILGRIMS-
F-152
                     DOJ-0001770987




                     Attachment, Email, "FW: Church's
F-153                proposed cost", PILGRIMS-DOJ-
                     0001770988



                     Attachment, Email, "FW: Church's
F-154                proposed cost", PILGRIMS-DOJ-
                     0001770989




                     Attachment, Cost Model, PILGRIMS-
F-155
                     DOJ-0001770991




                     Attachment, Email, "FW: Church's
F-156                proposed cost", PILGRIMS-DOJ-
                     0001770992
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                     Attachment, Cost Model, PILGRIMS-
F-157
                     DOJ-0001770994




                     Attachment, Email, "FW_ Church's
F-158                proposed cost", PILGRIMS-DOJ-
                     0001770995



                     Attachment, Email, "FW: Church's
F-159                proposed cost", PILGRIMS-DOJ-
                     0001770996



                     Email, "FW: Church's cost",
F-160                12/15/2011, PILGRIMS-DOJ-
                     0001771474




                     Attachment, Cost Model, PILGRIMS-
F-161
                     DOJ-0001771475




                     Email, "RE: Church's Model",
F-162                12/16/2011, PILGRIMS-DOJ-
                     0001771495



                     Email, "2012 poultry contract
F-163                addendum", 12/21/2011, PILGRIMS-
                     DOJ-0001771605
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                     Attachment, Church's Contract
F-164                Addendum, PILGRIMS-DOJ-
                     0001771606




                     Attachment, Email Signature,
F-165
                     PILGRIMS-DOJ-0001771608




                     Email regarding covering short,
F-166                02/24/2012, PILGRIMS-DOJ-
                     0001771941



                     Email, "FW: Church's Frozen Proposal
F-167                12-20-12", 12/21/2012, PILGRIMS-
                     DOJ-0001773222




                     Attachment, Church's Cost Model,
F-168
                     PILGRIMS-DOJ-0001773223




                     Attachment, Blank Page, PILGRIMS-
F-169
                     DOJ-0001773224




                     Email, "RE: Church's Frozen Proposal
F-170                12-20-12", 12/21/2012, PILGRIMS-
                     DOJ-0001773227
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                     Email, "RE: quick call", 01/18/2013,
F-171
                     PILGRIMS-DOJ-0001773403




                     Email, "RE: CHURCH'S RFP",
F-172                11/06/2013, PILGRIMS-DOJ-
                     0001775097



                     Email, "Re: CHURCH'S RFP",
F-173                11/07/2013, PILGRIMS-DOJ-
                     0001775122




                     Email, "Church's", 11/25/2013,
F-174
                     PILGRIMS-DOJ-0001775290




                     Email, "Church's 2014 Poultry RFP-
F-175                Pilgrim's", 11/26/2013, PILGRIMS-
                     DOJ-0001775299



                     Email, "FW: Bid Summary 2013",
F-176                09/27/2012, PILGRIMS-DOJ-
                     0001778587



                     Email, "RE: Golden Corral products",
F-177                08/18/2014, PILGRIMS-DOJ-
                     0001778724
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                     Attachment, Email, "RE: Golden Corral
F-178                products", PILGRIMS-DOJ-
                     0001778725



                     Email, "FW: Need your help ASAP -
F-179                FW: Tyson", 08/08/2014, PILGRIMS-
                     DOJ-0001799470



                     Email, "RE: maximum is looking for",
F-180                12/10/2012, PILGRIMS-DOJ-
                     0001896209



                     Email, "FW: I pirated your info :)",
F-181                05/23/2013, PILGRIMS-DOJ-
                     0001899083



                     Attachment, PowerPoint Deck on
F-182                Protein Outlook, PILGRIMS-DOJ-
                     0001899084




                     Attachment, Logo, PILGRIMS-DOJ-
F-183
                     0001899094




                     Attachment, Logo, PILGRIMS-DOJ-
F-184
                     0001899095
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                     Attachment, Logo, PILGRIMS-DOJ-
F-185
                     0001899096




                     Email, "FW: Demand Related Service
F-186                Levels 10-14", 10/29/2014, PILGRIMS-
                     DOJ-0001906786



                     Attachment, Email, "FW: Demand
F-187                Related Service Levels 10-14",
                     PILGRIMS-DOJ-0001906787



                     Attachment, Customer Letter Regarding
F-188                Supply Shortage, PILGRIMS-DOJ-
                     0001906788




                     Email, "Re: Tenders", 12/05/2017,
F-189
                     PILGRIMS-DOJ-0001945847




                     Email, "Re: Golden Corral",
F-190                12/03/2014, PILGRIMS-DOJ-
                     0002024216




                     Attachment, Email, "Re: Golden
F-191
                     Corral", PILGRIMS-DOJ-0002024217
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                     Email, "FFS Net Dock Return Reports
F-192                W/E 10/13/13", 10/15/2013,
                     PILGRIMS-DOJ-0002041666




                     Attachment, Net Dock Report,
F-193
                     PILGRIMS-DOJ-0002041667




                     Attachment, Net Dock Report,
F-194
                     PILGRIMS-DOJ-0002041668




                     Email, "FFS Net Dock Return Reports -
F-195                Pd 11 Wk 2 FY 14", 11/12/2013,
                     PILGRIMS-DOJ-0002041747




                     Attachment, Net Dock Report,
F-196
                     PILGRIMS-DOJ-0002041748




                     Attachment, Net Dock Report,
F-197
                     PILGRIMS-DOJ-0002041749




                     Email, "FFS Net Dock Returns - Pd 11
F-198                Wk 4", 12/02/2013, PILGRIMS-DOJ-
                     0002041807
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                     Attachment, Net Dock Report,
F-199
                     PILGRIMS-DOJ-0002041808




                     Attachment, Net Dock Report,
F-200
                     PILGRIMS-DOJ-0002041809




                     Email, "FFS Net Dock Return Reports
F-201                Pd 11 Wk 5", 12/03/2013, PILGRIMS-
                     DOJ-0002041813




                     Attachment, Net Dock Report,
F-202
                     PILGRIMS-DOJ-0002041814




                     Attachment, Net Dock Report,
F-203
                     PILGRIMS-DOJ-0002041815




                     Email, "FFS Net Dock Return Reports -
F-204                P12 W1", 12/10/2013, PILGRIMS-DOJ-
                     0002041835




                     Attachment, Net Dock Report,
F-205
                     PILGRIMS-DOJ-0002041836
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                     Attachment, Net Dock Report,
F-206
                     PILGRIMS-DOJ-0002041837




                     Email, "FFS Net Dock Return Reports
F-207                Pd 12 Wk 2", 12/17/2013, PILGRIMS-
                     DOJ-0002041843




                     Attachment, Net Dock Report,
F-208
                     PILGRIMS-DOJ-0002041844




                     Attachment, Net Dock Report,
F-209
                     PILGRIMS-DOJ-0002041845




                     Email, "FFS Net Dock Return Reports -
F-210                PD 12 WK 4", 12/31/2013, PILGRIMS-
                     DOJ-0002041860




                     Attachment, Net Dock Report,
F-211
                     PILGRIMS-DOJ-0002041861




                     Attachment, Net Dock Report,
F-212
                     PILGRIMS-DOJ-0002041862
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                     Email, "FFS Net Dock Return Reports -
F-213                PD 1 WK 3", 01/21/2014, PILGRIMS-
                     DOJ-0002041892




                     Attachment, Net Dock Report,
F-214
                     PILGRIMS-DOJ-0002041893




                     Attachment, Net Dock Report,
F-215
                     PILGRIMS-DOJ-0002041894




                     Email, "FFS Net Dock Return Reports -
F-216                P1 CY 2014", 02/03/2014, PILGRIMS-
                     DOJ-0002041911




                     Attachment, Net Dock Report,
F-217
                     PILGRIMS-DOJ-0002041912




                     Attachment, Net Dock Report,
F-218
                     PILGRIMS-DOJ-0002041913




                     Email, "FFS Net Dock Return - Trend
F-219                File PD 2 CY 2014", 03/10/2014,
                     PILGRIMS-DOJ-0002041923
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                     Attachment, Net Dock Report,
F-220
                     PILGRIMS-DOJ-0002041924




                     Email, "FFS Net Dock Return Reports
F-221                PD 3", 04/07/2014, PILGRIMS-DOJ-
                     0002041933




                     Attachment, Net Dock Report,
F-222
                     PILGRIMS-DOJ-0002041934




                     Attachment, Net Dock Report,
F-223
                     PILGRIMS-DOJ-0002041935




                     Email, "FFS Net Dock Return Reports -
F-224                P4 W2", 04/15/2014, PILGRIMS-DOJ-
                     0002041942




                     Attachment, Net Dock Report,
F-225
                     PILGRIMS-DOJ-0002041943




                     Attachment, Net Dock Report,
F-226
                     PILGRIMS-DOJ-0002041944
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                     Email, "FFS Net Dock Return Reports -
F-227                P7", 08/01/2014, PILGRIMS-DOJ-
                     0002041959




                     Attachment, Net Dock Report,
F-228
                     PILGRIMS-DOJ-0002041960




                     Attachment, Net Dock Report,
F-229
                     PILGRIMS-DOJ-0002041961




                     Email, "FFS Net Dock Return Reports -
F-230                Pd 8 CY2014", 09/04/2014, PILGRIMS-
                     DOJ-0002041979




                     Attachment, Net Dock Report,
F-231
                     PILGRIMS-DOJ-0002041980




                     Attachment, Net Dock Report,
F-232
                     PILGRIMS-DOJ-0002041981




                     Email, "FFS Net Dock Return P10
F-233                FY15", 11/03/2014, PILGRIMS-DOJ-
                     0002042041
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 748 of 1105

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                     Attachment, Net Dock Report,
F-234
                     PILGRIMS-DOJ-0002042042




                     Attachment, Net Dock Report,
F-235
                     PILGRIMS-DOJ-0002042043



                     Email, "DECEMBER PD 12 FY 2015
                     MONTHLY NET DOCK REPORTS",
F-236
                     01/08/2015, PILGRIMS-DOJ-
                     0002042199



                     Attachment, Net Dock Report,
F-237
                     PILGRIMS-DOJ-0002042200




                     Attachment, Net Dock Report,
F-238
                     PILGRIMS-DOJ-0002042201




                     Email, "Re: KFC Specification Changes
F-239                to COB", 07/12/2013, PILGRIMS-DOJ-
                     0002050747



                     Email, "FW: KFC Specification
F-240                Changes to COB", 07/15/2013,
                     PILGRIMS-DOJ-0002050751
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                     Golden Corral Customer Pricing
F-241                Contract Guidelines, PILGRIMS-DOJ-
                     0002053021



                     Email, "Commercial Net Dock & Trend
F-242                Report P2 CY14", 03/11/2014,
                     PILGRIMS-DOJ-0002096445




                     Attachment, Net Dock Report,
F-243
                     PILGRIMS-DOJ-0002096446




                     Attachment, Net Dock Report,
F-244
                     PILGRIMS-DOJ-0002096447




                     Email, "Pilgrims data sheet.xlsx",
F-245                03/05/2013, PILGRIMS-DOJ-
                     0002102132



                     Attachment, Available Volume by
F-246                Weight Range Spreadsheet, PILGRIMS-
                     DOJ-0002102133



                     Email, "FW: KFC Fresh Specs",
F-247                03/08/2013, PILGRIMS-DOJ-
                     0002102956
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Exhibit   Witness               Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "New spec. for KFC",
F-248                03/11/2013, PILGRIMS-DOJ-
                     0002103336



                     Email, "FW: KFC Fresh Specs",
F-249                03/11/2013, PILGRIMS-DOJ-
                     0002103337



                     Email, "KFC Update Discussion",
F-250                03/11/2013, PILGRIMS-DOJ-
                     0002103353



                     Email, "RE: Pilgrims data sheet.xlsx",
F-251                03/11/2013, PILGRIMS-DOJ-
                     0002103398



                     Email, "RE: Pilgrims data sheet.xlsx",
F-252                03/11/2013, PILGRIMS-DOJ-
                     0002103402



                     Email, "FW: Pilgrims data sheet.xlsx",
F-253                03/12/2013, PILGRIMS-DOJ-
                     0002103608



                     Attachment, Volume Available by
F-254                Weight Range Spreadsheet, PILGRIMS-
                     DOJ-0002103609
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                     Email, "FW: Pilgrims data sheet.xlsx",
F-255                03/12/2013, PILGRIMS-DOJ-
                     0002103618



                     Email, Volume Availability by Weight
F-256                Spreadsheet, PILGRIMS-DOJ-
                     0002103619



                     Email, "RE: Pilgrims data sheet.xlsx",
F-257                03/19/2013, PILGRIMS-DOJ-
                     0002104488




                     Email, "KFC questions", 03/19/2013,
F-258
                     PILGRIMS-DOJ-0002104493




                     Attachment, Volume Available by
F-259                Weight Range Spreadsheet, PILGRIMS-
                     DOJ-0002104494



                     Email, "FW: Pilgrims data sheet.xlsx",
F-260                03/19/2013, PILGRIMS-DOJ-
                     0002104495



                     Email, "FW: Pilgrims data sheet.xlsx",
F-261                03/19/2013, PILGRIMS-DOJ-
                     0002104496
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                     Email, "RE: Pilgrims data sheet.xlsx",
F-262                03/19/2013, PILGRIMS-DOJ-
                     0002104497



                     Email, "RE: Pilgrims data sheet.xlsx",
F-263                03/19/2013, PILGRIMS-DOJ-
                     0002104500



                     Email, "RE: KFC questions",
F-264                03/20/2013, PILGRIMS-DOJ-
                     0002104560



                     Attachment, Volume Availability by
F-265                Weight Range Spreadsheet, PILGRIMS-
                     DOJ-0002104561



                     Email, "RE: KFC questions",
F-266                03/20/2013, PILGRIMS-DOJ-
                     0002104566




                     Email, "KFC", 03/26/2013, PILGRIMS-
F-267
                     DOJ-0002105062




                     Email, "Re: KFC", 03/26/2013,
F-268
                     PILGRIMS-DOJ-0002105071
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                     Email, "FW: KFC questions",
F-269                03/27/2013, PILGRIMS-DOJ-
                     0002105081



                     Attachment, Volume Availability by
F-270                Weight Range Spreadsheet, PILGRIMS-
                     DOJ-0002105082




                     Email, "RE: KFC", 03/27/2013,
F-271
                     PILGRIMS-DOJ-0002105094




                     Email, "RE: 8 pc", 12/22/2016,
F-272
                     PILGRIMS-DOJ-0002105399




                     Email, "RE: Update", 01/20/2017,
F-273
                     PILGRIMS-DOJ-0002105778




                     Email, "2018 Proposal", 02/03/2017,
F-274
                     PILGRIMS-DOJ-0002106063




                     Attachment, Cost Model, PILGRIMS-
F-275
                     DOJ-0002106064
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                     Email, "Re: Update", 02/05/2017,
F-276
                     PILGRIMS-DOJ-0002106072




                     Attachment, Logo, PILGRIMS-DOJ-
F-277
                     0002106073




                     Attachment, Logo, PILGRIMS-DOJ-
F-278
                     0002106074




                     Attachment, Logo, PILGRIMS-DOJ-
F-279
                     0002106075




                     Attachment, Logo, PILGRIMS-DOJ-
F-280
                     0002106076




                     Email regarding KFC feedback,
F-281                02/07/2017, PILGRIMS-DOJ-
                     0002106096




                     Email, "RE: Duscussion", 02/17/2017,
F-282
                     PILGRIMS-DOJ-0002106338
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                     Email, "FW: Chicken on the Bone
F-283                Update", 02/17/2017, PILGRIMS-DOJ-
                     0002106341



                     Email, "KFC 2018 Proposal.xls",
F-284                02/20/2017, PILGRIMS-DOJ-
                     0002106350




                     Attachment, Cost Model, PILGRIMS-
F-285
                     DOJ-0002106351




                     Email, "RE: KFC", 02/20/2017,
F-286
                     PILGRIMS-DOJ-0002106368



                     Email, "Re: Supplier Dinner at KFC
                     Convention CANCELLED",
F-287
                     02/21/2017, PILGRIMS-DOJ-
                     0002106382

                     Email, "RE: Confirmed H7,
                     Presumptive Low Pathogenic Avian
F-288                Influenza in a Commercial Flock in
                     Georgia", 03/27/2017, PILGRIMS-DOJ-
                     0002106958



                     Email, "Re; Update", 04/01/2017,
F-289
                     PILGRIMS-DOJ-0002107047
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                     Attachment, Logo, PILGRIMS-DOJ-
F-290
                     0002107048




                     Attachment, Email Signature,
F-291
                     PILGRIMS-DOJ-0002107049




                     Attachment, Email Signature,
F-292
                     PILGRIMS-DOJ-0002107050




                     Attachment, Email Signature,
F-293
                     PILGRIMS-DOJ-0002107051




                     Email, "update", 04/29/2017,
F-294
                     PILGRIMS-DOJ-0002107511




                     Email, "Re: Customer sheet",
F-295                06/09/2017, PILGRIMS-DOJ-
                     0002107957



                     Email, "RE: Winter Storm",
F-296                03/03/2015, PILGRIMS-DOJ-
                     0002115059
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                     Attachment, Email, "RE: Winter
F-297
                     Storm", PILGRIMS-DOJ-0002115060




                     Email regarding covering short,
F-298                12/12/2012, PILGRIMS-DOJ-
                     0002127691



                     Email, "RE: Urner Barry History",
F-299                07/01/2013, PILGRIMS-DOJ-
                     0002128765




                     Email, "Shortages", 05/06/2014,
F-300
                     PILGRIMS-DOJ-0002131300




                     Email, "FW: PO for KFC from
F-301                George's", 09/12/2017, PILGRIMS-
                     DOJ-0002132686



                     Email, "Re: KFC 8 PC pricing",
F-302                11/08/2017, PILGRIMS-DOJ-
                     0002132979




                     Email, "Fwd: Church's", 05/08/2012,
F-303
                     PILGRIMS-DOJ-0002139541
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                     Email, "RE: [UNWANTED EMAIL]
                     Re: Conference Call with Church's/PFG-
F-304
                     Temple", 06/07/2012, PILGRIMS-DOJ-
                     0002139576



                     Email, "Re: Spice Sale to Pilgrims
F-305                Pride", 08/13/2012, PILGRIMS-DOJ-
                     0002139665



                     Email, "Re: Chuck Bielec named DC
F-306                Manager Kelly's Atalnta", 12/28/2012,
                     PILGRIMS-DOJ-0002139801




                     Email, "Re: PT", 02/12/2014,
F-307
                     PILGRIMS-DOJ-0002139999




                     Email regarding news article,
F-308                11/08/2015, PILGRIMS-DOJ-
                     0002140077



                     Email, "Churchs Marinade",
F-309                01/15/2016, PILGRIMS-DOJ-
                     0002140082



                     Email regarding covering short,
F-310                02/10/2011, PILGRIMS-DOJ-
                     0002150937
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                     Email, "Discuss upcoming KFC
F-311                Promotions", 09/09/2013, PILGRIMS-
                     DOJ-0002183471



                     Email, "RE: Thanks, again!",
F-312                11/08/2013, PILGRIMS-DOJ-
                     0002183790




                     Email, "Re: 8 piece", 01/16/2017,
F-313
                     PILGRIMS-DOJ-0002185248




                     Email, "8 piece", 01/19/2017,
F-314
                     PILGRIMS-DOJ-0002185250




                     Email, "RE: 8 piece", 01/19/2017,
F-315
                     PILGRIMS-DOJ-0002185251




                     Meeting Invitation, "Costco Meeting",
F-316
                     PILGRIMS-DOJ-0002194176




                     Meeting Invitation, "4pmET Delta
F-317                #1043 JFK to SEA (6 hours and 25
                     mins.)", PILGRIMS-DOJ-0002194193
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                     Meeting Invitation, "Costco
F-318                Discussion", PILGRIMS-DOJ-
                     0002194715



                     Meeting Invitation, "Costco Team
F-319                Dinner 5pmPT", PILGRIMS-DOJ-
                     0002194819




                     Attachment, Flight Itinerary,
F-320
                     PILGRIMS-DOJ-0002194820




                     Attachment, Travel Confirmation,
F-321
                     PILGRIMS-DOJ-0002194821




                     Attachment, Travel Confirmation,
F-322
                     PILGRIMS-DOJ-0002194822




                     Meeting Invitation, "Costco
F-323                Discussion", PILGRIMS-DOJ-
                     0002194905



                     Meeting Invitation, "Costco
F-324                Discussion", PILGRIMS-DOJ-
                     0002195313
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                     Meeting Invitation, "Costco
F-325                Discussion", PILGRIMS-DOJ-
                     0002195357



                     Meeting Invitation, "Costco Dedicated
F-326                Cost Plus Model", PILGRIMS-DOJ-
                     0002195361




                     Meeting Invitation, "Costco update",
F-327
                     PILGRIMS-DOJ-0002195387




                     Meeting Invitation, "Costco update",
F-328
                     PILGRIMS-DOJ-0002195388



                     Meeting Invitation, "Costco-Mt
                     Pleasant Model Discussion
F-329
                     7:30amMT", PILGRIMS-DOJ-
                     0002195518


                     Meeting Invitation, "Fwd: Costco
                     Grand Opening Meeting - DRAFT
F-330
                     AGENDA ATTACHED", PILGRIMS-
                     DOJ-0002195603



                     Attachment, Blank Page, PILGRIMS-
F-331
                     DOJ-0002195604
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                     Meeting Invitation, "PT", PILGRIMS-
F-332
                     DOJ-0002195623




                     Meeting Invitation, "Costco-Pilgrim's
F-333                Call 9amMDT", PILGRIMS-DOJ-
                     0002195660



                     Meeting Invitation, "Costco Recap
F-334                8:00amMST", PILGRIMS-DOJ-
                     0002195824



                     Email, "Fwd: Church's Chicken QA
F-335                Requirements 2014", 12/23/2013,
                     PILGRIMS-DOJ-0002258077




                     Attachment, Supplier Letter,
F-336
                     PILGRIMS-DOJ-0002258078




                     Attachment, Mobile Record,
F-337
                     PILGRIMS-DOJ-0002258079




                     Email, "RE: CFA - Dr. Raymond Post
F-338                re. Antibiotics", 02/24/2014,
                     PILGRIMS-DOJ-0002261072
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                     Attachment, Image, PILGRIMS-DOJ-
F-339
                     0002261074




                     Attachment, Image, PILGRIMS-DOJ-
F-340
                     0002261075




                     Attachment, Image, PILGRIMS-DOJ-
F-341
                     0002261076




                     Email, "Re: Shortages - PO# 4277311,
F-342                4277312 & 4277313", 05/02/2014,
                     PILGRIMS-DOJ-0002264440



                     Email, "Fwd: KFC PURPLE",
F-343                07/08/2014, PILGRIMS-DOJ-
                     0002267672



                     Email, "Fwd: Torn chicken",
F-344                08/15/2014, PILGRIMS-DOJ-
                     0002269378




                     Attachment, Photo, PILGRIMS-DOJ-
F-345
                     0002269379
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                     Attachment, Blank Page, PILGRIMS-
F-346
                     DOJ-0002269380




                     Attachment, Product Complaint Form,
F-347
                     PILGRIMS-DOJ-0002269381




                     Attachment, Blank Page, PILGRIMS-
F-348
                     DOJ-0002269382




                     Email, "Fwd: 2015 Supply and Pricing
F-349                Agreement", 10/03/2014, PILGRIMS-
                     DOJ-0002270899




                     Email, "Chicken", 10/08/2014,
F-350
                     PILGRIMS-DOJ-0002271079




                     Email, "Chicken Breast", 10/08/2014,
F-351
                     PILGRIMS-DOJ-0002271090




                     Email, "RE: Expiring Price Lists",
F-352                11/19/2014, PILGRIMS-DOJ-
                     0002272809
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                     Attachment, Period Pricing Model,
F-353
                     PILGRIMS-DOJ-0002272810




                     Attachment, Cost Model, PILGRIMS-
F-354
                     DOJ-0002272811




                     Email, "RE: Chicken program",
F-355                08/25/2014, PILGRIMS-DOJ-
                     0002414699



                     Email, "RE: Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
F-356
                     PRIDE", 07/05/2016, PILGRIMS-DOJ-
                     0002424953


                     Email, "RE: Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
F-357
                     PRIDE", 07/05/2016, PILGRIMS-DOJ-
                     0002424955



                     Email, "2012 poultry contract
F-358                addendum", 12/21/2011, PILGRIMS-
                     DOJ-0002452445




                     Attachment, term sheet, PILGRIMS-
F-359
                     DOJ-0002452446
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                     Attachment, logo, PILGRIMS-DOJ-
F-360
                     0002452448




                     Email, "Church's/Pilgrims Pride Poultry
F-361                Supply Agreement", 12/22/2011,
                     PILGRIMS-DOJ-0002452511




                     Attachment, supply contract,
F-362
                     PILGRIMS-DOJ-0002452512




                     Email, "FW: 2012 UFPC SBRA
F-363                Exhibits", 12/23/2011, PILGRIMS-DOJ-
                     0002452638




                     Attachment, cost model, PILGRIMS-
F-364
                     DOJ-0002452640




                     Email, "Re: COB Tare Value",
F-365                10/18/2012, PILGRIMS-DOJ-
                     0002471990



                     Email, "Fwd: Price Reduction Impact -
F-366                KFC", 11/30/2012, PILGRIMS-DOJ-
                     0002474990
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                     Attachment, price impact analysis,
F-367
                     PILGRIMS-DOJ-0002474991




                     Attachment, mobile record, PILGRIMS-
F-368
                     DOJ-0002474992




                     Email, "costco slides", 01/08/2013,
F-369
                     PILGRIMS-DOJ-0002477261




                     Attachment, product analysis,
F-370
                     PILGRIMS-DOJ-0002477262




                     Attachment, company presentation,
F-371
                     PILGRIMS-DOJ-0002477263




                     Email, "FW: Case Farms fresh chicken
F-372                test", 01/24/2013, PILGRIMS-DOJ-
                     0002478502




                     "Costco", PILGRIMS-DOJ-
F-373
                     0002498334
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                     Email, "RE: KFC Cob Supply",
F-374                06/06/2014, PILGRIMS-DOJ-
                     0002518899



                     Email, "RE: P7 Pricing/Change In
F-375                Sourcing Fee", 06/06/2014, PILGRIMS-
                     DOJ-0002518906



                     Email, "RE: KFC Cob Supply",
F-376                06/06/2014, PILGRIMS-DOJ-
                     0002518982




                     Email, "FW: Friday", 06/26/2014,
F-377
                     PILGRIMS-DOJ-0002520428




                     Attachment, PowerPoint Deck,
F-378
                     PILGRIMS-DOJ-0002520429




                     Attachment, Chart, PILGRIMS-DOJ-
F-379
                     0002520557




                     Email, "FW: Friday", 06/30/2014,
F-380
                     PILGRIMS-DOJ-0002520647
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                     Attachment, June 2014 PowerPoint
F-381                Presentation to KFC, PILGRIMS-DOJ-
                     0002520648




                     Attachment, Chart, PILGRIMS-DOJ-
F-382
                     0002520776




                     Email, "Re: KFC PURPLE",
F-383                07/08/2014, PILGRIMS-DOJ-
                     0002521355




                     Email, "Re: Negotiations", 07/11/2014,
F-384
                     PILGRIMS-DOJ-0002521512




                     Email, "Re: Sysco / HEB / Wal-Mart
F-385                standing daily meeting", 07/15/2014,
                     PILGRIMS-DOJ-0002521810



                     Email, "Re: Meeting/Call to discuss
F-386                KFC 8pc COB Spec", 08/07/2014,
                     PILGRIMS-DOJ-0002522984



                     Email regarding presentation to KFC,
F-387                08/18/2014, PILGRIMS-DOJ-
                     0002523448
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                     Attachment, August 2014 PowerPoint
F-388                Presentation to KFC, PILGRIMS-DOJ-
                     0002523449




                     Attachment, KFC Cost Model,
F-389
                     PILGRIMS-DOJ-0002523460




                     Email, "Fwd: Pricing", 08/21/2014,
F-390
                     PILGRIMS-DOJ-0002523680




                     Attachment, Cost Model, PILGRIMS-
F-391
                     DOJ-0002523681




                     Attachment, Mobile Record,
F-392
                     PILGRIMS-DOJ-0002523682




                     Attachment, August 2014 PowerPoint
F-393                Presentation to KFC, PILGRIMS-DOJ-
                     0002523683




                     Attachment, Mobile Record,
F-394
                     PILGRIMS-DOJ-0002523691
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Exhibit   Witness              Brief Description         Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "COB Negotiations",
F-395                09/10/2014, PILGRIMS-DOJ-
                     0002524764



                     Email, "RE: KFC Line Approvals-
F-396                Pilgrim's", 09/12/2014, PILGRIMS-
                     DOJ-0002524924



                     Email, "FW: KFC QA Costs",
F-397                09/17/2014, PILGRIMS-DOJ-
                     0002525202




                     Attachment, Template for KFC QA
F-398
                     Costs, PILGRIMS-DOJ-0002525203




                     Email, "FW: KFC QA Costs",
F-399                09/26/2014, PILGRIMS-DOJ-
                     0002525646




                     Attachment, QA costs summary,
F-400
                     PILGRIMS-DOJ-0002525647




                     Period pricing., PILGRIMS-DOJ-
F-401
                     0002525680
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                     Period pricing., PILGRIMS-DOJ-
F-402
                     0002525681




                     Email, "PRICE INCREASES.xlsx",
F-403                09/30/2014, PILGRIMS-DOJ-
                     0002525813




                     Attachment, plant information,
F-404
                     PILGRIMS-DOJ-0002525814




                     Email, "RE: 2015 Supply and Pricing
F-405                Agreement", 10/03/2014, PILGRIMS-
                     DOJ-0002525979




                     Email, "RE: bids", 10/27/2014,
F-406
                     PILGRIMS-DOJ-0002527178




                     Email, "GC Contracts", 11/25/2014,
F-407
                     PILGRIMS-DOJ-0002528311




                     Attachment, purchase agreement,
F-408
                     PILGRIMS-DOJ-0002528312
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                     Attachment, purchase agreement,
F-409
                     PILGRIMS-DOJ-0002528318




                     Attachment, purchase agreement,
F-410
                     PILGRIMS-DOJ-0002528324




                     Attachment, purchase agreement,
F-411
                     PILGRIMS-DOJ-0002528330




                     Email, "Re: 2015 Price Increases",
F-412                11/28/2014, PILGRIMS-DOJ-
                     0002528406




                     prefer previous version, PILGRIMS-
F-413
                     DOJ-0002528628




                     Email, "Fwd: Otis Principal",
F-414                02/20/2015, PILGRIMS-DOJ-
                     0002534075



                     Email, "FW: King Soopers 4 of 4 Ad
F-415                support", 05/11/2015, PILGRIMS-DOJ-
                     0002539109
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 774 of 1105

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Exhibit   Witness               Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only
                     Email, "RE: BB&TCM:
                     Agribusiness/Consumer Foods:
F-416                Protein/Broilers: Is it Different This
                     Time?", 07/14/2015, PILGRIMS-DOJ-
                     0002543959

                     Attachment, Email, "RE: BB&TCM:
                     Agribusiness/Consumer Foods:
F-417                Protein/Broilers: Is it Different This
                     Time?", PILGRIMS-DOJ-0002543959-
                     T-0001



                     Email, "RSCS - SBRA", 09/17/2015,
F-418
                     PILGRIMS-DOJ-0002547624




                     Email, "RSCS - SBRA", 09/17/2015,
F-419
                     PILGRIMS-DOJ-0002547625




                     Final PPC 2015 KFC contract.,
F-420
                     PILGRIMS-DOJ-0002547626




                     Email, "RE: KFC meeting",
F-421                09/17/2015, PILGRIMS-DOJ-
                     0002547631

                     Email, "FW: CORRECTED
                     TRANSCRIPT: Tyson Foods, Inc.(TSN-
                     US), BMO Capital Markets Farm to
F-422
                     Market Investor Conference, 17-May-
                     2017 8:10 AM ET", 05/18/2017,
                     PILGRIMS-DOJ-0002577564
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Exhibit   Witness              Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "GNP May 24 2017.pptx",
F-423                05/23/2017, PILGRIMS-DOJ-
                     0002578130



                     Attachment, Internal Pilgrim's
F-424                PowerPoint Deck, PILGRIMS-DOJ-
                     0002578131




                     Attachment, Data on Improvement
F-425
                     Targets, PILGRIMS-DOJ-0002578141




                     Attachment, Data on Plan Cost,
F-426
                     PILGRIMS-DOJ-0002578142




                     Attachment, Data on Yield, PILGRIMS-
F-427
                     DOJ-0002578143




                     Email regarding addendum to supplier
F-428                contract, 06/19/2017, PILGRIMS-DOJ-
                     0002579315




                     Attachment, Executed Supply Contract,
F-429
                     PILGRIMS-DOJ-0002579316
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                     Email, "FW: 2018 40North KPI's",
F-430                01/23/2018, PILGRIMS-DOJ-
                     0002588041




                     Attachment, KPI Tracker, PILGRIMS-
F-431
                     DOJ-0002588043




                     Email, "FW: 2018 KPIs", 02/07/2018,
F-432
                     PILGRIMS-DOJ-0002588465




                     Attachment, Pilgrim's Leadership KPIs,
F-433
                     PILGRIMS-DOJ-0002588466




                     Email, "Fwd: Central region
F-434                customers", 10/10/2014, PILGRIMS-
                     DOJ-0002623803




                     Email, "Jason-", 10/16/2014,
F-435
                     PILGRIMS-DOJ-0002623991




                     Email, "2015 Chicken Breast RFP",
F-436                11/03/2014, PILGRIMS-DOJ-
                     0002624357
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                     Attachment, Logo, PILGRIMS-DOJ-
F-437
                     0002624358




                     Attachment, John Soules 2015 RFP,
F-438
                     PILGRIMS-DOJ-0002624359




                     Attachment, Product Specifications,
F-439
                     PILGRIMS-DOJ-0002624360




                     Email, "RE: John Soules 2015 Chicken
F-440                Breast RFP", 11/05/2014, PILGRIMS-
                     DOJ-0002624433



                     Email, "RE: Bone in Model",
F-441                10/10/2012, PILGRIMS-DOJ-
                     0002681992




                     Email, "Tomorrow", 10/29/2012,
F-442
                     PILGRIMS-DOJ-0002681996




                     Email, "KFC Bid Discussion 1pmMT",
F-443                10/29/2012, PILGRIMS-DOJ-
                     0002681997
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                     Email regarding sales negotiations,
F-444                02/02/2013, PILGRIMS-DOJ-
                     0002682055



                     Email, "RE: KFC Boneless Model (3)
F-445                (2).xlsx", 02/06/2013, PILGRIMS-DOJ-
                     0002682057




                     Email, "RE: KFC", 10/20/2014,
F-446
                     PILGRIMS-DOJ-0002682142




                     Email, "RE: KFC", 10/20/2014,
F-447
                     PILGRIMS-DOJ-0002682143



                     "Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-448
                     RUN", 8/1/2014, PILGRIMS-DOJ-
                     0002702283



                     Email, "Re: KFC", 07/18/2014,
F-449
                     PILGRIMS-DOJ-0002728594




                     Attachment, Email, "Re: KFC",
F-450
                     PILGRIMS-DOJ-0002728595
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                     Email, "April OP Profits Agristats",
F-451                06/04/2014, PILGRIMS-DOJ-
                     0002730970




                     Email, "RE: FTF Bites", 06/24/2014,
F-452
                     PILGRIMS-DOJ-0002730996




                     Email, "RE: FTF Bites", 06/24/2014,
F-453
                     PILGRIMS-DOJ-0002730997




                     Email, "RE: Meeting", 07/02/2014,
F-454
                     PILGRIMS-DOJ-0002731018




                     Attachment, Email, "RE: Meeting",
F-455
                     PILGRIMS-DOJ-0002731019




                     Email, "RE: KFC", 09/03/2014,
F-456
                     PILGRIMS-DOJ-0002731133




                     Attachment, Email, "RE: KFC",
F-457
                     PILGRIMS-DOJ-0002731134
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                     Email, "Re: 12.6% EBIT TSN chicken",
F-458                01/30/2015, PILGRIMS-DOJ-
                     0002731663



                     Attachment, Email, "Re: 12.6% EBIT
F-459                TSN chicken", PILGRIMS-DOJ-
                     0002731664



                     Email, "RE: 12.6% EBIT TSN
F-460                chicken", 01/30/2015, PILGRIMS-DOJ-
                     0002731668



                     Email, "RE: KFC meeting",
F-461                09/17/2015, PILGRIMS-DOJ-
                     0002732327



                     Attachment, Email, "RE: KFC
F-462                meeting", PILGRIMS-DOJ-
                     0002732328



                     Email, "RE: Privileged and
                     Confidential--Pilgrim's Antitrust
F-463
                     Cases", 01/26/2017, PILGRIMS-DOJ-
                     0002733820


                     Email, "RE: Privileged and
                     Confidential--Pilgrim's Antitrust
F-464
                     Cases", 01/26/2017, PILGRIMS-DOJ-
                     0002733821
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                     Email, "RE:", 10/13/2014, PILGRIMS-
F-465
                     DOJ-0002740307




                     Email, "RE:", 10/13/2014, PILGRIMS-
F-466
                     DOJ-0002740308




                     Email, "FW: Popeye's strips",
F-467                10/27/2011, PILGRIMS-DOJ-
                     0002783650



                     Email, "FW: Popeye's strips",
F-468                10/27/2011, PILGRIMS-DOJ-
                     0002783651



                     Email, "FW: Popeye's strips",
F-469                10/27/2011, PILGRIMS-DOJ-
                     0002783652



                     Email, "FW: Popeye's strips",
F-470                10/27/2011, PILGRIMS-DOJ-
                     0002783653



                     Email, "Re: 2012 poultry contract
F-471                addendum", 12/30/2011, PILGRIMS-
                     DOJ-0002791470
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                     Email, "FW: Attached Image",
F-472                02/17/2012, PILGRIMS-DOJ-
                     0002797562




                     Attachment, supply contract,
F-473
                     PILGRIMS-DOJ-0002797563




                     Email, "Re: January 2012 Poultry
F-474                Survey", 03/01/2012, PILGRIMS-DOJ-
                     0002797971



                     Email, "Re: Golden Corral",
F-475                09/08/2012, PILGRIMS-DOJ-
                     0002814198



                     Email, "Re: Pricing Comparison.xls",
F-476                11/14/2012, PILGRIMS-DOJ-
                     0002823519




                     Email, "Re: Holbrook", 11/15/2012,
F-477
                     PILGRIMS-DOJ-0002823520




                     Email, "Re: When is your Costco
F-478                meeting?", 01/04/2013, PILGRIMS-
                     DOJ-0002828154
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                     Email, "FW: Publix--Costco
F-479                presentations", 01/07/2013, PILGRIMS-
                     DOJ-0002828340




                     Attachment, PowerPoint Deck for
F-480
                     Publix, PILGRIMS-DOJ-0002828341




                     Attachment, Blank Page, PILGRIMS-
F-481
                     DOJ-0002828352




                     Attachment, PowerPoint Deck for
F-482
                     Publix, PILGRIMS-DOJ-0002828353




                     Attachment, Blank Page, PILGRIMS-
F-483
                     DOJ-0002828385




                     Attachment, PowerPoint Deck for
F-484
                     Costco, PILGRIMS-DOJ-0002828386




                     Email, "Re: Publix--Costco
F-485                presentations", 01/08/2013, PILGRIMS-
                     DOJ-0002828480
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                     Email, "Re: Slide Orders", 01/10/2013,
F-486
                     PILGRIMS-DOJ-0002828737




                     Email, "Re: 2nd request: Costco
F-487                Passport Accrual", 01/18/2013,
                     PILGRIMS-DOJ-0002830537



                     Email, "Costco volume & Price 2013
                     Proposal 13-01-25 ver2.xlsx",
F-488
                     01/28/2013, PILGRIMS-DOJ-
                     0002831683



                     Attachment, Cost Model, PILGRIMS-
F-489
                     DOJ-0002831684




                     Email, "Re: Costco", 01/31/2013,
F-490
                     PILGRIMS-DOJ-0002831914




                     Email, "Fwd: KFC Boneless Model (3)
F-491                (2).xlsx", 02/06/2013, PILGRIMS-DOJ-
                     0002832359




                     Email, "Re: Costco", 02/13/2013,
F-492
                     PILGRIMS-DOJ-0002833187
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                     Email, "RE: Weekly Consolidated
F-493                Estimate", 2/13/2013, PILGRIMS-DOJ-
                     0002833267



                     Email, "FW: Costco Agri Stat analysis",
F-494                02/22/2013, PILGRIMS-DOJ-
                     0002833869




                     Attachment, Cost Model, PILGRIMS-
F-495
                     DOJ-0002833870




                     Attachment, Agristats Analysis,
F-496
                     PILGRIMS-DOJ-0002833871




                     Email, "Re: Costco 2013 recap",
F-497                03/01/2013, PILGRIMS-DOJ-
                     0002834387



                     Email, "Fwd: Conf Call Update",
F-498                04/22/2013, PILGRIMS-DOJ-
                     0002842624




                     Attachment, Net Dock Report,
F-499
                     PILGRIMS-DOJ-0002842625
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                     Attachment, Mobile Record,
F-500
                     PILGRIMS-DOJ-0002842626




                     Attachment, Weekly Net Dock Report,
F-501
                     PILGRIMS-DOJ-0002842627




                     Attachment, Mobile Record,
F-502
                     PILGRIMS-DOJ-0002842628




                     Attachment, Net Dock Report,
F-503
                     PILGRIMS-DOJ-0002842629




                     Attachment, Mobile Record,
F-504
                     PILGRIMS-DOJ-0002842630




                     Attachment, Inventory Spreadsheet,
F-505
                     PILGRIMS-DOJ-0002842631




                     Attachment, Mobile Record,
F-506
                     PILGRIMS-DOJ-0002842632
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                     Attachment, Net Dock Report,
F-507
                     PILGRIMS-DOJ-0002842633




                     Attachment, Mobile Record,
F-508
                     PILGRIMS-DOJ-0002842634




                     "Fwd: Costco Supply Chain and
F-509                Pricing/Availability", PILGRIMS-DOJ-
                     0002858584




                     "Commodity Grain Update",
F-510
                     PILGRIMS-DOJ-0002858585



                     Email, "Re: Church's Letter of
                     Agreement-Pilgrims Pride",
F-511
                     08/05/2013, PILGRIMS-DOJ-
                     0002863490



                     Email, "FW: alb/sv", 08/07/2013,
F-512
                     PILGRIMS-DOJ-0002863692




                     Email, "FW: on down low",
F-513                01/13/2014, PILGRIMS-DOJ-
                     0002917991
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                     Attachment, cost model, PILGRIMS-
F-514
                     DOJ-0002917992



                     Email, "RE: Church's 2014 Supply
                     Agreement-Pilgrim's Pride",
F-515
                     02/27/2014, PILGRIMS-DOJ-
                     0002931651



                     Attachment, supply contract,
F-516
                     PILGRIMS-DOJ-0002931654



                     Email, "RE: Church's 2014 Supply
                     Agreement-Pilgrim's Pride",
F-517
                     02/27/2014, PILGRIMS-DOJ-
                     0002931679



                     Attachment, supply contract,
F-518
                     PILGRIMS-DOJ-0002931682




                     Email, "RE: Chicken Prices",
F-519                02/28/2014, PILGRIMS-DOJ-
                     0002931840




                     Attachment, Chart on Chicken Cutout,
F-520
                     PILGRIMS-DOJ-0002931841
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                     Email, "RE: Tyson", 04/14/2014,
F-521
                     PILGRIMS-DOJ-0002942287




                     Email, "Re: Conagra", 06/11/2014,
F-522
                     PILGRIMS-DOJ-0002946155




                     Email, "FW:", 07/16/2014, PILGRIMS-
F-523
                     DOJ-0002947654




                     Attachment, cost model, PILGRIMS-
F-524
                     DOJ-0002947655




                     Email, "Re: RSCS", 07/21/2014,
F-525
                     PILGRIMS-DOJ-0002948039




                     Email regarding meeting with KFC,
F-526                07/31/2014, PILGRIMS-DOJ-
                     0002948763



                     Attachment, August 1, 2014
F-527                PowerPoint Presentation to KFC,
                     PILGRIMS-DOJ-0002948764
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                     Email, "RE: WMT", 08/29/2014,
F-528
                     PILGRIMS-DOJ-0002951243




                     Email, "RE: today", 09/03/2014,
F-529
                     PILGRIMS-DOJ-0002951433




                     Email, "RE: KFC", 09/03/2014,
F-530
                     PILGRIMS-DOJ-0002951507




                     Email, "RE: WM Small Deli WOGs",
F-531                09/16/2014, PILGRIMS-DOJ-
                     0002952179




                     Email, "RE: CFA", 10/04/2014,
F-532
                     PILGRIMS-DOJ-0002954573



                     Email, "Copy of
                     2015_Goals_Book_V0.xlsx",
F-533
                     10/04/2014, PILGRIMS-DOJ-
                     0002954574



                     Attachment, company goals,
F-534
                     PILGRIMS-DOJ-0002954575
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                     Meeting invitation, "John Soules
F-535                Meeting", PILGRIMS-DOJ-
                     0002955037



                     Email, "RE: 2015 Pilgrim's SBRA
F-536                Exhibits", 10/28/2014, PILGRIMS-DOJ-
                     0002955647



                     Email, "FW: RSCS 2015 Further
                     Processed Poultry RFP Supplier
F-537
                     Feedback R1", 11/05/2014, PILGRIMS-
                     DOJ-0002956095



                     Attachment, supplier feedback,
F-538
                     PILGRIMS-DOJ-0002956096




                     Email, "Feedback from RSCS R1
F-539                Note", 11/05/2014, PILGRIMS-DOJ-
                     0002956097



                     Email, "John Soules Snapshot",
F-540                11/11/2014, PILGRIMS-DOJ-
                     0002956294




                     Attachment, meeting overview,
F-541
                     PILGRIMS-DOJ-0002956295
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                     Email, "FW: Final IQF Chicken
F-542                Letters", 11/20/2014, PILGRIMS-DOJ-
                     0002956508




                     Attachment, Kroger letter, PILGRIMS-
F-543
                     DOJ-0002956509




                     Email, "Re: Roti Chickens",
F-544                11/26/2014, PILGRIMS-DOJ-
                     0002956614



                     Email, "John Soules Snapshot-
F-545                Correction", 11/11/2014, PILGRIMS-
                     DOJ-0003113429




                     Attachment, John Soules Snapshot,
F-546
                     PILGRIMS-DOJ-0003113430




                     Email, "Re: Wings", 11/07/2012,
F-547
                     PILGRIMS-DOJ-0003192056




                     Attachment, image, PILGRIMS-DOJ-
F-548
                     0003192057
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                     Attachment, image, PILGRIMS-DOJ-
F-549
                     0003192058




                     Attachment, image, PILGRIMS-DOJ-
F-550
                     0003192059




                     Attachment, image, PILGRIMS-DOJ-
F-551
                     0003192060




                     Attachment, image, PILGRIMS-DOJ-
F-552
                     0003192061




                     Attachment, image, PILGRIMS-DOJ-
F-553
                     0003192062




                     Email, "FW: Wings", 11/08/2012,
F-554
                     PILGRIMS-DOJ-0003192106




                     Attachment, image, PILGRIMS-DOJ-
F-555
                     0003192107
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                     Attachment, image, PILGRIMS-DOJ-
F-556
                     0003192108




                     Attachment, image, PILGRIMS-DOJ-
F-557
                     0003192109




                     Attachment, image, PILGRIMS-DOJ-
F-558
                     0003192110




                     Attachment, image, PILGRIMS-DOJ-
F-559
                     0003192111




                     Attachment, image, PILGRIMS-DOJ-
F-560
                     0003192112




                     Email, "Pollo tropical", 09/15/2014,
F-561
                     PILGRIMS-DOJ-0003385114




                     Email, "Pollo Tropical", 09/16/2014,
F-562
                     PILGRIMS-DOJ-0003385136
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                     Email, "Pollo Tropical", 09/22/2014,
F-563
                     PILGRIMS-DOJ-0003385154




                     Email, "RE: Pollo Tropical",
F-564                09/29/2014, PILGRIMS-DOJ-
                     0003385277




                     Email, "Re: PT", 10/03/2014,
F-565
                     PILGRIMS-DOJ-0003385310




                     Email, "FW: 2015 Supply and Pricing
F-566                Agreement", 10/03/2014, PILGRIMS-
                     DOJ-0003385325



                     Email, "FW: Message from
F-567                KMBT_423", 12/31/2014, PILGRIMS-
                     DOJ-0003386580




                     Attachment, supply contract,
F-568
                     PILGRIMS-DOJ-0003386581




                     Attachment, additional agreement,
F-569
                     PILGRIMS-DOJ-0003386597
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                     Company presentation, PILGRIMS-
F-570
                     DOJ-0003564460




                     Email, "RE: George's Shortages",
F-571                2/20/2017, PILGRIMS-DOJ-
                     0003691810



                     Email, "FW: George's Shortages",
F-572                2/20/2017, PILGRIMS-DOJ-
                     0003691815



                     Email, "RE: Albertsons deli bid / grain
F-573                basis", 08/05/2013, PILGRIMS-DOJ-
                     0003788778




                     Attachment, cost model, PILGRIMS-
F-574
                     DOJ-0003788780




                     Email, "RE: Albertsons deli bid / grain
F-575                basis", 07/29/2013, PILGRIMS-DOJ-
                     0003788784




                     Attachment, proposal information,
F-576
                     PILGRIMS-DOJ-0003788785
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                     Email, "Re: KFC Model", 01/27/2017,
F-577
                     PILGRIMS-DOJ-0003789340




                     Email, "RE: KFC Model", 01/25/2017,
F-578
                     PILGRIMS-DOJ-0003789402




                     Attachment, Cost Model, PILGRIMS-
F-579
                     DOJ-0003789403




                     Email, "Costco Volume & Price 13-07-
F-580                03.xlsx", 7/9/2013, PILGRIMS-DOJ-
                     0003829457



                     Attachment, "Costco Volume & Price
F-581                13-07-03.xlsx", PILGRIMS-DOJ-
                     0003829458



                     Email, "Fwd: Costco Review 12-11-
F-582                12.pptx", 01/29/2013, PILGRIMS-DOJ-
                     0003833586




                     Attachment, PowerPoint Deck for
F-583
                     Costco, PILGRIMS-DOJ-0003833587
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                     Attachment, Mobile Record,
F-584
                     PILGRIMS-DOJ-0003833597




                     Email, "COSTCO DECEMBER 2012",
F-585                01/29/2013, PILGRIMS-DOJ-
                     0003833604



                     Attachment, Agristats-Costco
F-586                Comparison, PILGRIMS-DOJ-
                     0003833605



                     Email, "WOG Sales vs Total Cost 12-
F-587                26-12.xlsx", 01/15/2013, PILGRIMS-
                     DOJ-0003833788




                     Attachment, Cost Model, PILGRIMS-
F-588
                     DOJ-0003833789




                     Email, "RE: WOG Sales vs Total Cost
F-589                12-26-12.xlsx", 01/15/2013,
                     PILGRIMS-DOJ-0003833790



                     Email, "Fwd: Costco (2).ppt",
F-590                01/09/2013, PILGRIMS-DOJ-
                     0003834390
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                     Attachment, PowerPoint Deck for
F-591
                     Costco, PILGRIMS-DOJ-0003834391




                     Attachment, Mobile Record,
F-592
                     PILGRIMS-DOJ-0003834397




                     Meeting Invitation, "KFC Bid",
F-593
                     PILGRIMS-DOJ-0003914474




                     Meeting Invitation, "FW: KFC Bid
F-594                Discussion", PILGRIMS-DOJ-
                     0003914478



                     Email, "RE: Boston Market",
F-595                09/25/2012, PILGRIMS-DOJ-
                     0003948045



                     Email, "FW: Moorefield Case
F-596                Weights", 03/21/2013, PILGRIMS-DOJ-
                     0003953615




                     Attachment, image, PILGRIMS-DOJ-
F-597
                     0003953617
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                     Email, "FW: Pricing", 08/21/2014,
F-598
                     PILGRIMS-DOJ-0003962016




                     Attachment, Cost Model, PILGRIMS-
F-599
                     DOJ-0003962017




                     Attachment, Mobile Record,
F-600
                     PILGRIMS-DOJ-0003962018




                     Attachment, August 2014 PowerPoint
F-601                Presentation to RSCS, PILGRIMS-DOJ-
                     0003962019




                     Attachment, Mobile Record,
F-602
                     PILGRIMS-DOJ-0003962027




                     Meeting invitation, "PT", PILGRIMS-
F-603
                     DOJ-0003975687




                     Email, "Fwd: Pollo Tropical",
F-604                09/14/2015, PILGRIMS-DOJ-
                     0003975688
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                     Attachment, mobile record, PILGRIMS-
F-605
                     DOJ-0003975689




                     Attachment, signature block,
F-606
                     PILGRIMS-DOJ-0003975690




                     Attachment, mobile record, PILGRIMS-
F-607
                     DOJ-0003975691




                     Attachment, sales contract, PILGRIMS-
F-608
                     DOJ-0003975692




                     Attachment, mobile record, PILGRIMS-
F-609
                     DOJ-0003975701




                     Email, "FW_ Gap Up budget vs
F-610                CY2015", 11/16/2018, PILGRIMS-
                     DOJ-0004014084




                     Attachment, Fresh Foodservice P&L,
F-611
                     PILGRIMS-DOJ-0004014085
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                     Email, "FW: Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
F-612
                     PRIDE", 07/12/2016, PILGRIMS-DOJ-
                     0004119543



                     Attachment, Supplier Payment Terms
F-613                Change Form, PILGRIMS-DOJ-
                     0004119545



                     Email, "RE: Upcoming RFP -
F-614                Agreements with UPGC", 07/05/2013,
                     PILGRIMS-DOJ-0004211524




                     Attachment, Supplier Contract,
F-615
                     PILGRIMS-DOJ-0004211526




                     Attachment, Supplier Insurance
F-616                Addendum, PILGRIMS-DOJ-
                     0004211549



                     Email, "FW: UFPC Poultry Supplier
F-617                Invitation to Bid for 2014", 09/24/2013,
                     PILGRIMS-DOJ-0004214826




                     Attachment, proposal information,
F-618
                     PILGRIMS-DOJ-0004214827
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                     Attachment, proposal summary,
F-619
                     PILGRIMS-DOJ-0004214828




                     Attachment, cost sheet, PILGRIMS-
F-620
                     DOJ-0004214829




                     Attachment, cost sheet, PILGRIMS-
F-621
                     DOJ-0004214830




                     Attachment, supply sheet, PILGRIMS-
F-622
                     DOJ-0004214831




                     Attachment, request for information,
F-623
                     PILGRIMS-DOJ-0004214832



                     Email, "FW: Strategy: Be a Valuable
                     Supplier to our Key Customers",
F-624
                     02/24/2014, PILGRIMS-DOJ-
                     0004219269


                     Email, "RE: Church's 2014 Supply
                     Agreement-Pilgrim's Pride",
F-625
                     03/05/2014, PILGRIMS-DOJ-
                     0004219606
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                     Attachment, supply contract,
F-626
                     PILGRIMS-DOJ-0004219608



                     Email, "RE: Church's 2014 Supply
                     Agreement-Pilgrim's Pride",
F-627
                     03/05/2014, PILGRIMS-DOJ-
                     0004219674



                     Attachment, supply contract,
F-628
                     PILGRIMS-DOJ-0004219676




                     Attachment, logo, PILGRIMS-DOJ-
F-629
                     0004219693




                     Attachment, image, PILGRIMS-DOJ-
F-630
                     0004219694




                     Attachment, image, PILGRIMS-DOJ-
F-631
                     0004219695




                     Email, "RE: Pricing", 08/20/2014,
F-632
                     PILGRIMS-DOJ-0004223342
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                     Attachment, Cost Model, PILGRIMS-
F-633
                     DOJ-0004223343




                     Attachment, August 2014 PowerPoint
F-634                Presentation to RSCS, PILGRIMS-DOJ-
                     0004223344




                     Email, "RE: KFC", 10/20/2014,
F-635
                     PILGRIMS-DOJ-0004224308




                     Email, "RE: 2015 Pilgrim's SBRA
F-636                Exhibits", 10/31/2014, PILGRIMS-DOJ-
                     0004225278




                     Attachment, supply contract,
F-637
                     PILGRIMS-DOJ-0004225279




                     Email, "RE: Roundy's", 11/26/2014,
F-638
                     PILGRIMS-DOJ-0004225634




                     Email, "Bill's prez Live Managers
F-639                Meeting Aug 2018.pptx", 8/24/2018,
                     PILGRIMS-DOJ-0004329889
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                     Attachment, "Top Third Goal –
F-640                Relative Results", 8/24/2018,
                     PILGRIMS-DOJ-0004329890



                     Attachment, "oleObject6.bin",
F-641                8/24/2018, PILGRIMS-DOJ-
                     0004329909



                     Attachment,
                     "Microsoft_Excel_Worksheet1.xlsx",
F-642
                     8/24/2018, PILGRIMS-DOJ-
                     0004329910



                     Attachment, "oleObject4.bin",
F-643                8/24/2018, PILGRIMS-DOJ-
                     0004329911



                     Attachment, "oleObject1.bin",
F-644                8/24/2018, PILGRIMS-DOJ-
                     0004329912



                     Attachment, "Microsoft_Excel_97-
F-645                2003_Worksheet1.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329913



                     Attachment, "oleObject2.bin",
F-646                8/24/2018, PILGRIMS-DOJ-
                     0004329914
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                     Attachment, "Microsoft_Excel_97-
F-647                2003_Worksheet2.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329915



                     Attachment, "oleObject3.bin",
F-648                8/24/2018, PILGRIMS-DOJ-
                     0004329916



                     Attachment, "Microsoft_Excel_97-
F-649                2003_Worksheet3.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329917



                     Attachment, "Microsoft_Excel_97-
F-650                2003_Worksheet5.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329918



                     Attachment, "Microsoft_Excel_97-
F-651                2003_Worksheet6.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329919



                     Attachment, "oleObject5.bin",
F-652                8/24/2018, PILGRIMS-DOJ-
                     0004329920



                     Attachment, "Microsoft_Excel_97-
F-653                2003_Worksheet4.xls", 8/24/2018,
                     PILGRIMS-DOJ-0004329921
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                     Email, "FW: REMINDER: 2014
                     Golden Corral Agreement",
F-654
                     03/26/2014, PILGRIMS-DOJ-
                     0004396672



                     Attachment, supply agreement,
F-655
                     PILGRIMS-DOJ-0004396675




                     Purchase agreement, PILGRIMS-DOJ-
F-656
                     0004396731




                     Email, "FW: Pilgrim's Pride - Golden
F-657                Corral Contract revised", 12/23/2014,
                     PILGRIMS-DOJ-0004396740




                     Attachment, purchase agreement,
F-658
                     PILGRIMS-DOJ-0004396742




                     Email, "RE: Chick Fil A
F-659                announcement", 02/12/2014,
                     PILGRIMS-DOJ-0004402280



                     Email, "FW: COB Commitment
F-660                Summary", 06/27/2014, PILGRIMS-
                     DOJ-0004402315
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                     Email, "KFC Lift Increase",
F-661                09/10/2013, PILGRIMS-DOJ-
                     0004402400



                     "1608_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-662
                     RUN.PDF", 12/8/2017, PILGRIMS-
                     DOJ-0004511475


                     "1609_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-663
                     RUN.PDF", 12/8/2017, PILGRIMS-
                     DOJ-0004512048


                     "1610_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-664
                     RUN.PDF", 12/8/2017, PILGRIMS-
                     DOJ-0004512621


                     "1611_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-665
                     RUN.PDF", 12/8/2017, PILGRIMS-
                     DOJ-0004513200


                     "1612_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-666
                     RUN.PDF", 12/8/2017, PILGRIMS-
                     DOJ-0004513779


                     "1601-1612_Broiler-
                     Profit_USA_PILGRIMS_GENERAL-
F-667
                     RUN.PDF" , 12/8/2017, PILGRIMS-
                     DOJ-0004514347
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                     Pilgrim's Sales Organizational Chart,
F-668
                     PILGRIMS-DOJ-0004537223




                     Email, "Re: Golden Corral",
F-669                09/13/2012, PILGRIMS-DOJ-
                     0004589381



                     Email, "Re: Generic WOG Cost Model
F-670                8-60-12.xlsx", 10/22/2012, PILGRIMS-
                     DOJ-0004593186



                     Email, "FW: 2013 Contract",
F-671                11/19/2012, PILGRIMS-DOJ-
                     0004594032




                     Attachment, Golden Corral letter,
F-672
                     PILGRIMS-DOJ-0004594034




                     Email, "RE: AWG 8pc", 07/08/2013,
F-673
                     PILGRIMS-DOJ-0004606952




                     Email, "FW: Message from Bill
F-674                Lovette", 11/19/2013, PILGRIMS-DOJ-
                     0004614279
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                     Email, "RE: Church's Supply
                     Agreement-Pilgrim's Pride 2015",
F-675
                     02/12/2015, PILGRIMS-DOJ-
                     0004622497



                     Attachment, supply contract,
F-676
                     PILGRIMS-DOJ-0004622500



                     Email, "RE: Church's Supply
                     Agreement-Pilgrim's Pride 2015",
F-677
                     04/13/2015, PILGRIMS-DOJ-
                     0004623240



                     Attachment, supply contract,
F-678
                     PILGRIMS-DOJ-0004623247



                     Email, "Re: BB&TCM: TSN: Why This
                     Stock Needs A Decline In Chicken
F-679
                     Prices", 12/22/2014, PILGRIMS-DOJ-
                     0004712640


                     Email, "Re: BB&TCM: TSN: Why This
                     Stock Needs A Decline In Chicken
F-680
                     Prices", 12/22/2014, PILGRIMS-DOJ-
                     0004712646



                     Attachment, logo, PILGRIMS-DOJ-
F-681
                     0004712648
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                     Attachment, report, PILGRIMS-DOJ-
F-682
                     0004712649




                     Attachment, logo, PILGRIMS-DOJ-
F-683
                     0004712651




                     Attachment, signature block,
F-684
                     PILGRIMS-DOJ-0004712652




                     Training guide, PILGRIMS-DOJ-
F-685
                     0004821559




                     Product information; and email, "Thank
F-686
                     You", PILGRIMS-DOJ-0004821560




                     Supply report, PILGRIMS-DOJ-
F-687
                     0004821563




                     Supply pricing, PILGRIMS-DOJ-
F-688
                     0004821566
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                     Supply pricing, PILGRIMS-DOJ-
F-689
                     0004821567




F-690                Logos, PILGRIMS-DOJ-0004821574




                     Company presentation, PILGRIMS-
F-691
                     DOJ-0004821575




                     File scan, PILGRIMS-DOJ-
F-692
                     0004821593




                     Company presentation, PILGRIMS-
F-693
                     DOJ-0004821594




                     File scan, PILGRIMS-DOJ-
F-694
                     0004821601




                     Company presentation, PILGRIMS-
F-695
                     DOJ-0004821602
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                     File scan, PILGRIMS-DOJ-
F-696
                     0004821633




                     Company presentation, PILGRIMS-
F-697
                     DOJ-0004821634




                     Attachment, file scan, PILGRIMS-DOJ-
F-698
                     0004821652




                     Company presentation, PILGRIMS-
F-699
                     DOJ-0004821653




                     File scan, PILGRIMS-DOJ-
F-700
                     0004821673




                     Company presentation, PILGRIMS-
F-701
                     DOJ-0004821674




                     File scan, PILGRIMS-DOJ-
F-702
                     0004821687
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                     Company presentation, PILGRIMS-
F-703
                     DOJ-0004821688




                     File scan, PILGRIMS-DOJ-
F-704
                     0004821696




                     Company presentation, PILGRIMS-
F-705
                     DOJ-0004821697




                     File scan, PILGRIMS-DOJ-
F-706
                     0004821717




                     Company presentation, PILGRIMS-
F-707
                     DOJ-0004821718




                     Contact information, PILGRIMS-DOJ-
F-708
                     0004821748




                     Organizational chart, PILGRIMS-DOJ-
F-709
                     0004821750
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                     Company assignments, PILGRIMS-
F-710
                     DOJ-0004821754




                     Contact information, PILGRIMS-DOJ-
F-711
                     0004821755




                     Email, "RE: GOLDEN CORRAL",
F-712                12/19/2013, PILGRIMS-DOJ-
                     0004863332



                     Email, "Pilgrim's SBRA Cover Letter",
F-713                10/28/2014, PILGRIMS-DOJ-
                     0004912957




                     Attachment, RSCS letter, PILGRIMS-
F-714
                     DOJ-0004912958




                     Purchase agreement, PILGRIMS-DOJ-
F-715
                     0004969670




                     "PRICING Project", PILGRIMS-DOJ-
F-716
                     0004970235
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Exhibit   Witness              Brief Description           Stipulation   Offered   Admitted   Refused   Court Use Only


                     "Microsoft_Excel_Worksheet3.xlsx" ,
F-717
                     PILGRIMS-DOJ-0004970265




                     "Microsoft_Excel_Worksheet2.xlsx",
F-718
                     PILGRIMS-DOJ-0004970266




                     "Microsoft_Excel_Worksheet1.xlsx",
F-719
                     PILGRIMS-DOJ-0004970267




                     Call Records, PILGRIMS-DOJ-
F-720
                     0004972079




                     Call Records, PILGRIMS-DOJ-
F-721
                     0004972085




                     Call Records, PILGRIMS-DOJ-
F-722
                     0004972095




                     Call Records, PILGRIMS-DOJ-
F-723
                     0004972129
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                     Call Records, PILGRIMS-DOJ-
F-724
                     0004972215




                     Call Records, PILGRIMS-DOJ-
F-725
                     0004972223




                     Call Records, PILGRIMS-DOJ-
F-726
                     0004972238




                     Call Records, PILGRIMS-DOJ-
F-727
                     0004972239




F-728                Receipt, PILGRIMS-DOJ-0005102059




                     Email, "RE: Call with Steve",
F-729                07/02/2014, PILGRIMS-DOJ-
                     0005112050




                     Email, "FW: Thx", 08/04/2014,
F-730
                     PILGRIMS-DOJ-0005116656
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Exhibit   Witness              Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "RE: Call w/ Steve M",
F-731                08/28/2014, PILGRIMS-DOJ-
                     0005121963



                     Email, "Major Customer Growth.xlsx",
F-732                01/15/2017, PILGRIMS-DOJ-
                     0005130942




                     Attachment, Customer Summary,
F-733
                     PILGRIMS-DOJ-0005130943




                     Email, "RE: Major Customer
F-734                Growth.xlsx", 01/16/2017, PILGRIMS-
                     DOJ-0005131134




                     Email, "KFC", 02/20/2017, PILGRIMS-
F-735
                     DOJ-0005138420




                     Email, "2018 Model.xls", 03/28/2017,
F-736
                     PILGRIMS-DOJ-0005146876




                     Attachment, Cost Model, PILGRIMS-
F-737
                     DOJ-0005146877
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Exhibit   Witness               Brief Description              Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "RE: Farm Fresh Deli Fresh
                     Wings and Tender pricing",
F-738
                     03/28/2017, PILGRIMS-DOJ-
                     0005146887



                     Email, "2018 Model vs current.xls",
F-739                03/28/2017, PILGRIMS-DOJ-
                     0005146893




                     Attachment, Cost Model, PILGRIMS-
F-740
                     DOJ-0005146894




                     “Presentation - Key Indicators: Supply”
F-741
                     , PILGRIMS-DOJ-0005165990




F-742                Supplier Contract, RSCS000189




F-743                Supply contract, RSCS000200




F-744                Supply contract, RSCS000209
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Exhibit   Witness              Brief Description     Stipulation   Offered   Admitted   Refused   Court Use Only



F-745                Supplier Contract, RSCS000215




F-746                Supplier Contract, RSCS000221




F-747                Supplier Contract, RSCS000227




F-748                Supplier Contract, RSCS000245




F-749                Supplier Contract, RSCS000248




F-750                Supplier Contract, RSCS000325




F-751                Supplier Contract, RSCS000335
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F-752                Supply contract, RSCS000343




F-753                Supply contract, RSCS000352




F-754                Supplier Contract, RSCS000358




F-755                Supplier Contract, RSCS000364




F-756                Supplier Contract, RSCS000366




F-757                Supplier Contract, RSCS000383




F-758                Supplier Contract, RSCS000385
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F-759                Supplier Contract, RSCS000628




F-760                Supplier Contract, RSCS000640




F-761                Supply contract, RSCS000649




F-762                Supply contract, RSCS000659




F-763                Supplier Contract, RSCS000665




F-764                Supplier Contract, RSCS000671




F-765                Supplier Contract, RSCS000677
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F-766                Supplier Contract, RSCS000694




F-767                Supplier Contract, RSCS000696




F-768                Supplier Contract, RSCS000933




F-769                Supplier Contract, RSCS000943




F-770                Supply contract, RSCS000950




F-771                Supply contract, RSCS000958




F-772                Supplier Contract, RSCS000964
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Exhibit   Witness              Brief Description     Stipulation   Offered   Admitted   Refused   Court Use Only



F-773                Supplier Contract, RSCS000966




F-774                Supplier Contract, RSCS000968




F-775                Supplier Contract, RSCS000985




F-776                Supplier Contract, RSCS000987




F-777                Supplier Contract, RSCS001112




F-778                Supplier Contract, RSCS001122




F-779                Supply contract, RSCS001129
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F-780                Supply contract, RSCS001137




F-781                Supplier Contract, RSCS001143




F-782                Supplier Contract, RSCS001149




F-783                Supplier Contract, RSCS001155




F-784                Supplier Contract, RSCS001172




F-785                Supplier Contract, RSCS001174




F-786                Supplier Contract, RSCS001272
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Exhibit   Witness              Brief Description     Stipulation   Offered   Admitted   Refused   Court Use Only



F-787                Supplier Contract, RSCS001284




F-788                Supplier Contract, RSCS001293




F-789                Supplier Contract, RSCS001354




F-790                Supplier Contract, RSCS001533




F-791                Supply contract, RSCS001545




F-792                Supply contract, RSCS001557




F-793                Supply contract, RSCS001577
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F-794                Supplier Contract, RSCS001582




F-795                Supplier Contract, RSCS001587




F-796                Supplier Contract, RSCS001589




F-797                Supplier Contract, RSCS002051




F-798                Supplier Contract, RSCS002143




F-799                Supplier Contract, RSCS002155




F-800                Supply contract, RSCS002166
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F-801                Supplier Contract, RSCS002171




F-802                Supplier Contract, RSCS002173




F-803                Supplier Contract, RSCS002175




F-804                UFPC PowerPoint Deck, RSCS002300




F-805                UFPC PowerPoint Deck, RSCS002404




F-806                UFPC PowerPoint Deck, RSCS002429




F-807                UFPC PowerPoint Deck, RSCS002471
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F-808                UFPC PowerPoint Deck, RSCS002575




F-809                UFPC PowerPoint Deck, RSCS002626




F-810                UFPC PowerPoint Deck, RSCS002677




F-811                RSCS PowerPoint Deck, RSCS002699




F-812                RSCS PowerPoint Deck, RSCS002900




F-813                UFPC PowerPoint Deck, RSCS002976




F-814                UFPC PowerPoint Deck, RSCS003127
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F-815                UFPC PowerPoint Deck, RSCS003278




F-816                RSCS PowerPoint Deck, RSCS003312




F-817                UFPC Cost Model, RSCS003393




F-818                UFPC Cost Model, RSCS003398




F-819                RSCS PowerPoint Deck, RSCS003500




                     Fresh Poultry Pricing Sheet,
F-820
                     RSCS003536




F-821                Hard Copy Documents, RSCS004288
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F-822                Cost Model, RSCS004320




F-823                Supply contract, RSCS004325




F-824                Cost Model, RSCS004586




F-825                Cost Model, RSCS004862




F-826                Cost Model, RSCS004916




F-827                Cost Model, RSCS005562




F-828                Cost Model, RSCS007383
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F-829                Cost Model, RSCS008357




F-830                Cost Model, RSCS008559




F-831                UFPC PowerPoint Deck, RSCS011758




                     Email, "FW: SBRA's", 07/18/2019,
F-832
                     RSCS017157




                     Attachment, Supplier Contract,
F-833
                     RSCS017158




                     Attachment, Supplier Contract,
F-834
                     RSCS017186




                     Attachment, Supplier Contract,
F-835
                     RSCS017188
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                     Attachment, Supplier Contract,
F-836
                     RSCS017205




                     Attachment, Supplier Contract,
F-837
                     RSCS017211




                     Attachment, Supplier Contract,
F-838
                     RSCS017213




                     Attachment, Supplier Contract,
F-839
                     RSCS017221




                     Attachment, Supplier Contract,
F-840
                     RSCS017222




                     Email, "Possible COB Solutions --
F-841                Koch Foods", 05/19/2014,
                     RSCS018297



                     Email, "FW: RSCS SCA Project for
F-842                COB chicken", 09/02/2016,
                     RSCS018759
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                     Attachment, Supplier Questionnaire,
F-843
                     RSCS018761




                     Email, "KFC - Tyson COB Next
F-844                Agreement ", 02/08/2017,
                     RSCS018799




                     Email, "RE: Next KFC COB
F-845
                     Agreement", 12/09/2016, RSCS018897




                     Email, "Next KFC COB Agreement",
F-846
                     12/09/2016, RSCS019072




                     Email, "RE: KFC COB SBRA
F-847
                     Document", 08/11/2017, RSCS019280




                     Email, "KFC COB Cost model 2015 12-
F-848                01-15 Period 2 2017 w admin fee
                     (003).xls", 02/04/2017, RSCS019401




F-849                Attachment, Cost Model, RSCS019402
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Exhibit   Witness              Brief Description           Stipulation   Offered   Admitted   Refused   Court Use Only

                     Email, "KFC COB Cost model 2015 12-
F-850                01-15 Period 2 2017 w admin fee
                     (003).xls", 02/03/2017, RSCS019445




F-851                Attachment, Cost Model, RSCS019446




                     Email, "RE: KFC COB Next
F-852                Agreement Claxton 2018 - 2020",
                     02/03/2017, RSCS019494




F-853                Attachment, Cost Model, RSCS019495




                     Email, "Terms and Conditions",
F-854
                     09/30/2016, RSCS019593




                     Attachment, Buyer Proposal,
F-855
                     RSCS019594



                     Email, "Poultry Project Steering
                     Committee 12/17 4pm Call - Pre Read
F-856
                     CONFIDENTIAL (Do No Forward)",
                     12/17/2015, RSCS019628
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                     Attachment, PowerPoint deck on
F-857
                     Poultry Supply, RSCS019629




                     Email, "SBRA", 02/24/2016,
F-858
                     RSCS019688




F-859                Attachment, Cost Model, RSCS019689




                     Email, "RE: RSCS SCA Project for
F-860                COB chicken", 09/08/2016,
                     RSCS020551




                     Email, "FW: Contract", 09/02/2016,
F-861
                     RSCS020561




F-862                Attachment, Cost Model, RSCS020562




                     Email, "KFC COB Cost model 11-14-
F-863
                     14 B.xls", 11/19/2014, RSCS020814
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F-864                Attachment, Cost Model, RSCS020815




                     Email, "RE: RSCS 2015 Further
                     Processed Poultry RFP Supplier
F-865
                     Feedback R1", 11/12/2014,
                     RSCS020901



                     Email, "RE: Next KFC COB
F-866                Agreement Follow-up", 05/12/2017,
                     RSCS020979



                     Email, "FW: Next KFC COB
F-867                Agreement Follow-up", 05/11/2017,
                     RSCS020992




                     Email, "Next KFC COB Agreement
F-868
                     Follow-up", 05/11/2017, RSCS021008




                     Email, Re: Georges COB Pull Forward
F-869                Data 4-7-17.xlsx, 5/10/2017,
                     RSCS021055




                     Email, "Next KFC COB Agreement
F-870
                     Follow-up", 05/04/2017, RSCS021204
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                     Email, "RE: Every Day Frozen COB",
F-871
                     10/14/2014, RSCS021223




                     Email, "Per our conversation",
F-872
                     12/23/2014, RSCS021240




                     Email, "RE: Every Day Frozen COB",
F-873
                     10/14/2014, RSCS021246




                     Email, "Next KFC COB Agreement
F-874
                     Follow-up", 05/04/2017, RSCS021251




                     Email, "Next KFC COB Agreement
F-875
                     Follow-up", 05/04/2017, RSCS021291




                     Email, "Purple label guidance for
F-876
                     2015", 12/18/2014, RSCS021331




                     Attachment, Demand Plan Data,
F-877
                     RSCS021332
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                     Email, "Twenty-Head Frozen COB",
F-878
                     10/08/2014, RSCS021579




                     Email, "RE: SBRA information",
F-879
                     09/09/2014, RSCS021747




                     Email, "COB Negotiations",
F-880
                     09/09/2014, RSCS021777




                     Email, "SBRA information",
F-881
                     09/09/2014, RSCS021846




                     Attachment, supply contract,
F-882
                     RSCS021847




                     Email, "RE: COB Negotiations",
F-883
                     09/08/2014, RSCS021978




                     Email, "COB Negotiations",
F-884
                     09/08/2014, RSCS021989
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                     Email, "RE: Volume rebate",
F-885
                     10/03/2014, RSCS021998




                     Email, "FW: KFC COB from Tyson",
F-886
                     09/04/2014, RSCS022033




F-887                Attachment, Cost Model, RSCS022034




                     Email, "KFC_2'8-
F-888                2'12_Marinated_Model_(25119-928)
                     sent.xlsx", 08/22/2014, RSCS022040




F-889                Attachment, cost model, RSCS022041




                     Email, "FW: Meeting Follow-Up
F-890                Claxton Poultry 2015", 08/19/2014,
                     RSCS022047




                     Attachment, cost proposal,
F-891
                     RSCS022049
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                     Email, "Meeting Follow-Up",
F-892
                     08/07/2014, RSCS022074




                     Email, "Meeting Follow-Up",
F-893
                     08/07/2014, RSCS022081




                     Email, "Meeting Follow-Up",
F-894
                     08/07/2014, RSCS022086




                     Email, "RE: COB Follow Up",
F-895
                     09/23/2014, RSCS022097




                     Email, "Meeting Follow-Up",
F-896
                     08/07/2014, RSCS022101




                     Email, "Meeting Follow-Up",
F-897
                     08/07/2014, RSCS022105




                     Email, "KFC COB SBRA Document ",
F-898
                     08/07/2017, RSCS022185
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F-899                Attachment, Cost Model, RSCS022186




                     Email, "KFC COB SBRA Document",
F-900
                     08/07/2017, RSCS022212




F-901                Attachment, Cost Model, RSCS022213




                     Email, "KFC COB SBRA Document",
F-902
                     08/07/2017, RSCS022239




F-903                Attachment, Cost Model, RSCS022240




                     Email, "KFC COB SBRA Document ",
F-904
                     08/07/2017, RSCS022263




F-905                Attachment, Cost Model, RSCS022264
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                     Email, "KFC COB SBRA Document",
F-906
                     08/07/2017, RSCS022286




F-907                Attachment, Cost Model, RSCS022287




                     Email, "KFC COB SBRA Document",
F-908
                     08/07/2017, RSCS022306




F-909                Attachment, Cost Model, RSCS022307




                     Email, "KFC COB SBRA Document",
F-910
                     08/07/2017, RSCS022332




F-911                Attachment, Cost Model, RSCS022333




                     Email, "RE: Frozen COB Production",
F-912
                     03/30/2016, RSCS022512
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                     Email, Ric - KFC Grain Based
F-913
                     2018.xlsx, 3/6/2017, RSCS022923




                     Attachment, George's KFC Cost Plus
F-914
                     Spreadsheet, 3/6/2017, RSCS022924




                     Email, "FW: KFC COB Next
F-915                Agreement Claxton 2018 - 2020
                     revision", 03/02/2017, RSCS022925




F-916                Attachment, Cost Model, RSCS022927




                     Email, "2018 COB Claxton",
F-917
                     02/23/2017, RSCS022937




                     Email, "FW: Pilgrim's Pride SBRA",
F-918
                     06/12/2019, RSCS024044




                     Attachment, Supplier Contract,
F-919
                     RSCS024045
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                     Attachment, Supplier Contract,
F-920
                     RSCS024071




                     Attachment, Supplier Contract,
F-921
                     RSCS024091




                     Attachment, Supplier Contract,
F-922
                     RSCS024104




                     Email, "FW: IFH", 01/25/2016,
F-923
                     RSCS024401




                     Email, "RE: KFC COB SBRA
F-924
                     Document", 08/11/2017, RSCS024402




                     Email, "RE: Corn Open Orders",
F-925
                     06/28/2016, RSCS024474




                     Email, "RE: USF PO - Fresh COB",
F-926
                     03/02/2017, RSCS024750
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                     Email, "RE: 2018 COB Claxton",
F-927
                     02/24/2017, RSCS024759




                     Email, Georges COB Pull Forward Data
F-928
                     4-7-17.xlsx, 5/10/2017, RSCS024823




                     Attachment, George's Spreadsheet,
F-929
                     5/10/2017, RSCS024824




                     Email, "RE: Zinger update for this week
F-930
                     to date", 04/05/2017, RSCS024987




                     Email, "Next KFC COB Agreement
F-931
                     Discussion", 12/14/2016, RSCS025601




                     Email, "Claxton - Next KFC COB
F-932                Agreement Discussion", 12/12/2016,
                     RSCS025602




                     Email, "Discuss KFC 8pc COB Purple
F-933
                     Label Spec", 08/07/2014, RSCS025619
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                     Email, "RE: KFC COB Next
F-934                Agreement Claxton 2018 - 2020
                     revision", 03/02/2017, RSCS026083




                     Email, RE: Next KFC COB Agreement
F-935
                     Follow-up, 5/16/2017, RSCS026193




                     Email, "RE: KFC COB Next
F-936
                     Agreement", 01/27/2017, RSCS026568




                     Email, "RE: KFC COB Next
F-937
                     Agreement", 01/27/2017, RSCS026606




                     Email, "KFC COB Next Agreement",
F-938
                     01/27/2017, RSCS026624




                     Email, "FW: Next KFC COB
F-939                Agreement Follow-up", 05/09/2017,
                     RSCS026672



                     Email, "FW: Next KFC COB
F-940                Agreement Follow-up", 05/09/2017,
                     RSCS026712
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                     Email, "FW: Next KFC COB
F-941                Agreement Follow-up", 05/09/2017,
                     RSCS026736



                     Email, "FW: Next KFC COB
F-942                Agreement Follow-up", 05/09/2017,
                     RSCS026755




                     Email, "RE: KFC COB - SCA Training
F-943
                     Session #2", 02/16/2017, RSCS026782




                     Email, "RE: Contract", 09/06/2017,
F-944
                     RSCS026790




                     Email, "KFC COB Next Agreement",
F-945
                     01/27/2017, RSCS027198




                     Email, "Next KFC COB Agreement",
F-946
                     12/09/2016, RSCS027207




                     Email, "2018 Claxton SBRA
F-947                Exhibits.pdf", 08/16/2017,
                     RSCS027231
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F-948                Attachment, Cost Model, RSCS027232




                     Meeting Invite, "Next KFC COB
F-949
                     Agreement Discussion", RSCS027326




                     Email, "RE: 8 piece", 08/15/2017,
F-950
                     RSCS027436




                     Email, "RE: Orange Label Marinade
F-951                Update - Action Requested",
                     05/14/2014, RSCS027676



                     Email, "FW: KFC Purple PO
F-952                Confirmation", 05/09/2014,
                     RSCS027703




F-953                Attachment, Supply Data, RSCS027704




                     Email, "KFC Purple PO Confirmation",
F-954
                     05/08/2014, RSCS027723
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F-955                Attachment, Supply Data, RSCS027724




                     Email, "KFC COB - SCA Kickoff
F-956
                     Call", 01/25/2017, RSCS027766




                     Email, "KFC COB - SCA Kickoff
F-957
                     Call", 01/25/2017, RSCS027779




                     Email, "KFC COB - SCA Kickoff
F-958
                     Call", 01/25/2017, RSCS027795




                     Email, "KFC COB - SCA Kickoff
F-959
                     Call", 01/25/2017, RSCS027815




                     Email, "KFC COB SBRA Document",
F-960
                     08/07/2017, RSCS027823




F-961                Attachment, Cost Model, RSCS027824
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                     Email, "Re: COB Hotline Recap today",
F-962
                     05/05/2014, RSCS027838




                     Email, "KFC COB - SCA Kickoff
F-963
                     Call", 01/25/2017, RSCS027882




                     Email, "KFC COB - SCA Kickoff
F-964
                     Call", 01/25/2017, RSCS027910



                     Email, "FW: KFC / Hot Honey & 10 Pc
                     Dbl Mash Meal National Promotion -
F-965
                     Promotional Notice", 07/26/2018,
                     RSCS028746



                     Attachment, Program Notification,
F-966
                     RSCS028748




                     Email, "Updated Supplemental
F-967
                     Volumes", 08/28/2017, RSCS028889




F-968                Attachment, Cost Model, RSCS028890
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F-969                Supply Contract, RSCS029888




F-970                Supply contract, RSCS029897




F-971                Buyer analysis sheet, RSCS029908




                     Email, "2014 Contract", 02/19/2014,
F-972
                     Sanderson-0002431222




                     Attachment, logo, Sanderson-
F-973
                     0002431223




                     Attachment, supply agreement,
F-974
                     Sanderson-0002431224




                     Email, "Safeway meeting", 03/21/2014,
F-975
                     Sanderson-0002842348
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Exhibit   Witness              Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     Digital Device Records, Sanderson-
F-976
                     0004049962




                     Digital Device Records, Sanderson-
F-977
                     0004049963




                     Digital Device Records, Sanderson-
F-978
                     0004049964




                     Digital Device Records, Sanderson-
F-979
                     0004049965




                     Digital Device Records, Sanderson-
F-980
                     0004049979




                     Digital Device Records, Sanderson-
F-981
                     0004049988




                     Digital Device Records, Sanderson-
F-982
                     0004049989
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                     Digital Device Records, Sanderson-
F-983
                     0004049990




                     Digital Device Records, Sanderson-
F-984
                     0004049991




                     Digital Device Records, Sanderson-
F-985
                     0004049992




                     Digital Device Records, Sanderson-
F-986
                     0004050012




                     Digital Device Records, Sanderson-
F-987
                     0004050028




                     Digital Device Records, Sanderson-
F-988
                     0004050056




                     Digital Device Records, Sanderson-
F-989
                     0004050097
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Exhibit   Witness               Brief Description          Stipulation   Offered   Admitted   Refused   Court Use Only


                     Digital Device Records, Sanderson-
F-990
                     0004050137




                     Email, "RE: Wing Contract",
F-991
                     08/27/2014, Sanderson-0004287425




                     Email, "latest pres", 12/10/2014,
F-992
                     Sanderson-0004454884




                     Attachment, company presentation,
F-993
                     Sanderson-0004454885




                     Attachment, system file, Sanderson-
F-994
                     0004454886




                     Attachment, system file, Sanderson-
F-995
                     0004454887




                     Attachment, system file, Sanderson-
F-996
                     0004454888
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                     Attachment, system file, Sanderson-
F-997
                     0004454889




                     Attachment, system file, Sanderson-
F-998
                     0004454890




                     Attachment, system file, Sanderson-
F-999
                     0004454891




                     Attachment, system file, Sanderson-
G-001
                     0004454892




                     Attachment, system file, Sanderson-
G-002
                     0004454893




                     Email, "RE: wings", 02/10/2014,
G-003
                     Sanderson-0004485938




                     Email, "Fwd: Flat Price Quotes
G-004                needed.", 10/20/2014, Sanderson-
                     0004502268
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                     Attachment, logo, Sanderson-
G-005
                     0004502269




                     Attachment, logo, Sanderson-
G-006
                     0004502270




                     Attachment, logo, Sanderson-
G-007
                     0004502271




                     Digital Device Records, SF-Broilers-
G-008
                     DOJ-0000000001




                     Digital Device Records, SF-Broilers-
G-009
                     DOJ-0000000003




                     Digital Device Records, SF-Broilers-
G-010
                     DOJ-0000000004




                     Digital Device Records, SF-Broilers-
G-011
                     DOJ-0000000005
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                     Digital Device Records, SF-Broilers-
G-012
                     DOJ-0000000019




                     Digital Device Records, SF-Broilers-
G-013
                     DOJ-0000000050




                     Digital Device Records, SF-Broilers-
G-014
                     DOJ-0000000052




                     Digital Device Records, SF-Broilers-
G-015
                     DOJ-0000000053




                     Digital Device Records, SF-Broilers-
G-016
                     DOJ-0000000060




                     Digital Device Records, SF-Broilers-
G-017
                     DOJ-0000000061




                     Email, "RFP for 2015 is Attached",
G-018                10/31/2014, SF-Broilers-DOJ-
                     0000505369
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Exhibit   Witness               Brief Description              Stipulation   Offered   Admitted   Refused   Court Use Only


                     Attachment, Logo, SF-Broilers-DOJ-
G-019
                     0000505370




                     Attachment, John Soules 2015 RFP,
G-020
                     SF-Broilers-DOJ-0000505371




                     Attachment, Product Specifications, SF-
G-021
                     Broilers-DOJ-0000505372




                     Hard Copy Purchase Agreement, SF-
G-022
                     Broilers-DOJ-0000676245




                     Email, "RE: John soules", 11/12/2014,
G-023
                     SF-Broilers-DOJ-0000676254




                     Digital Device Records,
G-024
                     SIMM0000345062




                     Digital Device Records,
G-025
                     SIMM0000345063
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                     Digital Device Records,
G-026
                     SIMM0000345064




                     Digital Device Records,
G-027
                     SIMM0000345065




                     Digital Device Records,
G-028
                     SIMM0000345066




                     Digital Device Records,
G-029
                     SIMM0000345067




                     Digital Device Records,
G-030
                     SIMM0000345068




                     Digital Device Records,
G-031
                     SIMM0000345069




                     Digital Device Records,
G-032
                     SIMM0000345070
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Exhibit   Witness              Brief Description   Stipulation   Offered   Admitted   Refused   Court Use Only


                     Digital Device Records,
G-033
                     SIMM0000345071




                     Digital Device Records,
G-034
                     SIMM0000354790




                     Digital Device Records,
G-035
                     SIMM0000354791




                     Digital Device Records,
G-036
                     SIMM0000354792




                     Digital Device Records,
G-037
                     SIMM0000354793




                     Digital Device Records,
G-038
                     SIMM0000354794




                     Digital Device Records,
G-039
                     SIMM0000354795
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                     Digital Device Records,
G-040
                     SIMM0000354796




                     Digital Device Records,
G-041
                     SIMM0000354797




                     Digital Device Records,
G-042
                     SIMM0000354800




                     Digital Device Records,
G-043
                     SIMM0000354801




                     Digital Device Records,
G-044
                     SIMM0000354802




                     Digital Device Records,
G-045
                     SIMM0000354803




                     Digital Device Records,
G-046
                     SIMM0000354804
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                     Digital Device Records,
G-047
                     SIMM0000354805




                     Digital Device Records,
G-048
                     SIMM0000354806




                     Digital Device Records,
G-049
                     SIMM0000354807




                     Digital Device Records,
G-050
                     SIMM0000354808




                     Digital Device Records,
G-051
                     SIMM0000354809




                     Digital Device Records,
G-052
                     SIMM0000354810




                     Digital Device Records,
G-053
                     SIMM0000354811
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                     Digital Device Records,
G-054
                     SIMM0000354812




                     Digital Device Records,
G-055
                     SIMM0000354813




                     Digital Device Records,
G-056
                     SIMM0000354916




                     Email, "FW: National Pay Day March
G-057
                     26, 2014", 01/14/2014, SMS-00012180




                     Email regarding supply negotiations,
G-058
                     03/06/2009, SMS-00012224




                     Email, "RE: September bone in
G-059                promotion", 04/01/2015, SMS-
                     00012408



                     Email, "RE: Popeye's pricing-
G-060                September 2013", 08/30/2013, SMS-
                     00013144
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                     Email, "FW: National Pay Day March
G-061
                     26, 2014", 01/14/2014, SMS-00013281




                     Email, " Fwd: A MESSAGE FROM
G-062                JAYSON PENN", 08/03/2018, SMS-
                     00021474



                     Email, "RE: Your Current Wednesday
G-063                Popeye Delivery", 07/18/2014, SMS-
                     00023825




                     Email, "FW: Popeye's Cost Plus period
G-064
                     7 2013", 06/28/2013, SMS-00031381




                     Attachment, Cost Model, SMS-
G-065
                     00031382




                     Email, "Please don't share except
G-066
                     Mikell", 09/11/2015, SMS-00039052




                     Email, "This is just a SMS
G-067                Questionnaire (2)", 04/19/2013, SMS-
                     00039220
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                     Attachment, Supplier Questionnaire,
G-068
                     SMS-00039221




                     Email, "RE: Small bird sizing",
G-069
                     07/14/2016, SMS-00042647




                     SMS Board Presentation - Fall 2017,
G-070
                     SMS-00051695




                     Digital Device Records,
G-071
                     STILLER_0000000001




                     Digital Device Records,
G-072
                     STROUD_0000000001



                     Email, "Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
G-073
                     PRIDE", 04/25/2016, SYSCO-
                     00000306



                     Attachment, Supplier Payment Terms
G-074
                     Change Form, SYSCO-00000307
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                     Email, "Payment Terms
G-075                Summary.docx", 05/13/2016, SYSCO-
                     00000323




                     Attachment, Summary of Payment
G-076
                     Terms, SYSCO-00000324




                     Email, "FW: Pilgrim's Terms",
G-077
                     06/03/2016, SYSCO-00000351




                     Email, "Pilgrim's Terms", 06/03/2016,
G-078
                     SYSCO-00000352




                     Attachment, Supplier Payment Terms
G-079
                     Change Form, SYSCO-00000353




                     Attachment, Letter regarding payment
G-080
                     terms, SYSCO-00000354




                     Email, "RE: Processed Chicken Award
G-081                Documents', 08/23/2016, SYSCO-
                     00000355
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                     Email, "FW: PPC Terms", 05/13/2016,
G-082
                     SYSCO-00001556




                     Attachment, Payment Terms Letter,
G-083
                     SYSCO-00001557




                     Email, "Fresh Chicken Contract
G-084                Extension", 05/11/2016, SYSCO-
                     00001565




                     Attachment, Bid Award Purchase
G-085
                     Agreement, SYSCO-00001566




                     Email, "RE: Terms", 05/11/2016,
G-086
                     SYSCO-00001588




                     Email, "Meeting Cadence Decks",
G-087
                     04/25/2016, SYSCO-00001606




                     Attachment, Sysco PowerPoint Deck,
G-088
                     SYSCO-00001607
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                     Attachment, Sysco PowerPoint Deck,
G-089
                     SYSCO-00001638




                     Attachment, Sysco PowerPoint Deck,
G-090
                     SYSCO-00001639




                     Email, "payment terms", 09/02/2016,
G-091
                     SYSCO-00001664




                     Email, "RE: Koch Terms", 09/02/2016,
G-092
                     SYSCO-00001667




                     Email, "RE: Koch Terms", 09/01/2016,
G-093
                     SYSCO-00001686




                     Email, "Koch Payment Terms",
G-094
                     08/30/2016, SYSCO-00001689




                     Email, "RE: PPC terms", 05/17/2016,
G-095
                     SYSCO-00001767
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                     Email, "Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
G-096
                     PRIDE", 04/22/2016, SYSCO-
                     00001779



                     Attachment, Supplier Payment Terms
G-097
                     Change Form, SYSCO-00001780




                     Email, "Pilgrim's Updated Terms -
G-098                Signed Document", 07/05/2016,
                     SYSCO-00001817




                     Attachment, Supplier Payment Terms
G-099
                     Change Form, SYSCO-00001818



                     Email, "Action Required - Sysco's
                     Payment Terms Change for PILGRIMS
G-100
                     PRIDE", 06/22/2016, SYSCO-
                     00001819



                     Attachment, Supplier Payment Terms
G-101
                     Change Form, SYSCO-00001820




                     Email, "Sysco's Payment Terms Change
G-102                for PILGRIMS PRIDE", 06/15/2016,
                     SYSCO-00001822
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                     Attachment, Supplier Payment Terms
G-103
                     Change Form, SYSCO-00001823




                     Email, "Pilgrim's Terms", 06/14/2016,
G-104
                     SYSCO-00001825




                     Attachment, Supplier Payment Terms
G-105
                     Change Form, SYSCO-00001826




                     Letter regarding payment terms,
G-106
                     SYSCO-00001827




                     Email, "RE: PILGRIMS PRIDE
G-107                Revised Terms Letter", 06/08/2016,
                     SYSCO-00001828




                     Email, "RE: Pilgrim's - Sysco Terms",
G-108
                     06/06/2016, SYSCO-00001830




                     Email, "PILGRIMS PRIDE Revised
G-109                Terms Letter", 04/25/2016, SYSCO-
                     00001943
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                     Attachment, Supplier Payment Terms
G-110
                     Change Form, SYSCO-00001944




                     Email, "RE: Sysco's Payment Terms
G-111                Change for PILGRIMS PRIDE",
                     06/22/2016, SYSCO-00001950



                     Email, "Sysco's Payment Terms Change
G-112                for PILGRIMS PRIDE", 06/22/2016,
                     SYSCO-00001952




                     Attachment, Supplier Payment Terms
G-113
                     Change Form, SYSCO-00001953




                     Email, "RE: Pilgrim's Terms",
G-114
                     06/03/2016, SYSCO-00001960




                     Email, "RE: Pilgrim's Terms",
G-115
                     06/03/2016, SYSCO-00001963




                     Email, "RE: Pilgrim's Terms",
G-116
                     06/03/2016, SYSCO-00001964
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                     Email, "RE: Pilgrim's Terms",
G-117
                     06/03/2016, SYSCO-00001965




                     Email, "FW: PILGRIMS PRIDE
G-118                Revised Terms Letter", 06/08/2016,
                     SYSCO-00001968




                     Attachment, Supplier Payment Terms
G-119
                     Change Form, SYSCO-00001969




                     Email, "Fwd: Koch Terms",
G-120
                     09/01/2016, SYSCO-00001980




                     Email, "Re: Pilgrim's - Sysco Terms",
G-121
                     06/06/2016, SYSCO-00001999




                     Email, "RE: Tyson pmt terms",
G-122
                     07/27/2016, SYSCO-00002011




                     Email, "FW: Payment Terms Analysis",
G-123
                     07/22/2016, SYSCO-00002012
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                     Attachment, Payment Terms Analysis,
G-124
                     SYSCO-00002013




                     Email, "FW: Sysco's Payment Terms
G-125                Change", 04/15/2016, SYSCO-
                     00002033


                     Email, "FW: Sysco Supplier
                     Confidentiality and Non-Disclosure
G-126                Agreement 2.11.09.pdf - Adobe
                     Acrobat Professional", 02/13/2009,
                     SYSCO-00002035



                     Email, "FW: Weekly Report 07/06 to
G-127
                     07/12", 07/15/2014, TF-0002246531




                     Attachment, supply report, TF-
G-128
                     0002246532




                     Email, "Weekly Report 07/20 to 07/26",
G-129
                     07/25/2014, TF-0002246533




                     Attachment, supply report, TF-
G-130
                     0002246534
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                     Email, "Weekly Report 5/3-5/9/2015
G-131                141 loads", 05/08/2015, TF-
                     0002246543




                     Attachment, supply report, TF-
G-132
                     0002246544




                     Email, "This is the report.. let me know
G-133                if this is ok to send to Paul",
                     06/28/2012, TF-0002464975




                     Attachment, supply report, TF-
G-134
                     0002464976




                     Email, "FW: This is the report.. let me
G-135                know if this is ok to send to Paul",
                     06/28/2012, TF-0002464977




                     Attachment, supply report, TF-
G-136
                     0002464978




                     Email, "O/S Purchase Details",
G-137
                     07/17/2012, TF-0002466327
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                     Attachment, supply report, TF-
G-138
                     0002466328




                     Email, "FW: O/S Purchase Details",
G-139
                     07/17/2012, TF-0002466329




                     Attachment, supply report, TF-
G-140
                     0002466330




                     Email, "FW: This is the report.. let me
G-141                know if this is ok to send to Paul",
                     07/27/2012, TF-0002466948




                     Attachment, supply report, TF-
G-142
                     0002466949




                     Email, "Weekly Report 08/10 to 08/16",
G-143
                     08/15/2014, TF-0002530571




                     Attachment, supply report, TF-
G-144
                     0002530572
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                     Email, "weekly report 08/17 to 08/23",
G-145
                     08/22/2014, TF-0002531452




                     Attachment, supply report, TF-
G-146
                     0002531453




                     Email, "p/o #3580018059", 08/29/2014,
G-147
                     TF-0002531975




                     Attachment, coverage contract, TF-
G-148
                     0002531976




                     Email, "Weekly Report 08/24 to 08/30",
G-149
                     08/29/2014, TF-0002532066




                     Attachment, supply report, TF-
G-150
                     0002532067




                     Email, "Weekly Report 09/08 to 09/12",
G-151
                     09/12/2014, TF-0002532732
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                     Attachment, supply report, TF-
G-152
                     0002532733




                     Email, "Weekly Report 09/14 to 09/20",
G-153
                     09/22/2014, TF-0002533159




                     Attachment, supply report, TF-
G-154
                     0002533160




                     Email, "Weekly Report 09/21 to 09/27",
G-155
                     09/26/2014, TF-0002533510




                     Attachment, supply report, TF-
G-156
                     0002533511




                     Email, "Weekly Report 09/28 to 10/04",
G-157
                     10/03/2014, TF-0002534068




                     Attachment, supply report, TF-
G-158
                     0002534069
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                     Email, 'Weekly Report 10/05 to 10/11,"
G-159
                     TF-0002534575




                     Attachment, supply report, TF-
G-160
                     0002534576




                     Email, "Weekly Report 10/26 to 11/01",
G-161
                     10/31/2014, TF-0002535566




                     Attachment, supply report, TF-
G-162
                     0002535567




                     Email, "FW: Claxton Popeyes",
G-163
                     12/03/2014, TF-0002537363




                     Email, "Weekly Report 12/07 to 12/13",
G-164
                     12/12/2014, TF-0002537825




                     Attachment, supply report, TF-
G-165
                     0002537826
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                     Email, "SAP loads January-December
G-166                2014.xlsx", 03/23/2015, TF-
                     0002543816




                     Attachment, supply report, TF-
G-167
                     0002543817




                     Email regarding supplier shipping,
G-168
                     03/23/2015, TF-0002543818




                     Attachment, supply report, TF-
G-169
                     0002543819




                     Email, "SAP loads January- December
G-170                2012.xlsx", 03/23/2015, TF-
                     0002543824




                     Attachment, supply report, TF-
G-171
                     0002543825




                     Email, "Weekly Report 03/15 to 03/21",
G-172
                     03/23/2015, TF-0002543829
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                     Attachment, supply report, TF-
G-173
                     0002543830




                     Email, "Weekly Recap May 10-16",
G-174
                     05/19/2015, TF-0002548632




                     Attachment, supply report, TF-
G-175
                     0002548633




                     Email, "FW: Suzy 1 Orders 5/1-
G-176                12/1/2015", 12/07/2015, TF-
                     0002583148




                     Attachment, supply report, TF-
G-177
                     0002583149




                     Email, "December Notes for Board",
G-178
                     12/30/2014, TF-0002880587



                     Email, "FRIENDLY REMINDER:
                     Invitation to Competitve Intelligence
G-179
                     Event: December 10th", 12/03/2013, TF-
                     0002992601
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                     Attachment, event schedule, TF-
G-180
                     0002992604




                     Email, "FW: Tyson ABF Numbers",
G-181
                     04/27/2014, TF-0003603309




                     Attachment, cost analysis, TF-
G-182
                     0003603311




                     Email, "FW: Tyson ABF Numbers",
G-183
                     04/30/2014, TF-0003603321




                     Attachment, cost analysis, TF-
G-184
                     0003603323




                     Email, "FW: Tyson ABF Numbers",
G-185
                     04/30/2014, TF-0003603324




                     Attachment, cost analysis, TF-
G-186
                     0003603326
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                     Email, "CFA 2015 Pricing Summary",
G-187
                     08/08/2014, TF-0003607293




                     Attachment, blank page, TF-
G-188
                     0003607294




                     Email, "FW: KFC COB from Tyson",
G-189
                     09/05/2014, TF-0003607790




                     Attachment, cost model, TF-
G-190
                     0003607792




                     Email, "RE: u asked for the 10 mil
G-191                breakout-see below and attached",
                     09/23/2014, TF-0003608072




                     Attachment, discussion points, TF-
G-192
                     0003608075




                     Attachment, Cost Model, TF-
G-193
                     0003608078
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                     Email, "Re: CY '15 CFA Agreement on
G-194                volume and price", 11/20/2014, TF-
                     0003609224




                     Email, "RE: KFC", 09/30/2014, TF-
G-195
                     0003954498




G-196                Company presentation, TF-0007259646




                     Email, "2013 Yum! Poultry",
G-197
                     10/08/2012, TF-0007432646




                     Attachment, bid summary, TF-
G-198
                     0007432647




                     Email, "Poultry Demand Review
G-199                Meeting Notes", 06/04/2013, TF-
                     0007438388




                     Attachment, company presentation, TF-
G-200
                     0007438390
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                     Email, "FW: Tyson-YUM Poultry RFP
G-201                Round 2 pricing", 11/05/2013, TF-
                     0007441834




                     Attachment, cost model, TF-
G-202
                     0007441835




                     Attachment, request for information, TF-
G-203
                     0007441836




                     Attachment, supply sheet, TF-
G-204
                     0007441837




                     Email, "FW: Tyson ABF Numbers",
G-205
                     06/30/2014, TF-0007446974




                     Attachment, cost analysis, TF-
G-206
                     0007446976




                     Email, "RE: Market Data to support
G-207                price increase with Church's",
                     02/02/2013, TF-0007500772
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                     Attachment, company presentation, TF-
G-208
                     0007500775




                     Email, "Pilgrim's Competitive Review',
G-209
                     12/04/2013, TF-0007513966




                     Attachment, company presentation, TF-
G-210
                     0007513967




                     Digital Device Records, TF-
G-211
                     0007546603




                     Digital Device Records, TF-
G-212
                     0007546604




                     Digital Device Records, TF-
G-213
                     0007549878




                     Digital Device Records, TF-
G-214
                     0007550839
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                     Digital Device Records, TF-
G-215
                     0007550840




                     Digital Device Records, TF-
G-216
                     0007550841




                     Digital Device Records, TF-
G-217
                     0007647497




                     Digital Device Records, TF-
G-218
                     0007648703




                     Digital Device Records, TF-
G-219
                     0007648704




                     Digital Device Records, TF-
G-220
                     0007648705




                     Digital Device Records, TF-
G-221
                     0007651302
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                     Digital Device Records, TF-
G-222
                     0007651303




                     Digital Device Records, TF-
G-223
                     0007655622




                     Digital Device Records, TF-
G-224
                     0007676533




                     Digital Device Records, TF-
G-225
                     0007676534




                     Digital Device Records, TF-
G-226
                     0007678286




                     Digital Device Records, TF-
G-227
                     0007678287




                     Digital Device Records, TF-
G-228
                     0007820967
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                     Digital Device Records, TF-
G-229
                     0007820968




                     Digital Device Records, TF-
G-230
                     0007820969




                     Digital Device Records, TF-
G-231
                     0007826751




                     Digital Device Records, TF-
G-232
                     0007826752




                     Digital Device Records, TF-
G-233
                     0007828558




                     Digital Device Records, TF-
G-234
                     0007828559




                     Digital Device Records, TF-
G-235
                     0007832468
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                     Digital Device Records, TF-
G-236
                     0007832469




                     Digital Device Records, TF-
G-237
                     0007832470




                     Digital Device Records, TF-
G-238
                     0007844375




                     Digital Device Records, TF-
G-239
                     0007845287




                     Digital Device Records, TF-
G-240
                     0007845288




                     Digital Device Records, TF-
G-241
                     0007851942




                     Digital Device Records, TF-
G-242
                     0007851943
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                     Digital Device Records, TF-
G-243
                     0007851944




                     Digital Device Records, TF-
G-244
                     0007852167




                     Email, "Perdue CFA NAE Label",
G-245
                     10/13/2014, TF-0007853930




                     Attachment, voice message regarding
G-246
                     labels, TF-0007853931




                     Digital Device Records, TF-
G-247
                     0007854106




                     Digital Device Records, TF-
G-248
                     0007854107




                     Digital Device Records, TF-
G-249
                     0007860027
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                     Digital Device Records, TF-
G-250
                     0007860028




                     Digital Device Records, TF-
G-251
                     0007860029




                     Digital Device Records, TF-
G-252
                     0007860157




                     Digital Device Records, TF-
G-253
                     0007860158




                     Digital Device Records, TF-
G-254
                     0007860159




                     Digital Device Records, TF-
G-255
                     0007860160




                     Digital Device Records, TF-
G-256
                     0007866563
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                     Digital Device Records, TF-
G-257
                     0007866564




                     Digital Device Records, TF-
G-258
                     0007866565




                     Digital Device Records, TF-
G-259
                     0007866566




                     Digital Device Records, TF-
G-260
                     0007866567




                     Digital Device Records, TF-
G-261
                     0007866568




                     Digital Device Records, TF-
G-262
                     0007867290




                     Digital Device Records, TF-
G-263
                     0007885181
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                     Digital Device Records, TF-
G-264
                     0007885183




                     Digital Device Records, TF-
G-265
                     0007885184




                     Digital Device Records, TF-
G-266
                     0007885186




                     T-Mobile Subpoena Response, TMOB-
G-267
                     DEFS-0000000001




                     T-Mobile Subpoena Response, TMOB-
G-268
                     DEFS-0000000004




                     T-Mobile Subpoena Response, TMOB-
G-269
                     DEFS-0000000005




                     T-Mobile Subpoena Response, TMOB-
G-270
                     DEFS-0000000008
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                     T-Mobile Subpoena Response, TMOB-
G-271
                     DEFS-0000000012




                     T-Mobile Phone Records, TMOB-
G-272
                     DEFS-0000000013




                     T-Mobile Subpoena Response, TMOB-
G-273
                     DEFS-0000000014




                     T-Mobile Subpoena Response, TMOB-
G-274
                     DEFS-0000000015




                     T-Mobile Subpoena Response, TMOB-
G-275
                     DEFS-0000000016




                     T-Mobile Subpoena Response, TMOB-
G-276
                     DEFS-0000000017




                     T-Mobile Subpoena, TMOB-DEFS-
G-277
                     0000000022
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                     T-Mobile Subpoena Response, TMOB-
G-278
                     DEFS-0000000023




                     T-Mobile Subpoena Response, TMOB-
G-279
                     DEFS-0000000027




                     T-Mobile Record Interpretation,
G-280
                     TMOBILE-ATR001-00000002




                     T-Mobile Record Interpretation,
G-281
                     TMOBILE-ATR001-00000009




                     T-Mobile Call Records, TMOBILE-
G-282
                     ATR001-00000010




                     T-Mobile Objection, TMOBILE-
G-283
                     ATR002-00000001




                     T-Mobile Toll Records, TMOBILE-
G-284
                     ATR003-00000005
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                     Email, "RE: Church's Chicken QA
G-285                Requirements 2014", 12/26/2013, TY-
                     000000101




                     Email, "RE: Popeye's Pricing - June
G-286
                     2012", 06/01/2012, TY-000017853




                     Email, "Fwd: Popeye's Pricing - June
G-287
                     2012", 06/01/2012, TY-000017856




                     Email, "RE: Popeye's Pricing -
G-288                November 2012", 11/02/2012, TY-
                     000039578




                     Email, "RE: Church's Frozen Chicken",
G-289
                     12/07/2012, TY-000047758




                     Email, "Re: tyson - churchs dark",
G-290
                     12/21/2012, TY-000047918




                     Email, "Plant Visit and Approval runs
G-291                2/27-2/28/13", 03/01/2013, TY-
                     000053460
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                     Email, "RE: Tyson data sheet.xlsx",
G-292
                     03/07/2013, TY-000053644




                     Email, "FW: Spec Conversation",
G-293
                     03/07/2013, TY-000053667




                     Email, "Re: Tyson data sheet.xlsx",
G-294
                     03/08/2013, TY-000055335




                     Email, "FW: Tyson data sheet.xlsx",
G-295
                     03/19/2013, TY-000055792




                     Email, "Re: Church's Frozen 8pc and
G-296                Dark Meat-Tyson", 05/09/2013, TY-
                     000061930



                     Email, "RE: Church's Frozen 8pc and
G-297                Dark Meat-Tyson", 05/09/2013, TY-
                     000061933



                     Email, "Re: Church's Frozen 8pc and
G-298                Dark Meat-Tyson", 05/09/2013, TY-
                     000061960
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                     Email, "RE: Church's Frozen 8pc and
G-299                Dark Meat-Tyson", 05/10/2013, TY-
                     000062062




                     Email, "Samples", 05/20/2013, TY-
G-300
                     000062416




                     Email, "Re: Church's Frozen 8pc and
G-301                Dark Meat-Tyson", 05/31/2013, TY-
                     000062843



                     Email, "Fwd: Church's Frozen 8pc and
G-302                Dark Meat-Tyson", 05/31/2013, TY-
                     000062846



                     Email, "Re: Church's Frozen 8pc and
G-303                Dark Meat-Tyson", 06/03/2013, TY-
                     000063844



                     Email, "RE: Church's Frozen 8pc and
G-304                Dark Meat-Tyson", 06/03/2013, TY-
                     000063846



                     Email, "RE: CHURCH'S FROZEN
G-305                PRODUCT/8PC & DARK",
                     06/03/2013, TY-000063856
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                     Email, "FW: CHURCH'S FROZEN
G-306                PRODUCT/8PC & DARK",
                     06/03/2013, TY-000063862



                     Email, "Fwd: Church's Frozen 8pc and
G-307                Dark Meat-Tyson", 06/03/2013, TY-
                     000063997



                     Email, "FW: Church's Frozen 8pc and
G-308                Dark Meat-Tyson", 06/03/2013, TY-
                     000064024



                     Email, "FW: Church's Frozen 8pc and
G-309                Dark Meat-Tyson", 06/04/2013, TY-
                     000064146



                     Email, "RE: Frozen 8pc & Dark Meat
G-310                for Church's", 06/11/2013, TY-
                     000065864



                     Email, "FW: Church's Frozen 8pc and
G-311                Dark Meat", 08/26/2013, TY-
                     000075056



                     Email, "RE: Church's Frozen 8pc and
G-312                Dark Meat for Hawaii", 10/03/2013,
                     TY-000079045
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                     Email, "CHURCH'S FROZEN
G-313                PRODUCT", 10/05/2013, TY-
                     000079314




                     Email, "RE: Church's Freezing Cost",
G-314
                     10/10/2013, TY-000079848




                     Email, "RE: Additional KFC COB
G-315
                     capacity", 10/16/2013, TY-000084035




                     Email, "Fwd: Church's Freezing Cost",
G-316
                     10/17/2013, TY-000084081




                     Email, "Fwd: Church's Freezing Cost",
G-317
                     10/23/2013, TY-000084623




                     Email, "RE: Church's Freezing Cost",
G-318
                     10/24/2013, TY-000084775




                     Email, "FW: Church's Freezing Cost",
G-319
                     10/24/2013, TY-000084812
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                     Email, "RE: Church's Freezing Cost",
G-320
                     10/24/2013, TY-000084821




                     Email, "Re: RE:", 11/25/2013, TY-
G-321
                     000087069




                     Email, "Re: Church's Chicken QA
G-322                Requirements 2014", 12/21/2013, TY-
                     000088547




                     Email, "RE: Church's Pricing - January
G-323
                     2014", 12/23/2013, TY-000088664




                     Email, "RE: Church's Chicken QA
G-324                Requirments 2014", 12/26/2013, TY-
                     000088935




                     Email, "Church's February Cost Plus",
G-325
                     01/29/2014, TY-000092668




                     Email, "RE: Church's Chicken QA
G-326                Requirments 2014", 12/26/2013, TY-
                     000094019
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                     Email, "RE: Church's February Cost
G-327
                     Plus", 01/29/2014, TY-000096120




                     Email, "8pc", 02/11/2014, TY-
G-328
                     000096965




                     Email, "KFC recap", 01/06/2014, TY-
G-329
                     000098065




                     Email, "Re: Church's Pricing - February
G-330
                     2014", 01/27/2014, TY-000098580




                     Email, "Re: Church's Pricing - February
G-331
                     2014", 01/27/2014, TY-000098583




                     Email, "RE: Church's February Cost
G-332
                     Plus", 01/29/2014, TY-000098662




                     Email, "RE: Popeye's", 02/24/2014, TY-
G-333
                     000101224
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                     Email, "RE: POPEYES 8PC",
G-334
                     02/26/2014, TY-000101949




                     Email, "RE: PRODUCT SHORTAGES -
G-335                Tyson for Memphis", 04/16/2014, TY-
                     000110620




                     Email, "FW: Chicken Inventories",
G-336
                     05/12/2014, TY-000114183




                     Meeting invitation, "KFC fresh
G-337
                     pricing", TY-000116067



                     Email, "Fwd: Poultry Supply Chain
                     Walk Details June 16-18 - Please
G-338
                     RSVP/To Do List", 06/05/2014, TY-
                     000117282



                     Email, "Fwd: RE: RE:", 06/17/2014,
G-339
                     TY-000118699




                     Email, "COB Updates", 06/30/2014,
G-340
                     TY-000121623
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                     Email, "Re: KFC_2'8-
G-341                2'12_Marinated_Model_(25119-928)
                     sent.xlsx", 08/22/2014, TY-000127803



                     Meeting invitation, "FW: Various
G-342                Customer Conversations", TY-
                     000128151



                     Email, "RE: KFC 2'8-2'12 Marinated
G-343                Model (25119-928)8-6xlsx.xlsx",
                     08/12/2014, TY-000128347



                     Email, "RE: KFC 2'8-2'12 Marinated
G-344                Model (25119-928)8-6xlsx.xlsx",
                     08/12/2014, TY-000128353



                     Email, "RE: KFC 2'8-2'12 Marinated
G-345                Model (25119-928)8-6xlsx.xlsx",
                     08/13/2014, TY-000128401




                     Email, "FW: Popeyes 2015 Pricing",
G-346
                     09/03/2014, TY-000130003




                     Email, "Frozen KFC, Popeye's and
G-347
                     Church's", 10/10/2014, TY-000132260
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                     Email, "Re: RSCS Meeting notes",
G-348
                     08/06/2014, TY-000132750




                     Email, "Fwd: RSCS Meeting notes",
G-349
                     08/06/2014, TY-000132852




                     Email, "Update RSCS 8/5 meeting
G-350
                     notes", 08/06/2014, TY-000132936




                     Email, "FW: Update RSCS 8/5 meeting
G-351
                     notes", 08/07/2014, TY-000133222




                     Email, "RE: Purple label guidance for
G-352
                     2015", 12/22/2014, TY-000138254




                     Email, "RE: Church's 2015 Pricing",
G-353
                     10/24/2014, TY-000140673




                     Email, "Fwd: September bone in
G-354                promotion", 03/27/2015, TY-
                     000159934
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                     Email, "Fwd: September bone in
G-355                promotion", 03/31/2015, TY-
                     000163911




                     Meeting invitation, "Popeyes 2018 8 pc
G-356
                     pricing - Internal Call", TY-000198965




                     Meeting invitation, "[EXTERNAL] -
G-357                FW: POPEYES 2018 bone-in RFP", TY-
                     000198999



                     Email, "[EXTERNAL] - FW:
G-358                POPEYES 2018 bone-in RFP",
                     09/06/2017, TY-000206379



                     Email, "Fwd: [EXTERNAL] - FW:
G-359                POPEYES 2018 bone-in RFP",
                     09/07/2017, TY-000206536



                     Email, "[EXTERNAL] - Popeye's SMS
G-360                Poultry Summit save the date Nov 13-
                     15", 09/06/2017, TY-000220684




                     Email, "RE: GEORGE'S/POPEYE'S",
G-361
                     02/24/2011, TY-000235074
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                                                                                                                          Page 909

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                     Email, "Fwd: Church's Frozen 8pc and
G-362                Dark Meat for Hawaii", 10/02/2013,
                     TY-000245727



                     Email, "RE: Church's Chicken QA
G-363                Requirements 2014", 12/26/2013, TY-
                     000247593




                     Email, "Re: KFC shortage",
G-364
                     05/10/2014, TY-000250072




                     Email, "FW: pilgrims. KFC",
G-365
                     07/08/2014, TY-000251038




                     Email, "Fwd: [EXTERNAL] - FW:
G-366                POPEYES 2018 bone-in RFP",
                     08/24/2017, TY-000269226




                     Email, "Re: KFC Livers & Gizzards",
G-367
                     12/12/2018, TY-000325648




                     Email, "FW: COB Production",
G-368
                     05/02/2014, TY-000421620
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                     Email, "YUM Bid Sheets for 2012-
G-369
                     2013", 10/10/2012, TY-000567438




                     Attachment, cost model, TY-
G-370
                     000567439




G-371                Attachment, bid sheet, TY-000567440




                     Attachment, cost model, TY-
G-372
                     000567441




                     Attachment, supply information, TY-
G-373
                     000567442




                     Attachment, bid summary, TY-
G-374
                     000567443




                     Email, "Re: Need info for a planning
G-375
                     meeting", 02/27/2013, TY-000583859
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G-376                Attachment, logo, TY-000583862




G-377                Attachment, logo, TY-000583863




                     Email, "RE: Tyson data sheet.xlsx",
G-378
                     03/08/2013, TY-000584135




                     Attachment, cost model, TY-
G-379
                     000584137




                     Attachment, supplier plant information,
G-380
                     TY-000584138




                     Attachment, distribution information,
G-381
                     TY-000584139




                     Email, "Tyson data sheet.xlsx",
G-382
                     03/05/2013, TY-000585357
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                     Attachment, company analysis, TY-
G-383
                     000585358




                     Email, "FW: Tyson data sheet.xlsx",
G-384
                     03/08/2013, TY-000585559




                     Attachment, supplier plant information,
G-385
                     TY-000585561




                     Email, "FW: Tyson data sheet.xlsx",
G-386
                     03/19/2013, TY-000585933




                     Attachment, supplier plant information,
G-387
                     TY-000585937




                     Email, "Church's Frozen 8pc and Dark
G-388                Meat-Tyson", 05/09/2013, TY-
                     000591490




                     Attachment, product specifications, TY-
G-389
                     000591491
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                     Attachment, product specifications, TY-
G-390
                     000591495




                     Email, "Re: Church's Frozen 8pc and
G-391                Dark Meat-Tyson", 05/10/2013, TY-
                     000591677




G-392                Attachment, logo, TY-000591679




G-393                Attachment, logo, TY-000591680




                     Email, "Re: Frozen 8pc & Dark Meat
G-394                for Church's", 06/11/2013, TY-
                     000595556




G-395                Attachment, logo, TY-000595558




                     Email, "FW: Church's Frozen 8pc and
G-396                Dark Meat for Hawaii", 10/02/2013,
                     TY-000606524
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                     Email, "Fwd: Church's Frozen 8pc and
G-397                Dark Meat-Tyson", 10/02/2013, TY-
                     000606527




                     Attachment, mobile record, TY-
G-398
                     000606529




                     Attachment, product specifications, TY-
G-399
                     000606530




                     Attachment, mobile record, TY-
G-400
                     000606534




                     Attachment, product specifications, TY-
G-401
                     000606535




                     Email, "FW: Church's Frozen Chicken",
G-402
                     10/02/2013, TY-000606539




                     Attachment, mobile record, TY-
G-403
                     000606541
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                     Attachment, product specifications, TY-
G-404
                     000606542




                     Attachment, mobile record, TY-
G-405
                     000606546




                     Attachment, product specifications, TY-
G-406
                     000606547




                     Email, "Re: Frozen 8pc & Dark Meat
G-407                for Church's", 10/02/2013, TY-
                     000606551




G-408                Attachment, logo, TY-000606553




                     Email, "Church's 2014 Bone In Chicken
G-409
                     RFP", 10/11/2013, TY-000607503




                     Attachment, product specifications, TY-
G-410
                     000607504
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                     Attachment, product specifications, TY-
G-411
                     000607508




G-412                Attachment, data sheet, TY-000607512




G-413                Attachment, fuel table, TY-000607513




                     Attachment, supplier volume
G-414
                     information, TY-000607514




                     Attachment, cost model, TY-
G-415
                     000607515




                     Attachment, Church's Letter, TY-
G-416
                     000607516




                     Email, "RE: Freezer cost", 10/25/2013,
G-417
                     TY-000608657
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                     Attachment, product data sheet, TY-
G-418
                     000608659




                     Email, "FW: UFPC Round 1
G-419
                     Feedback", 11/01/2013, TY-000609113




                     Attachment, mobile record, TY-
G-420
                     000609114




                     Attachment, proposal feedback, TY-
G-421
                     000609115




                     Email, "FW: Church's Pricing - January
G-422
                     2014", 12/23/2013, TY-000613997




                     Attachment, cost model, TY-
G-423
                     000613999




                     Attachment, cost model, TY-
G-424
                     000614000
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                     Email, "Church's 2014 Supply
G-425                Agreement-Tyson Foods", 01/24/2014,
                     TY-000615870




                     Attachment, supply contract, TY-
G-426
                     000615871




                     Email, "Fwd: Church's Pricing -
G-427                February 2014", 01/26/2014, TY-
                     000616147




                     Attachment, mobile record, TY-
G-428
                     000616148




                     Attachment, cost model, TY-
G-429
                     000616149




                     Attachment, mobile record, TY-
G-430
                     000616150




                     Attachment, cost model, TY-
G-431
                     000616151
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                     Attachment, mobile record, TY-
G-432
                     000616152




                     Attachment, cost model, TY-
G-433
                     000616153




                     Email, "FW: Church's Pricing -
G-434                February 2014", 01/27/2014, TY-
                     000616194




                     Attachment, mobile record, TY-
G-435
                     000616195




                     Attachment, cost model, TY-
G-436
                     000616196




                     Attachment, mobile record, TY-
G-437
                     000616197




                     Attachment, cost model, TY-
G-438
                     000616198
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                     Communication message regarding
G-439
                     supply negotiations, TY-000616199




                     Attachment, cost model, TY-
G-440
                     000616200




                     Email, "Fwd: Church's Pricing -
G-441                February 2014", 01/27/2014, TY-
                     000616246




                     Attachment, mobile record, TY-
G-442
                     000616247




                     Attachment, cost model, TY-
G-443
                     000616248




                     Email, "Fwd: Church's Pricing -
G-444                February 2014", 01/27/2014, TY-
                     000616252




                     Attachment, mobile record, TY-
G-445
                     000616253
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                     Attachment, cost model, TY-
G-446
                     000616254




                     Email, "RE: ABCR", 01/28/2014, TY-
G-447
                     000616262




                     Attachment, cost model, TY-
G-448
                     000616263




                     Email, "FW: Chick-fil-A NAE Press
G-449
                     Release", 02/11/2014, TY-000618801




                     Attachment, press release, TY-
G-450
                     000618802




                     Email, "KFC COB Outside Purchase
G-451                Breakdown.xlsx", 05/13/2014, TY-
                     000626573




                     Attachment, cost model, TY-
G-452
                     000626574
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                     Email, "KFC 2'8-2'12 Marinated Model
G-453                (25119-928).xlsx", 06/23/2014, TY-
                     000632884




                     Attachment, cost model, TY-
G-454
                     000632885




                     Email, "FW: Negotiations", 08/01/2014,
G-455
                     TY-000633653




                     Attachment, cost model, TY-
G-456
                     000633655




                     Email, "FW: KFC 2015 Pricing Model",
G-457
                     06/20/2014, TY-000634075




                     Attachment, cost model, TY-
G-458
                     000634077




                     Email, "Memo from Donnie Smith | The
G-459                Hillshire Brands Company Merger",
                     07/02/2014, TY-000634580
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                     Attachment, Press Release Announcing
G-460
                     Tyson-Hillshire Merger, TY-000634582




                     Email, "KFC Presentation", 08/01/2014,
G-461
                     TY-000636164




                     Attachment, cost model, TY-
G-462
                     000636165




                     Email, "KFC_2'8-
G-463                2'12_Marinated_Model_(25119-928)
                     sent.xlsx", 08/22/2014, TY-000637803




                     Attachment, cost model, TY-
G-464
                     000637804




                     Email, "FW: KFC Popeyes Church's
G-465                fresh disc.", 08/19/2014, TY-
                     000638619




                     Meeting invitation, "KFC Popeyes
G-466
                     Church's fresh disc.", TY-000638620
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                     Email, "RE: KFC 2015 Fresh Chicken
G-467
                     Bid", 09/25/2014, TY-000641966




                     Attachment, cost model, TY-
G-468
                     000641968




                     Attachment, cost model, TY-
G-469
                     000641969




                     Email, "RE: KFC_2'8-
G-470                2'12_Marinated_Model_(25119-928)
                     sent.xlsx", 09/02/2014, TY-000642669




                     Attachment, cost model, TY-
G-471
                     000642670



                     Email, "Fwd: KFC Contract Signed
                     Both Parties - FW: Executed Pricing
G-472
                     Addendum to the SBRA for Tyson
                     Foods", 10/25/2017, TY-000700668



                     Attachment, mobile record, TY-
G-473
                     000700670
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                     Attachment, supply contract, TY-
G-474
                     000700671




                     Email, "FW: [EXTERNAL] - FW:
G-475                POPEYES 2018 bone-in RFP",
                     09/07/2017, TY-000722084




                     Attachment, cost model, TY-
G-476
                     000722085




                     Attachment, cost model, TY-
G-477
                     000722086




                     Email, "FW: SMS (Popeyes) -- Supply
G-478
                     Agmt", 01/09/2018, TY-000722108




                     Attachment, supply contract, TY-
G-479
                     000722109




                     Attachment, supply contract, TY-
G-480
                     000722123
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                     Attachment, supply contract, TY-
G-481
                     000722137




                     Attachment, supply contract, TY-
G-482
                     000722151




G-483                Attachment, SMS letter, TY-000722165




                     Email, "Popeyes 2018 Freight
G-484
                     Rate.xlsx", 09/05/2017, TY-000722250




                     Attachment, freight information, TY-
G-485
                     000722251




                     Email, "FW: POPEYE'S PRICING
G-486                JANUARY 2019", 01/03/2019, TY-
                     000785530




                     Attachment, cost model, TY-
G-487
                     000785531
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                     Attachment, cost model, TY-
G-488
                     000785532




                     Meeting invitation, "Tyson Foods -
G-489
                     Negotiation Call", TY-000912464




                     Email, "Dinner at AKFCF Convention",
G-490
                     01/31/2013, TY-000915479




                     Email, "RE: CFA NAE.xlsx",
G-491
                     01/17/2014, TY-000929804




                     Email, "ABF pricing", 01/27/2014, TY-
G-492
                     000930174




                     Email, "Re: CFA NAE.xlsx",
G-493
                     01/28/2014, TY-000930206




                     Email, "Re: CFA NAE.xlsx",
G-494
                     01/29/2014, TY-000930217
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                     Email, "RE: Chick-fil-A NAE Press
G-495
                     Release", 02/14/2014, TY-000931083




                     Email, "CFA NAE", 03/10/2014, TY-
G-496
                     000932514




                     Email, "Re: WORKING DRAFT:
G-497                Foodservice Notes Monday Mtg Wk
                     34", 06/06/2014, TY-000936798




                     Email, "Eric has endorsed you!",
G-498
                     07/14/2014, TY-000937042




                     Meeting invitation, "Accepted: Discuss
G-499                Church's/KFC Dark Meat pricing", TY-
                     000937529




                     Meeting invitation regarding sales
G-500
                     negotiations, TY-000937611




                     Meeting invitation, "Accepted: FW:
G-501                RSCS Tyson RFP bid review", TY-
                     000937639
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                     Email, "RE: Fresh Chicken",
G-502
                     06/25/2014, TY-000938005




                     Email, "RE: Meeting in Louisville",
G-503
                     07/08/2014, TY-000938293




                     Email, "Negotiations", 07/10/2014, TY-
G-504
                     000938394




                     Email, "Meeting Follow-Up",
G-505
                     08/07/2014, TY-000939020




                     Email, "RE: Tyson Updated KFC Cost
G-506
                     Model", 08/25/2014, TY-000939602




                     Email, "COB Negotiations",
G-507
                     08/29/2014, TY-000939742




                     Email, "RE: Could you stretch to 25
G-508                loads a week?", 09/04/2014, TY-
                     000939885
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                     Email, "COB Negotiations",
G-509
                     09/08/2014, TY-000939955




                     Email, "FW: Mother's Day 2015",
G-510
                     09/15/2014, TY-000940206




                     Email, "FW: COB Follow Up",
G-511
                     09/25/2014, TY-000940497




                     Email, "FW: COB Follow Up",
G-512
                     09/30/2014, TY-000941027




                     Email, "Soy meal freight/basis",
G-513
                     09/30/2014, TY-000941087




                     Email, "FW: Dark Meat Information",
G-514
                     11/12/2014, TY-000942395




                     Email, "2015 Dark Meat Price",
G-515
                     12/31/2014, TY-000943293
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                     Email, "RE: CFA pricing for NAO",
G-516
                     01/23/2015, TY-000945059




                     Email, "New weights and billing",
G-517
                     11/12/2014, TY-000947569




                     Email, "FW: Tyson Top to Top
G-518
                     Meeting", 04/02/2013, TY-000954715




                     Email, "Costing Quote.xlsx",
G-519
                     04/27/2014, TY-000972187




                     Attachment, cost model, TY-
G-520
                     000972188




                     Email, "FW: KFC 2015 Pricing Model",
G-521
                     06/19/2014, TY-000973553




                     Attachment, cost model, TY-
G-522
                     000973554
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                     Email, "KFC 2'8-2'12 Marinated Model
G-523                (25119-928) revision tail credit 07 08
                     14.xlsx", 07/10/2014, TY-000973763




                     Attachment, cost model, TY-
G-524
                     000973764




                     Attachment, cost model, TY-
G-525
                     000973765




                     Email, "KFC COB from Tyson",
G-526
                     09/04/2014, TY-000974491




                     Attachment, cost model, TY-
G-527
                     000974492




                     Email, "FW: KFC COB from Tyson",
G-528
                     09/04/2014, TY-000974493




                     Attachment, cost model, TY-
G-529
                     000974494
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                     Email, "Summary of KFC QA Costs",
G-530
                     09/18/2014, TY-000974667




G-531                Attachment, cost sheet, TY-000974668




                     Email, "Tyson Cost Margin
G-532                Comparison.xlsx", 09/24/2014, TY-
                     000974801




                     Attachment, cost model, TY-
G-533
                     000974802




                     Email, "KFC QA Costs.docx",
G-534
                     09/29/2014, TY-000975144




G-535                Attachment, cost sheet, TY-000975145




                     Email, "Old Gold at NCC 2015",
G-536
                     07/24/2015, TY-000981221
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G-537                Attachment, photo, TY-000981222




                     Email, "RE: Feedback", 11/02/2012,
G-538
                     TY-000998937



                     Email, "Fwd: [UFPC :: Yum Poultry
                     Event 2012] Round 2 of Yum! Brands
G-539
                     Poultry RFP process due 11/14 @ Noon
                     EST", 11/07/2012, TY-000999328



                     Email, "RE: Call", 11/27/2012, TY-
G-540
                     001000978




                     Email, "FW: Church's Freezing Cost",
G-541
                     10/23/2013, TY-001006054




                     Email, "FW: Church's Freezing Cost",
G-542
                     10/24/2013, TY-001006114




                     Email, "RE: Church's Freezing Cost",
G-543
                     10/24/2013, TY-001006120
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                     Email, "RE: Church's Freezing Cost",
G-544
                     10/24/2013, TY-001006128




                     Email, "RE: Church's Freezing Cost",
G-545
                     10/24/2013, TY-001006136




                     Email, "FW: KFC Specification
G-546                Changes to COB", 07/18/2013, TY-
                     001014369




                     Email, "Re:", 03/12/2014, TY-
G-547
                     001015825




                     Email, "RE: churchs", 03/20/2014, TY-
G-548
                     001015972




                     Email, "RE: CFA HQ visit on antibiotic
G-549                free transition April 9, 10", 03/27/2014,
                     TY-001016301



                     Email, "RE: CFA HQ visit on antibiotic
G-550                free transition April 9, 10", 03/27/2014,
                     TY-001016352
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                     Email, "RE: Church's QA Audit Fee",
G-551
                     03/17/2014, TY-001018189




                     Email, "FW: PRODUCT SHORTAGES
G-552                - Tyson for Memphis", 04/16/2014, TY-
                     001020486




                     Email, "RE: QA Cost", 04/14/2014, TY-
G-553
                     001021571




                     Email, "Chick-fil-A NAE Cost
G-554                Assumptions", 04/23/2014, TY-
                     001023098



                     Email, "Re: Chick-fil-A NAE Cost
G-555                Assumptions", 04/24/2014, TY-
                     001023128



                     Email, "RE: Chick-fil-A NAE Cost
G-556                Assumptions", 04/25/2014, TY-
                     001023311




                     Meeting invitation, "Regroup on KFC
G-557
                     volume and pricing", TY-001023555
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                     Email, "RE: Chick-fil-A NAE Cost
G-558                Assumptions", 04/26/2014, TY-
                     001023667




                     Email, "Update", 05/12/2014, TY-
G-559
                     001025587




                     Email, "RE: Update", 05/12/2014, TY-
G-560
                     001025601




                     Email, "RE: Update", 05/12/2014, TY-
G-561
                     001026630




                     Email, "RE: 8 piece supply",
G-562
                     05/15/2014, TY-001026766




                     Email, "RE: KFC COB Cost Model for
G-563
                     2015", 06/10/2014, TY-001027017




                     Email, "RE: Negotiations", 07/29/2014,
G-564
                     TY-001029730
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                     Email, "Re: Proposed model for 2015
G-565                moving forward", 07/16/2014, TY-
                     001031063




                     Email, "Fwd: Plant Information",
G-566
                     06/13/2014, TY-001031535




                     Email, "Fwd: Cost model", 08/20/2014,
G-567
                     TY-001034687




                     Email, "FW: Meeting Follow-Up",
G-568
                     08/19/2014, TY-001035131




                     Email, "FW: Update RSCS 8/5 meeting
G-569
                     notes", 08/19/2014, TY-001035133




                     Email, "RE: KFC Pricing Updated",
G-570
                     08/22/2014, TY-001035139




                     Email, "FW: Meeting Follow-Up",
G-571
                     08/11/2014, TY-001035733
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                     Email, "FW: Tyson Updated KFC Cost
G-572
                     Model", 08/25/2014, TY-001036220




                     Email, "RE: Cost model", 08/20/2014,
G-573
                     TY-001036423




                     Email, "Sales Bullets - 08/21/2014",
G-574
                     08/21/2014, TY-001036571




                     Email, "Re: Cost model", 08/15/2014,
G-575
                     TY-001037234




                     Email, "RE: 2014 pricing agreement",
G-576
                     08/11/2014, TY-001039017



                     Email, "FW: COB Cost Comparison
                     with Grain out--Call me sometime so
G-577
                     we can run through these.", 09/02/2014,
                     TY-001039145



                     Email, "Re: KFC COB from Tyson",
G-578
                     09/09/2014, TY-001039788
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                     Meeting invitation, "Meeting Forward
G-579                Notification: KFC 8pc discussion", TY-
                     001040710




                     Email, "RE:", 09/03/2014, TY-
G-580
                     001040845




                     Email, "Fwd: KFC QA Costs.docx",
G-581
                     09/30/2014, TY-001040999




                     Email, "RE: Fresh Chicken",
G-582
                     10/02/2014, TY-001043799




                     Email, "Re: Golden Corral chicken rfp",
G-583
                     10/06/2014, TY-001043958




                     Email, "RE: Tyson poultry req",
G-584
                     11/21/2014, TY-001045368




                     Email, "CY '15 CFA Agreement on
G-585                volume and price", 11/19/2014, TY-
                     001050169
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                     Email, "FW: Spec Conversation",
G-586
                     03/07/2013, TY-001089998




                     Email, "RE: Tyson data sheet.xlsx",
G-587
                     03/19/2013, TY-001090405




                     Email, "RE: Tyson data sheet.xlsx",
G-588
                     03/19/2013, TY-001090411




                     Email, "RE: Tyson data sheet.xlsx",
G-589
                     03/07/2013, TY-001091279




                     Email, "RE: Tyson data sheet.xlsx",
G-590
                     03/08/2013, TY-001091331




                     Email, "RE: Tyson data sheet.xlsx",
G-591
                     03/12/2013, TY-001091982




                     Email, "RE: Tyson data sheet.xlsx",
G-592
                     03/12/2013, TY-001092002
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                     Email, "Re: Tyson data sheet.xlsx",
G-593
                     03/12/2013, TY-001092666




                     Email, "RE: Wings Bn In & Small
G-594                boneless wings", 06/20/2012, TY-
                     001133904




                     Email, "Location", 10/16/2013, TY-
G-595
                     001149145




                     Email, "2013 Pricing Estimate
G-596
                     V2.xlsx", 10/17/2012, TY-001186880




                     Attachment, cost model, TY-
G-597
                     001186881




                     Email, "Tyson-Yum Attachment__1-
G-598                FOB_Summary.xlsx", 10/17/2012, TY-
                     001186886




                     Attachment, cost model, TY-
G-599
                     001186887
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                     Email, "Tyson-Yum Attachment__1-
G-600                FOB_Summary Round 3.xlsx",
                     12/04/2012, TY-001187449




                     Attachment, cost model, TY-
G-601
                     001187450



                     Email, "Tyson-Yum Pricing Models -
                     Updated 2012-2013 RFP.xlsx; Tyson-
G-602                Yum Attachment__1-FOB_Summary
                     Round 4.xlsx", 12/06/2012, TY-
                     001187489



                     Attachment, cost model, TY-
G-603
                     001187490




                     Attachment, cost model, TY-
G-604
                     001187491




                     Email, "Tyson-Yum Attachment__1-
G-605                FOB_Summary Round 2.xlsx",
                     11/14/2012, TY-001188541




                     Attachment, cost model, TY-
G-606
                     001188542
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                     Email, "FW: Tyson data sheet.xlsx",
G-607
                     07/12/2013, TY-001199310




                     Attachment, supplier plant information,
G-608
                     TY-001199314




                     Email, "Re: Talking points",
G-609
                     05/09/2014, TY-001210950




G-610                Attachment, logo, TY-001210951




                     Email, "Cost Quote.xlsx", 04/27/2014,
G-611
                     TY-001211366




                     Attachment, cost model, TY-
G-612
                     001211367




                     Email, "Fwd: COB Information",
G-613
                     05/09/2014, TY-001211885
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                     Attachment, mobile record, TY-
G-614
                     001211886




G-615                Attachment, cost sheet, TY-001211887




                     Email, "FW: CFA Re-Group",
G-616
                     05/07/2014, TY-001215197




                     Attachment, presentation, TY-
G-617
                     001215199




                     Email, "SBR Outline", 05/10/2014, TY-
G-618
                     001215256




                     Attachment, business review, TY-
G-619
                     001215257




                     Email, "FW: CFA Re-Group PRICING
G-620                RECOMMENDATIONS", 06/10/2014,
                     TY-001216504
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                     Attachment, presentation, TY-
G-621
                     001216506




                     Email, "RE: KFC plant tour of Seguin",
G-622
                     06/10/2014, TY-001216512




                     Attachment, company presentation, TY-
G-623
                     001216513




                     Email, "FW: KFC 2015 Pricing Model",
G-624
                     06/09/2014, TY-001216885




                     Attachment, cost model, TY-
G-625
                     001216886




                     Email, "RE: June 16-18 Supply Chain
G-626                Walk Participant Prep Call",
                     06/18/2014, TY-001217212



                     Attachment, email, "Daily Livestock
                     Report For 6/18/2014: Cattle on Feed
G-627
                     Estimates; Hong Kong Exports", TY-
                     001217214
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                     Attachment, livestock report, TY-
G-628
                     001217215




                     Email, "FW: Negotiations", 08/01/2014,
G-629
                     TY-001221010




                     Attachment, cost model, TY-
G-630
                     001221012




                     Email, "FW: Tyson ABF Numbers",
G-631
                     06/30/2014, TY-001223253




                     Attachment, cost model, TY-
G-632
                     001223255




                     Email, "FW: CFA Re-Group",
G-633
                     07/01/2014, TY-001223726




                     Attachment, presentation, TY-
G-634
                     001223728
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                     Email, "FW: KFC Pricing Updated",
G-635
                     08/22/2014, TY-001228184




                     Attachment, cost model, TY-
G-636
                     001228185




                     Email, "2014 pricing agreement",
G-637
                     08/11/2014, TY-001230846




                     Attachment, supply agreement, TY-
G-638
                     001230847




                     Email, "KFC 2'8-2'12 Marinated Model
G-639                (25119-928)8-6xlsx.xlsx", 08/11/2014,
                     TY-001230900




                     Attachment, cost model, TY-
G-640
                     001230901




                     Email, "KFC-Tyson SBRA Exhibit 2
G-641                COB Products 2015 (2).docx",
                     11/06/2014, TY-001237811
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                     Attachment, supply contract, TY-
G-642
                     001237812




                     Email, "FW: KFC-Tyson Fresh SBRA
G-643                Attachments", 11/17/2014, TY-
                     001237883




                     Attachment, cost model, TY-
G-644
                     001237884




                     Attachment, cost model, TY-
G-645
                     001237885




                     Email, "RE: Cost Model/Misc SBRA
G-646                Info/QA Summary", 09/24/2014, TY-
                     001237944




                     Attachment, cost model, TY-
G-647
                     001237946




                     Email, "FW: KFC 2015 Fresh Chicken
G-648
                     Bid", 11/21/2014, TY-001244286
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                     Attachment, cost model, TY-
G-649
                     001244288




                     Attachment, cost model, TY-
G-650
                     001244289




                     Email, "RE: Post Audit CIR #117593 -
G-651                Tumble Marination Install",
                     02/10/2015, TY-001245792




                     Attachment, supply contract, TY-
G-652
                     001245794




                     Email, "FW: SBRA", 12/23/2014, TY-
G-653
                     001249939




                     Attachment, supply contract, TY-
G-654
                     001249940




                     Email, "KFC 8-Piece RFP vs. Current
G-655                Comparison", 10/10/2012, TY-
                     001284155
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                     Attachment, cost model, TY-
G-656
                     001284156




                     Email, "FW: Need info for a planning
G-657
                     meeting", 02/28/2013, TY-001285184




G-658                Attachment, logo, TY-001285188




                     Email, "RE: Tyson data sheet.xlsx",
G-659
                     03/20/2013, TY-001291210




                     Attachment, supplier plant information,
G-660
                     TY-001291214




                     Email, "Tyson data sheet.xlsx",
G-661
                     03/08/2013, TY-001292114




                     Attachment, supplier plant information,
G-662
                     TY-001292115
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                     Email, "RE: Tyson data sheet.xlsx",
G-663
                     03/08/2013, TY-001292123




                     Attachment, supplier plant information,
G-664
                     TY-001292125




                     Email, "RE: Tyson data sheet.xlsx",
G-665
                     03/18/2013, TY-001292232




                     Attachment, supplier plant information,
G-666
                     TY-001292235




                     Email, "FW: Tyson data sheet.xlsx",
G-667
                     03/18/2013, TY-001292258




                     Attachment, supplier plant information,
G-668
                     TY-001292261




                     Email, "RE: KFC", 03/11/2013, TY-
G-669
                     001292376
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                     Attachment, supplier plant information,
G-670
                     TY-001292377




                     Email, "RE: Tyson data sheet.xlsx",
G-671
                     03/11/2013, TY-001292390




                     Attachment, supplier plant information,
G-672
                     TY-001292392




                     Email, "Yum RFP Round 3 - Tyson",
G-673
                     11/19/2013, TY-001295487




                     Attachment, bid information, TY-
G-674
                     001295488




                     Email, "Tyson-Yum Pricing Models -
G-675                2014 RFP round 3.xlsx", 11/19/2013,
                     TY-001295514




                     Attachment, cost model, TY-
G-676
                     001295515
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                     Email, "Attachment #5 RFI for 2014
G-677                Poultry RFP (3).xls", 10/11/2013, TY-
                     001333684




                     Attachment, request for information,
G-678
                     TY-001333685




                     Email, "FW: 2014 UFPC SBRA
G-679
                     Exhibits", 12/17/2013, TY-001336316




                     Attachment, supply contract, TY-
G-680
                     001336318




                     Email, "FW: CFA PR FAQs and media
G-681
                     release", 02/11/2014, TY-001342619




                     Attachment, customer update, TY-
G-682
                     001342620




                     Attachment, press release, TY-
G-683
                     001342622
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                     Email, "Fwd: can you send us the cfa
G-684                pricing models in excel?", 08/08/2015,
                     TY-001402563



                     Email, "Re: Chick-Fil-A Antibiotic
G-685                Transition", 04/18/2014, TY-
                     001455455



                     Email, "RE: Supply Chain Walk
G-686                Attendees", 06/10/2014, TY-
                     001456162



                     Email, "Poultry Supply Chain Walk
G-687                Details June 16-18 - Please RSVP/To
                     Do List", 06/05/2014, TY-001456615




                     Email, "Re: Franchise Feedback",
G-688
                     09/17/2014, TY-001459276




                     Meeting invitation, "FW: COB Tyson",
G-689
                     TY-001492160




                     Meeting invitation, "FW: COB Tyson",
G-690
                     TY-001493168
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                     Email, "Fwd: ABCR", 01/29/2014, TY-
G-691
                     001526556




                     Attachment, mobile record, TY-
G-692
                     001526558




                     Attachment, cost model, TY-
G-693
                     001526559




                     Email, "RE: DRAFT - NAE Guidelines
G-694                for Chick-fil-A", 04/02/2014, TY-
                     001526873




                     Attachment, Email, "FW: Chick-fil-A's
G-695
                     NAE claim", TY-001526875




                     Attachment, USDA letter, TY-
G-696
                     001526876




                     Email, "FW: Church's 2014 Supply
G-697                Agreement-Tyson Foods", 09/04/2014,
                     TY-001531629
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                     Attachment, supply contract, TY-
G-698
                     001531633




                     Email, "FW: 2014 Church's RFP",
G-699
                     09/20/2013, TY-001561611




                     Attachment, product formula
G-700
                     information, TY-001561613




                     Attachment, product specification, TY-
G-701
                     001561614




                     Attachment, product specification, TY-
G-702
                     001561618




                     Attachment, product specification, TY-
G-703
                     001561623




                     Email, "FW: 2014 Church's RFP",
G-704
                     09/20/2013, TY-001562501
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                     Attachment, product formula
G-705
                     information, TY-001562503




                     Attachment, product specification, TY-
G-706
                     001562504




                     Attachment, product specification, TY-
G-707
                     001562508




                     Attachment, product specification, TY-
G-708
                     001562513




                     Email, "RE: Church's Chicken QA
G-709                Requirements 2014", 12/26/2013, TY-
                     001606715




                     Email, "FW: Sourcing Discussion",
G-710
                     09/18/2013, TY-001612066




                     Meeting Invite, "Accepted: Meeting
G-711
                     with Tyson", TY-001613948
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                     Meeting Invite, "Accepted: Tyson
G-712
                     meeting", TY-001614766




                     Meeting invitation, "COB Tyson", TY-
G-713
                     001614926




                     Meeting Invitation, "COB Tyson", TY-
G-714
                     001614943




                     Email, "Fwd: CFA NAE.xlsx",
G-715
                     01/28/2014, TY-001622233




                     Attachment, Mobile Record, TY-
G-716
                     001622234




                     Attachment, ABF Plant Summary, TY-
G-717
                     001622235




                     Email, "FW: Message from Inbound
G-718
                     Call", 09/10/2012, TY-001627383
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                     Attachment, voice message regarding
G-719
                     chicken segments, TY-001627384




                     Hard Copy Documents for Popeyes, TY-
G-720
                     001628517




                     Text message regarding supply
G-721
                     negotiations, TY-001632749




                     Text regarding customer negotiations,
G-722
                     TY-001632750




                     Text regarding Popeyes negotiations,
G-723
                     TY-001642699




                     Text regarding Popeyes negotiations,
G-724
                     TY-001642700




                     Text regarding Popeyes negotiations,
G-725
                     TY-001642701
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                     Text message regarding Popeyes, TY-
G-726
                     001644533




                     Text message regarding Popeyes, TY-
G-727
                     001644534




                     Text message regarding Popeyes, TY-
G-728
                     001644535




                     Text message regarding Popeyes, TY-
G-729
                     001644536




                     Text message regarding Popeyes, TY-
G-730
                     001644537




                     Text message regarding Popeyes, TY-
G-731
                     001644538




G-732                Digital Device Records, TY-001670902
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G-733                Digital Device Records, TY-001670903




G-734                Digital Device Records, TY-001670904




G-735                Digital Device Records, TY-001880678




                     Email, "FW: Tyson ABF Numbers",
G-736
                     04/30/2014, TY-002056755




                     Attachment, cost model, TY-
G-737
                     002056757




                     Email, "RE: YUM Poultry volume
G-738                comparison 2014 vs 2013 RFP.xls",
                     10/03/2013, TY-002149604




                     Email, "RE: 2014 Popeyes Strip RFP",
G-739
                     11/13/2013, TY-002150798
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                     Email, "CFA Pricing Plan", 04/01/2014,
G-740
                     TY-002154675




                     Email, "FW: Tyson ABF Numbers",
G-741
                     04/30/2014, TY-002305682




                     Attachment, cost model, TY-
G-742
                     002305684




                     Email, "FW: RFP for Popeyes strips",
G-743
                     10/05/2012, TY-002542867




                     Attachment, supplier template, TY-
G-744
                     002542868




                     Attachment, product information, TY-
G-745
                     002542869




                     Attachment, product information, TY-
G-746
                     002542876
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                     Email, "RE: Need more YUM specs",
G-747
                     10/10/2012, TY-002543002




                     Email, "Tyson-Yum COB Bid
G-748                Summary 2012-2013.xlsx", 10/10/2012,
                     TY-002544630




                     Attachment, Cost Model, TY-
G-749
                     002544631




                     Email, "FW: Church's Frozen Chicken",
G-750
                     12/06/2012, TY-002545441




                     Attachment, Mobile Record, TY-
G-751
                     002545443




                     Attachment, Chicken Specifications,
G-752
                     TY-002545444




                     Attachment, Mobile Record, TY-
G-753
                     002545448
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                     Attachment, Chicken Specifications,
G-754
                     TY-002545449




                     Email, "FW: SBRA - Revised",
G-755
                     12/18/2012, TY-002545852




                     Attachment, Cost Model, TY-
G-756
                     002545853




                     Email, "FW: SBRA Signed",
G-757
                     06/24/2013, TY-002565478




                     Attachment, Cost Model, TY-
G-758
                     002565479




                     Email, "YUM poultry round 3 pricing",
G-759
                     11/19/2013, TY-002581010




                     Attachment, Cost Model, TY-
G-760
                     002581011
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                     Attachment, Cost Model, TY-
G-761
                     002581012




                     Attachment, Cost Model, TY-
G-762
                     002581013




                     Email, "FW: Church's Chicken QA
G-763                Requirements 2014", 12/22/2013, TY-
                     002585401




                     Attachment, Mobile Record, TY-
G-764
                     002585402




                     Attachment, Buyer Letter, TY-
G-765
                     002585403




                     Attachment, Mobile Record, TY-
G-766
                     002585404




                     Attachment, Buyer Letter, TY-
G-767
                     002585405
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                     Email, "Church's Product Evaluation
G-768                Program - 2014", 12/31/2013, TY-
                     002587046




                     Attachment, Buyer Letter, TY-
G-769
                     002587047




                     Email, "FW: 2014 SBRA Final",
G-770
                     01/02/2014, TY-002587406




                     Attachment, Cost Model, TY-
G-771
                     002587407




                     Email, "RE: 2014 Church's RFP",
G-772
                     01/24/2014, TY-002590310




                     Email, "Re: Church's Additional QA
G-773
                     Cost", 01/21/2014, TY-002592613




                     Email, "RE: 29697 5/22/14 Raw
G-774                Material Paperwork", 05/29/2014, TY-
                     002602015
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                     Email, "FW: KFC COB Options",
G-775
                     05/19/2014, TY-002602995




                     Email, "FW: KFC 2015 Pricing Model",
G-776
                     06/23/2014, TY-002605463




                     Attachment, Cost Model, TY-
G-777
                     002605464




                     Email, "FW: YUM 2015 RFP changes
G-778
                     summary", 10/10/2014, TY-002613991




                     Attachment, Period Pricing Model, TY-
G-779
                     002613994




                     Attachment, Period Pricing Model, TY-
G-780
                     002613995




                     Attachment, Cost Model, TY-
G-781
                     002613996
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                     Attachment, Supplier Summary, TY-
G-782
                     002613997




                     Attachment, Cost Model, TY-
G-783
                     002614000




G-784                Digital Device Records, TY-002702121




G-785                Digital Device Records, TY-002702122




G-786                Digital Device Records, TY-002702123




G-787                Digital Device Records, TY-002702124




                     Email, "2012 UFPC SBRA Exhibits",
G-788
                     12/15/2011, TY-003010392
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                     Attachment, Cost Model, TY-
G-789
                     003010393




                     Email, "RE: HEB pricing", 04/21/2011,
G-790
                     TY-003063953




                     Email, "FW: Tyson alternate bird cut
G-791                040711 KFC BB Next Steps v4.pptx",
                     04/05/2013, TY-003093395




G-792                Attachment, Logo, TY-003093396




                     Attachment, PowerPoint deck with
G-793                supplier recommendations, TY-
                     003093397



                     Email, "RE: Church's Product
G-794                Evaluation Program - 2014",
                     01/03/2014, TY-003122711




                     Attachment, "Cost Model", TY-
G-795
                     003122713
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                     Email, "RE: 2-8 to 2-12 List",
G-796
                     05/21/2014, TY-003133021




                     Email, "Re: popeyes", 08/23/2017, TY-
G-797
                     003142027




                     Email, "RE: 8 Pce Competitors",
G-798
                     05/24/2016, TY-003173728




                     Email, "Re: popeyes", 08/23/2017, TY-
G-799
                     003194459




                     Email, "Re: popeyes", 08/23/2017, TY-
G-800
                     003223730




                     Email, "RE: KFC COB Next
G-801                Agreement", 08/23/2017, TY-
                     003223742




G-802                Attachment, Graphic, TY-003223747
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G-803                Attachment, Graphic, TY-003223748




                     Email, "FW: KFC COB Next
G-804                Agreement", 08/23/2017, TY-
                     003223749




G-805                Attachment, Graphic, TY-003223753




G-806                Attachment, Graphic, TY-003223754




                     Email, "Re: RSCS 2018 plan mtg",
G-807
                     01/19/2017, TY-003274464




G-808                Attachment, Graphic, TY-003274467




G-809                Attachment, Graphic, TY-003274468
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G-810                Attachment, Graphic, TY-003274469




G-811                Attachment, Graphic, TY-003274470




                     Meeting Invite, "RSCS SCA Project for
G-812
                     COB chicken", TY-003511875




                     Attachment, Supplier Questionnaire,
G-813
                     TY-003511878




                     Email, "FW: [EXTERNAL] - FW:
G-814                POPEYES 2018 bone-in RFP",
                     09/07/2017, TY-003551852




                     Meeting Invite, "Chick-fil-A Price
G-815
                     Model Discussion", TY-003648535




                     Meeting Invite, "Chick-fil-A Price
G-816
                     Model Discussion", TY-003648563
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                     Email, "FW: Tyson ABF Numbers",
G-817
                     04/30/2014, TY-003649802




                     Attachment, cost model, TY-
G-818
                     003649804




                     Email, "Fwd: Fill Rate by Customer
G-819                6.4.14.xlsx", 06/05/2014, TY-
                     003651899




                     Attachment, Mobile Record, TY-
G-820
                     003651901




G-821                Attachment, Logo, TY-003651902




                     Attachment, Mobile Record, TY-
G-822
                     003651903




                     Attachment, Fill Rate Spreadsheet, TY-
G-823
                     003651904
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                     Email, "FW: 2.8 to 2.12 WOG
G-824                Priorities.xlsx", 07/09/2014, TY-
                     003654214




                     Attachment, cost analysis, TY-
G-825
                     003654216




                     Email, "RE: Church's - Updated",
G-826
                     07/29/2014, TY-003655911




                     Meeting cancellation, "Canceled:
G-827                Regroup on KFC, Church's, Popeye's
                     Contracts", TY-003658034




                     Email, "RE: KFC COB from Tyson",
G-828
                     09/05/2014, TY-003659058




                     Email, "FW: KFC 2015 Fresh Chicken
G-829
                     Bid", 09/25/2014, TY-003659939




                     Attachment, cost model, TY-
G-830
                     003659941
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                     Attachment, cost model, TY-
G-831
                     003659942




                     Meeting invitation, "Regroup on KFC,
G-832                Church's, Popeye's Contracts", TY-
                     003661684



                     Email, "RE: Truck load deal Sysco
G-833                West Coast", 12/05/2012, TY-
                     003873640




                     Email, "Fwd: Tyson Poultry 2013 Bid
G-834
                     Offer #4", 12/21/2012, TY-003873798




                     Email, "RE: X053112 USF Reno
G-835                Pilgrim's Pride Mammoth Ski Resort",
                     10/18/2012, TY-003878466




                     Email, "RE: Pilgrims New Price List",
G-836
                     12/28/2011, TY-003891899




                     Email, "Fwd: Foodservice Notes
G-837                Monday Mtg Wk 45", 08/17/2014, TY-
                     004006916
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                     Attachment, Mobile Record, TY-
G-838
                     004006917




                     Attachment, Business Summary, TY-
G-839
                     004006918




                     Email, FW: GSA Fresh Protein Order
G-840                for 9/6/2014, 8/22/2014, TY-
                     004085257



                     Email, RE: GSA Fresh Protein Order
G-841                for 8/23/2014, 8/12/2014, TY-
                     004085378




                     Email, "Fwd: KFC COB from Tyson",
G-842
                     09/05/2014, TY-004086184




                     Attachment, Mobile Record, TY-
G-843
                     004086186




                     Attachment, Cost Model, TY-
G-844
                     004086187
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                     Email, "RE: Monett - Loss of King
G-845
                     Soopers", 02/19/2015, TY-004097688




G-846                Digital Device Records, TY-004127534




G-847                Digital Device Records, TY-004145098




G-848                Digital Device Records, TY-004145099




                     Email, "FW: R & R Tyson 3680 &
G-849                3681- Pilgrims Increase", 02/21/2013,
                     TY-004193464




                     Email, "FW: Fresh Chicken Bid 2016",
G-850
                     08/10/2015, TY-004229374




                     Attachment, "Customer Contract
G-851
                     Pricing Agreement", TY-004229375
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                     Attachment, Chicken Specifications,
G-852
                     TY-004229377




                     Attachment, Chicken Usage Data, TY-
G-853
                     004229379




                     Attachment, Buyer Commitment Letter,
G-854
                     TY-004229380




                     Email, "RE: RSCS 2018 plan mtg",
G-855
                     01/19/2017, TY-004260784




                     Live Weight Distribution Data, TY-
G-856
                     004345471




                     Email, "FW: PRICING", 05/09/2008,
G-857
                     TY-004508950




                     Attachment, Internal Pricing Process
G-858
                     Description, TY-004508952
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                     Attachment, Internal Pricing Process
G-859
                     Description, TY-004508953




                     Email, "RE: Asian Chao--Orange
G-860
                     Chicken", 11/05/2013, TY-004526785




                     Email, "FW: Golden Corral",
G-861
                     11/11/2014, TY-004529182




                     Attachment, Customer Pricing
G-862
                     Agreement, TY-004529183




                     Email, "FW: Church's Chicken QA
G-863                Requirements 2014", 12/24/2013, TY-
                     004529748




                     Attachment, Mobile Record, TY-
G-864
                     004529750




                     Attachment, Buyer Commitment Letter,
G-865
                     TY-004529751
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                     Attachment, Mobile Record, TY-
G-866
                     004529752




                     Attachment, Buyer Commitment Letter,
G-867
                     TY-004529753




                     Attachment, Mobile Record, TY-
G-868
                     004529754




G-869                Attachment, Logo, TY-004529755




                     Email, "RE: Church's Product
G-870                Evaluation Program - 2014",
                     01/03/2014, TY-004529758



                     Email, "RE: Church's Chicken QA
G-871                Requirements 2014", 01/21/2014, TY-
                     004529768




                     Attachment, Cost Model, TY-
G-872
                     004529771
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                     Email, "RE: Church's Chicken QA
G-873                Requirements 2014", 01/20/2014, TY-
                     004594583




                     Email, "RE: Church's QA Cost",
G-874
                     04/14/2014, TY-004597734




                     Email, "RE: Church's QA Cost",
G-875
                     04/14/2014, TY-004597735




                     Email, "RE: KFC COB Cost Model for
G-876
                     2015", 06/10/2014, TY-004598257




                     Email, "RE: KFC COB Cost Model for
G-877
                     2015", 06/10/2014, TY-004598624




                     Email, "FW: P7 Pricing/Change In
G-878                Sourcing Fee", 06/09/2014, TY-
                     004598849




                     Email, "Re: KFC Pricing Updated",
G-879
                     08/21/2014, TY-004600410
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                     Email, "RE: Tyson Chicken Tenderloin
G-880
                     #699765", 04/19/2010, TY-004781182




                     Attachment, contact list, TY-
G-881
                     004781186




                     Email, "FW: Church's Chicken QA
G-882                Requirements 2014", 12/26/2013, TY-
                     004850295




                     Attachment, mobile record, TY-
G-883
                     004850297




                     Attachment, Church's Letter, TY-
G-884
                     004850298




                     Attachment, mobile record, TY-
G-885
                     004850299




                     Attachment, Church's Letter, TY-
G-886
                     004850300
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                     Attachment, mobile record, TY-
G-887
                     004850301




G-888                Attachment, logo, TY-004850302




                     Email, "FW: KFC Pricing Period 1
G-889
                     2015", 12/17/2014, TY-005058502




                     Attachment, cost model, TY-
G-890
                     005058505




                     Email, "FW: Church's Frozen 8pc and
G-891                Dark Meat for Hawaii", 10/02/2013,
                     TY-005079220



                     Email, "Fwd: Church's Frozen 8pc and
G-892                Dark Meat-Tyson", 10/02/2013, TY-
                     005079223




                     Attachment, mobile record, TY-
G-893
                     005079225
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                     Attachment, product specifications, TY-
G-894
                     005079226




                     Attachment, mobile record, TY-
G-895
                     005079230




                     Attachment, product specifications, TY-
G-896
                     005079231




                     Email, "FW: Church's Frozen Chicken",
G-897
                     10/02/2013, TY-005079235




                     Attachment mobile record, TY-
G-898
                     005079237




                     Attachment, product specifications, TY-
G-899
                     005079238




                     Attachment, mobile record, TY-
G-900
                     005079242
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                     Attachment, product specifications, TY-
G-901
                     005079243




                     Email, "Re: Frozen 8pc & Dark Meat
G-902                for Church's", 10/02/2013, TY-
                     005079247




G-903                Attachment, logo, TY-005079249




G-904                Attachment, logo, TY-005079250




                     Email, "Memo from Donnie Smith | The
G-905                Hillshire Brands Company Merger",
                     07/02/2014, TY-005089292



                     Attachment, Press Release on Tyson
G-906                Acquisition of Hillshire Farms, TY-
                     005089294




                     Email, "RE: KFC 2015 Fresh Chicken
G-907
                     Bid", 09/26/2014, TY-005090550
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                     Email, "POPEYE'S PRICING
G-908                JANUARY 2018", 12/28/2017, TY-
                     005158102




                     Attachment, cost model, TY-
G-909
                     005158103




                     Attachment, cost model, TY-
G-910
                     005158104




                     Email, "FW: Church's Chicken QA
G-911                Requirements 2014", 12/23/2013, TY-
                     005203723




                     Attachment, mobile record, TY-
G-912
                     005203725




                     Attachment, Church's letter, TY-
G-913
                     005203726




                     Attachment, mobile record, TY-
G-914
                     005203727
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                     Attachment, Church's letter, TY-
G-915
                     005203728




G-916                Attachment, logo, TY-005203729




                     Email, "RE: Purple label guidance for
G-917
                     2015", 02/19/2015, TY-005217871




                     Attachment, product data sheet, TY-
G-918
                     005217873




                     Attachment, cost model, TY-
G-919
                     005217874




                     Email, "Fwd: Tyson Foods - Hillshire
G-920                News Release", 06/09/2014, TY-
                     005261497




                     Attachment, mobile record, TY-
G-921
                     005261498
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                     Attachment, press release, TY-
G-922
                     005261499


                     Document dated 6/9/2014 and entitled
                     “Following Conclusion of Bidding
                     Process, Tyson Foods Submits
G-923
                     Unilaterally Binding Offer to Acquire
                     Hillshire Brands for $8.55 Billion in
                     Cash”, TY-005261499


                     Email, "RE: 3 Year Strat Plan",
G-924
                     08/17/2011, TY-005291546




                     Email, "FW: KFC 3'0 - 3'4 Pricing",
G-925
                     05/22/2014, TY-005351328




                     Attachment, Cost Model, TY-
G-926
                     005351330




                     Email, "Fwd: CFA Call", 08/08/2014,
G-927
                     TY-005356268




                     Email, "Re: CFA Call", 08/08/2014, TY-
G-928
                     005356269
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                     Email, "Re: CFA Call", 08/08/2014, TY-
G-929
                     005356271




                     Email, "Copy of Weekly notes WK45
G-930
                     (2).xlsx", 08/15/2014, TY-005356703




                     Attachment, Customer Update List, TY-
G-931
                     005356704




                     Email, "Wendy's Recap", 10/03/2014,
G-932
                     TY-005360135




                     Email, "FW: Current Visit Agenda",
G-933
                     04/18/2013, TY-005415154




                     Attachment, Organizational Chart, TY-
G-934
                     005415157




                     Meeting Invite, "Popeyes 2018 8 pc
G-935
                     pricing - Internal Call", TY-005505425
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                     Email re: Collaboration Meetings –
G-936                National Accounts – Small Bird-VA
                     BU, TY-005605135



                     Email, "FW: Church's Chicken QA
G-937                Requirements 2014", 12/24/2013, TY-
                     005693695




                     Attachment, Mobile Record, TY-
G-938
                     005693697




                     Attachment, Letter Regarding Quality
G-939
                     Program, TY-005693698




                     Attachment, Mobile Record, TY-
G-940
                     005693699




                     Attachment, Letter Regarding Quality
G-941
                     Program, TY-005693700




                     Email, "Fwd: KFC", 05/02/2014, TY-
G-942
                     005694877
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                     Email, "FW: Tyson/QSCC Follow-up",
G-943
                     06/26/2014, TY-005695394




                     Email, "RE: Tyson/QSCC Follow Up",
G-944
                     07/03/2014, TY-005695480




G-945                Performance Review, TY-005854673




                     Email, "Fwd: Bavarian Inn",
G-946
                     07/20/2005, TY-005859902




                     Email, "FW: Dates on truck",
G-947
                     12/13/2002, TY-005862876




                     Email, "FW: Shorted Chicken Orders",
G-948
                     07/05/2001, TY-005869233




                     Email, "Noel Template for
G-949                Answers.xlsx", 08/01/2014, TY-
                     006125005
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                     Customer Update Inventory, TY-
G-950
                     006125006




G-951                Digital Device Records, TY-006312943




G-952                Digital Device Records, TY-006312944




G-953                Digital Device Records, TY-006312945




G-954                Digital Device Records, TY-006312946




G-955                Digital Device Records, TY-006312947




G-956                Digital Device Records, TY-006312948
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                     Email, "Notes", 05/09/2014, TY-
G-957
                     006432002




                     Email, "RE: 2.8 to 2.12 WOG
G-958                Priorities.xlsx", 07/10/2014, TY-
                     006438976




                     Email, "Fwd: CFA Call", 08/08/2014,
G-959
                     TY-006440619




G-960                Digital Device Records, TY-006548341




                     Email, "weekly report 08/03 to 08/09",
G-961
                     08/08/2014, TY-006669245




                     Attachment, Transactional Data, TY-
G-962
                     006669246




                     Email, "Weekly Report 12/21 to 12/27",
G-963
                     12/26/2014, TY-006680233
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                     Attachment, Transactional Data, TY-
G-964
                     006680234




                     Email, "Weekly Report 11/02 to 11/08",
G-965
                     11/07/2014, TY-006684506




                     Attachment, Transactional Data, TY-
G-966
                     006684507




                     Email, "127 loads- weekly Report 10/12
G-967
                     to 10/18", 10/17/2014, TY-006689015




                     Attachment, Transactional Data, TY-
G-968
                     006689016




                     Email, "Weekly Report 12/28 to 01/03",
G-969
                     01/02/2015, TY-006693172




                     Attachment, Transactional Data, TY-
G-970
                     006693173
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G-971                Transactional Data, TY-006699422




G-972                Transactional Data, TY-006699532




G-973                Transactional Data, TY-006699774




G-974                Transactional Data, TY-006699943




G-975                Transactional Data, TY-006700325




                     Email, "Weekly Report 11/09 to 11/15",
G-976
                     11/14/2014, TY-006700974




                     Attachment, Transactional Data, TY-
G-977
                     006700975
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G-978                Transactional Data, TY-006701016




                     Email, "Weekly Report 01/04 to 01/10",
G-979
                     01/09/2015, TY-006702022




                     Attachment, Transactional Data, TY-
G-980
                     006702023




                     Email, "Weekly Report 02/01 to 02/07",
G-981
                     02/06/2015, TY-006704156




                     Attachment, Transactional Data, TY-
G-982
                     006704157




                     Email, "weekly report 02/01 to
G-983                02/07**** REVISED", 02/06/2015, TY-
                     006704166




                     Attachment, Transactional Data, TY-
G-984
                     006704167
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                     Email, "Weekly Report 07/20 to 07/26",
G-985
                     07/18/2014, TY-006704676




                     Attachment, Transactional Data, TY-
G-986
                     006704677




                     Email, "Weekly Report 12/14 to 12/20",
G-987
                     12/19/2014, TY-006710194




                     Attachment, Transactional Data, TY-
G-988
                     006710195




                     Email, "export.xlsb", 11/19/2014, TY-
G-989
                     006710415




                     Attachment, Transactional Data, TY-
G-990
                     006710416




                     Email, "WEEKLY REPORT 01/18 TO
G-991
                     01/24", 01/23/2015, TY-006711969
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                     Attachment, Transactional Data, TY-
G-992
                     006711970




                     Email, "Weekly Report 02/08 to 02/14",
G-993
                     02/13/2015, TY-006714018




                     Attachment, Transactional Data, TY-
G-994
                     006714019




                     Email, "Weekly Report 01/25 to 01/31",
G-995
                     01/30/2015, TY-006714237




                     Attachment, Transactional Data, TY-
G-996
                     006714238




                     Email, "Weekly Report 11/23 to 11/29",
G-997
                     11/26/2014, TY-006715102




                     Attachment, Transactional Data, TY-
G-998
                     006715103
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                      Email, "Weekly Report 02/15 to 02/21",
G-999
                      02/20/2015, TY-006718298




                      Attachment, Transactional Data, TY-
H-001
                      006718299




                      Email, "Weekly Report 11/30 to 12/06",
H-002
                      12/05/2014, TY-006718711




                      Attachment, Transactional Data, TY-
H-003
                      006718712




                      Email, "Weekly Report 03/08 to 03/14",
H-004
                      03/16/2015, TY-006719863




                      Attachment, Transactional Data, TY-
H-005
                      006719864




                      Email, "Weekly Report 02/22 to 02/28",
H-006
                      02/27/2015, TY-006720591
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                      Attachment, Transactional Data, TY-
H-007
                      006720592




                      Email, "Weekly Report 03/29 to 04/04",
H-008
                      04/06/2015, TY-006722199




                      Attachment, Transactional Data, TY-
H-009
                      006722200




                      Email, "Weekly Report 04/05 to 04/11",
H-010
                      04/10/2015, TY-006728019




                      Attachment, Transactional Data, TY-
H-011
                      006728020




H-012                 Handwritten notes, TY-007000988




H-013                 Handwritten notes, TY-007001128
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                      Timothy Mulrenin Employment
H-014
                      information, TY-007001648




                      Timothy Mulrenin Employment
H-015
                      information, TY-007001668




                      Timothy Mulrenin Employment
H-016
                      information, TY-007001670




                      Timothy Mulrenin Employment
H-017
                      information, TY-007001672




                      Timothy Mulrenin Employment
H-018
                      information, TY-007001675




                      Timothy Mulrenin Employment
H-019
                      information, TY-007001698




                      Timothy Mulrenin Employment
H-020
                      information, TY-007001701
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                      Timothy Mulrenin Employment
H-021
                      information, TY-007001704




                      Timothy Mulrenin Employment
H-022
                      information, TY-007001705




                      Timothy Mulrenin Employment
H-023
                      information, TY-007001706




                      Timothy Mulrenin Employment
H-024
                      information, TY-007001708




                      Verizon Toll Records, VERIZON-
H-025
                      ATR001-00000001




                      Verizon Toll Records, VERIZON-
H-026
                      ATR002-00000001




                      Verizon Records, VERIZON-ATR003-
H-027
                      00000001
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                      Verizon Records, VERIZON-ATR003-
H-028
                      00000054




                      Verizon Records, VERIZON-ATR003-
H-029
                      00000062




                      Verizon Records, VERIZON-ATR003-
H-030
                      00000068




                      Verizon Records, VERIZON-ATR003-
H-031
                      00000072




                      Verizon Records, VERIZON-ATR004-
H-032
                      00000001




                      Verizon Records, VERIZON-ATR004-
H-033
                      00000002




                      Verizon Records, VERIZON-ATR004-
H-034
                      00000017
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                      Verizon Records, VERIZON-ATR004-
H-035
                      00000018




                      Verizon Phone Record, VERIZON-
H-036
                      ATR004-00000020




                      Verizon Subpoena Response, VZN-
H-037
                      DEFS-0000000001




                      Verizon Phone Records, VZN-DEFS-
H-038
                      0000000003




                      Verizon Phone Records, VZN-DEFS-
H-039
                      0000000619




                      Verizon Phone Records, VZN-DEFS-
H-040
                      0000001464




                      Verizon Phone Records, VZN-DEFS-
H-041
                      0000001896
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                      Verizon Phone Records, VZN-DEFS-
H-042
                      0000002130




                      Verizon Subpoena Materials, VZN-
H-043
                      DEFS-0000002148




                      Verizon Subpoena Materials, VZN-
H-044
                      DEFS-0000002159




                      Verizon Subpoena Materials, VZN-
H-045
                      DEFS-0000002160




                      Verizon Subpoena Materials, VZN-
H-046
                      DEFS-0000002161




                      Verizon Subpoena Materials, VZN-
H-047
                      DEFS-0000002162




                      Verizon Subpoena Materials, VZN-
H-048
                      DEFS-0000002163
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                      Verizon Subpoena Materials, VZN-
H-049
                      DEFS-0000002164




                      Verizon Subpoena Materials, VZN-
H-050
                      DEFS-0000002165




                      Verizon Subpoena Materials, VZN-
H-051
                      DEFS-0000002166




                      Verizon Subpoena Materials, VZN-
H-052
                      DEFS-0000002167




                      Verizon Subpoena Materials, VZN-
H-053
                      DEFS-0000002168




                      Verizon Subpoena Materials, VZN-
H-054
                      DEFS-0000002169




                      Verizon Subpoena Materials, VZN-
H-055
                      DEFS-0000002170
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                      Verizon Subpoena Materials, VZN-
H-056
                      DEFS-0000002171




                      Verizon Proof of Service, VZN-DEFS-
H-057
                      0000002172




                      Verizon Subpoena Materials, VZN-
H-058
                      DEFS-0000002173




                      Verizon Toll Records, VZW-ATR001-
H-059
                      00000001




                      Verizon Toll Records, VZW-ATR001-
H-060
                      00000263




                      Verizon Phone Records, VZW-ATR001-
H-061
                      00000630




                      Verizon Phone Records, VZW-ATR001-
H-062
                      00001257
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                      Verizon Toll Records, VZW-ATR001-
H-063
                      00002007




                      Verizon Toll Records, VZW-ATR001-
H-064
                      00002913




                      Verizon Toll Records, VZW-ATR001-
H-065
                      00002972




                      Verizon Toll Records, VZW-ATR001-
H-066
                      00002975




                      Verizon Toll Records, VZW-ATR001-
H-067
                      00004200




                      Verizon Toll Record, VZW-ATR001-
H-068
                      00004977




                      Verizon Toll Records, VZW-ATR001-
H-069
                      00005553
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                      Verizon Toll Records, VZW-ATR001-
H-070
                      00006260




                      Verizon Toll Records, VZW-ATR001-
H-071
                      00006978




                      Verizon Toll Records, VZW-ATR001-
H-072
                      00008252




                      Verizon Phone Records, VZW-ATR001-
H-073
                      00009436




                      Verizon Toll Records, VZW-ATR001-
H-074
                      00010335




                      Verizon Toll Records, VZW-ATR001-
H-075
                      00010784




                      Verizon Toll Records, VZW-ATR001-
H-076
                      00011221
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                      Verizon Toll Records, VZW-ATR001-
H-077
                      00011457




                      Verizon Records, VZW-ATR003-
H-078
                      00000018




                      Verizon Toll Records, VZW-ATR004-
H-079
                      00000001




                      Verizon Toll Records, VZW-ATR004-
H-080
                      00000263




                      Verizon Toll Records, VZW-ATR004-
H-081
                      00000630




                      Verizon Phone Records, VZW-ATR004-
H-082
                      00001257




                      Verizon Phone Records, VZW-ATR004-
H-083
                      00002007
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                      Verizon Toll Records, VZW-ATR004-
H-084
                      00002913




                      Verizon Toll Records, VZW-ATR004-
H-085
                      00002972




                      Verizon Toll Records, VZW-ATR004-
H-086
                      00002975




                      Verizon Toll Records, VZW-ATR004-
H-087
                      00004200




                      Verizon Toll Records, VZW-ATR004-
H-088
                      00004977




                      Verizon Toll Records, VZW-ATR004-
H-089
                      00005553




                      Verizon Toll Records, VZW-ATR004-
H-090
                      00006260
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                      Verizon Toll Records, VZW-ATR004-
H-091
                      00006978




                      Verizon Toll Records, VZW-ATR004-
H-092
                      00008252




                      Verizon Toll Records, VZW-ATR004-
H-093
                      00009436




                      Verizon Toll Records, VZW-ATR004-
H-094
                      00010335




                      Verizon Toll Records, VZW-ATR004-
H-095
                      00010608




                      Verizon Toll Records, VZW-ATR004-
H-096
                      00010784




                      Verizon Toll Records, VZW-ATR004-
H-097
                      00011221
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                      Verizon Toll Records, VZW-ATR004-
H-098
                      00011457




                      Verizon Toll Records, VZW-ATR004-
H-099
                      00011992




                      Verizon Records, VZW-ATR005-
H-100
                      00000034




                      Verizon Records, VZW-ATR005-
H-101
                      00000060




                      Verizon Records, VZW-ATR005-
H-102
                      00000074




                      Verizon Records, VZW-ATR005-
H-103
                      00000217




                      Verizon Records, VZW-ATR005-
H-104
                      00000246
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                      Verizon Records, VZW-ATR005-
H-105
                      00000262




                      Verizon Records, VZW-ATR005-
H-106
                      00000291




                      Verizon Records, VZW-ATR005-
H-107
                      00000457




                      Verizon Records, VZW-ATR005-
H-108
                      00000624




                      Verizon Records, VZW-ATR005-
H-109
                      00001546




                      Verizon Records, VZW-ATR005-
H-110
                      00001720




                      Verizon Records, VZW-ATR005-
H-111
                      00001913
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                      Verizon Records, VZW-ATR005-
H-112
                      00001959




                      Verizon Records, VZW-ATR005-
H-113
                      00002072




                      Verizon Records, VZW-ATR005-
H-114
                      00002322




                      Verizon Records, VZW-ATR005-
H-115
                      00002638




                      Verizon Records, VZW-ATR005-
H-116
                      00002708




                      Verizon Records, VZW-ATR005-
H-117
                      00002724




                      Verizon Records, VZW-ATR005-
H-118
                      00002755
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                      Verizon Records, VZW-ATR005-
H-119
                      00002772




                      Verizon Records, VZW-ATR005-
H-120
                      00003736




                      Verizon Records, VZW-ATR005-
H-121
                      00003744




                      Verizon Records, VZW-ATR005-
H-122
                      00003820




                      Verizon Records, VZW-ATR005-
H-123
                      00003952




                      Verizon Records, VZW-ATR005-
H-124
                      00004062




                      Verizon Records, VZW-ATR005-
H-125
                      00004076
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                      Verizon Records, VZW-ATR005-
H-126
                      00004477




                      Verizon Records, VZW-ATR005-
H-127
                      00004581




                      Verizon Records, VZW-ATR005-
H-128
                      00004589




                      Verizon Records, VZW-ATR005-
H-129
                      00004599




                      Verizon Records, VZW-ATR005-
H-130
                      00004609




                      Verizon Records, VZW-ATR005-
H-131
                      00004630




                      Verizon Records, VZW-ATR005-
H-132
                      00004668
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                      Verizon Records, VZW-ATR005-
H-133
                      00004768




                      Verizon Records, VZW-ATR005-
H-134
                      00004769




                      Verizon Records, VZW-ATR005-
H-135
                      00004825




                      Verizon Records, VZW-ATR005-
H-136
                      00004878




                      Verizon Records, VZW-ATR005-
H-137
                      00005288




                      Verizon Records, VZW-ATR005-
H-138
                      00005361




                      Verizon Records, VZW-ATR005-
H-139
                      00005366
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                      Verizon Records, VZW-ATR005-
H-140
                      00005371




                      Verizon Records, VZW-ATR005-
H-141
                      00005888




                      Verizon Records, VZW-ATR005-
H-142
                      00006041




                      Verizon Records, VZW-ATR005-
H-143
                      00006064




                      Verizon Records, VZW-ATR005-
H-144
                      00006071




                      Verizon Records, VZW-ATR005-
H-145
                      00006088




                      Verizon Records, VZW-ATR005-
H-146
                      00006095
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                      Verizon Records, VZW-ATR005-
H-147
                      00006240




                      Verizon Records, VZW-ATR005-
H-148
                      00006360




                      Verizon Records, VZW-ATR005-
H-149
                      00006365




                      Verizon Toll Records, VZW-ATR009-
H-150
                      00000001




                      Verizon Toll Records, VZW-ATR009-
H-151
                      00000695




                      Verizon Toll Records, VZW-ATR009-
H-152
                      00000744




                      Verizon Records, VZW-ATR009-
H-153
                      00001542
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                      Verizon Records, VZW-ATR009-
H-154
                      00001543




                      Verizon Records, VZW-ATR009-
H-155
                      00001544




                      Verizon Records, VZW-ATR009-
H-156
                      00001545




                      Verizon Records, VZW-ATR009-
H-157
                      00001554




                      Verizon Records, VZW-ATR009-
H-158
                      00001555




                      Verizon Records, VZW-ATR009-
H-159
                      00001556




                      Verizon Records, VZW-ATR009-
H-160
                      00001557
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                      Verizon Toll Records, VZW-ATR010-
H-161
                      00000004




                      Verizon Toll Records, VZW-ATR010-
H-162
                      00000130




                      Verizon Toll Records, VZW-ATR010-
H-163
                      00000391




                      Verizon Toll Records, VZW-ATR010-
H-164
                      00000402




                      Verizon Toll Records, VZW-ATR010-
H-165
                      00000560




                      Verizon Toll Records, VZW-ATR010-
H-166
                      00001422




                      Verizon Records, VZW-ATR010-
H-167
                      00001467
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                      Verizon Records, VZW-ATR010-
H-168
                      00001468




                      Verizon Records, VZW-ATR010-
H-169
                      00001469




                      Verizon Records, VZW-ATR010-
H-170
                      00001470




                      Verizon Records, VZW-ATR010-
H-171
                      00001483




                      Verizon Records, VZW-ATR010-
H-172
                      00001484




                      Verizon Records, VZW-ATR010-
H-173
                      00001485




                      Verizon Toll Records, VZW-ATR011-
H-174
                      00000001
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                      Verizon Toll Records, VZW-ATR011-
H-175
                      00000774




                      Verizon Toll Records, VZW-ATR011-
H-176
                      00001017




                      Verizon Toll Records, VZW-ATR011-
H-177
                      00002183




                      Verizon Toll Records, VZW-ATR011-
H-178
                      00003026




                      Verizon Toll Records, VZW-ATR011-
H-179
                      00005008




                      Verizon Records, VZW-ATR011-
H-180
                      00005358




                      Verizon Records, VZW-ATR011-
H-181
                      00005365
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                      Verizon Records Interpretation, VZW-
H-182
                      ATR012-00000001




                      Verizon Records Interpretation, VZW-
H-183
                      ATR012-00000002




                      Verizon Records, VZW-ATR013-
H-184
                      00000002




                      Verizon Records, VZW-ATR013-
H-185
                      00000007




                      Verizon Records, VZW-ATR013-
H-186
                      00000015




                      Verizon Records, VZW-ATR013-
H-187
                      00000814




                      Verizon Records, VZW-ATR013-
H-188
                      00000819
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                      Verizon Records, VZW-ATR014-
H-189
                      00000001




                      Verizon Records, VZW-ATR014-
H-190
                      00000559




                      Verizon Records, VZW-ATR014-
H-191
                      00001134




                      Verizon Records, VZW-ATR014-
H-192
                      00001168




                      Verizon Records, VZW-ATR015-
H-193
                      00000001




                      Verizon Records, VZW-ATR015-
H-194
                      00000003




                      Verizon Records, VZW-ATR015-
H-195
                      00000009
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                      Verizon Records, VZW-ATR015-
H-196
                      00000010




                      Verizon Records, VZW-ATR015-
H-197
                      00000012




                      Verizon Records, VZW-ATR015-
H-198
                      00000241




                      Verizon Records, VZW-ATR015-
H-199
                      00000242




                      Verizon Records, VZW-ATR015-
H-200
                      00000243




                      Verizon Records, VZW-ATR015-
H-201
                      00000244




                      Verizon Records, VZW-ATR015-
H-202
                      00000245
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                      Verizon Records, VZW-ATR015-
H-203
                      00000353




                      Verizon Records, VZW-ATR015-
H-204
                      00000354




                      Verizon Records, VZW-ATR015-
H-205
                      00000355




                      Verizon Records, VZW-ATR015-
H-206
                      00000356




                      Verizon Records, VZW-ATR015-
H-207
                      00000357




                      Verizon Records, VZW-ATR015-
H-208
                      00000360




                      Verizon Records, VZW-ATR015-
H-209
                      00000474
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                      Verizon Toll Records, VZW-ATR015-
H-210
                      00000475




                      Verizon Toll Records, VZW-ATR015-
H-211
                      00000493




                      Verizon Toll Records, VZW-ATR015-
H-212
                      00000510




                      Verizon Toll Records, VZW-ATR015-
H-213
                      00000530




                      Verizon Toll Records, VZW-ATR015-
H-214
                      00000548




                      Verizon Toll Records, VZW-ATR015-
H-215
                      00000566




                      Verizon Toll Records, VZW-ATR015-
H-216
                      00000584
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                      Verizon Toll Records, VZW-ATR015-
H-217
                      00000604




                      Verizon Toll Records, VZW-ATR015-
H-218
                      00000624




                      Verizon Toll Records, VZW-ATR015-
H-219
                      00000645




                      Verizon Toll Records, VZW-ATR015-
H-220
                      00000664




                      Verizon Toll Records, VZW-ATR015-
H-221
                      00000682




                      Verizon Toll Records, VZW-ATR015-
H-222
                      00000698




                      Verizon Toll Records, VZW-ATR015-
H-223
                      00000715
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                      Verizon Toll Records, VZW-ATR015-
H-224
                      00000736




                      Verizon Toll Records, VZW-ATR015-
H-225
                      00000754




                      Verizon Toll Records, VZW-ATR015-
H-226
                      00000771




                      Verizon Toll Records, VZW-ATR015-
H-227
                      00000786




                      Verizon Toll Records, VZW-ATR015-
H-228
                      00000804




                      Verizon Toll Records, VZW-ATR015-
H-229
                      00000822




                      Verizon Toll Records, VZW-ATR015-
H-230
                      00000842
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                      Verizon Toll Records, VZW-ATR015-
H-231
                      00000858




                      Verizon Toll Records, VZW-ATR015-
H-232
                      00000873




                      Verizon Toll Records, VZW-ATR015-
H-233
                      00000893




                      Verizon Toll Records, VZW-ATR015-
H-234
                      00000909




                      Verizon Toll Records, VZW-ATR015-
H-235
                      00000926




                      Verizon Toll Records, VZW-ATR015-
H-236
                      00000945




                      Verizon Toll Records, VZW-ATR015-
H-237
                      00000968
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                      Verizon Toll Records, VZW-ATR015-
H-238
                      00000990




                      Verizon Toll Records, VZW-ATR015-
H-239
                      00001013




                      Verizon Toll Records, VZW-ATR015-
H-240
                      00001033




                      Verizon Toll Records, VZW-ATR015-
H-241
                      00001053




                      Verizon Toll Records, VZW-ATR015-
H-242
                      00001073




                      Verizon Toll Records, VZW-ATR015-
H-243
                      00001093




                      Verizon Toll Records, VZW-ATR015-
H-244
                      00001115
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                      Verizon Toll Records, VZW-ATR015-
H-245
                      00001134




                      Verizon Toll Records, VZW-ATR015-
H-246
                      00001154




                      Verizon Toll Records, VZW-ATR015-
H-247
                      00001174




                      Verizon Toll Records, VZW-ATR015-
H-248
                      00001196




                      Verizon Toll Records, VZW-ATR015-
H-249
                      00001219




                      Verizon Toll Records, VZW-ATR015-
H-250
                      00001241




                      Verizon Toll Records, VZW-ATR015-
H-251
                      00001264
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Exhibit   Witness               Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only


                      Verizon Records, VZW-ATR015-
H-252
                      00001288




                      Verizon Records, VZW-ATR015-
H-253
                      00001289




                      Verizon Records, VZW-ATR015-
H-254
                      00001290




                      Verizon Records Interpretation, VZW-
H-255
                      ATR015-00001398




                      Verizon Records Interpretation, VZW-
H-256
                      ATR015-00001399




                      Verizon Records Interpretation, VZW-
H-257
                      ATR015-00001402




                      Verizon Records Interpretation, VZW-
H-258
                      ATR015-00001403
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                      Verizon Records, VZW-ATR015-
H-259
                      00001404




                      Verizon Records, VZW-ATR015-
H-260
                      00001405




                      Verizon Records, VZW-ATR015-
H-261
                      00001406




                      Verizon Records, VZW-ATR015-
H-262
                      00001407




                      Verizon Records, VZW-ATR015-
H-263
                      00001409




                      Verizon Records, VZW-ATR015-
H-264
                      00001410




                      Verizon Records Interpretation, VZW-
H-265
                      ATR015-00001412
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                      Verizon Records, VZW-ATR015-
H-266
                      00001413




                      Verizon Records, VZW-ATR015-
H-267
                      00001414




                      Verizon Records, VZW-ATR015-
H-268
                      00001528




                      Digital Device Records, WF-
H-269
                      0001281492




                      Digital Device Records, WF-
H-270
                      0001281493




                      Digital Device Records, WF-
H-271
                      0001281494




                      Digital Device Records, WF-
H-272
                      0001281495
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                      Digital Device Records, WF-
H-273
                      0001281496




                      Digital Device Records, WF-
H-274
                      0001281497




                      Digital Device Records, WF-
H-275
                      0001281498




                      Digital Device Records, WF-
H-276
                      0001281499




                      Digital Device Records, WF-
H-277
                      0001281500




                      Digital Device Records, WF-
H-278
                      0001281501




                      Digital Device Records, WF-
H-279
                      0001281502
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Exhibit   Witness               Brief Description   Stipulation   Offered   Admitted   Refused   Court Use Only


                      Digital Device Records, WF-
H-280
                      0001281503




                      Digital Device Records, WF-
H-281
                      0001281504




                      Digital Device Records, WF-
H-282
                      0001281505




                      Digital Device Records, WF-
H-283
                      0001281506




                      Digital Device Records, WF-
H-284
                      0001281507




                      Digital Device Records, WF-
H-285
                      0001281508




                      Digital Device Records, WF-
H-286
                      0001281509
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                      Digital Device Records, WF-
H-287
                      0001281510




                      Digital Device Records, WF-
H-288
                      0001281511




                      Digital Device Records, WF-
H-289
                      0001281512




                      Digital Device Records, WF-
H-290
                      0001281513




                      Digital Device Records, WF-
H-291
                      0001281514




                      Digital Device Records, WF-
H-292
                      0001281515




                      Digital Device Records, WF-
H-293
                      0001281516
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Exhibit   Witness               Brief Description   Stipulation   Offered   Admitted   Refused   Court Use Only


                      Digital Device Records, WF-
H-294
                      0001281517




                      Digital Device Records, WF-
H-295
                      0001281518




                      Digital Device Records, WF-
H-296
                      0001281519




                      Digital Device Records, WF-
H-297
                      0001281520




                      Digital Device Records, WF-
H-298
                      0001281521




                      Digital Device Records, WF-
H-299
                      0001281522




                      Digital Device Records, WF-
H-300
                      0001281523
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                      Digital Device Records, WF-
H-301
                      0001281524




                      Digital Device Records, WF-
H-302
                      0001407454




                      Digital Device Records, WF-
H-303
                      0001407455




                      Digital Device Records, WF-DOJ-
H-304
                      0746510




                      Digital Device Records, WF-DOJ-
H-305
                      0746511




                      Digital Device Records, WF-DOJ-
H-306
                      0746512




                      Email, "Proposed Nugget Spec",
H-307
                      06/25/2015, WF-DOJ-1440112
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1044 of 1105

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                      Digital Device Records, WF-DOJ-
H-308
                      1461949




                      Digital Device Records, WF-DOJ-
H-309
                      1461950




                      Windstream Toll Records, Windstream-
H-310
                      ATR003-00000001




                      Email, "RE: Pilgrim-s frozen tenders--
H-311                 PFG code 389752", 09/04/2014, zaxbys
                      0204443




                      Any exhibits necessary for rebuttal or
H-312
                      impeachment




                      All exhibits identified by the
H-313
                      government




H-314                 Any FRE 1006 Summary Exhibits
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Exhibit   Witness                Brief Description             Stipulation   Offered   Admitted   Refused   Court Use Only


                      All exhibits to be produced at trial
H-315
                      pursuant to subpoenas




H-316                 Curriculum Vitae of Joseph Pochron




H-317                 Curriculum Vitae of Edward Snyder




H-318                 Curriculum Vitae of Paul Sinowitz




H-319                 Curriculum Vitae of Mark Chambers




H-320                 Curriculum Vitae of Aparna Sengupta




                      Form 10K, Sanderson Farms,
                      https://www.sec.gov/Archives/edgar/dat
H-321
                      a/812128/000081212815000014/safm-
                      20151031x10k.htm, 10/31/2015,
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1046 of 1105

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Exhibit   Witness                Brief Description         Stipulation   Offered   Admitted   Refused   Court Use Only

                      Email, "Jimmie Little," 9/22/2016,
H-322                 PILGRIMS-17C_SUBPOENA-
                      0000000001



                      Email, "Automatic reply: Test,"
H-323                 10/1/2016, PILGRIMS-
                      17C_SUBPOENA-0000000028




                      T-Mobile subpoena correspondence,
H-324
                      TMOB-DEFS-0000000028




                      T-Mobile phone records, TMOB-DEFS-
H-325
                      0000000035




                      T-Mobile phone records, TMOB-DEFS-
H-326
                      0000000115




                      T-Mobile phone records, TMOB-DEFS-
H-327
                      0000000193




                      T-Mobile phone records, TMOB-DEFS-
H-328
                      0000000266
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                      T-Mobile phone records, TMOB-DEFS-
H-329
                      0000000349




                      T-Mobile phone records, TMOB-DEFS-
H-330
                      0000000434




                      T-Mobile subpoena correspondence,
H-331
                      TMOB-DEFS-0000000463




                      T-Mobile subpoena correspondence,
H-332
                      TMOB-DEFS-0000000464




                      T-Mobile subpoena correspondence,
H-333
                      TMOB-DEFS-0000000466




                      Key Performance Indicators,
H-334
                      PILGRIMS-DOJ-0004234436




                      Key Performance Indicators,
H-335
                      PILGRIMS-DOJ-0004506142
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                      Key Performance Indicators,
H-336
                      PILGRIMS-DOJ-0004506410




                      Key Performance Indicators,
H-337
                      PILGRIMS-DOJ-0004506409




                      Organizational Charts and Materials,
H-338                 PILGRIMS-17C_SUBPOENA-
                      0000001235 – 1412



                      Sales and Purchase Data, 2012-2019,
H-339                 PILGRIMS-17C_SUBPOENA-
                      0000000046



                      Email, “RE: Bulk BS Breast,”
H-340                 11/27/2011, PILGRIMS-DOJ-
                      0000436561




                      News Article, Chicken Producers Not
H-341
                      Counting Profits Yet, 7/22/2013




                      Email, "Small Wogs (2).pptx,"
H-342
                      2/13/2015, PENN-0000000417
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1049 of 1105

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Exhibit   Witness             Brief Description            Stipulation   Offered   Admitted   Refused   Court Use Only


                    Attachment, PowerPoint Presentation,
H-343
                    PENN-0000000418




                    Attachment, Bird-Weight Chart, PENN-
H-344
                    0000000419




                    Attachment, Bird-Weight Chart, PENN-
H-345
                    0000000420




                    Attachment, Bird-Weight Chart, PENN-
H-346
                    0000000421




                    Email, FW: Popeyes Pricing Calendar
H-347
                    2012 (2).xlsx, TY-000570617




                    Email, Popeyes Pricing Calendar
H-348
                    2012_Revised.xlsx, TY-000571134
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1050 of 1105

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                    Email, Popeye's 2013 Freight.xlsx, TY-
H-349
                    000574359




                    Email, Popeyes 2012 - 2013
H-350
                    Comparison.xlsx, TY-000574383




                    Email, Church's Letter of Agreement-
H-351
                    Tyson, TY-000595801




                    Email, Popeyes Pricing 2014 Bid, TY-
H-352
                    000611311




                    Email, Fwd: Church's 2014 Fresh
H-353
                    Poultry Bid, TY-000611510




                    Email, Boston Market 2015 Pricing, TY-
H-354
                    000638755
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                    Email, FW: KFC COB from Tyson, TY-
H-355
                    000639088




                    Email, KFC-Tyson Fresh SBRA
H-356
                    Attachments, TY-000642210




                    Email, Fwd: Popeyes 2015 Final
H-357
                    Pricing Summary, TY-000647989




                    Email, FW: Church's Supply Agreement-
H-358
                    Tyson 2015, TY-000658446




                    Email, Fwd: 2016 contracts avg vs
H-359               Tyson 2014 July 24 15.xls, TY-
                    000662075




H-360               Email, 2016 chicken, TY-000664152
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                    Email, Boston Market Pricing, TY-
H-361
                    000664153




H-362               Email, FW: Contracts, TY-000666986




                    Email, Smokehouse Chicken Contract,
H-363
                    TY-000666987




                    Email, 2017/2018 contract, TY-
H-364
                    000681665




                    Email, FW: Boston Market Contract
H-365
                    2016, TY-000682118




                    Email, FW: CHURCH'S FROZEN
H-366               LIVERS & GIZZARDS CONTRACT
                    FOR 2016, TY-000687979
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                    Email, FW: Livers and Gizzards, TY-
H-367
                    000688198




                    Email, [EXTERNAL] - 2018 Contract
H-368
                    Amendment, TY-000688407




                    Email, [EXTERNAL] - RE: December
H-369
                    Pricing, TY-000688449




                    Email, FW: [EXTERNAL] -
H-370
                    Smokehouse Contract, TY-000688634




                    Email, RE: Tyson Dark Meat Start-up,
H-371
                    TY-000689995




                    Email, Smokehouse Chicken Contract,
H-372
                    TY-000690357
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                    Email, FW: Smokehouse Chicken
H-373
                    Contract, TY-000690365




                    Email, FW: Tyson follow up, TY-
H-374
                    000692538




                    Email, FW: Popeyes bone in RFP, TY-
H-375
                    000721563




                    Email, FW: Popeyes RFP - Revised, TY-
H-376
                    000721567




                    Email, 2016 FREIGHT RATES & 2015
H-377
                    CASE WEIGHT %, TY-000721807




                    Email, FW: Popeye's from Jan 4th to
H-378
                    Sept 12th, TY-000721809
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                    Email, FW: POPEYES 2017 bone-in
H-379
                    RFP, TY-000721951




H-380               Email, Fwd: WOGS, TY-000740150




                    Email, RE: 2015 supply agreement, TY-
H-381
                    000740860




                    Email, Fwd: BOSTON MARKET, TY-
H-382
                    000745377




                    Email, FW: POPEYES 2017 bone-in
H-383
                    RFP, TY-000746196




H-384               Email, Re: H2 ROUTE, TY-000746199
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                    Email, FW: [EXTERNAL] - FW:
H-385               POPEYES 2018 bone-in RFP, TY-
                    000749322




                    Email, FW: BOSTON MARKET
H-386
                    CONTRACT, TY-000909298




                    Email, RE: Grain Matrix for 2015, TY-
H-387
                    001032360




                    Email, Popeyes 2015 Pricing, TY-
H-388
                    001041798




H-389               Email, Fresh Chicken, TY-001045975




                    Email, 2013 Summary v3.xlsx, TY-
H-390
                    001187492
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                    Email, Tyson-Yum Attachment__1-
H-391               FOB_Summary Round 2.xlsx, TY-
                    001188539




                    Email, RE: YUM! Poultry Pricing, TY-
H-392
                    001189191




                    Email, Proposed model for 2015
H-393
                    moving forward, TY-001221621




                    Email, Resubmit CFA_Model_Comp 7
H-394
                    2014 v3working.xlsx, TY-001227572




                    Email, FW: 2014 pricing agreement,
H-395
                    TY-001228921




                    Email, FW: Chick-fil-a MDF payment
H-396               for Seasoning Information, TY-
                    001238140
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1058 of 1105

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                    Email, RE: Fresh Chicken, TY-
H-397
                    001239075




                    Email, Church's Strip 2015 Bi-Monthly
H-398               Formula Price Option.xlsx, TY-
                    001245618




                    Email, Chick-fil-A model 2017 -
H-399
                    Final.xlsx, TY-002181537




                    Email, RE: Tyson/Church's Agreement,
H-400
                    TY-000004434




                    Email, RE: 2013 Contract Meeting, TY-
H-401
                    000034364




                    Email, Popeyes bone in Chicken RFP
H-402
                    for 2013, TY-000041844
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                    Email, Re: chicken RFP volume and
H-403
                    freight, TY-000044454




                    Email, FW: Popeyes 2014 bone in RFP,
H-404
                    TY-000080598




                    Email, RE: Popeyes 2015 Pricing.xlsx,
H-405
                    TY-000130109




                    Email, CLARIFICATION Church's
H-406               2015 BIC Volume Needs, TY-
                    000136123




                    Email, Church's 2015 Bone In Chicken
H-407
                    RFP Follow Up, TY-000140248




                    Email, Fwd: 2015 CFA_Model 12 16
H-408               14 with updated market ranges.xlsx, TY-
                    001259392
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H-409               Email, Re: Dark meat, TY-000153227




                    Email, Fwd: Boston Market Pricing, TY-
H-410
                    000170048




H-411               Email, CFA SBR, TY-001277069




                    Email, Tyson contract extension
H-412
                    proposal, TY-000196468




                    Email, 2013 Yum! Poultry, TY-
H-413
                    001284153




                    Email, RE: Next KFC COB Agreement
H-414
                    Follow-up, TY-000220960
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H-415               Email, RE: WOGS, TY-000257143




                    Email, Fwd: Popeyes bone in RFP, TY-
H-416
                    000257227




                    Email, RE: POPEYES 2017 bone-in
H-417
                    RFP, TY-000264063




                    Email, RE: Adjusted 2017 Bone in
H-418
                    Chicken Contract, TY-000264958




                    Email, FW: KFC - Tyson COB Next
H-419
                    Agreement, TY-000265951




                    Email, FW: 2011 Pricing Agreement,
H-420
                    TY-001324236
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                    Email, FW: Tyson grain model, TY-
H-421
                    001326907




H-422               Email, Jackie Harris, TY-001326910




                    Email, FW: revised agreement, TY-
H-423
                    001330466




                    Email, FW: Scan from HP MFP Device,
H-424
                    TY-001336814




                    Email, CFA background on seasoning,
H-425
                    TY-001526960




                    Email, FW: Chick-fil-A Pricing Models
H-426
                    092608.xls, TY-001526961
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                    Email, FW: Chick-fil-a Analysis, TY-
H-427
                    001526963




                    Email, FW: Pricing Information: Tyson
H-428
                    Foods 2010, TY-001526965




                    Email, FW: Chick-fil-a 2012 Proposal
H-429
                    120611.xlsx, TY-001526971




                    Email, Church's and YUM 2015 Poultry
H-430
                    RFP kick-off meeting, TY-001531199




                    Email, FW: Church's 2015 FP RFP-
H-431
                    Tyson, TY-001531202




                    Email, FW: Church's 2015 FP RFP-
H-432
                    Tyson, TY-001531224
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                    Email, RSCS 2015 Further Processed
H-433
                    Poultry RFP, TY-001531246




                    Email, RE: Church's 2015 Strips, TY-
H-434
                    001533579




                    Email, Church's Supply Agreement-
H-435
                    Tyson 2015, TY-001534387




                    Email, FW: Church's Supply Agreement-
H-436
                    Tyson 2015, TY-001537859




H-437               Email, Daily Update, TY-003932500




                    Email, Fwd: Popeyes Pricing 2014 Bid,
H-438
                    TY-001621604
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                    Email, FW: 2013 Summary.xlsx, TY-
H-439
                    002545247




                    Email Attachment, Tyson-Yum
H-440               Attachment__1-FOB_Summary Round
                    3.xlsx, TY-002545338




                    Email Attachment, 2013 Summary
H-441
                    v3.xlsx, TY-002545504




                    Email, YUM Poultry Pricing Round 4 -
H-442
                    Final, TY-002545511




                    Email, FW: SBRA - Revised, TY-
H-443
                    002549216




H-444               Email, SBRA Signed, TY-002565468
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                    Email, Signed Agreement, TY-
H-445
                    002582895




                    Email, From T. Scheiderer to B.
H-446
                    Roberts, TY-002619352




                    Email, KFC Contract 2015, TY-
H-447
                    002656775




                    Email, Re: Churchs Pricing Model_9-7-
H-448
                    11.xlsx, TY-003003956




                    Email, RE: Tyson Supply Commitment,
H-449
                    TY-003005362




                    Email, FW: Tyson Supply
H-450
                    Commitment, TY-003005407
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                    Email, Tyson Pricing formula, TY-
H-451
                    003008725




                    Email, Tyson Follow- Up, TY-
H-452
                    003038002




                    Email, Golden Corral signed contract
H-453
                    for 2018, TY-004167420




                    Email, FW: Message from
H-454
                    KMC754SecondFloor, TY-004168986




                    Email, FW: Fresh Chicken contracts for
H-455
                    2017, TY-004168989




                    Email, GOLDEN CORRAL, TY-
H-456
                    004168993
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                    Email, RE: Boston Market, TY-
H-457
                    003274336




                    Email, FW: Tyson follow up, TY-
H-458
                    003281405




                    Email, 8pc volume for 2016, TY-
H-459
                    001883393




                    Email, Church's/Tyson 2016, TY-
H-460
                    001883775




                    Email, FW: Popeyes bone in RFP, TY-
H-461
                    001902911




                    Email, 2016 Chick-fil-A model Jan-
H-462
                    Dec 2016.xlsx, TY-001903252
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                    Email, FW: 2016 Chick-fil-A model Jan-
H-463
                    Dec 2016.xlsx, TY-001904659




                    Email, RE: CfA 2017 Pricing, TY-
H-464
                    001937820




                    Email, [EXTERNAL] - Re: 2018 Hedge
H-465
                    Position Request, TY-001965610




                    Email, RE: 2018 Hedge Position
H-466
                    Request, TY-001970543




                    Email, 2018 Hedge Position Request,
H-467
                    TY-002078658




                    Email, Golden Corral 2016, TY-
H-468
                    004246196
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H-469               Email, GC, TY-004252067




H-470               Email, KFC pricing, TY-004487884




                    Email regarding Tyson organizational
H-471
                    chart, TY-005377317




                    Email, FW: Next KFC COB
H-472
                    Agreement, TY-005637749




                    Email, FW: Tyson follow up, TY-
H-473
                    005637987




                    Email, RE: phone conversation today,
H-474
                    CFA_0018059
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                    Email Attachment, [Untitled].pdf, TY-
H-475
                    001336815




                    Email regarding Tyson organizational
H-476
                    chart, TY-006429373




                    Email Attachment, 2012 Church's Cost
H-477
                    Plus Calendar.xlsx, TY-000689997




                    Email Attachment, 2013 SBRA
H-478
                    Exhibits - Tyson.pdf, TY-002549217




                    Email Attachment, 2013 SBRA
H-479               Exhibits - Tyson-signed.pdf, TY-
                    002565469




                    Email Attachment, 2013 Summary
H-480
                    v3.xlsx, TY-001187493
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                    Email Attachment, 2013 Summary
H-481
                    v3.xlsx, TY-002545505




                    Email Attachment, 2013 Summary.xlsx,
H-482
                    TY-002545248




                    Email Attachment, 2013 Tyson Pricing
H-483               Agreement ERCv5.docx, TY-
                    001238141




                    Email Attachment, 2013 Tyson Pricing
H-484               Agreement ERCv5.docx, TY-
                    001330467




                    Email Attachment, 2014 Tyson Pricing
H-485               Agreement ERCv3.docx, TY-
                    001228922




                    Email Attachment, 2015 CFA_Model
H-486               12 16 14 with updated market
                    ranges.xlsx, TY-001259394
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                    Email Attachment, 2015 FP Poultry
H-487               Capacity Template.xlsx, TY-
                    001531253




                    Email Attachment, 2015 FP Poultry
H-488               Capacity Template.xlsx, TY-
                    001531252




                    Email Attachment, 2015 FP Poultry RFI
H-489
                    Questions.xlsx, TY-001531251




                    Email Attachment, 2015 Projected FP
H-490
                    Volume.xlsx, TY-001531204




                    Email Attachment, 2015 Projected FP
H-491
                    Volume.xlsx, TY-001531226




                    Email Attachment, 2015 Tyson Foods
H-492               RFP Welcome Letter.pdf, TY-
                    001531248
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                    Email Attachment, 2016 Bone in
H-493
                    RFP.xls, TY-000721564




                    Email Attachment, 2016 Bone in
H-494
                    RFP.xls, TY-000721568




                    Email Attachment, 2016 Bone in
H-495
                    RFP.xls, TY-001902912




                    Email Attachment, 2016 Chick-fil-A
H-496               model Jan-Dec 2016.xlsx, TY-
                    001903253




                    Email Attachment, 2016 Chick-fil-A
H-497               model Jan-Dec 2016.xlsx, TY-
                    001904660




                    Email Attachment, 2016 contracts avg
H-498               vs tyson 2014 july 24 15.xls, TY-
                    000662077
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                    Email Attachment, 2018 Hedge Chick-
H-499               fil-A model 7.27.17.xlsx, TY-
                    002078659




                    Email Attachment, Amend Doc Tyson
H-500               Smokehouse Chicken 2016.doc, TY-
                    000740863




                    Email Attachment, ATT00001.htm, TY-
H-501
                    006429375




                    Email Attachment, Bids-2014-10-10 10
H-502               57AM-Tyson Foods-2015 Chicken RFP
                    -- Gen1.xlsx, TY-001531247




                    Email Attachment, Book3.xls, TY-
H-503
                    001526964




                    Email Attachment, Boston Market 1-1-
H-504               17 thru 12-31-18 R2.doc, TY-
                    000909299
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                    Email Attachment, Boston Market 2015
H-505
                    freight rates.xlsx, TY-000638756




                    Email Attachment, Boston Market
H-506
                    Contract 2016.doc, TY-000682120




                    Email Attachment, Boston Market
H-507               Pricing - Jan -Mar 2017 (half penny
                    deduction).xls, TY-000745380




                    Email Attachment, Boston Market
H-508               Pricing - Jan -Mar 2017 (half penny
                    deduction).xls, TY-000909303




                    Email Attachment, Boston Market
H-509               Pricing - July-September 2015 R2.xls,
                    TY-000664155




                    Email Attachment, Boston Market
H-510               Pricing Summary 2015 v2.xls, TY-
                    000638757
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                    Email Attachment, Breaded Boneless
H-511
                    Chicken Wings.pdf, TY-001531211




                    Email Attachment, Breaded Boneless
H-512
                    Chicken Wings.pdf, TY-001531233




                    Email Attachment, CFA 2010 Pricing
H-513
                    Agreement 011110.doc, TY-001526967




                    Email Attachment, CFA_Model_Comp
H-514
                    7 2014 v1working.xlsx, TY-001221622




                    Email Attachment, Chick-fil-a 2012
H-515
                    Proposal 120611.xlsx, TY-001526972




                    Email Attachment, Chick-fil-A Data for
H-516
                    Wendy.xls, TY-001526962
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                    Email Attachment, Chick-fil-A model
H-517
                    2017 - Final.xlsx, TY-002181538




                    Email Attachment, Church's #10-151 1-
H-518               1-18 thru 12-31-18 Signed by Tyson
                    Only.pdf, TY-000688635




                    Email Attachment, Church's 2015 FP
H-519
                    RFP Letter- Tyson.pdf, TY-001531203




                    Email Attachment, Church's 2015 FP
H-520
                    RFP Letter- Tyson.pdf, TY-001531225




                    Email Attachment, Church's Agreement
H-521
                    2013.pdf, TY-002582896




                    Email Attachment, Churchs Freight
H-522
                    Fresh 2014.xlsx, TY-000611512
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                    Email Attachment, Church's Fresh
H-523               Pricing 2014 Summary.xlsx, TY-
                    000611516




                    Email Attachment, Church's Fresh
H-524               Product Data Sheet-TYSON 2014.xls,
                    TY-000611514




                    Email Attachment, Churchs Pricing
H-525               Model_12-7-11 (2).xlsx, TY-
                    003008726




                    Email Attachment, Churchs Pricing
H-526
                    Model_9-7-11.xlsx, TY-003008727




                    Email Attachment, Church's Product
H-527
                    Data Sheet.xls, TY-001531205




                    Email Attachment, Church's Product
H-528
                    Data Sheet.xls, TY-001531227
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                    Email Attachment, Church's Strip 2015
H-529               Bi-Monthly Formula Price Option.xlsx,
                    TY-001245619



                    Email Attachment, Church's Supply
                    Agreement Amendment-Tyson
H-530
                    Smokehouse Chicken 2015.pdf, TY-
                    000658448



                    Email Attachment, Church's Supply
H-531               Agreement- Tyson 2015.pdf, TY-
                    000658457




                    Email Attachment, Church's Supply
H-532               Agreement- Tyson 2015.pdf, TY-
                    001534388




                    Email Attachment, Church's Supply
H-533               Agreement- Tyson 2015.pdf, TY-
                    001537860




                    Email Attachment, cm-046- 99 cent
H-534
                    Sandwich Pattie.pdf, TY-001531217
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                    Email Attachment, cm-046- 99 cent
H-535
                    Sandwich Pattie.pdf, TY-001531239




                    Email Attachment, Copy of
H-536               Attachment__1-FOB_Summary.xlsx,
                    TY-001284154




                    Email Attachment, Copy of Churchs
H-537               FROZEN GIZZARDS 12-31-15 thru 12-
                    31-16.xls, TY-000687980




                    Email Attachment, Copy of Churchs
H-538               FROZEN LIVERS 12-31-15 thru 12-31-
                    16.xls, TY-000687981



                    Email Attachment, Copy of Copy of
                    POPEYES 2016 FREIGHT RATES
H-539
                    (2).xlsx REVISED.xlsxREVISED.xlsx,
                    TY-000721952


                    Email Attachment, Copy of Copy of
                    POPEYES 2016 FREIGHT RATES
H-540
                    (2).xlsx REVISED.xlsxREVISED.xlsx,
                    TY-000746197
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                    Email Attachment, Cost Plus Changes
H-541               Boston Market July-September 2015 R1.xlsx,
                    TY-000664154




                    Email Attachment, Exhibit A Amend
H-542               2016-Tyson Smokehouse
                    Chicken.docx, TY-000740864




                    Tyson organizational chart, TY-
H-543
                    005377318




                    Email Attachment, Golden Corral 2016
H-544
                    Bid.docx, TY-004252068




                    Email Attachment, Golden Corral 2016
H-545
                    Contract Executed.pdf, TY-004246197




                    Email Attachment, Golden Corral 8pc
H-546               Fresh Chicken Contract 2017.xlsx, TY-
                    004168992
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                    Email Attachment, Golden Corral Split
H-547               Leg Quarters Fresh Chicken Contract
                    2017.xlsx, TY-004168994




                    Email Attachment, Golden Corral
H-548               WOGs Unmarinated Fresh Chicken
                    Contract 2017.xlsx, TY-004168991




                    Email Attachment, KFC Pricing matrix,
H-549
                    Vol %.xlsx, TY-000692544




                    Email Attachment, KFC COB SBRA
H-550
                    2015.pdf, TY-002619353




                    Email Attachment, KFC_2'8-
H-551               2'12_Marinated_Model_(25119-928)
                    sent v2.xlsx, TY-000639090




                    Email Attachment,
H-552               KFC_PricingModel_2015.xlsx, TY-
                    000642211
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                    Email Attachment, KFC-Tyson SBRA
H-553               Exhibit 2 COB Products 2015.docx, TY-
                    000642212




                    Slipsheet of H-598, Tyson
H-554
                    organizational chart, TY-006429376




                    Email Attachment, Popeyes 2012 -
H-555
                    2013 Comparison.xlsx, TY-000574384




                    Email Attachment, Popeye's 2013
H-556
                    Freight.xlsx, TY-000574360




                    Email Attachment, Popeyes 2015 Final
H-557
                    Pricing Summary.xlsx, TY-000647991




                    Email Attachment, POPEYES 2016
H-558               FREIGHT RATES.xlsx, TY-
                    000721808
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                    Email Attachment, Popeyes 2017
H-559
                    Model.xlsx, TY-000749324




                    Email Attachment, Popeyes 2018
H-560
                    Proposed Model.xlsx, TY-000749323




                    Email Attachment, Popeyes Pricing
H-561
                    2014 Summary.xlsx, TY-000611312




                    Email Attachment, Popeyes Pricing
H-562
                    2014 Summary.xlsx, TY-001621606




                    Email Attachment,Popeyes Pricing
H-563
                    Calendar 2012 (2).xlsx, TY-000568547




                    Email Attachment, Popeyes Pricing
H-564
                    Calendar 2012 (2).xlsx, TY-000570619
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                    Email Attachment, Popeyes Pricing
H-565               Calendar 2012_Revised.xlsx, TY-
                    000571135




                    Email, FW: Popeyes bone in RFP, TY-
H-566
                    000721563




                    Email Attachment, Popeyes Pricing
H-567               Model 2016 vs 2017.xlsx, TY-
                    000746198




                    Email Attachment, Raw Chicken Breast
H-568               Strips pre-marinated allergen free
                    092514 .pdf, TY-001531206




                    Email Attachment, Raw Chicken Breast
H-569               Strips pre-marinated allergen free
                    092514 .pdf, TY-001531228




                    Email Attachment, Resubmit
H-570               CFA_Model_Comp 7 2014
                    v3working.xlsx, TY-001227573
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1087 of 1105

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                    Email Attachment, Scanned
H-571
                    Document.pdf, TY-002656776




                    Email Attachment, Scanned from a
H-572               Xerox Multifunction Printer.pdf, TY-
                    000681666




                    Email Attachment,
H-573               SKMC754Seco16110716000.pdf, TY-
                    004168987




                    Email Attachment,
H-574               SKMC754Seco17092516580.pdf, TY-
                    004167422




                    Email Attachment, Strip Pro
H-575
                    Forma.xlsx, TY-001533582




                    Email Attachment, Supplier Business
H-576               Review 2015_supplier copy.docx, TY-
                    001277070
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1088 of 1105

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                    Email, Popeyes 2015 Pricing, TF-
H-577
                    0003607446




                    Attachment, Popeyes 2015 Pricing
H-578
                    Summary, TF-0003607447




                    Email regarding Tyson organizational
H-579
                    chart, TF-0007447502




                    Tyson organizational chart, TF-
H-580
                    0007447503




                    Email Attachment, TSN 2011 Pricing
H-581               Agreement JNSv1.docx, TY-
                    001324238




                    Email Attachment, Tyson 2013 process
H-582
                    9 5.doc, TY-000566556
                     Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1089 of 1105

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                    Email Attachment, Tyson 2017 Pricing
H-583               Amendment - Bone In Chicken.pdf, TY-
                    000666998




                    Email Attachment, Tyson 2017 Pricing
H-584               Amendment - Mac & Cheese and Spicy
                    Rice.pdf, TY-000666993




                    Email Attachment, Tyson Contract
H-585               Amendment - 2018 - Bone In Chicken
                    Only.docx, TY-000688408



                    Email Attachment, Tyson Foods Frozen
                    Livers and Gizzards Contract
H-586
                    Amendment - 2017 - No Freight
                    Discovery.pdf, TY-000688199


                    Email Attachment, Tyson Foods Frozen
                    Livers and Gizzards Contract
H-587
                    Amendment - 2018 - No Freight
                    Discovery.docx, TY-000688451




                    Email Attachment, Tyson Foods
H-588
                    LOA.pdf, TY-000595802
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                    Email Attachment, Tyson Foods
                    Smokehouse Chicken Contract
H-589
                    Amendment - 2017 - No Freight
                    Discovery.docx, TY-000666988


                    Email Attachment, Tyson Foods
                    Smokehouse Chicken Contract
H-590
                    Amendment - 2017 - No Freight
                    Discovery.docx, TY-000690358


                    Email Attachment, Tyson Foods
                    Smokehouse Chicken Contract
H-591
                    Amendment - 2017 - No Freight
                    Discovery.pdf, TY-000690366



                    Email Attachment, Tyson-Yum
H-592               Attachment__1-FOB_Summary Round
                    2.xlsx, TY-001188540




                    Email, Tyson-Yum Attachment__1-
H-593               FOB_Summary Round 2.xlsx, TY-
                    001188539




                    Email Attachment, Tyson-Yum
H-594               Attachment__1-FOB_Summary Round
                    4.xlsx, TY-001189192
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                    Email Attachment, Tyson-Yum
H-595               Attachment__1-FOB_Summary Round
                    4.xlsx, TY-002545512




                    Email Attachment, Tyson-Yum Pricing
H-596               Models - Updated 2012-2013 RFP.xlsx,
                    TY-002545513




                    Email Attachment, WOG
H-597               SPECS_20150924092124.pdf, TY-
                    000740152




                    Email, Tyson organizational chart, TY-
H-598
                    006429376




                    Key Performance Indicators,
H-599               PILGRIMS‐17C_SUBPOENA‐000000
                    3090




                    Key Performance Indicators,
H-600               PILGRIMS‐17C_SUBPOENA‐000000
                    3092
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                    Key Performance Indicators,
H-601               PILGRIMS‐17C_SUBPOENA‐000000
                    3094




                    Key Performance Indicators,
H-602               PILGRIMS‐17C_SUBPOENA‐000000
                    3095



                    Pilgrim's Key Customer Information
                    2017,
H-603
                    PILGRIMS‐17C_SUBPOENA‐000000
                    3105


                    Pilgrim's Key Customer Information
                    2017,
H-604
                    PILGRIMS‐17C_SUBPOENA‐000000
                    3106



                    Email, Claxton's Cost Plus Pricing
H-605               Period 2 2017, 01/23/2017,
                    CLA_0075473




                    Attachment, KFC Cost 2 17.xlsx,
H-606
                    01/23/2017, CLA_0075474
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                      Email from Tim Stiller, 2/12/2015, Subject:
H-607                 "FW: Where the birds went.", PILGRIMS-
                      0003620005



H-609                 2_MCK-YUM-0007738_image




H-610                 3_MCK-YUM-0005679_image




H-611                 6_MCK-YUM-0007117_image




H-612                 7_MCK-YUM-0008027_image




H-613                 8_MCK-YUM-0004789_image




H-614                 9_MCK-YUM-0005368_image
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H-615                 10_MCK-YUM-0005369_image




H-635                 2021.07.09 Lewis-IRF-ATR001-00000001




                      Lewis, Robert 2020.04.24 [Lewis-302-ATR-
H-637
                      00000001] (#5461448v1)



                      Meeting Invitation, Claxton – Negotiation Call,
H-642
                      11/26/2012, CLA_0081132



                      Attachment, Exhibit to Supplier Agreement, TY-
H-654
                      001296809



                      Excerpted Defense Exhibit List – TY
H-675
                      Documents



                      Excerpted Defense Exhibit List – TF
H-676
                      Documents
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H-684                 Demonstrative: Initial Bids to Contract Prices




                      Email, “Spec change question”, 07/18/2014,
H-703
                      KOCHFOODS-0000251737



                      Email “Mayfield 2015 Plan”, 07/10/2014,
H-717
                      PILGRIMS-0009347073



                      Email “Accepted: Mayfield 2015 Plan”,
H-718
                      07/11/2014, PILGRIMS-0009347083



                      Email “Fwd: Mayfield 2015”, 07/02/2014,
H-722
                      PILGRIMS-DOJ-0005112211




H-726                 Demonstrative – Otis Strategy




                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-727
                      0000930355
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                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-728
                      0000930358



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-729
                      0000930359



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-730
                      0000930360



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-731
                      0000930361



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-732
                      0000930362



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-733
                      0000930363



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-734
                      0000930364
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                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-735
                      0000930365



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-736
                      0000930366



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-737
                      0000930367



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-738
                      0000930368



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-739
                      0000930369



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-740
                      0000930372



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-741
                      0000930373
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                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-742
                      0000930374



                      Text Message, 04/26/2018, PILGRIMS-DOJ-
H-743
                      0000930375



                      Text Message, 05/01/2017, PILGRIMS-DOJ-
H-745
                      0000919272



                      Text Message, 05/01/2017, PILGRIMS-DOJ-
H-746
                      0000919274



                      Text Message, 05/01/2017, PILGRIMS-DOJ-
H-747
                      0000919279




H-752                 Excerpt from Bryant Interview, 6/22/2021




H-753                 2 page excerpt from Bryant Interview, 9/8/2021
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H-782                 62_PILGRIMS-DOJ-0004018307_image




H-797                 Robbie Bryant email, 11/19/2014



                      Email, "[UFPC :: Yum Poultry Event 2012]
H-855                 2013 Yum! Brands Poultry RFP & CombineNet
                      User Invitation", GEO_0000813739



                      2014 09 10 email Bryant to Little 4_PILGRIMS-
H-860
                      DOJ-0002270063_image.pdf



                      Invoice from Pilgrim’s to George’s dated
H-895
                      10/3/2013




H-896                 Blake Demonstrative Exhibit 1




H-906                 2_CLA_0076506_image
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                      Scott Tucker email, 10/27/2016 PILGRIMS-
H-914
                      DOJ-0000342381



                      Robbie Bryant email, 12/29/2016 PILGRIMS-
H-915
                      DOJ-0002062458




H-927                 Austin Call Log



                      Email, FW: Message from
H-940                 RNP002673581CC5, 08/20/2014, MAR-
                      JAC_0000576756



                      Email, FW: Message from RNP002673581CC5
H-941
                      2015, 09/10/2014, MAR-JAC_0000596431



                      Attachment, 2013 Pricing Model, TY-
H-971
                      000968632



                      Email, 2014 UFPC SBRA Exhibits,
H-972
                      12/11/2013, TY-000968631
                    Case 1:20-cr-00152-PAB Document 914 Filed 12/14/21 USDC Colorado Page 1101 of 1105
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                      2015 Margin Over Feed Price Summary,
H-976
                      RSCS005539



                      Period 2, 2017 Margin Over Feed Pricing
 I-054
                      Summary, RSCS007976



                      GEODOJ_0000458: Email chain re: Next
 I-067
                      KFC COB Agreement




 I-074                GEO_0000309761_image, Redacted




 I-108                Ledford Demonstrative




 I-120                June 4, 2020 Witness Interview of Telly Smith




 I-128                Skalak interview 10-22-2021
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 I-141                re-stamped D-539 as PDF




 I-174                Email, “Chick-fil-A Meeting”, 1/17/2014




 I-189                Ledford 302 10.18.21




                      George’s Bidding for 2013 KFC Contract
 I-201
                      (Demonstrative)



                      Email, "FW: Action Required - Sysco's
 I-206                Payment Terms Change for KOCH MEAT
                      CO", 8/3/16, SYSCO-00002014



                      Attachment, Supplier Payment Terms Change
 I-207
                      Form, 6/1/16, SYSCO-00002016



                      Email, "RE: Action Required - Sysco's Payment
 I-209                Terms Change for GEORGES INC", 6/20/16,
                      SYSCO-00001835
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 I-221                2014 Claxton KFC Demonstrative




                      2013 11 05 brink email to boarman PILGRIMS-
 I-225
                      DOJ-0000109179_image



                      2013 11 15 brink email to boarman PILGRIMS-
 I-226
                      DOJ-0001616413_image



                      PT 2014 Pilgrim's Contract PILGRIMS-DOJ-
 I-228
                      0000110018_image




 I-231                PT 2014 Claxton Contract




 I-241                Live Demonstrative




                      Email, “Tyson-YUM Poultry RFP Round 2
 I-242
                      pricing”, 11/5/2013, TY-001295000
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                      Attachment, Feed Flow Through Pricing 2014,
 I-243
                      TY-001295003



                      May 2014 Internal CFA E-mail from Meyer
 I-246
                      Skalak



                      Cobb 500™ Fast Feather Rearing Management
 I-313
                      Record (Pounds)



                      Pages from Pages from ATT-ATR001-
 I-323                00000001 770.329.7505 Kantola Call Data
                      Extracted From GX8000



                      Email chain dated 11/14/2012, Re:
 I-337
                      Complaints/Loads Popeye’s




 I-338                Employee Transaction Inquiry



                      Email to Blake, Warble, Nelson, and Lopez
 I-440                from Keck dated 11/07/2012, Re: Outside
                      purchases
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 I-441                Various ATT Phone Records




 I-442                Brady ATT Phone Records (256-536-6120)




                      George’s Purchase Order No. 3248 dated
 I-444
                      09/09/2016



                      George’s Purchase Order No. 3175 dated
 I-448
                      03/27/2014



                      George’s Purchase Order Nos. 3207 and 3208
 I-452
                      dated 04/28/2015
